                                                                            16-2023-CA-004068-XXXX-MA Div: CV-G
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                                                          IN THE CIRCUIT COURT, FOURTH
                                                          JUDICIAL CIRCUIT, IN AND FOR
                                                          DUVAL COUNTY, FLORIDA
                                                          CASE NO.:
                                                          DIVISION:

           AMBER MILLS, an individual

                  Plaintiff,
           v.

           STATE FARM MUTUAL AUTOMOBILE
           INSURANCE COMPANY, a for-profit, foreign
           corporation,

                  Defendant.
                                                    /

                                 COMPLAINT AND DEMAND FOR JURY TRIAL

                  Plaintiff, AMBER MILLS (“Mrs. Mills), sues Defendant, STATE FARM MUTUAL

           AUTOMOBILE INSURANCE COMPANY (“State Farm”) a for-profit corporation and as

           grounds therefore would state:

                           NATURE OF THE ACTION, JURISDICTION AND VENUE

            1. This is an action for damages resulting from State Farm’s failure to settle Mrs. Mills claim

                against its insured Mary Laseter (“Mrs. Laseter”), when it could have and should have done

                so.

            2. This is an action for damages in excess of fifty thousand dollars ($50,000.00), exclusive of

                costs and attorney’s fees, interest and costs.

            3. Venue is proper in this Court because the acts giving rise to this action occurred in Duval

                County, Florida. The subject accident occurred in Duval County, Florida, the underlying

                lawsuit was filed in Duval County, Florida and the insurance contract between State Farm

                and its insured, Mary Laseter, was issued in Duval County, Florida and the failure(s) to




ACCEPTED: DUVAL COUNTY, JODY PHILLIPS, CLERK, 03/24/2023 12:19:29 PM
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        settle the claim occurred in Duval County, Florida.

                                     GENERAL ALLEGATIONS

   4.   At all times material to this cause, the Plaintiff, Amber Mills was a resident of and

        domiciled in Duval County, Florida.

   5. At all times material to this cause, State Farm’s insured, Mary Laseter, was a resident of and

        domiciled in Duval County, Florida.

   6. Upon information and belief, State Farm is a foreign corporation with its principal place of

        business in Bloomington, Illinois. At all times material to this cause State Farm was

        licensed to sell and actively engaged in the business of selling insurance in Florida.

   7. The Policy: State Farm issued a Florida automobile insurance policy to Mary Laseter,

        Policy No. 649993459C covering a 2008 Honda CR-V that was in effect as of July 29,

        2021. A copy of the policy is attached as Exhibit “A.” The Policy provided bodily injury

        limits of $25,000 per person and $50,000 per occurrence.

   8. Under the terms of the Policy and the obligations placed on it by Florida law, State Farm

        was required to use the Policy’s limits to settle Mrs. Mills’ claim against Mary Laseter.

   9. The subject collision: On July 29, 2021, Mary Laseter negligently operated her 2008 Honda

        CR-V causing a high energy frontal offset collision with the Plaintiff Amber Mills’ vehicle

        resulting in airbag deployments and totaling both vehicles (“subject collision”).

   10. Mrs. Mills suffered significant injuries to her head, shoulder, right hand and a permanent

        injury to her C6-7 disc and corresponding nerves as well as related losses as a result of the

        subject collision. The value of these damages clearly exceeded the Policy’s coverage limits.

   11. On February 18, 2022, Mrs. Mills, through counsel, sent a letter with supporting

        documentation to State Farm and requested tender of the $25,000 policy limits in exchange
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      for a release of all claims against Mary Laseter arising out of the collision.

   12. State Farm chose not to settle the claim and, prior to an extended deadline, offered the

      Plaintiff $6,550 and then $7,000 to settle all claims by Mills.

   13. State Farm failed and/or refused to settle Mrs. Mills’ claim.

   14. Upon information and belief, State Farm failed to advise Mrs. Laseter of the settlement

      opportunities or discuss with her the ramifications of declining or ignoring them.

   15. Due to State Farm’s failure to settle Mrs. Mills’ claim for the policy limits, Mrs. Mills was

      forced to file a lawsuit against Mrs. Laseter (“the lawsuit”).

   16. Due to State Farm’s refusal to make timely and adequate settlement offers, the lawsuit

      proceeded to trial on February 13, 2023, resulting in a jury verdict of $245,782 exclusive of

      taxable costs and interest.

   17. Due to State Farm’s refusal to make timely and adequate settlement offers, Mrs. Laseter is

      exposed to a personal judgment far in excess of her available auto liability bodily injury

      protection limits of $25,000.

   18. All conditions precedent to bringing this action have been performed or have otherwise

      occurred including but not limited to an Assignment of Rights as to any and all claims from

      Laseter to Mills.

   19. Mrs. Mills has engaged the undersigned counsel to represent her interests in this cause of

      action and agreed to pay a reasonable fee for services rendered.

                            COUNT I - COMMON LAW BAD FAITH

   20. Plaintiff re-alleges and reaffirms the allegations contained in paragraphs 1-19 and further

      alleges:

   21. State Farm had a duty to use the same degree of care and diligence in the investigation and
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      resolution of Mrs. Mills’ claim against Mrs. Laseter as a person of ordinary care and

      prudence would exercise in the management of their business and to fairly evaluate Mrs.

      Mills’ claim against Mrs. Laseter.

   22. State Farm had a duty to keep its insured informed, including a duty to advise its insured of

      the possibility of an excess judgment, the probable outcome of litigation, and all settlement

      opportunities.

   23. State Farm had a fiduciary duty to protect its insured Laseter and to refrain from a business

      practice which elevated its own financial interests ahead of that of its insured.

   24. State Farm was provided with an opportunity to settle Mrs. Mills claim against Mrs. Laseter

      for the $25,000 policy limits and, squandered that opportunity by making insufficient

      counteroffers for substantially less than Mrs. Mills’ damages and/or by failing to timely

      tender its minimal policy limits in exchange for a release as to its insured.

   25. State Farm breached its fiduciary duties to Mrs. Laseter by failing to settle Mrs. Mills’ claim

      within the policy limits when State Farm could and should have done so, had they acted

      fairly and honestly and with due regard for Mrs. Laseter’s interests.

   26. State Farm further breached its fiduciary duties to Mrs. Laseter by failing to adequately

      advise its insured of the possibility of an excess judgment, the probable outcome of

      litigation, and the opportunity of settlement.

   27. As a direct and proximate result of State Farm’s breach of its duties under the Policy, Mrs.

      Laseter has suffered and continues to suffer damages in the form of the Final Judgment,

      interest and any additional consequential damages flowing therefrom.

   28. Mrs. Mills continues to suffer damages as a judgment creditor to Mrs. Laseter.
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            WHEREFORE, Mrs. Mills demands judgment against State Farm for all damages,

  including unsatisfied amounts of the Amended Final Judgment, pre- and post-judgment interest

  on the Amended Final Judgment, attorney’s fees and costs related to this action, and any other

  relief permitted under Florida law or that this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

              Plaintiff, AMBER MILLS, hereby demands trial by jury on all issues as set forth

  herein.

                                                       BUTLER LAW GROUP

                                                       /s/ Howard Butler
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               EXHIBIT “A”
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                                                                     THIS POLICY
     1.    This policy consists of:                                                          (2) Neither you nor any member of your
           a. the most recently issued Declarations                                               household has, within the past three
                                                                                                  years, had either:
               Page;
                                                                                                  (a) a license to drive; or
           b. the policy booklet version shown on that
               Declarations Page; and                                                             (b) a vehicle registration
           c. any endorsements that apply, including                                              suspended, revoked, or refused.
               those listed on that Declarations Page as                                     (3) Your car is used for pleasure and
               well as those issued in connection with any                                        business.
               subsequent renewal of this policy.                                 4.    All named insureds shown on the Declarations
     2.    This policy contains all of the agreements be-                               Page and all applicants agree by acceptance of
                                                                                        this policy that:
           tween all named insureds who are shown on
           the Declarations Page and all applicants and:                                a. the statements in 3.b. above are made by
                                                                                             such named insured or applicant and are
           a. us; and                                                                        true; and
           b. any of our agents.                                                        b. we provide this insurance on the basis
     3.    We agree to provide insurance according to the                                    those statements are true.
           terms of this policy:                                                  5.    Your purchase of this policy may allow:
           a. based on payment of premium for the cov-                                  a. you to purchase or obtain certain coverages,
               erages chosen; and                                                            coverage options, coverage deductibles, cov-
                                                                                             erage limits, or coverage terms on other
           b. unless otherwise stated in EXCEPTIONS,                                        products from the State Farm Companies,
               POLICY BOOKLET, & ENDORSE-                                                    subject to their applicable eligibility rules; or
               MENTS on the Declarations Page, in reli-                                b. the premium or price for other products or
               ance on the following statements:                                             services purchased by you, including non-
               (1) You are the sole owner of your car.                                       insurance products or services, to vary.
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             Such other products or services must be                    Companies. The State Farm Companies
             provided by the State Farm Companies or                    do not warrant the merchantability, fitness,
             by an organization that has entered into an                or quality of any product or service offered
             agreement or contract with the State Farm                  or provided by that organization.




                                                    DEFINITIONS
    We define certain words and phrases below for use          X-ray, dental, and rehabilitative services, including
    throughout the policy. Each coverage includes ad-          medically necessary prosthetic devices and medi-
    ditional definitions only for use with that coverage.      cally necessary ambulance, hospital, and nursing
    These definitions apply to the singular, plural, pos-      services.
    sessive, and any other form of these words and             Medical Expenses do not include any:
    phrases. Defined words and phrases are printed in
    boldface italics.                                          1. massage as defined in s. 480.033, Florida Stat-
                                                                    utes;
    Bodily Injury means bodily injury to a person and
    sickness, disease, or death that results from it.          2. acupuncture as defined in s. 457.102, Florida
                                                                    Statutes;
    Car means a land motor vehicle with four or more
    wheels, designed for use primarily on public roads.        3. services, care, treatment, or supplies provided
    Car does not include:                                           by any massage therapist; or
    1. Any vehicle while located for use as a dwelling         4. services, care, treatment, or supplies provided
         or other premises; or                                      by any acupuncturist.
    2. A truck-tractor designed to pull any type of trailer.   Medically Necessary means a medical service or
    Car Business means a business or job where the             supply that a prudent physician would provide for
    purpose is to sell, lease, rent, repair, service, modi-    the purpose of preventing, diagnosing, or treating
    fy, transport, store, or park land motor vehicles or       an illness, injury, disease, or symptom in a manner
    any type of trailer.                                       that is:
    Emergency Medical Condition means a medical                1. in accordance with generally accepted stand-
    condition manifesting itself by acute symptoms of               ards of medical practice;
    sufficient severity, which may include severe pain,
    such that the absence of immediate medical atten-          2. clinically appropriate in terms of type, frequen-
    tion could reasonably be expected to result in any of           cy, extent, site, and duration; and
    the following:                                             3. not primarily for the convenience of the pa-
    1. Serious jeopardy to patient health;                          tient, physician, or other healthcare provider.
    2. Serious impairment to bodily functions; or              Motor Vehicle means a vehicle with four or more
    3. Serious dysfunction of any bodily organ or              wheels that:
         part.                                                 1. is self-propelled and is of a type:
    Fungi means any type or form of fungus or fungi                 a. designed for; and
    and includes:                                                   b. required to be licensed for use on Florida
    1. Mold;                                                             highways; or
    2. Mildew; and                                             2. is a trailer or semitrailer designed for use with
    3. Any of the following that are produced or re-                a vehicle described in 1. above.
         leased by fungi:                                      Motor Vehicle does not include:
         a. Mycotoxins;                                        1. a mobile home; or
         b. Spores;                                            2. any motor vehicle which is:
         c. Scents; or                                              a. used in mass transit, other than public
         d. Byproducts.                                                  school transportation;
    Medical Expenses means reasonable charges in-                   b. designed to transport more than five pas-
    curred for medically necessary medical, surgical,                    sengers, exclusive of the operator; and

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        c.    owned by a municipality, a transit authori-    2.  a vehicle designed to be pulled by a motor ve-
              ty, or a political subdivision of the state.       hicle.
    Newly Acquired Car means a car newly owned by            Person means a human being.
    you. A car ceases to be a newly acquired car on          Private Passenger Car means:
    the earlier of:
    1. the effective date and time of a policy, includ-      1. a car of the private passenger type, other than a
         ing any binder, issued by us or any other com-          pickup truck, van, minivan, or sport utility ve-
         pany that describes the car as an insured               hicle, designed primarily to carry persons and
                                                                 their luggage; or
         vehicle; or
                                                             2. a pickup truck, van, minivan, or sport utility
    2. the end of the 14th calendar day immediately              vehicle:
         following the date the car is delivered to you.
                                                                 a. while not used for:
    If a newly acquired car is not otherwise afforded
    comprehensive coverage or collision coverage by                   (1) wholesale; or
    this or any other policy, then this policy will pro-              (2) retail
    vide Comprehensive Coverage or Collision Cover-
    age for that newly acquired car, subject to a                     pickup or delivery; and
    deductible of $500. Any coverage provided as a               b. that has a Gross Vehicle Weight Rating of
    result of this paragraph will apply only until the end            10,000 pounds or less.
    of the 5th calendar day immediately following the
    date the newly acquired car is delivered to you.         Reasonable Charge, which includes reasonable
                                                             expense, means an amount determined by us to be
    No-Fault Act means the Florida Motor Vehicle No-         reasonable in accordance with the No-Fault Act,
    Fault Law and any amendments.                            considering one or more of the following:
    Non-Owned Car means a car that is in the lawful          1. usual and customary charges;
    possession of you or any resident relative and that
    neither:                                                 2. payments accepted by the provider;
    1. is owned by:                                          3. reimbursement levels in the community;
         a. you;                                             4. various federal and state medical fee schedules
                                                                 applicable to motor vehicle and other insurance
         b. any resident relative;                               coverages;
         c. any other person who resides primarily in        5. the schedule of maximum charges in the No-
              your household; or                                 Fault Act,
         d. an employer of any person described in a.,       6. other information relevant to the reasonable-
              b., or c. above; nor                               ness of the charge for the service, treatment, or
    2. has been operated by, rented by, or in the pos-           supply; or
         session of:                                         7. Medicare coding policies and payment meth-
         a. you; or                                              odologies of the federal Centers for Medicare
                                                                 and Medicaid Services, including applicable
         b. any resident relative                                modifiers, if the coding policy or payment
         during any part of each of the 31 or more con-          methodology does not constitute a utilization
         secutive days immediately prior to the date of          limit.
         the accident or loss.                               Relative means a relative of any degree by blood or
    Occupying means in, on, entering, or exiting.            marriage who usually makes his or her home in the
                                                             same family unit, whether or not temporarily living
    Our means the Company issuing this policy as             elsewhere.
    shown on the Declarations Page.
    Owned By means:                                          Resident Relative means a person, other than you,
                                                             who resides primarily with the first person shown as a
    1. owned by;                                             named insured on the Declarations Page and who is:
    2. registered to; or                                     1. related to that named insured or his or her
    3. leased, if the lease is written for a period of 6         spouse by blood, marriage, or adoption, includ-
         months or more, to.                                     ing an unmarried and unemancipated child of
                                                                 either who is away at school and otherwise
    Pedestrian means a person who is not occupying:              maintains his or her primary residence with
    1. a motor vehicle; or                                       that named insured; or

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    2.   a ward or a foster child of that named insured,           b.   not designed to carry persons; and
         his or her spouse, or a person described in 1.            c.   while not used as premises for office,
         above.                                                         store, or display purposes; or
    State Farm Companies means one or more of the             2. a farm implement or farm wagon while being
    following:                                                     pulled on public roads by a car.
    1. State Farm Mutual Automobile Insurance                 Us means the Company issuing this policy as
         Company;                                             shown on the Declarations Page.
    2. State Farm Fire and Casualty Company; and              We means the Company issuing this policy as
    3. Subsidiaries or affiliates of either 1. or 2. above.   shown on the Declarations Page.
    Temporary Substitute Car means a car that is in the       You or Your means the named insured or named
    lawful possession of the person operating it and that:    insureds shown on the Declarations Page. If a
    1. replaces your car for a short time while your          named insured shown on the Declarations Page is a
         car is out of use due to its:                        person, then you or your includes the spouse of
                                                              the first person shown as a named insured if the
         a. breakdown;                                        spouse resides primarily with that named insured.
         b. repair;                                           Your Car means the vehicle shown under YOUR
         c. servicing;                                        CAR on the Declarations Page. Your Car does not
                                                              include a vehicle that you no longer own or lease.
         d. damage; or
                                                              If a car is shown on the Declarations Page under
         e. theft; and                                        YOUR CAR, and you ask us to replace it with a
    2. neither you nor the person operating it own or         car newly owned by you, then the car being replaced
         have registered.                                     will continue to be considered your car until the
    If a car qualifies as both a non-owned car and a          earliest of:
    temporary substitute car, then it is considered a         1. the end of the 30th calendar day immediately
    temporary substitute car only.                                 following the date the car newly owned by you
    Trailer means:                                                 is delivered to you;
    1. a trailer:                                             2. the date this policy is no longer in force; or
         a. designed to be pulled by a private passen-        3. the date you no longer own or lease the car
              ger car;                                             being replaced.




                    LIABILITY COVERAGE (Bodily Injury and Property Damage)
    This policy provides Liability Coverage if A is              spouse who resides primarily with that named
    shown under SYMBOLS on the Declarations Page.                insured for the maintenance or use of a car that
                                                                   is owned by, or furnished by an employer to, a
    Additional Definition                                          person who resides primarily in your household,
    Insured means:                                                 but only if such car is neither owned by, nor
    1. you and resident relatives for:                             furnished by an employer to, the first person
                                                                   shown as a named insured on the Declarations
        a. the ownership, maintenance, or use of:                  Page or that persons spouse;
            (1) your car;                                     3.   any other person for his or her use of:
            (2) a newly acquired car; or                           a. your car;
            (3) a trailer; and                                     b. a newly acquired car;
        b. the maintenance or use of:                              c. a temporary substitute car; or
            (1) a non-owned car; or                                d. a trailer while attached to a car described
            (2) a temporary substitute car;                             in a., b., or c. above.
    2. the first person shown as a named insured on the            Such vehicle must be used with your express or
        Declarations Page and that named insureds                 implied permission; and

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    4.  any other person or organization vicariously                 (1) that part of the damages we pay; or
        liable for the use of a vehicle by an insured as             (2) this policys applicable Liability Cov-
        defined in 1., 2., or 3. above, but only for such                 erage limit; and
        vicarious liability. This provision applies only
        if the vehicle is neither owned by, nor hired by,       b. after a judgment.
        that other person or organization.                      We have no duty to pay interest that accrues af-
    Insured does not include the United States of               ter we deposit in court, pay, or offer to pay, the
    America or any of its agencies.                             amount due under the Insuring Agreement of
    Insuring Agreement                                          this policys Liability Coverage. We also have
                                                                no duty to pay interest that accrues on any
    1. We will pay damages an insured becomes le-               damages paid or payable by a party other than
        gally liable to pay because of:                         the insured or us;
        a. bodily injury to others; and                     4. Premiums for bonds, provided by a company
        b. damage to property                                   chosen by us, required to appeal a decision in a
                                                                lawsuit against an insured. We have no duty to:
        caused by an accident that involves a vehicle           a. pay for any bond with a face amount that
        for which that insured is provided Liability                 exceeds this policys applicable Liability
        Coverage by this policy.
                                                                     Coverage limit;
    2. We have the right to:                                    b. furnish or apply for any bonds; or
        a. investigate, negotiate, and settle any claim
              or lawsuit;                                       c. pay premiums for bonds purchased after we
                                                                     deposit in court, pay, or offer to pay, the
        b. defend an insured in any claim or lawsuit,                amount due under the Insuring Agreement
              with attorneys chosen by us; and                       of this policys Liability Coverage; and
        c. appeal any award or legal decision
                                                            5. The following costs and expenses if related to
        for damages payable under this policys Liabil-         and incurred after a lawsuit has been filed
        ity Coverage.                                           against an insured:
    Supplementary Payments                                      a. Loss of wages or salary, but not other in-
    We will pay, in addition to the damages described in             come, up to $200 for each day an insured
    the Insuring Agreement of this policys Liability                attends, at our request:
    Coverage, those items listed below that result from              (1) an arbitration;
    such accident:                                                   (2) a mediation; or
    1. Attorney fees for attorneys chosen by us to                   (3) a trial of a lawsuit; and
        defend an insured who is sued for such damag-
        es. We have no duty to pay attorney fees in-            b. Reasonable expenses incurred by an in-
        curred after we deposit in court or pay the                  sured at our request other than loss of
        amount due under the Insuring Agreement of                   wages, salary, or other income.
        this policys Liability Coverage;                       The amount of any of the costs or expenses
    2. Court costs awarded by the court against an              listed above that are incurred by an insured
        insured and resulting from that part of the law-        must be reported to us before we will pay such
        suit:                                                   incurred costs or expenses.
        a. that seeks damages payable under this pol-       Limits
              icys Liability Coverage; and
        b. against which we defend an insured with          The Liability Coverage limits for bodily injury are
              attorneys chosen by us.                       shown on the Declarations Page under Liability
                                                            Coverage  Bodily Injury Limits  Each Person,
        We have no duty to pay court costs incurred af-     Each Accident.
        ter we deposit in court or pay the amount due
        under the Insuring Agreement of this policys       The limit shown under Each Person is the most
        Liability Coverage;                                 we will pay for the sum of:
    3. Interest the insured is legally liable to pay on     1. all damages resulting from bodily injury to any
        damages payable under the Insuring Agree-               one person injured in any one accident; and
        ment of this policys Liability Coverage:           2. all damages, including damages for emotional
        a. before a judgment, but only the interest on          distress, sustained by other persons as a direct
              the lesser of:                                    result of that bodily injury.

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    The limit shown under Each Accident is the most       4.  FOR BODILY INJURY TO THAT INSUREDS
    we will pay, subject to the limit for Each Person,        EMPLOYEE WHICH ARISES OUT OF THAT
    for all damages and all emotional distress resulting        EMPLOYEES EMPLOYMENT. This exclu-
    from bodily injury to two or more persons who               sion does not apply to that insureds household
    sustained damages or emotional distress in the same         employee who is neither covered, nor required to
    accident.                                                   be covered, under workers compensation insur-
    The Liability Coverage limit for damage to property         ance;
    is shown on the Declarations Page under Liability      5. FOR BODILY INJURY TO THAT INSUREDS
    Coverage  Property Damage Limit  Each Acci-               FELLOW EMPLOYEE WHILE THE FELLOW
    dent. The limit shown is the most we will pay for          EMPLOYEE IS IN THE COURSE AND
    all damages resulting from damage to property in            SCOPE OF HIS OR HER EMPLOYMENT.
    any one accident.                                           This exclusion does not apply to you and resident
    These Liability Coverage limits are the most we             relatives who are legally liable for bodily injury
    will pay regardless of the number of:                       to fellow employees, or if this coverage, of this
                                                                policy, is used to certify financial responsibility;
    1. insureds;
                                                            6. FOR DAMAGES ARISING OUT OF THE
    2. claims made;                                             OWNERSHIP, MAINTENANCE, OR USE OF
    3. vehicles insured; or                                     A VEHICLE WHILE IT IS RENTED TO OR
                                                                LEASED TO OTHERS BY AN INSURED;
    4. vehicles involved in the accident.
                                                            7. FOR DAMAGES ARISING OUT OF THE
    Nonduplication                                              OWNERSHIP, MAINTENANCE, OR USE OF
    We will not pay any damages or expenses under Liabil-       A VEHICLE WHILE IT IS BEING USED TO
    ity Coverage:                                               CARRY PERSONS FOR A CHARGE. This
                                                                exclusion does not apply to the use of a private
    1. that have already been paid as expenses under            passenger car on a share-the-expense basis;
         No-Fault Coverage or Medical Payments Cov-
         erage of any policy issued by the State Farm       8. WHILE MAINTAINING OR USING A VE-
                                                                HICLE IN CONNECTION WITH THAT IN-
         Companies to you or any resident relative; or          SUREDS EMPLOYMENT IN OR ENGAGE-
    2. that have already been paid under Uninsured              MENT OF ANY KIND IN A CAR BUSI-
         Motor Vehicle Coverage or Underinsured Mo-             NESS. This exclusion does not apply to:
         tor Vehicle Coverage of any policy issued by           a. you;
         the State Farm Companies to you or any resi-           b. any resident relative; or
         dent relative.
                                                                c. any agent, employee, or business partner
    Exclusions                                                        of a. or b. above
    THERE IS NO COVERAGE FOR AN INSURED:                        while maintaining or using your car, a newly
    1. WHO INTENTIONALLY CAUSES BODILY                          acquired car, a temporary substitute car, or a
         INJURY OR DAMAGE TO PROPERTY;                          trailer owned by you;
    2. FOR BODILY INJURY TO:                                9. WHILE THAT INSURED IS VALET PARK-
                                                                ING A VEHICLE;
         a. YOU;
                                                            10. WHILE MAINTAINING OR USING ANY VE-
         b. RESIDENT RELATIVES; AND                             HICLE OTHER THAN YOUR CAR, A NEWLY
         c. ANY OTHER PERSON WHO BOTH                           ACQUIRED CAR, A TEMPORARY SUBSTI-
              RESIDES PRIMARILY WITH AN IN-                     TUTE CAR, OR A TRAILER IN ANY BUSI-
              SURED AND WHO:                                    NESS OR OCCUPATION OTHER THAN A
                                                                CAR BUSINESS OR VALET PARKING. This
              (1) IS RELATED TO THAT INSURED BY                 exclusion does not apply to the maintenance or
                  BLOOD, MARRIAGE, OR ADOP-                     use of a private passenger car;
                  TION; OR                                  11. FOR DAMAGE TO PROPERTY WHILE IT IS:
              (2) IS A WARD OR FOSTER CHILD OF                  a. OWNED BY;
                  THAT INSURED;                                 b. RENTED TO;
    3. OR FOR THAT INSUREDS INSURER FOR                        c. USED BY;
         ANY OBLIGATION UNDER ANY TYPE OF
         WORKERS COMPENSATION, DISABIL-                        d. IN THE CARE OF; OR
         ITY, OR SIMILAR LAW;                                   e. TRANSPORTED BY
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        YOU, A RESIDENT RELATIVE, OR THE                     2.   The Liability Coverage provided by this policy
        PERSON WHO IS LEGALLY LIABLE FOR                          applies as primary coverage for the ownership,
        THE DAMAGE. This exclusion does not apply                 maintenance, or use of your car or a trailer at-
        to damage to a:                                           tached to it.
        a. motor vehicle owned by the employer of                 a. If:
             you or any resident relative if such dam-
             age is caused by an insured while operat-                (1) this is the only Car Policy issued to
             ing another motor vehicle;                                    you or any resident relative by the
        b. residence while rented to or leased to an                       State Farm Companies that provides
             insured; or                                                   liability coverage which applies to the
        c. private garage while rented to or leased to                     accident as primary coverage; and
             an insured;                                              (2) liability coverage provided by one or
    12. FOR LIABILITY ASSUMED UNDER ANY                                    more sources other than the State
        CONTRACT OR AGREEMENT;                                             Farm Companies also applies as pri-
    13. WHILE USING A TRAILER WITH A MO-                                   mary coverage for the same accident,
        TOR VEHICLE IF THAT INSURED IS NOT                            then we will pay the proportion of dam-
        PROVIDED LIABILITY COVERAGE BY                                ages payable as primary that our applica-
        THIS POLICY FOR THE USE OF THAT                               ble limit bears to the sum of our applicable
        MOTOR VEHICLE;                                                limit and the limits of all other liability
    14. FOR THE OWNERSHIP, MAINTENANCE,                               coverage that apply as primary coverage.
        OR USE OF ANY VEHICLE WHILE IT IS:
                                                                  b. If:
        a. OFF PUBLIC ROADS AND BEING PRE-
             PARED FOR, USED IN PRACTICE FOR,                         (1) more than one Car Policy issued to
             OR OPERATED IN ANY RACING CON-                                you or any resident relative by the
             TEST,      SPEED       CONTEST,       HILL-                   State Farm Companies provides lia-
             CLIMBING CONTEST, JUMPING CON-                                bility coverage which applies to the
             TEST, OR ANY SIMILAR CONTEST; OR                              accident as primary coverage; and
        b. ON A TRACK DESIGNED PRIMARILY                              (2) liability coverage provided by one or
             FOR RACING OR HIGH-SPEED DRIV-                                more sources other than the State
             ING. This exclusion (14.b.) does not apply if                 Farm Companies also applies as pri-
             the vehicle is being used in connection with                  mary coverage for the same accident,
             an activity other than racing, high-speed                then the State Farm Companies will pay the
             driving, or any type of competitive driving;
             OR                                                       proportion of damages payable as primary
                                                                      that the maximum amount that may be paid
    15. WHO IS AN EMPLOYEE OF THE UNITED                              by the State Farm Companies as determined
        STATES OF AMERICA OR ANY OF ITS                               in 1. above bears to the sum of such amount
        AGENCIES, IF THE PROVISIONS OF THE                            and the limits of all other liability coverage
        FEDERAL TORT CLAIMS ACT APPLY.                                that apply as primary coverage.
    If Other Liability Coverage Applies                      3.   Except as provided in 2. above, the Liability
    1. If liability coverage provided by this policy and          Coverage provided by this policy applies as
        one or more other Car Policies issued to you or           excess coverage.
        any resident relative by the State Farm Com-              a. If:
        panies apply to the same accident, then:
                                                                      (1) this is the only Car Policy issued to
        a. the liability coverage limits of such poli-                     you or any resident relative by the
             cies will not be added together to deter-
             mine the most that may be paid; and                           State Farm Companies that provides
                                                                           liability coverage which applies to the
        b. the maximum amount that may be paid                             accident as excess coverage; and
             from all such policies combined is the sin-
             gle highest applicable limit provided by                 (2) liability coverage provided by one or
             any one of the policies. We may choose                        more sources other than the State
             one or more policies from which to make                       Farm Companies also applies as ex-
             payment.                                                      cess coverage for the same accident,

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             then we will pay the proportion of dam-        Required Out-of-State Liability Coverage
             ages payable as excess that our applicable     If:
             limit bears to the sum of our applicable
             limit and the limits of all other liability    1. an insured is in another state of the United
                                                                 States of America, a territory or possession
             coverage that apply as excess coverage.             of the United States of America, the District
        b.   If:                                                 of Columbia, or any province or territory of
                                                                 Canada, and as a nonresident becomes sub-
             (1) more than one Car Policy issued to you          ject to its motor vehicle compulsory insur-
                  or any resident relative by the State          ance law, financial responsibility law, or
                  Farm Companies provides liability              similar law; and
                  coverage which applies to the accident    2. this policy does not provide at least the mini-
                  as excess coverage; and                        mum liability coverage required by such law
             (2) liability coverage provided by one or           for such nonresident,
                  more sources other than the State         then this policy will be interpreted to provide
                  Farm Companies also applies as ex-        the minimum liability coverage required by such
                  cess coverage for the same accident,      law.
             then the State Farm Companies will pay         This provision does not apply to liability coverage
             the proportion of damages payable as ex-       required by law for motor carriers of passengers or
             cess that the maximum amount that may          motor carriers of property.
             be paid by the State Farm Companies as         Financial Responsibility Certification
             determined in 1. above bears to the sum of     When this policy is certified under any law as proof
             such amount and the limits of all other lia-   of future financial responsibility, and while required
             bility coverage that apply as excess cover-    during the policy period, this policy will comply
             age.                                           with such law to the extent required.




                            PROPERTY DAMAGE LIABILITY COVERAGE
    This policy provides Property Damage Liability              but only if such car is neither owned by, nor
    Coverage if B is shown under SYMBOLS on                 furnished by an employer to, the first person
    the Declarations Page.                                      shown as a named insured on the Declarations
    Additional Definition                                       Page or that persons spouse;
    Insured means:                                          3. any other person for his or her use of:
    1. you and resident relatives for:                          a. your car;
        a. the ownership, maintenance, or use of:               b. a newly acquired car;
             (1) your car;                                      c. a temporary substitute car; or
             (2) a newly acquired car; or                       d. a trailer while attached to a car described
             (3) a trailer; and                                      in a., b., or c. above.
                                                                Such vehicle must be used with your express or
        b. the maintenance or use of:                           implied permission; and
             (1) a non-owned car; or                        4. any other person or organization vicariously
             (2) a temporary substitute car;                    liable for the use of a vehicle by an insured as
    2. the first person shown as a named insured on             defined in 1., 2., or 3. above, but only for such
        the Declarations Page and that named insureds          vicarious liability. This provision applies only
        spouse who resides primarily with that named            if the vehicle is neither owned by, nor hired by,
        insured for the maintenance or use of a car that        that other person or organization.
        is owned by, or furnished by an employer to, a      Insured does not include the United States of
        person who resides primarily in your household,     America or any of its agencies.

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    Insuring Agreement                                      3.  Interest the insured is legally liable to pay on
    1. We will pay damages an insured becomes le-               damages payable under the Insuring Agree-
         gally liable to pay because of damage to prop-         ment of this policys Property Damage Liabil-
         erty caused by an accident that involves a             ity Coverage:
         vehicle for which that insured is provided             a. before a judgment, but only the interest on
         Property Damage Liability Coverage by this                  the lesser of:
         policy;                                                     (1) that part of the damages we pay; or
    2. We have the right to:                                         (2) this policys applicable Property
         a. investigate, negotiate, and settle any claim                  Damage Liability Coverage limit; and
               or lawsuit;                                      b. after a judgment.
         b. defend an insured in any claim or lawsuit,          We have no duty to pay interest that accrues af-
               with attorneys chosen by us; and                 ter we deposit in court, pay, or offer to pay, the
         c. appeal any award or legal decision                  amount due under the Insuring Agreement of
         for damages payable under this policys Prop-          this policys Property Damage Liability Cover-
         erty Damage Liability Coverage.                        age. We also have no duty to pay interest that
                                                                accrues on any damages paid or payable by a
    3. We will only defend an insured in a claim or             party other than the insured or us.
         lawsuit for damages payable under this policys    4. Premiums for bonds, provided by a company
         Property Damage Liability Coverage, that are           chosen by us, required to appeal a decision in a
         caused by an accident for which that insured is        lawsuit against an insured. We have no duty
         provided Property Damage Liability Coverage            to:
         by this policy. If a claim or lawsuit seeks dam-       a. pay for any bond with a face amount that
         ages due to both property damage and bodily                 exceeds this policys applicable Property
         injury, then we will only defend the insured                Damage Liability Coverage limit;
         for property damage, and the insured will be           b. furnish or apply for any bonds; or
         required to hire and pay attorneys to defend the
         insured for damages due to bodily injury.              c. pay premiums for bonds purchased after
                                                                     we deposit in court, pay, or offer to pay,
    Supplementary Payments                                           the amount due under this policys Proper-
    We will pay, in addition to the damages described                ty Damage Liability Coverage; and
    in the Insuring Agreement of this policys Property     5. The following costs and expenses if related to
    Damage Liability Coverage, those items listed be-           and incurred after a lawsuit has been filed
    low that result from such accident:                         against an insured:
    1. Attorney fees for attorneys chosen by us to              a. Loss of wages or salary, but not other in-
         defend an insured who is sued for such damag-               come, up to $200 for each day an insured
         es. We have no duty to pay attorney fees in-                attends, at our request:
         curred after we deposit in court or pay the                 (1) an arbitration;
         amount due under the Insuring Agreement of                  (2) a mediation; or
         this policys Property Damage Liability Cover-              (3) a trial of a lawsuit; and
         age.
                                                                b. Reasonable expenses incurred by an in-
    2. Court costs awarded by the court against an                   sured at our request other than loss of
         insured and resulting from that part of a law-              wages, salary, or other income.
         suit:                                                  The amount of any of the costs or expenses
         a. that seeks damages payable under this pol-          listed above that are incurred by an insured
               icys Property Damage Liability Coverage;        must be reported to us before we will pay such
               and                                              incurred costs or expenses.
         b. against which we defend an insured with         Limit
               attorneys chosen by us.                      The Property Damage Liability Coverage limit for
                                                            damage to property is shown on the Declarations
         We have no duty to pay court costs incurred af-    Page under Property Damage Liability Coverage 
         ter we deposit in court or pay the amount due      Limit  Each Accident. The limit shown is the
         under the Insuring Agreement of this policys      most we will pay for all damages resulting from
         Property Damage Liability Coverage.                damage to property in any one accident.
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    The Property Damage Liability Coverage limit is          the maintenance or use of a private passenger
    the most we will pay regardless of the number of:        car;
    1. insureds;                                         9. FOR DAMAGE TO PROPERTY WHILE IT
    2. claims made;                                          IS:
    3. vehicles insured; or                                  a. OWNED BY;
    4. vehicles involved in the accident.                    b. RENTED TO;
    Exclusions                                               c. USED BY;
    THERE IS NO COVERAGE FOR AN INSURED:                     d. IN THE CARE OF; OR
    1. WHO INTENTIONALLY CAUSES DAM-                         e. TRANSPORTED BY
        AGE TO PROPERTY;                                     YOU, A RESIDENT RELATIVE, OR THE
    2. FOR BODILY INJURY;                                    PERSON WHO IS LEGALLY LIABLE FOR
                                                             THE DAMAGE. This exclusion does not ap-
    3. OR FOR THAT INSUREDS INSURER FOR                     ply to damage to a:
        ANY OBLIGATION UNDER ANY TYPE OF
        WORKERS COMPENSATION, DISABIL-                      a. motor vehicle owned by the employer of
        ITY, OR SIMILAR LAW;                                      you or any resident relative if such dam-
                                                                  age is caused by an insured while operat-
    4. FOR DAMAGES ARISING OUT OF THE                             ing another motor vehicle;
        OWNERSHIP, MAINTENANCE, OR USE
        OF A VEHICLE WHILE IT IS RENTED TO                   b. residence while rented to or leased to an
        OR LEASED TO OTHERS BY AN INSURED;                        insured;
    5. FOR DAMAGES ARISING OUT OF THE                        c. private garage while rented to or leased to
        OWNERSHIP, MAINTENANCE, OR USE                            an insured.
        OF A VEHICLE WHILE IT IS BEING USED              10. FOR LIABILITY ASSUMED UNDER ANY
        TO CARRY PERSONS FOR A CHARGE.                       CONTRACT OR AGREEMENT;
        This exclusion does not apply to the use of a    11. WHILE USING A TRAILER WITH A MO-
        private passenger car on a share-the-expense         TOR VEHICLE IF THAT INSURED IS NOT
        basis;                                               PROVIDED LIABILITY COVERAGE BY
    6. WHILE MAINTAINING OR USING A VE-                      THIS POLICY FOR THE USE OF THAT
        HICLE IN CONNECTION WITH THAT IN-                    MOTOR VEHICLE;
        SUREDS          EMPLOYMENT          IN     OR   12. FOR THE OWNERSHIP, MAINTENANCE,
        ENGAGEMENT OF ANY KIND IN A CAR                      OR USE OF ANY VEHICLE WHILE IT IS:
        BUSINESS. This exclusion does not apply to:
                                                             a. OFF PUBLIC ROADS AND BEING PRE-
        a. you;                                                   PARED FOR, USED IN PRACTICE FOR,
        b. any resident relative; or                              OR OPERATED IN ANY RACING CON-
        c. any agent, employee, or business partner               TEST,     SPEED      CONTEST,        HILL-
             of a. or b. above                                    CLIMBING CONTEST, JUMPING CON-
                                                                  TEST, OR ANY SIMILAR CONTEST; OR
        while maintaining or using your car, a newly
        acquired car, a temporary substitute car, or a       b. ON A TRACK DESIGNED PRIMARILY
        trailer owned by you;                                     FOR RACING OR HIGH-SPEED DRIV-
    7. WHILE THAT INSURED IS VALET PARK-                          ING. This exclusion (12.b.) does not ap-
        ING A VEHICLE;                                            ply if the vehicle is being used in
    8. WHILE MAINTAINING OR USING ANY                             connection with an activity other than rac-
        VEHICLE OTHER THAN YOUR CAR, A                            ing, high-speed driving, or any type of
        NEWLY ACQUIRED CAR, A TEMPORARY                           competitive driving; OR
        SUBSTITUTE CAR, OR A TRAILER IN                  13. WHO IS AN EMPLOYEE OF THE UNITED
        ANY BUSINESS OR OCCUPATION OTHER                     STATES OF AMERICA OR ANY OF ITS
        THAN A CAR BUSINESS OR VALET                         AGENCIES, IF THE PROVISIONS OF THE
        PARKING. This exclusion does not apply to            FEDERAL TORT CLAIMS ACT APPLY.


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    If Other Property Damage Liability Coverage                           applies as primary coverage for the
    Applies                                                               same accident,
    1. If property damage liability coverage provided                then the State Farm Companies will pay
        by this policy and one or more other Car Poli-               the proportion of damages payable as pri-
        cies issued to you or any resident relative by               mary that the maximum amount that may
        the State Farm Companies apply to the same                   be paid by the State Farm Companies as
        accident, then:                                              determined in 1. above bears to the sum of
        a. the property damage liability coverage                    such amount and the limits of all other
             limits of such policies will not be added               property damage liability coverage that
             together to determine the most that may be              apply as primary coverage.
             paid; and                                     3.   Except as provided in 2. above, the Property
                                                                Damage Liability Coverage provided by this
        b. the maximum amount that may be paid                  policy applies as excess coverage.
             from all such policies combined is the sin-
             gle highest applicable limit provided by           a. If:
             any one of the policies. We may choose                  (1) this is the only Car Policy issued to
             one or more policies from which to make                      you or any resident relative by the
             payment.                                                     State Farm Companies that provides
    2. The Property Damage Liability Coverage pro-                        property damage liability coverage
        vided by this policy applies as primary cover-                    which applies to the accident as ex-
        age for the ownership, maintenance, or use of                     cess coverage; and
        your car or a trailer attached to it.                        (2) property damage liability coverage
        a. If:                                                            provided by one or more sources other
                                                                          than the State Farm Companies also
             (1) this is the only Car Policy issued to                    applies as excess coverage for the
                  you or any resident relative by the                     same accident,
                  State Farm Companies that provides
                  property damage liability coverage                 then we will pay the proportion of damag-
                  which applies to the accident as pri-              es payable as excess that our applicable
                  mary coverage; and                                 limit bears to the sum of our applicable
                                                                     limit and the limits of all other property
             (2) property damage liability coverage                  damage liability coverage that apply as ex-
                  provided by one or more sources other              cess coverage.
                  than the State Farm Companies also
                  applies as primary coverage for the           b. If:
                  same accident,                                     (1) more than one Car Policy issued to
                                                                          you or any resident relative by the
             then we will pay the proportion of damag-                    State Farm Companies provides
             es payable as primary that our applicable                    property damage liability coverage
             limit bears to the sum of our applicable                     which applies to the accident as ex-
             limit and the limits of all other property                   cess coverage; and
             damage liability coverage that apply as                 (2) property damage liability coverage
             primary coverage.                                            provided by one or more sources other
        b. If:                                                            than the State Farm Companies also
                                                                          applies as excess coverage for the
             (1) more than one Car Policy issued to                       same accident,
                  you or any resident relative by the                then the State Farm Companies will pay
                  State Farm Companies provides                      the proportion of damages payable as ex-
                  property damage liability coverage                 cess that the maximum amount that may
                  which applies to the accident as pri-              be paid by the State Farm Companies as
                  mary coverage; and                                 determined in 1. above bears to the sum of
             (2) property damage liability coverage                  such amount and the limits of all other
                  provided by one or more sources other              property damage liability coverage that
                  than the State Farm Companies also                 apply as excess coverage.

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    Required Out-of-State Liability Coverage               then this policy will be interpreted to provide the
    If:                                                    minimum liability coverage required by such law.
    1. an insured is in another state of the United        This provision does not apply to liability coverage
        States of America, a territory or possession of    required by law for motor carriers of passengers or
        the United States of America, the District of      motor carriers of property.
        Columbia, or any province or territory of Can-
        ada, and as a nonresident becomes subject to its   Financial Responsibility Certification
        motor vehicle compulsory insurance law, fi-
        nancial responsibility law, or similar law; and    When this policy is certified under any law as proof
    2. this policy does not provide at least the mini-     of future financial responsibility, and while required
        mum liability coverage required by such law        during the policy period, this policy will comply
        for such nonresident,                              with such law to the extent required.




                                          NO-FAULT COVERAGE
    This policy provides No-Fault Coverage if P              after the motor vehicle accident that caused
    with a number beside it is shown under SYM-               bodily injury to that insured.
    BOLS on the Declarations Page. P with a num-            We will not pay for any medical expenses if
    ber beside it is your coverage symbol. Check your          that insured does not receive initial services
    coverage symbol shown on the Declarations Page             and care from a provider described in A. below
    with the SCHEDULE in the Limits section. The               within 14 days after the motor vehicle accident
    Income Loss option you have selected is shown by           that caused bodily injury to that insured.
    your coverage symbol.
                                                               We will only pay medical expenses for:
    Additional Definition                                      A. initial services and care:
    Insured means:                                                  (1) lawfully provided, supervised, ordered
    1. named insureds and relatives:                                     or prescribed by:
         a. while occupying a motor vehicle;                             (a) a physician licensed under chap-
         b. struck as a pedestrian by a motor vehicle;                        ter 458 or chapter 459 of the Flor-
             or                                                               ida Statutes;
    2. any other person while occupying or struck as                     (b) a dentist licensed under chapter
         a pedestrian by:                                                     466 of the Florida Statutes; or
         a. your car;                                                    (c) a chiropractic physician licensed
                                                                              under chapter 460 of the Florida
         b. a newly acquired car;                                             Statutes;
         c. a temporary substitute car; or                          (2) provided in a hospital or facility that
         d. a trailer while attached to a car described                  owns, or is wholly owned by, a hospital;
             in a., b., or c. above.                                     or
    Insuring Agreement                                              (3) provided by a person or entity li-
    We will pay in accordance with the No-Fault Act                      censed under part III of chapter 401 of
    properly billed and documented reasonable charg-                     the Florida Statutes which provides
    es for bodily injury to an insured caused by an ac-                  emergency transportation and treat-
    cident resulting from the ownership, maintenance,                    ment;
    or use of a motor vehicle as follows:                      B. upon referral by a provider described in A.
    1. Medical Expenses                                             above, follow-up services and care con-
         We will pay 80% of properly billed and docu-               sistent with the underlying medical diag-
         mented medical expenses, but only if that in-              nosis rendered pursuant to A. above which
         sured receives initial services and care from a            may be provided, supervised, ordered, or
         provider described in A. below within 14 days              prescribed only by:
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          (1) a physician or osteopathic physician                          or chapter 460 of the Florida
                licensed under chapter 458 or chapter                       Statutes;
                459 of the Florida Statutes;                            (b) has been continuously licensed
          (2) a dentist licensed under chapter 466 of                       for more than three years or is a
                the Florida Statutes;                                       publicly traded corporation that
          (3) a chiropractic physician licensed un-                         issues securities traded on an ex-
                der chapter 460 of the Florida Statues;                     change registered with the United
                or                                                          States Securities and Exchange
                                                                            Commission as a national securi-
          (4) to the extent permitted by applicable                         ties exchange; and
                law and under the supervision of a                      (c) provides at least four of the fol-
                person described in (1), (2), or (3)                        lowing medical specialties:
                immediately above;
                (a) a physician assistant licensed un-                      i. general medicine;
                     der chapter 458 or chapter 459 of                      ii. radiography;
                     the Florida Statutes; or                               iii. orthopedic medicine;
                (b) an advanced registered nurse                            iv. physical medicine;
                     practitioner licensed under chap-
                     ter 464 of the Florida Statutes;                       v. physical therapy;
                     and                                                    vi. physical rehabilitation;
       C. follow-up services and care consistent with                       vii. prescribing or dispensing
          the underlying medical diagnosis rendered                               outpatient prescription medi-
          pursuant to A. above which may only be
          provided by the following persons or enti-                              cation; or
          ties:                                                             viii. laboratory services.
          (1) a hospital or ambulatory surgical cen-       2. Income Loss
                ter licensed under chapter 395 of the
                Florida Statutes;                             We will pay, when properly documented, 60%
                                                              of any loss of gross income and loss of earn-
          (2) an entity wholly owned by one or                ings capacity per individual injured insured
                more physicians licensed under chap-          from that insureds inability to work that is
                ter 458 or 459 of the Florida Statutes,
                chiropractic physicians licensed under        proximately caused by the injury sustained by
                chapter 460 of the Florida Statutes or        that individual insured.
                dentists licensed under chapter 466 of     3. Replacement Services Loss
                the Florida Statutes, or by such practi-
                tioners and the spouse, parent, child,        We will pay, when properly documented, rea-
                or sibling of such practitioners;             sonable charges incurred in obtaining from
          (3) an entity that owns or is wholly                others ordinary and necessary services in lieu
                owned, directly or indirectly, by a           of those that, but for the injury, the individual
                hospital or hospitals;                        injured insured would have performed without
                                                              income for the benefit of his or her household.
          (4) a physical therapist licensed under
                chapter 486 of the Florida Statutes,       4. Death Benefits
                based upon referral by a provider de-         We will pay $5,000 per deceased individual in-
                scribed in B. above;                          sured.
          (5) a health care clinic licensed under part     Limits
                X of chapter 400 of the Florida Stat-
                utes which is accredited by the Joint      1. We will not pay any charge that the No-Fault
                Commission on Accreditation of                Act does not require us to pay, or the amount of
                Healthcare Organizations, the Ameri-          any charge that exceeds the amount the No-
                can Osteopathic Association, the              Fault Act allows to be charged.
                Commission on Accreditation of Re-         2. The most we will pay for each injured insured
                habilitation Facilities, or the Accredi-      as a result of any one accident is $10,000 for
                tation Association for Ambulatory             all combined Medical Expenses, Income
                Health Care, Inc., or                         Loss, and Replacement Services Loss, de-
                (a) has a medical director licensed           scribed in the Insuring Agreement of this pol-
                     under chapter 458, chapter 459,          icys No-Fault Coverage.
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       The limit for Medical Expenses is $10,000 if a                  (II) Medicare Part B, in the case of ser-
       physician (excluding a chiropractic physician), a                     vices, supplies, and care provided by
       dentist, a physician assistant, or an advanced reg-                   ambulatory surgical centers and clini-
       istered nurse practitioner described in 1.A. or 1.B                   cal laboratories.
       under the Insuring Agreement of this policys                   (III) The Durable Medical Equipment
       No-Fault Coverage determined the injured in-                          Prosthetics/Orthotics and Supplies fee
       sured had an emergency medical condition.                             schedule of Medicare Part B, in the
       The limit for Medical Expenses is $2,500 if                           case of durable medical equipment.
       any healthcare provider described in 1.A. or                    However, if such services, supplies, or care
       1.B. under the Insuring Agreement of this                       is not reimbursable under Medicare Part B,
       policys No-Fault Coverage determined the in-                   as provided in this sub-subparagraph, then
       jured insured did not have an emergency med-                    we will limit reimbursement to 80 percent
       ical condition.                                                 of the maximum reimbursable allowance
       We will limit payment of Medical Expenses de-                   under workers' compensation, as deter-
       scribed in the Insuring Agreement of this poli-                 mined under s. 440.13, Florida Statutes,
       cys No-Fault Coverage to 80% of a properly                     and rules adopted thereunder which are in
       billed and documented reasonable charge, but                    effect at the time such services, supplies,
       in no event will we pay more than 80% of the                    or care is provided. Services, supplies, or
       following No-Fault Act schedule of maxi-                       care that is not reimbursable under Medi-
       mum charges including the use of Medicare                      care or workers compensation (Florida
       coding policies and payment methodologies of                    Rules of Procedure for Workers Compen-
       the federal Centers for Medicare and Medicaid                   sation Adjudication) will not be reim-
       Services, including applicable modifiers:                       bursed by us.
       a. For emergency transport and treatment by                For purposes of the above, the applicable fee
            providers licensed under chapter 401, Flor-           schedule or payment limitation under Medicare
            ida Statutes, 200 percent of Medicare.                is the fee schedule or payment limitation in ef-
       b. For emergency services and care provided                fect on March 1 of the year in which the ser-
            by a hospital licensed under chapter 395,             vices, supplies, or care is rendered and for the
            Florida Statutes, 75 percent of the hospi-            area in which such services, supplies, or care is
            tal's usual and customary charges.                    rendered, and the applicable fee schedule or
                                                                  payment limitation applies throughout the re-
       c. For emergency services and care as de-                  mainder of that year, notwithstanding any sub-
            fined by s. 395.002, Florida Statutes, pro-           sequent change made to the fee schedule or
            vided in a facility licensed under chapter            payment limitation, except that it will not be
            395, Florida Statutes, rendered by a physi-           less than the allowable amount under the appli-
            cian or dentist, and related hospital inpa-           cable schedule of Medicare Part B for 2007 for
            tient services rendered by a physician or             medical services, supplies, and care subject to
            dentist, the usual and customary charges in           Medicare Part B.
            the community.
                                                             3.   We will pay a Death Benefit of $5,000 per
       d. For hospital inpatient services, other than             deceased individual insured. Death Benefits
            emergency services and care, 200 percent              are in addition to the Medical Expenses, In-
            of the Medicare Part A prospective pay-               come Loss, and Replacement Services Loss
            ment applicable to the specific hospital              limit.
            providing the inpatient services.
                                                             4.   SCHEDULE
       e. For hospital outpatient services, other than
            emergency services and care, 200 percent               Coverage        Income        Income Loss
            of the Medicare Part A Ambulatory Pay-                 Symbol          Loss          Benefits
            ment Classification for the specific hospi-                            Benefits      Eliminated
            tal providing the outpatient services.                                 Eliminated    For Named
       f. For all other medical services, supplies,                                For           Insureds
            and care, 200 percent of the allowable                                 Named         Dependent
            amount under:                                                          Insureds      Relatives
            (I) The participating physicians fee                   P10             No            No
                  schedule of Medicare Part B, except              P14             Yes           Yes
                  as provided in sub-sub-subparagraphs
                  (II) and (III).                                  P19             Yes           No

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    Application of Any Deductible and Workers                     a.   by or on behalf of any person or organiza-
    Compensation Offset                                                 tion who is or may be held legally liable
    1. The deductible amount, if any, is shown on the                   for the bodily injury to the insured; or
         Declarations Page beside your coverage sym-               b.   for bodily injury under Liability Coverage
         bol. The deductible amount does not apply to                   of any policy issued by the State Farm
         Death Benefits.                                                Companies to any named insured or any
         The deductible amount applies to:                              relative;
         a. each named insured if N follows the de-         2.  that:
              ductible amount; or                                 a. have already been paid;
         b. each named insured and each dependent                 b. could have been paid; or
              relative if N does not follow the deduct-         c. could be paid
              ible amount.
         Any deductible will be applied to 100% of                to or for the insured under other no-fault coverage,
         properly billed and documented Medical Ex-               any disability benefits law, or similar law; or
         penses, properly documented Income Loss,             3. that have already been paid as expenses under
         and properly documented Replacement Ser-                 Medical Payments Coverage of this policy, the
         vices Loss that are eligible to be paid under            medical payments coverage of any other poli-
         this coverage. The deductible will be applied            cy, or other similar vehicle insurance.
         to such expenses and losses upon our receipt of
         reasonable documented proof of the expenses          Exclusions
         and losses and the amount of expenses and            THERE IS NO COVERAGE FOR:
         losses incurred.
                                                              1. BODILY INJURY TO:
    2. After any applicable deductible has been ap-
         plied, we will pay the balance of properly               a. ANY PEDESTRIAN NOT A RESIDENT
                                                                        OF FLORIDA; OR
         billed and documented Medical Expenses, In-
         come Loss, and Replacement Services Loss                 b. ANY PERSON ENTITLED TO NO-
         in accordance with the percentages and limits                  FAULT BENEFITS FROM:
         as described in the section titled Limits.                     (1) THE OWNER OF A MOTOR VEHI-
                                                                             CLE OTHER THAN A NAMED IN-
    3. We will reduce the amount payable as determined                       SURED; OR
         in item 2. above by any workers compensation
         benefits received for the same loss or expense.                (2) THAT OWNERS INSURER.
    Partial Payment or Rejection of a Claim                       This exclusion (1.) does not apply to any
                                                                  named insured or any relative;
    If we pay only a portion of a claim or reject a claim
    due to an alleged error in the claim, then we shall, at   2. ANY NAMED INSURED OR RELATIVE
    the time of the partial payment or rejection, provide         WHO SUSTAINED BODILY INJURY
    an itemized specification or explanation of benefits          WHILE OCCUPYING A MOTOR VEHICLE
    due to the specified error. Upon receiving the speci-         OWNED BY THE NAMED INSURED AND
    fication or explanation, the person making the                NOT INSURED UNDER THIS POLICY;
    claim, at the person's option and without waiving         3. ANY INSURED PERSON:
    any other legal remedy for payment, has 15 days to
    submit a revised claim, which shall be considered a           a. WHOSE CONDUCT CONTRIBUTED
    timely submission of written notice of a claim.                     TO HIS OR HER BODILY INJURY UN-
    In a dispute between the insured and us, or between                 DER ANY OF THE FOLLOWING CIR-
    an assignee of the insureds rights and us, upon                    CUMSTANCES:
    request, we will notify the insured or the assignee                 (1) CAUSING BODILY INJURY TO
    that the policy limits under this section have been                      HIMSELF OR HERSELF INTEN-
    reached within 15 days after the limits have been                        TIONALLY; OR
    reached.
    Nonduplication                                                      (2) WHILE COMMITTING A FELONY;
    We will not pay under No-Fault Coverage any ben-              b. WHOSE BODILY INJURY OCCURRED
    efits:                                                              WHILE:
    1. that have already been paid to or for the insured:

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             (1) DRIVING YOUR CAR OR A NEW-                      a.  the No-Fault Coverage limits of such poli-
                  LY ACQUIRED CAR WITHOUT                            cies shall not be added together to deter-
                  YOUR PERMISSION; OR                                mine the most that may be paid; and
             (2) OCCUPYING A MOTOR VEHICLE                     b. the maximum amount that may be paid from
                  LOCATED FOR USE AS A DWELL-                        all such policies combined is the single high-
                                                                     est applicable limit provided by any one of
                  ING OR PREMISES;                                   the policies. We may choose one or more
        c. WHO OWNS A MOTOR VEHICLE SUB-                             policies from which to make payment.
             JECT TO THE NO-FAULT ACT. This ex-             2. If No-Fault Coverage provided by this policy
             clusion (3.c.) does not apply to:                 and one or more other vehicle policies issued to
             (1) any named insured;                            any named insured or any relative by one or
             (2) the spouse of any named insured; and          more sources other than the State Farm Com-
                                                               panies apply to the same bodily injury, then:
             (3) any relative while occupying your car         a. the No-Fault Coverage limits of such poli-
                  if the accident occurs outside Florida;            cies shall not be added together to deter-
                  OR                                                 mine the most that may be paid;
        d. WHO REFUSES TO:                                     b. the maximum amount that may be paid from
             (1) SUBMIT TO, COMPLETE, OR                             all such policies combined is the single high-
                  FAILS TO APPEAR AT AN EXAM-                        est applicable limit provided by any one of the
                  INATION UNDER OATH; OR                             policies, subject to our pro rata share of the
             (2) PROVIDE, COMPLETE, OR FAILS                         highest applicable limit provided by any one
                  TO APPEAR AT A STATEMENT                           of the policies; and
                  UNDER OATH;                                  c. we are entitled to recover from each insur-
    4. INCOME LOSS WHEN THE SCHEDULE                                 er that is liable to pay no-fault coverage
        SHOWS INCOME LOSS BENEFITS ARE                               benefits to or for the insured who sus-
        ELIMINATED UNDER YOUR COVERAGE                               tained bodily injury, an equitable pro rata
        SYMBOL;                                                      share of benefits paid and expenses in-
                                                                     curred in processing the claim.
    5. ANY MASSAGE AS DEFINED IN S.                         Our Payment Options
        480.033, FLORIDA STATUTES, OR ACU-
        PUNCTURE AS DEFINED IN S. 457.102,                  We may, at our option, make payment to one or
        FLORIDA STATUTES, REGARDLESS OF                     more of the following:
        THE PERSON OR ENTITY PROVIDING                      1. The insured;
        THE MASSAGE OR ACUPUNCTURE; OR
                                                            2. The insureds surviving spouse;
    6. ANY SERVICES, CARE, TREATMENT, OR
        SUPPLIES PROVIDED BY ANY MASSAGE                    3. A parent or guardian of the insured, if the insured
        THERAPIST OR ANY ACUPUNCTURIST.                        is a minor or an incompetent person;
    If Other No-Fault Coverage Applies                      4. A person authorized by law to receive such pay-
                                                               ment;
    1. If No-Fault Coverage provided by this policy
        and one or more other vehicle policies issued to    5. Any person or organization that provides the
        any named insured or any relative by the State         medical services or funeral services; or
        Farm Companies apply to the same bodily in-         6. Any person appearing to us to be equitably
        jury, then:                                            entitled to receive such payment.




                                   MEDICAL PAYMENTS COVERAGE
    This policy provides Medical Payments Coverage          1.   while occupying a motor vehicle;
    if C is shown under SYMBOLS on the Dec-             2.   through being struck as a pedestrian by a mo-
    larations Page.                                              tor vehicle; or
    Additional Definition                                   3.   through being struck as a pedestrian by a mo-
                                                                 torcycle of a type required to be licensed for
    Insured means named insureds and relatives:                  use on Florida highways.
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    Insuring Agreement                                               (2) a dentist licensed under chapter 466 of
    1. Medical Payments Coverage is excess over No-                        the Florida Statutes;
        Fault Coverage. The no-fault deductible, if any, is          (3) a chiropractic physician licensed un-
        not payable under Medical Payments Coverage.                       der chapter 460 of the Florida Statues;
    2. We will pay properly billed and documented                          or
        medical expenses for services and care that are              (4) to the extent permitted by applicable
        incurred because of bodily injury to an insured                    law and under the supervision of a
        caused by an accident resulting from the own-                      person described in (1), (2), or (3)
        ership, maintenance, or use of a motor vehicle,                    immediately above;
        but only:                                                          (a) a physician assistant licensed un-
        a. if that insured receives initial services and                        der chapter 458 or chapter 459 of
             care from a provider described in A. below                         the Florida Statutes; or
             within 14 days after the motor vehicle acci-                  (b) an advanced registered nurse
             dent that caused bodily injury to that insured;                    practitioner licensed under chap-
             and                                                                ter 464 of the Florida Statutes;
        b. if such services and care are provided                               and
             within three years after the motor vehicle           C. follow-up services and care consistent with
             accident that caused bodily injury to that
             insured.                                                the underlying medical diagnosis rendered
                                                                     pursuant to A. above which may only be
        We will not pay for any medical expenses if                  provided by the following persons or enti-
        the insured does not receive initial services and            ties:
        care from a provider described in A. below
        within 14 days after the motor vehicle accident              (1) a hospital or ambulatory surgical cen-
        that caused bodily injury to that insured.                         ter licensed under chapter 395 of the
        We will only pay medical expenses for:                             Florida Statutes;
        A. initial services and care:                                (2) an entity wholly owned by one or
                                                                           more physicians licensed under chap-
             (1) lawfully provided, supervised, ordered                    ter 458 or 459 of the Florida Statutes,
                  or prescribed by:                                        chiropractic physicians licensed under
                  (a) a physician licensed under chap-                     chapter 460 of the Florida Statutes or
                        ter 458 or chapter 459 of the Flor-                dentists licensed under chapter 466 of
                        ida Statutes;                                      the Florida Statutes, or by such practi-
                                                                           tioners and the spouse, parent, child,
                  (b) a dentist licensed under chapter                     or sibling of such practitioners;
                        466 of the Florida Statutes; or
                                                                     (3) an entity that owns or is wholly
                  (c) a chiropractic physician licensed                    owned, directly or indirectly, by a
                        under chapter 460 of the Florida                   hospital or hospitals;
                        Statutes;
             (2) provided in a hospital or facility that             (4) a physical therapist licensed under
                  owns, or is wholly owned by, a hospi-                    chapter 486 of the Florida Statutes,
                  tal; or                                                  based upon referral by a provider de-
                                                                           scribed in B. above;
             (3) provided by a person or entity li-                  (5) a health care clinic licensed under part
                  censed under part III of chapter 401 of                  X of chapter 400 of the Florida Stat-
                  the Florida Statutes which provides
                  emergency transportation and treat-                      utes which is accredited by the Joint
                  ment;                                                    Commission on Accreditation of
                                                                           Healthcare Organizations, the Ameri-
        B. upon referral by a provider described in A.                     can Osteopathic Association, the
             above, follow-up services and care con-                       Commission on Accreditation of Re-
             sistent with the underlying medical diag-                     habilitation Facilities, or the Accredi-
             nosis rendered pursuant to A. above which                     tation Association for Ambulatory
             may be provided, supervised, ordered, or                      Health Care, Inc., or
             prescribed only by:
                                                                           (a) has a medical director licensed
             (1) a physician or osteopathic physician                           under chapter 458, chapter 459,
                  licensed under chapter 458 or chapter                         or chapter 460 of the Florida
                  459 of the Florida Statutes;                                  Statutes;

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                  (b) has been continuously licensed          1.   Emergency Medical Condition
                       for more than three years or is a           a. The Medical Payments Coverage limit for
                       publicly traded corporation that                 an insured who has been determined to
                       issues securities traded on an ex-               have an emergency medical condition is
                       change registered with the United                shown on the Declarations Page under
                       States Securities and Exchange                   Medical Payments Coverage  Emergen-
                       Commission as a national securi-                 cy Medical Condition Limit  Each Per-
                       ties exchange; and                               son. This limit is the most we will pay
                                                                        for medical expenses and for funeral ex-
                  (c) provides at least four of the fol-                penses combined that are incurred by or on
                       lowing medical specialties:                      behalf of any one insured as a result of
                       i. general medicine;                             any one accident if the insured has been
                                                                        determined to have an emergency medical
                       ii. radiography;                                 condition by a physician, a dentist, a phy-
                       iii. orthopedic medicine;                        sician assistant, or an advanced registered
                                                                        nurse practitioner described in 2.A. or 2.B.
                       iv. physical medicine;                           under the Insuring Agreement of this pol-
                       v. physical therapy;                             icys Medical Payments Coverage regard-
                       vi. physical rehabilitation;                     less of the number of:
                       vii. prescribing or dispensing                   (1) insureds;
                             outpatient prescription medi-              (2) claims made;
                             cation; or
                                                                        (3) vehicles insured; or
                       viii. laboratory services.
                                                                        (4) vehicles involved in the accident.
    3. We will pay funeral expenses incurred for an
         insured who dies within three years immedi-               b. Subject to the limit shown on the Declara-
         ately following the date of a motor vehicle                    tions Page, as described in 1.a. above, the
         accident if the death is a direct result of bodily             most we will pay for funeral expenses in-
         injury sustained in such accident.                             curred for any one insured is $3,000.
    Determining Medical Expenses                              2.   Not An Emergency Medical Condition
    We have the right to:                                          The Medical Payments Coverage limit for an
                                                                   insured who has been determined to not have
    1. obtain and use:                                             an emergency medical condition is shown on
         a. utilization reviews;                                   the Declarations Page under Medical Pay-
                                                                   ments Coverage  Not An Emergency Medical
         b. peer reviews; and                                      Condition Limit  Each Person. This limit is
         c. medical bill reviews                                   the most we will pay for medical expenses and
         to determine if the incurred expenses are rea-            for funeral expenses combined that are incurred
                                                                   by or on behalf of any one insured as a result
         sonable charges and medically necessary for               of any one accident if the insured has been de-
         the bodily injury sustained.                              termined to not have an emergency medical
    2. use a medical examination of the insured to                 condition by a healthcare provider described in
         determine if:                                             2.A. or 2.B. under the Insuring Agreement of
         a. the bodily injury was caused by a motor                this policys Medical Payments Coverage, re-
              vehicle accident; and                                gardless of the number of:
         b. the expenses incurred are medically neces-             a. insureds;
              sary.                                                b. claims made;
    3. enter into a contract with a third party that has           c. vehicles insured; or
         an agreement with the insureds healthcare                d. vehicles involved in the accident.
         provider to charge fees as determined by that
         agreement.                                           3.   In no event will we pay more than the follow-
    Limits                                                         ing No-Fault Act schedule of maximum
                                                                   charges including the use of Medicare coding
    The Medical Payments Coverage limit is dependent               policies and payment methodologies of the
    upon determination of an emergency medical con-                federal Centers for Medicare and Medicaid
    dition and is shown on the Declarations Page.                  Services, including applicable modifiers:

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       a.   For emergency transport and treatment by           For purposes of the above, the applicable fee
            providers licensed under chapter 401, Flor-        schedule or payment limitation under Medicare
            ida Statutes, 200 percent of Medicare.             is the fee schedule or payment limitation in ef-
       b.   For emergency services and care provided           fect on March 1 of the year in which the ser-
            by a hospital licensed under chapter 395,          vices, supplies, or care is rendered and for the
            Florida Statutes, 75 percent of the hospi-         area in which such services, supplies, or care is
            tal's usual and customary charges.                 rendered, and the applicable fee schedule or
                                                               payment limitation applies throughout the re-
       c.   For emergency services and care as de-             mainder of that year, notwithstanding any sub-
            fined by s. 395.002, Florida Statutes, pro-        sequent change made to the fee schedule or
            vided in a facility licensed under chapter         payment limitation, except that it will not be
            395, Florida Statutes, rendered by a physi-        less than the allowable amount under the appli-
            cian or dentist, and related hospital inpa-        cable schedule of Medicare Part B for 2007 for
            tient services rendered by a physician or          medical services, supplies, and care subject to
            dentist, the usual and customary charges in        Medicare Part B.
            the community.                                 Nonduplication
       d.   For hospital inpatient services, other than    We will not pay under Medical Payments Coverage
            emergency services and care, 200 percent       any damages or expenses:
            of the Medicare Part A prospective pay-
            ment applicable to the specific hospital       1. that have already been paid to or for the insured:
            providing the inpatient services.                  a. by or on behalf of any person or organiza-
       e.   For hospital outpatient services, other than            tion who is or may be held legally liable
            emergency services and care, 200 percent                for the bodily injury to the insured; or
            of the Medicare Part A Ambulatory Pay-             b. for bodily injury under Liability Coverage
            ment Classification for the specific hospi-             of any policy issued by the State Farm
            tal providing the outpatient services.                  Companies to any named insured or any
                                                                    relative; or
       f.   For all other medical services, supplies,
            and care, 200 percent of the allowable         2. that have already been paid under No-Fault
            amount under:                                      Coverage or Uninsured Motor Vehicle Cover-
                                                               age of this policy, the no-fault coverage, medi-
            (I) The participating physicians fee               cal payments coverage, or uninsured motor
                  schedule of Medicare Part B, except          vehicle coverage of any other policy, or other
                  as provided in sub-sub-subparagraphs         similar vehicle insurance.
                  (II) and (III).                          Exclusions
            (II) Medicare Part B, in the case of ser-      THERE IS NO COVERAGE FOR AN INSURED:
                  vices, supplies, and care provided by    1. UNTIL THE MEDICAL EXPENSE BENE-
                  ambulatory surgical centers and clini-       FITS OF ALL NO-FAULT COVERAGE
                  cal laboratories.                            AVAILABLE FROM ALL SOURCES HAVE
            (III) The Durable Medical Equipment                BEEN EXHAUSTED. This does not apply to
                  Prosthetics/Orthotics and Supplies fee       the 20% of medical expenses that are not paid
                                                               under no-fault coverage because of the 80%
                  schedule of Medicare Part B, in the          limitation;
                  case of durable medical equipment.
                                                           2. WHO REFUSES TO:
            However, if such services, supplies, or care
            is not reimbursable under Medicare Part B,         a. SUBMIT TO, COMPLETE, OR FAILS
            as provided in this sub-sub-subparagraph,               TO APPEAR AT AN EXAMINATION
            then we will limit reimbursement to the                 UNDER OATH; OR
            maximum reimbursable allowance under               b. PROVIDE, COMPLETE, OR FAILS TO
            workers' compensation, as determined un-                APPEAR AT A STATEMENT UNDER
            der s. 440.13, Florida Statutes, and rules              OATH;
            adopted thereunder which are in effect at      3. FOR ANY MEDICAL EXPENSES THAT
            the time such services, supplies, or care is
            provided. Services, supplies, or care that         ARE NOT PAYABLE UNDER NO-FAULT
            is not reimbursable under Medicare or              COVERAGE. This does not include:
            workers compensation (Florida Rules of            a. the 20% of medical expenses that are not
            Procedure for Workers Compensation Ad-                 paid under no-fault coverage because of
            judication) will not be reimbursed by us.               the 80% limitation;
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         b.  medical expenses not paid because the                a.   the use of a private passenger car on a
             medical expense benefits of all no-fault                  share-the-expense basis; or
             coverage available from all sources have             b. an insured while occupying a non-owned
             been exhausted;                                           car as a passenger;
         c. medical expenses for bodily injury while          10. WHILE MAINTAINING OR USING A VE-
             occupying a non-owned car while outside              HICLE IN CONNECTION WITH THAT IN-
             Florida, but within the area described un-           SUREDS EMPLOYMENT IN OR ENGAGE-
             der Where Coverage Applies for Medical               MENT OF ANY KIND IN A CAR BUSI-
             Payments Coverage; and                               NESS. This exclusion does not apply to:
         d. medical expenses for bodily injury sus-               a. any named insured;
             tained through being struck as a pedestrian
             by a:                                                b. any relative; or
             (1) motor vehicle while outside Florida,             c. any agent, employee, or business partner
                   but within the area described under                 of a. or b. above
                   Where Coverage Applies for Medi-               while maintaining or using your car, a newly
                   cal Payments Coverage; or                      acquired car, a temporary substitute car, or a
             (2) motorcycle of a type required to be li-          trailer owned by you;
                   censed for use on Florida highways;
                                                              11. WHILE THAT INSURED IS VALET PARK-
    4.   FOR MILEAGE COSTS FOR THE USE OF A                       ING A VEHICLE;
         PERSONAL VEHICLE;
    5.   FOR ANY INTEREST CHARGES;                            12. WHILE MAINTAINING OR USING A NON-
                                                                  OWNED CAR IN ANY BUSINESS OR OC-
    6.   IF ANY WORKERS COMPENSATION                             CUPATION OTHER THAN A CAR BUSI-
         LAW OR ANY SIMILAR LAW APPLIES TO                        NESS OR VALET PARKING. This exclusion
         THAT INSUREDS BODILY INJURY;                            does not apply to the maintenance or use of a
    7.   WHO:                                                     private passenger car;
         a. IS OCCUPYING OR THROUGH BEING                     13. WHO IS EITHER OCCUPYING OR
             STRUCK AS A PEDESTRIAN BY A                          STRUCK AS A PEDESTRIAN BY A VEHI-
             VEHICLE OWNED BY ANY NAMED                           CLE THAT IS LOCATED FOR USE AS A
             INSURED OR ANY RELATIVE WHICH
             IS NOT INSURED UNDER THIS POLI-                      DWELLING OR OTHER PREMISES;
             CY; OR                                           14. WHO IS STRUCK AS A PEDESTRIAN BY
         b. AT THE TIME OF THE ACCIDENT                           A VEHICLE THAT:
             OWNS A MOTOR VEHICLE SUBJECT                         a. IS DESIGNED FOR USE PRIMARILY
             TO THE NO-FAULT ACT AND IS NOT                            OFF PUBLIC ROADS WHILE OFF
             INSURED FOR THE COVERAGE RE-                              PUBLIC ROADS; OR
             QUIRED BY THE NO-FAULT ACT.                          b. RUNS ON RAILS OR CRAWLER-
             This exclusion (7.b.) does not apply to:                  TREADS;
             (1) any named insured;                           15. WHOSE BODILY INJURY RESULTS FROM
             (2) the spouse of any named insured; and             WAR OF ANY KIND;
             (3) any relative while occupying your            16. WHOSE BODILY INJURY RESULTS
                   car, a newly acquired car, a tempo-            FROM:
                   rary substitute car, or a non-owned
                   car if the accident occurs outside Flor-       a. NUCLEAR REACTION;
                   ida, but within the area described un-         b. RADIATION OR RADIOACTIVE CON-
                   der Where Coverage Applies for                      TAMINATION FROM ANY SOURCE;
                   Medical Payments Coverage;                          OR
    8.   WHO IS OCCUPYING A VEHICLE WHILE                         c. THE ACCIDENTAL OR INTENTIONAL
         IT IS RENTED TO OR LEASED TO OTH-
         ERS BY AN INSURED;                                            DETONATION OF, OR RELEASE OF
                                                                       RADIATION FROM, ANY NUCLEAR
    9.   WHO IS OCCUPYING A VEHICLE WHILE                              OR RADIOACTIVE DEVICE;
         IT IS BEING USED TO CARRY PERSONS
         FOR A CHARGE. This exclusion does not                17. WHOSE BODILY INJURY RESULTS FROM
         apply to:                                                EXPOSURE TO FUNGI;
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    18. WHO IS OCCUPYING A VEHICLE WHILE                                    which applies to the accident as pri-
        IT IS:                                                              mary coverage; and
        a. BEING PREPARED FOR, USED IN                                 (2) medical payments coverage or other
             PRACTICE FOR, OR OPERATED IN                                   similar vehicle insurance provided by
             ANY RACING CONTEST, SPEED                                      one or more sources other than the State
             CONTEST, HILL-CLIMBING CON-
             TEST, JUMPING CONTEST, OR ANY                                  Farm Companies also applies as pri-
             SIMILAR CONTEST; OR                                            mary coverage for the same accident,
        b. ON A TRACK DESIGNED PRIMARILY                               then we will pay the proportion of medical
             FOR RACING OR HIGH-SPEED DRIV-                            expenses and funeral expenses payable as
             ING. This exclusion (18.b.) does not apply                primary that our applicable limit bears to the
             if the vehicle is being used in connection                sum of our applicable limit and the limits of
             with an activity other than racing, high-                 all other medical payments coverage or simi-
             speed driving, or any type of competitive                 lar vehicle insurance that apply as primary
             driving;                                                  coverage.
    19. FOR ANY MASSAGE AS DEFINED IN                              b. If:
        S.480.033, FLORIDA STATUTES, OR ACU-                           (1) more than one vehicle policy issued to
        PUNCTURE AS DEFINED IN S.457.102,                                   any named insured or any relative by
        FLORIDA STATUTES, REGARDLESS OF                                     the State Farm Companies provides
        THE PERSON OR ENTITY PROVIDING                                      Medical Payments Coverage or other
        THE MASSAGE OR ACUPUNCTURE; OR                                      similar vehicle insurance which applies
    20. FOR ANY SERVICES, CARE, TREATMENT,                                  to the accident as primary coverage;
        OR SUPPLIES PROVIDED BY ANY MAS-                                    and
        SAGE THERAPIST OR ANY ACUPUNC-                                 (2) medical payments coverage or other
        TURIST.                                                             similar vehicle insurance provided by
    If Other Medical Payments Coverage or Similar                           one or more sources other than the State
    Vehicle Insurance Applies                                               Farm Companies also applies as pri-
                                                                            mary coverage for the same accident,
    1. An insured shall not recover for the same med-
        ical expenses or funeral expenses under both                   then the State Farm Companies will pay
        this coverage and other medical payments cov-                  the proportion of medical expenses and
        erage or similar vehicle insurance.                            funeral expenses payable as primary that
    2. If Medical Payments Coverage provided by                        the maximum amount that may be paid by
        this policy and one or more other vehicle poli-                the State Farm Companies as determined
        cies issued to any named insured or any rela-                  in 2. above bears to the sum of such
        tive by the State Farm Companies apply to the                  amount and the limits of all other medical
        same bodily injury, then:                                      payments coverage or similar vehicle in-
        a. the Medical Payments Coverage limits of                     surance that apply as primary coverage.
             such policies shall not be added together to     4.   Except as provided in 3. above, the Medical
             determine the most that may be paid; and              Payments Coverage provided by this policy
        b. the maximum amount that may be paid from                applies as excess coverage.
             all such policies combined is the single high-        a. If:
             est applicable limit provided by any one of
             the policies. We may choose one or more                   (1) this is the only vehicle policy issued to
             policies from which to make payment.                           any named insured or any relative by
    3. The Medical Payments Coverage provided by                            the State Farm Companies that pro-
        this policy applies as primary coverage for an                      vides Medical Payments Coverage or
        insured who sustains bodily injury while oc-                        other similar vehicle insurance which
        cupying your car or a trailer attached to it.                       applies to the accident as excess cov-
        a. If:                                                              erage; and
             (1) this is the only vehicle policy issued                (2) medical payments coverage or other sim-
                  to any named insured or any relative                      ilar vehicle insurance provided by one or
                  by the State Farm Companies that                          more sources other than the State Farm
                  provides Medical Payments Coverage                        Companies also applies as excess cover-
                  or other similar vehicle insurance                        age for the same accident,

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             then we will pay the proportion of medical             then the State Farm Companies will pay
             expenses and funeral expenses payable as               the proportion of medical expenses and
             excess that our applicable limit bears to              funeral expenses payable as excess that the
             the sum of our applicable limit and the                maximum amount that may be paid by the
             limits of all other medical payments                   State Farm Companies as determined in
                                                                    2. above bears to the sum of such amount
             coverage or similar vehicle insurance that             and the limits of all other medical pay-
             apply as excess coverage.                              ments coverage or similar vehicle insur-
        b.   If:                                                    ance that apply as excess coverage.
                                                           Our Payment Options
             (1) more than one vehicle policy issued to
                 any named insured or any relative by      We may, at our option, make payment to one or
                 the State Farm Companies provides         more of the following:
                 Medical Payments Coverage or other        1. The insured;
                 similar vehicle insurance which applies   2. The insureds surviving spouse;
                 to the accident as excess coverage;
                 and                                       3. A parent or guardian of the insured, if the in-
                                                              sured is a minor or an incompetent person;
             (2) medical payments coverage or other        4. A person authorized by law to receive such pay-
                 similar vehicle insurance provided by        ment;
                 one or more sources other than the        5. Any person or organization that provides the med-
                 State Farm Companies also applies            ically necessary services or funeral services; or
                 as excess coverage for the same acci-
                 dent,                                     6. Any person appearing to us to be equitably entitled
                                                              to receive such payment.




                             UNINSURED MOTOR VEHICLE COVERAGE
                                          (Stacking)
    This policy provides Uninsured Motor Vehicle           Uninsured Motor Vehicle means a land motor
    Coverage if U is shown under SYMBOLS on            vehicle and a trailer attached to such land motor
    the Declarations Page.                                 vehicle:
    Additional Definitions                                 1. the ownership, maintenance, and use of which is:
    Insured means:                                             a. neither insured, nor self-insured, nor bond-
                                                                    ed for bodily injury liability at the time of
    1. you;                                                         the accident; or
    2. resident relatives;                                     b. insured, self-insured, or bonded for bodily
    3. any other person while occupying:                            injury liability at the time of the accident;
                                                                    but
        a. your car;
                                                                    (1) the limits are less than required by the
        b. a newly acquired car;                                         financial responsibility act of the state
        c. a temporary substitute car; or                                of Florida;
        d. a trailer attached to a car described in a.,             (2) the limits of liability of the insurance,
             b., or c. above.                                            self-insurance, or bond are less than
                                                                         the damages for bodily injury sus-
        Such vehicle must be used with your express or                   tained by the insured; or
        implied permission. Such other person occu-                 (3) the entity providing the financial re-
        pying a vehicle used to carry persons for a                      sponsibility:
        charge is not an insured; and                                    (a) denies that it provides liability cov-
    4. any person entitled to recover compensatory                            erage for compensatory damages
        damages as a result of bodily injury to an in-                        that result from the accident; or
        sured as defined in 1., 2., or 3. above.                         (b) is or becomes insolvent; or

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    2.   the owner or driver:                               2.   inform the insured in writing that we do not
         a. of which could not reasonably have been              consent, then the insured may not accept such
              identified;                                        settlement offer and:
         b. remains unknown; and                                 a. we will make payment to the insured in an
                                                                      amount equal to such settlement offer.
         c. that causes bodily injury to the insured.                 This payment is considered a payment
    Uninsured Motor Vehicle does not include a land                   made by or on behalf of the owner or driv-
    motor vehicle or trailer:                                         er of the uninsured motor vehicle; and
    1. whose ownership, maintenance, or use is                   b. any recovery from or on behalf of the
         provided Liability Coverage by this policy.                  owner or driver of the uninsured motor
         However, any such vehicle will be deemed                     vehicle shall first be used to repay us.
         to be an uninsured motor vehicle for bodily        Deciding Fault and Amount
         injury sustained by you or a resident rela-
         tive while the vehicle is being operated by a      1. The insured and we must agree to the answers
         person other than you or a resident rela-               to the following two questions:
         tive;                                                   a. Is the insured legally entitled to recover
    2. owned by, rented to, or furnished or available                 compensatory damages from the owner or
         for the regular use of you or a resident rela-               driver of the uninsured motor vehicle?
         tive;                                                   b. If the insured and we agree that the answer
    3. designed for use primarily off public roads                    to 1.a. above is yes, then what is the
         except while on public roads;                                amount of the compensatory damages that
                                                                      the insured is legally entitled to recover
    4. while located for use as a dwelling or other                   from the owner or driver of the uninsured
         premises; or                                                 motor vehicle?
    5. whose owner or operator could have been rea-         2. If there is no agreement on the answer to either
         sonably identified.                                     question in 1. above, then the disagreement
    Insuring Agreement                                           shall be resolved by mediation, arbitration, or
                                                                 litigation as outlined in the Mediation, Arbi-
    1. We will pay compensatory damages for bodily               tration, and Legal Action Against Us provi-
         injury an insured is legally entitled to recover        sions under GENERAL TERMS.
         from the owner or driver of an uninsured mo-
         tor vehicle.                                       Limits
    2. The bodily injury for which we will pay com-         The Uninsured Motor Vehicle Coverage limits are
         pensatory damages must be:                         shown on the Declarations Page under Uninsured
                                                            Motor Vehicle Coverage  Bodily Injury Limits 
         a. sustained by an insured;                        Each Person, Each Accident.
         b. caused by an accident that involves the op-     The limit shown under Each Person is the most
              eration, maintenance, or use of an unin-      we will pay for the sum of:
              sured motor vehicle; and                      1. all damages resulting from bodily injury to any
         c. a serious injury as described in section             one insured injured in any one accident; and
              627.737(2) of the Florida Insurance Code      2. all damages, including damages for emotional
              before we will pay for damages consisting          distress, sustained by other insureds as a direct
              of pain, suffering, mental anguish, or in-         result of that bodily injury.
              convenience.                                  The limit shown under Each Accident is the most
    Consent to Settlement                                   we will pay, subject to the limit for Each Person,
    The insured must inform us of a settlement offer, if    for all damages and all emotional distress resulting
    any, proposed by or on behalf of the owner or driver    from bodily injury to two or more insureds who
    of the uninsured motor vehicle, and the insured         sustained damages or emotional distress in the same
    must request our written consent to accept such         accident.
    settlement offer.                                       These Uninsured Motor Vehicle Coverage limits are
    If we:                                                  the most we will pay regardless of the number of:
    1. consent in writing, then the insured may accept      1. insureds;
         such settlement offer.                             2. claims made;

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    3. vehicles insured; or                                      by the State Farm Companies apply to the
    4. vehicles involved in the accident.                        same bodily injury sustained by a person other
                                                                 than you or any resident relative, then:
    Nonduplication
                                                                 a. the Uninsured Motor Vehicle Coverage
    We will not pay under Uninsured Motor Vehicle                      limits of such policies will not be added
    Coverage any damages:                                              together to determine the most that may be
    1. that have already been paid to or for the insured:              paid; and
         a. by or on behalf of any person or organiza-           b. the maximum amount that may be paid
              tion who is or may be held legally liable                from all such policies combined is the sin-
              for the bodily injury to the insured; or                 gle highest applicable limit provided by any
                                                                       one of the policies. We may choose one or
         b. for bodily injury under Liability Coverage                 more policies from which to make payment.
              of any policy issued by the State Farm
              Companies to you or any resident relative;      2. The Uninsured Motor Vehicle Coverage pro-
                                                                 vided by this policy applies as primary cover-
    2. that:                                                     age for an insured who sustains bodily injury
         a. have already been paid;                              while occupying your car.
         b. could have been paid; or                             If uninsured motor vehicle coverage is provid-
         c. could be paid                                        ed on a primary basis by one or more other
         to or for the insured under any workers com-           sources, then we will pay the proportion of
         pensation law, disability benefits law, or similar      damages that the applicable limit of this policy
         law; or                                                 bears to the total of all uninsured motor vehicle
    3. that have already been paid as expenses under             coverage that applies as primary coverage.
         No-Fault Coverage or Medical Payments Cov-           3. Except as provided in 2. above, the Uninsured
         erage of this policy, the no-fault coverage or          Motor Vehicle Coverage provided by this pol-
         medical payments coverage of any other pol-             icy applies as excess coverage for an insured
         icy, or other similar vehicle insurance.                who sustains bodily injury.
    Exclusions                                                   If uninsured motor vehicle coverage is provid-
    THERE IS NO COVERAGE:                                        ed on an excess basis by one or more other
    1. FOR AN INSURED WHO, WITHOUT OUR                           sources, then we will pay the proportion of
         WRITTEN CONSENT, SETTLES WITH ANY                       damages that the applicable limit of this policy
         PERSON OR ORGANIZATION WHO MAY                          bears to the total of all uninsured motor vehicle
         BE LIABLE FOR THE BODILY INJURY;                        coverage that applies as excess coverage.
    2. TO THE EXTENT IT BENEFITS:                             4. If Uninsured Motor Vehicle Coverage provided
         a. ANY WORKERS COMPENSATION OR                         by this policy and one or more other vehicle
              DISABILITY BENEFITS INSURANCE                      policies issued to you or any resident relative
              COMPANY;                                           by the State Farm Companies apply to the
         b. A SELF-INSURER UNDER ANY                             same bodily injury, then we may choose one or
              WORKERS COMPENSATION LAW,                         more policies from which to make payment.
              DISABILITY BENEFITS LAW, OR SIM-                Our Payment Options
              ILAR LAW; OR
         c. ANY GOVERNMENT OR ANY OF ITS                      We may, at our option, make payment to one or
              POLITICAL          SUBDIVISIONS          OR     more of the following:
              AGENCIES; OR                                    1. The insured;
    3. FOR PUNITIVE OR EXEMPLARY DAM-                         2. The insureds surviving spouse;
         AGES.
    If Other Uninsured Motor Vehicle Coverage Applies         3. A parent or guardian of the insured, if the in-
                                                                 sured is a minor or an incompetent person; or
    1. If Uninsured Motor Vehicle Coverage provided
         by this policy and one or more other vehicle         4. A person authorized by law to receive such
         policies issued to you or any resident relative         payment.


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                                 UNINSURED MOTOR VEHICLE COVERAGE
                                            (Non-Stacking)
    This policy provides Uninsured Motor Vehicle                         c. that causes bodily injury to the insured.
    Coverage if U3 is shown under SYMBOLS on                    Uninsured Motor Vehicle does not include a land
    the Declarations Page.                                          motor vehicle or trailer:
    Additional Definitions                                          1. whose ownership, maintenance, or use is pro-
    Insured means:                                                       vided Liability Coverage by this policy. How-
    1. you;                                                              ever, any such vehicle will be deemed to be an
    2. resident relatives;                                               uninsured motor vehicle for bodily injury sus-
                                                                         tained by you or a resident relative while the
    3. any other person while occupying:                                 vehicle is being operated by a person other
         a. your car;                                                    than you or a resident relative;
         b. a newly acquired car;                                   2. owned by, rented to, or furnished or availa-
         c. a temporary substitute car; or                               ble for the regular use of you or a resident
                                                                         relative;
         d. a trailer attached to a car described in a.,
               b., or c. above.                                     3. designed for use primarily off public roads
                                                                         except while on public roads;
         Such vehicle must be used with your express or             4. while located for use as a dwelling or other
         implied permission. Such other person occu-                     premises; or
         pying a vehicle used to carry persons for a
         charge is not an insured; and                              5. whose owner or operator could have been reason-
    4. any person entitled to recover compensatory                       ably identified.
         damages as a result of bodily injury to an in-             Insuring Agreement
         sured as defined in 1., 2., and 3. above.                  1. We will pay compensatory damages for bodily
    Uninsured Motor Vehicle means a land motor vehicle                   injury an insured is legally entitled to recover
    and a trailer attached to such land motor vehicle:                   from the owner or driver of an uninsured mo-
    1. the ownership, maintenance, and use of which is:                  tor vehicle.
         a. neither insured, nor self-insured, nor bonded           2. The bodily injury for which we will pay com-
               for bodily injury liability at the time of the            pensatory damages must be:
               accident; or                                              a. sustained by an insured;
         b. insured, self-insured, or bonded for bodily                  b. caused by an accident that involves the op-
               injury liability at the time of the accident;                  eration, maintenance, or use of an unin-
               but                                                            sured motor vehicle; and
               (1) the limits are less than required by the              c. a serious injury as described in section
                     financial responsibility act of the state of             627.737(2) of the Florida Insurance Code
                     Florida;
                                                                              before we will pay for damages consisting
               (2) the limits of liability of the insurance,                  of pain, suffering, mental anguish, or in-
                     self-insurance, or bond are less than                    convenience.
                     the damages for bodily injury sus-
                     tained by the insured; or                      Consent to Settlement
               (3) the entity providing the financial re-           The insured must inform us of a settlement offer, if
                     sponsibility:                                  any, proposed by or on behalf of the owner or driver of
                     (a) denies that it provides liability cov-     the uninsured motor vehicle, and the insured must
                          erage for compensatory damages            request our written consent to accept such settlement
                          that result from the accident; or         offer.
                     (b) is or becomes insolvent; or                If we:
    2. the owner or driver:                                         1. consent in writing, then the insured may accept
                                                                         such settlement offer.
         a. of which could not reasonably have been                 2. inform the insured in writing that we do not
               identified;                                               consent, then the insured may not accept such
         b. remains unknown; and                                         settlement offer and:

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        a.    we will make payment to the insured in an      Nonduplication
              amount equal to such settlement offer. This    We will not pay under Uninsured Motor Vehicle
              payment is considered a payment made by        Coverage any damages:
              or on behalf of the owner or driver of the
              uninsured motor vehicle; and                   1. that have already been paid to or for the insured:
         b. any recovery from or on behalf of the                a. by or on behalf of any person or organiza-
              owner or driver of the uninsured motor                  tion who is or may be held legally liable
              vehicle shall first be used to repay us.                for the bodily injury to the insured; or
    Deciding Fault and Amount                                    b. for bodily injury under Liability Cover-
    1. The insured and we must agree to the answers                   age of any policy issued by the State
         to the following two questions:                              Farm Companies to you or any resident
                                                                      relative;
         a. Is the insured legally entitled to recover       2. that:
              compensatory damages from the owner or
              driver of the uninsured motor vehicle?             a. have already been paid;
         b. If the insured and we agree that the answer          b. could have been paid; or
              to 1.a. above is yes, then what is the             c. could be paid
              amount of the compensatory damages that
              the insured is legally entitled to recover         to or for the insured under any workers compen-
              from the owner or driver of the uninsured          sation law, disability benefits law, or similar law; or
              motor vehicle?                                 3. that have already been paid as expenses under
    2. If there is no agreement on the answer to either          No-Fault Coverage or Medical Payments Cov-
         question in 1. above, then the disagreement             erage of this policy, the no-fault coverage or
         shall be resolved by mediation, arbitration, or         medical payments coverage of any other poli-
         litigation as outlined in the Mediation, Arbi-          cy, or other similar vehicle insurance.
         tration, and Legal Action Against Us provi-         Exclusions
         sions under GENERAL TERMS.
                                                             THERE IS NO COVERAGE:
    Limits
                                                             1. FOR AN INSURED WHO, WITHOUT OUR
    The Uninsured Motor Vehicle Coverage limits are              WRITTEN CONSENT, SETTLES WITH ANY
    shown on the Declarations Page under Uninsured              PERSON OR ORGANIZATION WHO MAY BE
    Motor Vehicle Coverage  Bodily Injury Limits               LIABLE FOR THE BODILY INJURY;
    Each Person, Each Accident.                             2. FOR AN INSURED WHO SUSTAINS BOD-
    The limit shown under Each Person is the most              ILY INJURY:
    we will pay for the sum of:                                  a. WHILE OCCUPYING A VEHICLE
    1. all damages resulting from bodily injury to any                OWNED BY YOU OR ANY RESIDENT
         one insured injured in any one accident; and                 RELATIVE IF IT IS NOT YOUR CAR
                                                                      OR A NEWLY ACQUIRED CAR; OR
    2. all damages, including damages for emotional              b. THROUGH BEING STRUCK BY A VE-
         distress, sustained by other insureds as a direct            HICLE OWNED BY ANY RESIDENT
         result of that bodily injury.                                RELATIVE.
    The limit shown under Each Accident is the most            This exclusion does not apply to the first per-
    we will pay, subject to the limit for Each Person,         son shown as a named insured on the Declara-
    for all damages and all emotional distress resulting         tions Page and that named insureds spouse
    from bodily injury to two or more insureds who               who resides primarily with that named insured,
    sustained damages or emotional distress in the same          while occupying or through being struck by a
    accident.                                                    motor vehicle not owned by one or both of
                                                                 them;
    These Uninsured Motor Vehicle Coverage limits are        3. TO THE EXTENT IT BENEFITS:
    the most we will pay regardless of the number of:
    1. insureds;                                                 a. ANY WORKERS COMPENSATION OR
                                                                      DISABILITY BENEFITS INSURANCE
    2. claims made;                                                   COMPANY;
    3. vehicles insured; or                                      b. A SELF-INSURER UNDER ANY
    4. vehicles involved in the accident.                             WORKERS COMPENSATION LAW,

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              DISABILITY BENEFITS LAW, OR SIM-                        (2) uninsured motor vehicle coverage
              ILAR LAW; OR                                                 provided by one or more sources other
         c. ANY GOVERNMENT OR ANY OF ITS                                   than the State Farm Companies also
              POLITICAL          SUBDIVISIONS          OR                  applies as primary coverage for the
              AGENCIES; OR                                                 same accident,
    4. FOR PUNITIVE OR EXEMPLARY DAM-                                 then the State Farm Companies will pay
         AGES.                                                        the proportion of damages payable as pri-
                                                                      mary that the maximum amount that may
    If Other Uninsured Motor Vehicle Coverage Applies                 be paid by the State Farm Companies as
    1. If Uninsured Motor Vehicle Coverage provided                   determined in 1. above bears to the sum of
         by this policy and one or more other vehicle                 such amount and the limits of all other un-
         policies issued to you or any resident relative              insured motor vehicle coverage that apply
         by the State Farm Companies apply to the                     as primary coverage.
         same bodily injury, then:
         a. the Uninsured Motor Vehicle Coverage             3.   Except as provided in 2. above, the Uninsured
                                                                  Motor Vehicle Coverage provided by this poli-
              limits of such policies will not be added           cy applies as excess coverage.
              together to determine the most that may be
              paid; and                                           a. If:
         b. the maximum amount that may be paid                       (1) this is the only vehicle policy issued
                                                                           to you or any resident relative by the
              from all such policies combined is the sin-                  State Farm Companies that provides
              gle highest applicable limit provided by                     Uninsured Motor Vehicle Coverage
              any one of the policies. We may choose                       which applies to the accident as ex-
              one or more policies from which to make                      cess coverage; and
              payment.                                                (2) uninsured motor vehicle coverage
    2. The Uninsured Motor Vehicle Coverage pro-                           provided by one or more sources other
         vided by this policy applies as primary cover-                    than the State Farm Companies also
         age for an insured who sustains bodily injury                     applies as excess coverage for the
         while occupying your car.                                         same accident,
         a. If:                                                       then we will pay the proportion of damag-
              (1) this is the only vehicle policy issued              es payable as excess that our applicable
                   to you or any resident relative by the             limit bears to the sum of our applicable
                   State Farm Companies that provides                 limit and the limits of all other uninsured
                   Uninsured Motor Vehicle Coverage                   motor vehicle coverage that apply as ex-
                   which applies to the accident as pri-              cess coverage.
                   mary coverage; and
                                                                  b. If:
              (2) uninsured motor vehicle coverage                    (1) more than one vehicle policy issued to
                   provided by one or more sources other                   you or any resident relative by the State
                   than the State Farm Companies also
                   applies as primary coverage for the                     Farm Companies provides Uninsured
                                                                           Motor Vehicle Coverage which applies to
                   same accident,                                          the accident as excess coverage; and
              then we will pay the proportion of dam-                 (2) uninsured motor vehicle coverage pro-
              ages payable as primary that our applica-                    vided by one or more sources other than
              ble limit bears to the sum of our applicable                 the State Farm Companies also applies
              limit and the limits of all other uninsured                  as excess coverage for the same accident,
              motor vehicle coverage that apply as pri-
              mary coverage.                                          then the State Farm Companies will pay
         b. If:                                                       the proportion of damages payable as ex-
                                                                      cess that the maximum amount that may
              (1) more than one vehicle policy issued to              be paid by the State Farm Companies as
                   you or any resident relative by the
                   State Farm Companies provides Un-                  determined in 1. above bears to the sum of
                   insured Motor Vehicle Coverage                     such amount and the limits of all other un-
                   which applies to the accident as pri-              insured motor vehicle coverage that apply
                   mary coverage; and                                 as excess coverage.
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    Our Payment Options                                     3.   A parent or guardian of the insured, if the
    We may, at our option, make payment to one or                insured is a minor or an incompetent person;
    more of the following:                                       or
    1. The insured;                                         4.   A person authorized by law to receive such
    2. The insureds surviving spouse;                           payment.




                                   PHYSICAL DAMAGE COVERAGES
    The physical damage coverages are Comprehensive         Daily Rental Charge means the sum of:
    Coverage, Collision Coverage, Emergency Road            1. the daily rental rate;
    Service Coverage, and Car Rental and Travel Ex-
    penses Coverage.                                        2. mileage charges; and
    This policy provides:                                   3. related taxes.
    1. Comprehensive Coverage if D;                       Insured means you and resident relatives.
    2. Collision Coverage if G;                           Loss means:
    3. Emergency Road Service Coverage if H;              1. direct, sudden, and accidental damage to; or
    4. Car Rental and Travel Expenses Coverage if R1      2. total or partial theft of
    is shown under SYMBOLS on the Declarations Page.      a covered vehicle. Loss does not include any re-
                                                            duction in the value of any covered vehicle after it
    If a deductible applies to Comprehensive Coverage,      has been repaired, as compared to its value before it
    then it is shown on the Declarations Page. The de-      was damaged.
    ductible that applies to Collision Coverage is shown
    on the Declarations Page.                               Loss Caused By Collision means a loss caused by:
    Additional Definitions                                  1. a covered vehicle hitting or being hit by an-
                                                                  other vehicle or another object; or
    Covered Vehicle means:
    1. your car;                                            2. the overturning of a covered vehicle.
    2. a newly acquired car;                                Any loss caused by missiles, falling objects, wind-
                                                            storm, hail, fire, explosion, earthquake, water, flood,
    3. a temporary substitute car;                          total or partial theft, malicious mischief, vandalism,
    4. a camper that is designed to be mounted on a         riot, civil commotion, or hitting or being hit by a bird
         pickup truck and shown on the Declarations Page;   or an animal is not a Loss Caused By Collision.
    5. a non-owned car while it is:                         Non-Owned Camper means a camper designed to
                                                            be mounted on a pickup truck that is in the lawful
         a. being driven by an insured; or                  possession of an insured and that neither:
         b. in the custody of an insured if at the time     1. is owned by:
              of the loss it is:
                                                                  a. an insured;
              (1) not being driven; or
                                                                  b. any other person who resides primarily in
              (2) being driven by a person other than an               your household; or
                   insured and being occupied by an in-           c. an employer of any person described in a.
                   sured;                                              or b. above; nor
    6. a non-owned trailer while it is being used by        2. has been used by, rented by, or in the posses-
         an insured; and                                          sion of an insured during any part of each of
    7. a non-owned camper while it is being used by               the 31 or more consecutive days immediately
         an insured;                                              prior to the date of the loss.
    including its parts and its equipment that are com-     Non-Owned Trailer means a trailer that is in the
    mon to the use of the vehicle as a vehicle. How-        lawful possession of an insured and that neither:
    ever, parts and equipment of trailers and campers       1. is owned by:
    must be securely fixed as a permanent part of the
    trailer or camper.                                            a. an insured;
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        b.   any other person who resides primarily in                a.  up to one hour of labor to repair a covered
             your household; or                                           vehicle at the place of its breakdown;
        c. an employer of any person described in a.                  b. towing to the nearest repair facility where
             or b. above; nor                                             necessary repairs can be made if a covered
    2. has been used by, rented by, or in the posses-                     vehicle is not drivable;
        sion of an insured during any part of each of                 c. towing a covered vehicle out of a location
        the 31 or more consecutive days immediately                       where it is stuck if the vehicle is on or
        prior to the date of the loss.                                    immediately next to a public road;
    Insuring Agreements                                               d. delivery of gas, oil, battery, or tire neces-
    1. Comprehensive Coverage                                             sary to return a covered vehicle to driving
                                                                          condition. We do not pay the cost of the
        a. We will pay for loss, except loss caused by                    gas, oil, battery, or tire; and
             collision, to a covered vehicle.
                                                                      e. up to one hour of labor for locksmith serv-
        b. We will pay transportation expenses in-                        ices to unlock a covered vehicle if its key
             curred by an insured as a result of the total                is lost, stolen, or locked inside the vehicle.
             theft of your car or a newly acquired car.          4.   Car Rental and Travel Expenses Coverage
             These transportation expenses are payable:
             (1) during the period that:                              a. Car Rental Expense
                  (a) starts on the date you report the                   We will pay the daily rental charge in-
                       theft to us; and                                   curred when an insured rents a car from a
                                                                          car business while your car or a newly
                  (b) ends on the earliest of:                            acquired car is:
                       (i) the date the vehicle is re-                    (1) not drivable; or
                             turned to your possession in                 (2) being repaired
                             a drivable condition;
                       (ii) the date we offer to pay for                  as a result of a loss which would be paya-
                             the loss if the vehicle has not              ble under Comprehensive Coverage or
                             yet been recovered; or                       Collision Coverage.
                       (iii) the date we offer to pay for                 We will pay this daily rental charge in-
                             the loss if the vehicle is re-               curred during a period that:
                             covered, but is a total loss as
                             determined by us; and                        (1) starts on the date:
             (2) during the period that:                                       (a) the vehicle is not drivable as a re-
                                                                                     sult of the loss; or
                  (a) starts on the date the vehicle is
                       left at a repair facility if the stolen                 (b) the vehicle is left at a repair facility
                       vehicle is recovered, returned to                             if the vehicle is drivable; and
                       your possession in a drivable
                       condition, and has unrepaired                      (2) ends on the earliest of:
                       damage that resulted from the to-                       (a) the date the vehicle has been re-
                       tal theft; and                                                paired or replaced;
                  (b) ends on the date the vehicle is re-                      (b) the date we offer to pay for the loss
                       paired.                                                       if the vehicle is repairable but you
             These transportation expenses must be re-                               choose to delay repairs; or
             ported to us before we will pay such in-
             curred expenses.                                                  (c) seven days after we offer to pay
                                                                                     for the loss if the vehicle is:
        c. The deductible does not apply to damage
             to the windshield of any covered vehicle.                               (i) a total loss as determined by
    2. Collision Coverage                                                                  us; or
        We will pay for loss caused by collision to a                                (ii) stolen and not recovered.
        covered vehicle.                                                  The amount of any such daily rental
    3. Emergency Road Service Coverage                                    charge incurred by an insured must be re-
        We will pay the fair cost incurred by an in-                      ported to us before we will pay such
        sured for:                                                        amount.
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        b.   Travel Expenses                                            the owner of the covered vehicle, if the cov-
             We will pay expenses for commercial                        ered vehicle is not drivable;
             transportation, lodging, and meals if your         2. store the covered vehicle, if it is not drivable
             car or a newly acquired car is not drivable           immediately after the loss, at:
             as a result of a loss which would be pay-             a. any one repair facility or commercial stor-
             able under Comprehensive Coverage or                       age facility, neither of which was chosen
             Collision Coverage. The loss must occur                    by an insured or the owner of the covered
             more than 50 miles from your home. We                      vehicle; and
             will only pay these expenses if they are in-
             curred by:                                            b. any one repair facility chosen by the owner
             (1) an insured during the period that:                     of the covered vehicle, and we determine
                                                                        such vehicle is a total loss.
                   (a) starts after the loss occurs; and           If the owner of the covered vehicle consents,
                   (b) ends on the earlier of:                     then we may move the covered vehicle at our
                        (i) the insureds arrival at his or        expense to reduce storage costs. If the owner
                             her destination or home if the        of the covered vehicle does not consent, then
                             vehicle is left behind for re-        we will pay only the storage costs that would
                             pairs; or                             have resulted if we had moved the damaged
                                                                   covered vehicle; and
                        (ii) the repair of the vehicle if the   3. clean up debris from the covered vehicle at the
                             insured waits for repairs be-         location of the loss. The most we will pay to
                             fore continuing on to his or          clean up the debris is $250 for any one loss.
                             her destination or returning
                             home; and                          Limits and Loss Settlement  Comprehensive
             (2) you, or any person you choose, to              Coverage and Collision Coverage
                   travel to retrieve the vehicle and drive     1. We have the right to choose to settle with you
                   it to either the original destination or        or the owner of the covered vehicle in one of
                   your home if the vehicle was left be-           the following ways:
                   hind for repairs.                               a. Pay the cost to repair the covered vehicle
             These expenses must be reported to us be-                  minus any applicable deductible.
             fore we will pay such incurred expenses.                   (1) We have the right to choose one of the
         c. Rental Car  Repayment of Deductible                             following to determine the cost to re-
             Expense                                                         pair the covered vehicle:
             We will pay the comprehensive coverage                          (a) The cost agreed to by both the
             deductible or collision coverage deductible                          owner of the covered vehicle and
             an insured is required to pay the owner of                           us;
             a car rented from a car business.                               (b) A bid or repair estimate approved
    Supplementary Payments  Comprehensive                                        by us; or
    Coverage and Collision Coverage                                          (c) A repair estimate that is written
    If the covered vehicle sustains loss for which we                             based upon or adjusted to:
    make a payment under Comprehensive Coverage or                                (i) the prevailing competitive
    Collision Coverage, then we will pay reasonable                                     price;
    expenses incurred to:
    1. tow the covered vehicle immediately after the loss:                        (ii) the lower of paintless dent
                                                                                        repair pricing established by
         a. for a reasonable distance from the location of                              an agreement we have with a
             the loss to any one repair facility chosen by                              third party or the paintless
             an insured or the owner of the covered vehi-                               dent repair price that is com-
             cle, if the covered vehicle is not drivable; or                            petitive in the market; or
         b. to any one repair facility or commercial stor-                        (iii) a combination of (i) and (ii)
             age facility, neither of which was chosen by                               above.
             an insured or the owner of the covered ve-                           The prevailing competitive price
             hicle. We will also pay reasonable expenses                          means prices charged by a ma-
             incurred to tow the covered vehicle for a                            jority of the repair market in the
             reasonable distance from this facility to any                        area where the covered vehicle is
             one repair facility chosen by an insured or                          to be repaired as determined by a
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                     survey made by us. If asked, we                       (c) Each party will pay the cost of its
                     will identify some facilities that                         own appraiser, attorneys, and ex-
                     will perform the repairs at the                            pert witnesses, as well as any other
                     prevailing competitive price. The                          expenses incurred by that party.
                     estimate will include parts suffi-                         Both parties will share equally the
                     cient to restore the covered vehi-                         cost of the third appraiser.
                     cle to its pre-loss condition.                        (d) The appraisers shall only deter-
                You agree with us that the repair esti-                         mine the actual cash value of the
                mate may include new, used, recycled,                           covered vehicle. Appraisers shall
                and reconditioned parts. Any of these                           have no authority to decide any
                parts may be either original equipment                          other questions of fact, decide
                manufacturer parts or non-original                              any questions of law, or conduct
                equipment manufacturer parts.                                   appraisal on a class-wide or class-
                You also agree that replacement glass                           representative basis.
                need not have any insignia, logo,                          (e) A written appraisal that is both
                trademark, etching, or other marking                            agreed upon by and signed by any
                that was on the replaced glass.                                 two appraisers, and that also con-
            (2) The cost to repair the covered vehicle                          tains an explanation of how they
                does not include any reduction in the                           arrived at their appraisal, will be
                value of the covered vehicle after it                           binding on the owner of the cov-
                has been repaired, as compared to its                           ered vehicle and us.
                value before it was damaged.                               (f) We do not waive any of our rights
            (3) If the repair or replacement of a part                          by submitting to an appraisal.
                results in betterment of that part, then               (4) The damaged covered vehicle must be
                you or the owner of the covered vehi-                      given to us in exchange for our pay-
                cle must pay for the amount of the                         ment, unless we agree that the owner
                betterment.                                                may keep it. If the owner keeps the
            (4) If you and we agree, then windshield                       covered vehicle, then our payment
                glass will be repaired instead of replaced;                will be reduced by the value of the
                                                                           covered vehicle after the loss; or
       b.   Pay the actual cash value of the covered
            vehicle minus any applicable deductible.             c. Return the stolen covered vehicle to its
                                                                       owner and pay, as described in 1.a. above,
            (1) The owner of the covered vehicle and                   for any direct, sudden, and accidental
                we must agree upon the actual cash                     damage that resulted from the theft.
                value of the covered vehicle. If there is
                disagreement as to the actual cash value      2. The most we will pay for transportation ex-
                of the covered vehicle, then the disa-           penses under Comprehensive Coverage is
                greement will be resolved by mediation           $25 per day subject to an aggregate limit of
                or appraisal. Either the owner or we             $750 per loss.
                may request mediation or appraisal.           3. The most we will pay for loss to a non-owned
            (2) Mediation will follow the rules outlined         trailer or a non-owned camper is $2,500.
                in this policy, found under Mediation,        Limits  Car Rental and Travel Expenses Coverage
                in the section titled GENERAL                 1. Car Rental Expense
                TERMS.
            (3) Appraisal will follow the rules and pro-         The limit for Car Rental Expense is shown on
                cedures as listed below:                         the Declarations Page under Limit  Car
                                                                 Rental Expense  Each Day, Each Loss.
                (a) The owner and we will each se-               a. The limit shown under Each Day is the
                     lect a competent appraiser.                       most we will pay for the daily rental
                (b) The two appraisers will select a                   charge. If:
                     third competent appraiser. If they                (1) a dollar amount is shown, then we will
                     are unable to agree on a third ap-                    pay the daily rental charge up to that
                     praiser within 30 days, then either                   dollar amount; or
                     the owner or we may petition a                    (2) a percentage amount is shown, then we
                     court that has jurisdiction to se-                    will pay that percentage of the daily
                     lect the third appraiser.                             rental charge.

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        b.    Subject to the Each Day limit, the limit    6.  ANY COVERED VEHICLE TO THE EX-
              shown under Each Loss is the most we            TENT OUR PAYMENT WOULD BENEFIT
              will pay for Car Rental Expense incurred          ANY CARRIER OR OTHER BAILEE FOR
              as a result of any one loss.                      HIRE THAT IS LIABLE FOR LOSS TO
    2. Travel Expenses                                          SUCH COVERED VEHICLE;
         The most we will pay for Travel Expenses in-       7. LOSS TO ANY COVERED VEHICLE DUE
         curred by all insureds as a result of any one          TO FUNGI. THIS APPLIES REGARDLESS
         loss is $500.                                          OF WHETHER OR NOT THE FUNGI RE-
                                                                SULT FROM A LOSS THAT IS PAYABLE
    3. Rental Car  Repayment of Deductible Expense             UNDER ANY OF THE PHYSICAL DAM-
         The most we will pay for Rental Car  Repay-           AGE COVERAGES. WE WILL ALSO NOT
         ment of Deductible Expense incurred as a re-           PAY FOR ANY TESTING OR REMEDIATION
         sult of any one loss is $500.                          OF FUNGI, OR ANY ADDITIONAL COSTS
                                                                REQUIRED TO REPAIR ANY COVERED
    Nonduplication                                              VEHICLE THAT ARE DUE TO THE EX-
    We will not pay for any loss or expense under the           ISTENCE OF FUNGI;
    Physical Damage Coverages for which the insured         8. LOSS TO ANY COVERED VEHICLE THAT
    or owner of the covered vehicle has already received        RESULTS FROM:
    payment from, or on behalf of, a party who is legally
    liable for the loss or expense.                             a. NUCLEAR REACTION;
    Exclusions                                                  b. RADIATION OR RADIOACTIVE CON-
                                                                   TAMINATION FROM ANY SOURCE; OR
    THERE IS NO COVERAGE FOR:
                                                                c. THE ACCIDENTAL OR INTENTIONAL
    1. ANY COVERED VEHICLE THAT IS:                                DETONATION OF, OR RELEASE OF
         a. INTENTIONALLY DAMAGED; OR                              RADIATION FROM, ANY NUCLEAR
                                                                   OR RADIOACTIVE DEVICE;
         b. STOLEN
                                                            9. LOSS TO ANY COVERED VEHICLE THAT
         BY OR AT THE DIRECTION OF AN IN-                       RESULTS FROM THE TAKING OF OR SEI-
         SURED;                                                 ZURE OF THAT COVERED VEHICLE BY
    2. ANY COVERED VEHICLE WHILE IT IS                          ANY GOVERNMENTAL AUTHORITY;
         RENTED TO OR LEASED TO OTHERS BY                   10. LOSS TO ANY COVERED VEHICLE THAT
         AN INSURED;                                            RESULTS FROM WAR OF ANY KIND;
    3. ANY COVERED VEHICLE WHILE IT IS                      11. YOUR CAR WHILE SUBJECT TO ANY:
         USED TO CARRY PERSONS FOR A
         CHARGE. This exclusion does not apply to the           a. LIEN AGREEMENT;
         use of a private passenger car on a share-the-         b. RENTAL AGREEMENT;
         expense basis;
                                                                c. LEASE AGREEMENT; OR
    4. ANY COVERED VEHICLE DUE TO:
                                                                d. SALES AGREEMENT
         a. THEFT;
                                                                NOT SHOWN ON THE DECLARATIONS
         b. CONVERSION;                                         PAGE;
         c. EMBEZZLEMENT; OR                                12. ANY NON-OWNED CAR WHILE IT IS:
         d. SECRETION                                           a. BEING MAINTAINED OR USED BY
         BY AN INSURED, A CONSIGNEE, AN                            ANY PERSON WHILE THAT PERSON
         AGENT OF A CONSIGNEE, OR A PERSON                         IS EMPLOYED IN OR ENGAGED IN
         WHO OBTAINS POSSESSION OF THE                             ANY WAY IN A CAR BUSINESS; OR
         COVERED VEHICLE WITH THE PERMIS-                       b. USED IN ANY BUSINESS OR OCCU-
         SION OF A CONSIGNEE OR AGENT OF A                         PATION OTHER THAN A CAR BUSI-
         CONSIGNEE;                                                NESS. This exclusion (12.b.) does not
    5. LOSS TO YOUR CAR OR A NEWLY AC-                             apply to a private passenger car;
         QUIRED CAR IF AN INSURED VOLUN-                    13. ANY PART OR EQUIPMENT OF A COVERED
         TARILY RELINQUISHES POSSESSION OF                      VEHICLE IF THAT PART OR EQUIPMENT:
         THAT CAR TO A PERSON OR ORGANIZA-
         TION UNDER AN ACTUAL OR PRE-                           a. FAILS OR IS DEFECTIVE; OR
         SUMED SALES AGREEMENT;                                 b. IS DAMAGED AS A DIRECT RESULT OF:

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             (1) WEAR AND TEAR;                                 c.   NOT SHOWN ON THE DECLARA-
             (2) FREEZING; OR                                        TIONS PAGE; OR
             (3) MECHANICAL, ELECTRICAL, OR                 19. ANY COVERED VEHICLE WHILE IT IS:
                  ELECTRONIC BREAKDOWN OR                       a. BEING PREPARED FOR, USED IN
                  MALFUNCTION                                        PRACTICE FOR, OR OPERATED IN
             OF THAT PART OR EQUIPMENT.                              ANY RACING CONTEST, SPEED
                                                                     CONTEST, HILL-CLIMBING CON-
        This exclusion does not apply if the loss is the             TEST, JUMPING CONTEST, OR ANY
        result of theft of the covered vehicle;                      SIMILAR CONTEST; OR
    14. ANY PART OR EQUIPMENT:                                  b. ON A TRACK DESIGNED PRIMARILY
                                                                     FOR RACING OR HIGH-SPEED DRIV-
        a. THAT IS NOT LEGAL FOR USE IN OR                           ING. This exclusion (19.b.) does not apply if
             ON THE COVERED VEHICLE IN THE                           the vehicle is being used in connection with
             JURISDICTION WHERE THE COV-                             an activity other than racing, high-speed
             ERED VEHICLE IS REGISTERED; OR                          driving, or any type of competitive driving.
        b. THE USE OF WHICH IS NOT LEGAL                    If Other Physical Damage Coverage or Similar
             IN THE JURISDICTION WHERE THE                  Coverage Applies
             COVERED VEHICLE IS REGISTERED                  1. If the same loss or expense is payable under
             BECAUSE OF HOW OR WHERE THAT                       more than one of the physical damage coverages
             PART OR EQUIPMENT IS INSTALLED                     provided by this policy, then only the one cover-
             IN OR ON THE COVERED VEHICLE.                      age that pays the most for that loss or expense
        However, if there is a legal version of the part        applies.
        or equipment that is necessary for the safe op-     2. If any of the physical damage coverages pro-
        eration of the covered vehicle, then we will pay        vided by this policy and one or more other pol-
        the cost that we would otherwise have paid to           icies issued to an insured by the State Farm
        repair the vehicle with the legal version of the        Companies apply to the same loss or expense,
        part or equipment. We will not pay any cost             then only one policy applies. We will select a
        necessary to modify the vehicle for installation        policy that pays the most for the loss or ex-
        of the legal version of the part or equipment;          pense.
    15. TIRES. This exclusion does not apply if:            3. The physical damage coverages provided by
        a. loss is caused by missiles, falling objects,         this policy apply as primary coverage for a loss
             windstorm, hail, fire, explosion, earth-           to your car.
             quake, water, flood, total or partial theft,       If similar coverage provided by one or more
             malicious mischief, vandalism, riot, civil         sources other than the State Farm Companies
             commotion, or hitting or being hit by a            also applies as primary coverage for the same loss
             bird or an animal; or                              or expense, then the State Farm Companies will
        b. loss caused by collision to another part of          pay the proportion of the loss or expense payable
             the covered vehicle causes loss to tires;          as primary that the maximum amount that may be
    16. REMOVABLE PRODUCTS USED FOR                             paid by the State Farm Companies bears to the
        STORAGE OF AUDIO, VIDEO, OR OTHER                       sum of such amount and the limits of all other
                                                                similar coverage that applies as primary coverage.
        DATA, INCLUDING BUT NOT LIMITED TO
        TAPES, DISCS, AND MEMORY CARDS,                     4. Except as provided in 3. above, the physical
        NOR IS THERE COVERAGE FOR THE RE-                       damage coverages provided by this policy apply
        CONSTRUCTION OF DATA CONTAINED                          as excess coverage.
        THEREIN;                                                If similar coverage provided by one or more
    17. ANY EQUIPMENT USED TO DETECT OR                         sources other than the State Farm Companies
        INTERFERE WITH SPEED MEASURING                          also applies as excess coverage for the same
        DEVICES;                                                loss or expense, then the State Farm Compa-
    18. A CAMPER, INCLUDING ITS PARTS AND                       nies will pay the proportion of the loss or ex-
        ITS EQUIPMENT, THAT IS:                                 pense payable as excess that the maximum
                                                                amount that may be paid by the State Farm
        a. DESIGNED TO BE MOUNTED ON A                          Companies bears to the sum of such amount and
             PICKUP TRUCK;                                      the limits of all other similar coverage that ap-
        b. OWNED BY AN INSURED; AND                             plies as excess coverage.

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    Financed Vehicle                                               a. We may, at our option, make payment to
    1. If a creditor is shown on the Declarations Page,               one or more of the following for loss to a
        then any Comprehensive Coverage or Collision                  covered vehicle owned by you:
        Coverage provided by this policy applies to                   (1) You;
        that creditors interest in your car. Coverage                (2) The repairer; or
        for the creditors interest is only provided for a
        loss that is payable to you.                                  (3) A creditor shown on the Declarations
        However, if this policy is cancelled or nonre-                      Page, to the extent of its interest.
        newed, then we will provide coverage for the               b. We may, at our option, make payment to one
        creditors interest until we notify the creditor of           or more of the following for loss to a covered
        the termination of such coverage. This coverage               vehicle not owned by you:
        for the creditors interest is only provided for a
        loss that would have been payable to you if this              (1) You;
        policy had not been cancelled or nonrenewed.                  (2) The owner of such vehicle;
        The date such termination is effective will be at
        least 10 days after the date we mail or electroni-            (3) The repairer; or
        cally transmit a notice of the termination to the             (4) A creditor, to the extent of its interest.
        creditor.                                             2.   Emergency Road Service Coverage and Car
    2. If we pay such creditor, then we are entitled to            Rental and Travel Expenses Coverage
        the creditors right of recovery against you to            We may, at our option, make payment to one or
        the extent of our payment. Our right of recov-             more of the following:
        ery does not impair the creditors right to re-
        cover the full amount of its claim.                        a. You;
    Our Payment Options                                            b. The insured who incurred the expense; or
    1. Comprehensive Coverage and Collision                        c. Any party that provided the service for
        Coverage                                                      which payment is owed.




                  DEATH, DISMEMBERMENT AND LOSS OF SIGHT COVERAGE
    This policy provides Death, Dismemberment and             The insured must be occupying or be struck as a
    Loss of Sight Coverage if S is shown under              pedestrian by a land motor vehicle or any type of
    SYMBOLS on the Declarations Page.                       trailer at the time of the accident. The death, dis-
    Additional Definition                                     memberment, or permanent loss of sight must occur
    Insured means a person whose name is shown under          within 90 days immediately following the date of the
    Death, Dismemberment and Loss of Sight Coverage          accident.
     Persons Insured on the Declarations Page.              Benefit
    Insuring Agreement                                        The applicable benefit shown in the schedule is the
    We will pay the highest applicable benefit shown in       most we will pay for any one insured in any one
    the following Death, Dismemberment and Loss of            accident. Any benefit paid or payable for dismem-
    Sight Benefits Schedules if an insured:                   berment or permanent loss of sight reduces the
    1. dies; or                                               death benefit.
    2. suffers dismemberment or permanent loss of             The benefits shown in the schedules are doubled for
         sight, as described in the schedule                  an insured who at the time of the accident was oc-
    as the direct result of an accident that involves the     cupying a private passenger car and using a seat
    use of a land motor vehicle or any type of trailer as a   belt in the manner recommended by the vehicles
    vehicle and not due to any other cause.                   manufacturer.

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                Death, Dismemberment and                           (2) COURSE AND SCOPE OF HIS OR
              Loss of Sight Benefits Schedules                         HER EMPLOYMENT IN OTHER
    If the amount shown on the Declarations Page for the               THAN A CAR BUSINESS.
    insured is $5,000, then we will pay the applicable             This exclusion (2.b.) does not apply if the
    benefit shown below for death or for the described             vehicle is a private passenger car;
    dismemberment or permanent loss of sight:                   c. A MILITARY VEHICLE; OR
    Death                                        $5,000
                                                                d. A VEHICLE WHILE IT IS:
    Loss of both hands; both feet; all sight of  $5,000
    both eyes; one hand and one foot; or one                       (1) BEING PREPARED FOR, USED IN
    hand or one foot and all sight of one eye                          PRACTICE FOR, OR OPERATED IN
    Loss of one hand or one foot; or all         $2,500                ANY RACING CONTEST, SPEED
    sight of one eye                                                   CONTEST, HILL-CLIMBING CON-
    Loss of the thumb and a finger on            $1,500                TEST, JUMPING CONTEST, OR ANY
    one hand; or any three fingers                                     SIMILAR CONTEST; OR
    Loss of any two fingers                      $1,000            (2) ON A TRACK DESIGNED PRIMARI-
    The hand must be cut off through or above the wrist.               LY FOR RACING OR HIGH-SPEED
    The foot must be cut off through or above the ankle.               DRIVING. This exclusion (2.d.(2)) does
    The whole thumb or finger must be cut off.                         not apply if the vehicle is being used in
    If the amount shown on the Declarations Page for the               connection with an activity other than
    insured is $10,000, then we will pay the applicable                racing, high-speed driving, or any type of
    benefit shown below for death or for the described                 competitive driving;
    dismemberment or permanent loss of sight:              3.   WHILE OCCUPYING, LOADING, UN-
    Death                                       $10,000         LOADING, OR WHO IS STRUCK AS A PE-
    Loss of both hands; both feet; all sight of $10,000         DESTRIAN BY:
    both eyes; one hand and one foot; or one                    a. A MOTOR VEHICLE THAT RUNS ON
    hand or one foot and all sight of one eye                      RAILS OR CRAWLER-TREADS;
    Loss of one hand or one foot; or all         $5,000         b. A MOTOR VEHICLE THAT IS DE-
    sight of one eye                                               SIGNED FOR USE PRIMARILY OFF
    Loss of the thumb and a finger on            $3,000            PUBLIC ROADS WHILE OFF PUBLIC
    one hand; or any three fingers                                 ROADS; OR
    Loss of any two fingers                      $2,000
                                                                c. A MOTOR VEHICLE OR ANY TYPE OF
    The hand must be cut off through or above the wrist.           TRAILER, EITHER OF WHICH IS LO-
    The foot must be cut off through or above the ankle.           CATED FOR USE AS A DWELLING OR
    The whole thumb or finger must be cut off.                     OTHER PREMISES; OR
    Exclusions                                             4.   FOR DEATH, DISMEMBERMENT, AND
                                                                LOSS OF SIGHT THAT RESULTS FROM:
    DEATH, DISMEMBERMENT AND LOSS OF
    SIGHT COVERAGE DOES NOT APPLY TO AN                         a. WAR OF ANY KIND;
    INSURED:                                                    b. NUCLEAR REACTION, RADIATION
                                                                   OR RADIOACTIVE CONTAMINA-
    1. WHILE IN THE COURSE AND SCOPE OF                            TION FROM ANY SOURCE, OR THE
        HIS OR HER EMPLOYMENT IN A CAR                             ACCIDENTAL OR INTENTIONAL
        BUSINESS;                                                  DETONATION OF, OR RELEASE OF
    2. WHILE OCCUPYING, LOADING, OR UN-                            RADIATION FROM, ANY NUCLEAR
                                                                   OR RADIOACTIVE DEVICE;
        LOADING:
                                                                c. EXPOSURE TO FUNGI;
        a. AN EMERGENCY VEHICLE IN THE
            COURSE AND SCOPE OF HIS OR HER                      d. SUICIDE OR ATTEMPTED SUICIDE
            EMPLOYMENT;                                            REGARDLESS OF WHETHER THE IN-
                                                                   SURED WAS SANE OR INSANE; OR
        b. A VEHICLE, OTHER THAN AN EMER-
            GENCY VEHICLE, WHILE USED IN THE:                   e. DISEASE except pus-forming infection
                                                                   due to bodily injury sustained in the ac-
            (1) INSUREDS BUSINESS; OR                             cident.

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    Our Payment Options                                        3.   A parent or guardian of the insured, if the
    We may, at our option, make payment to one or                   insured is a minor or an incompetent person;
    more of the following:                                          or
    1. The insured;                                            4.   A person or organization authorized by law to
    2. The insureds surviving spouse;                              receive such payment.




                                                INSUREDS DUTIES
    1.   Insureds Duty at the Time of an Accident or                  unless authorized by the terms of this policy.
         Loss                                                       c. Any person or organization making claim
         The insured must make a reasonable effort to                  under this policy must, when we require,
         identify:                                                     give us proof of loss on forms we furnish.
         a. the owners, operators, and passengers of the       5.   Questioning Under Oath
              vehicles involved in the accident or loss;            Under:
         b. the person or persons involved in the ac-               a. No-Fault Coverage, each insured making
              cident or loss; and                                      claim or seeking payment, must, at our op-
         c. the potential witnesses to the accident or loss.           tion:
    2.   Notice to Us of an Accident or Loss                           (1) submit to an examination under oath;
         The insured must give us or one of our agents                 (2) provide a statement under oath; or
         notice of the accident or loss as soon as reason-             (3) do both (1) and (2) above,
         ably possible. The notice must give us:
         a. your name;                                                 as often as we reasonably require. Such
                                                                       insured must answer questions under oath,
         b. the names and addresses of all persons in-                 asked by anyone we name, and sign copies
              volved in the accident or loss;                          of the answers. We may require each in-
         c. the hour, date, place, and facts of the acci-              sured answering questions under oath to
              dent or loss; and                                        answer the questions with only that in-
                                                                       sureds legal representative, our represent-
         d. the names and addresses of witnesses to                    atives, any person or persons designated
              the accident or loss.                                    by us to record the questions and answers,
    3.   Notice to Us of a Claim or Lawsuit                            and no other person present.
         a. If a claim is made against an insured, then                The scope of the questioning during the
              that insured must immediately send us                    examination under oath is limited to rele-
              every demand, notice, and claim received.                vant information or information that could
         b. If a lawsuit is filed against an insured, then             reasonably be expected to lead to relevant
              that insured must immediately send us every              information. Compliance with Question-
              summons and legal process received.                      ing Under Oath is a condition precedent
    4.   Insureds Duty to Cooperate With Us                           to receiving benefits.
         a. The insured must cooperate with us and,                 b. all other coverages, each insured making
              when asked, assist us in:                                claim or seeking payment, must, at our op-
                                                                       tion:
              (1) making settlements;                                  (1) submit to an examination under oath;
              (2) securing and giving evidence; and                    (2) provide a statement under oath; or
              (3) attending, and getting witnesses to at-              (3) do both (1) and (2) above,
                   tend, depositions, hearings, and trials.
         b. The insured must not, except at his or her                 as often as we reasonably require. Such
              own cost, voluntarily:                                   insured must answer questions under oath,
                                                                       asked by anyone we name, and sign copies
              (1) make any payment to others; or                       of the answers. We may require each in-
              (2) assume any obligation to others                      sured answering questions under oath to

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             answer the questions with only that in-                       report will be sent to the person upon
             sureds legal representative, our represent-                  written request.
             atives, any person or persons designated                      (a) Under No-Fault Coverage, if an
             by us to record the questions and answers,
             and no other person present.                                       insured unreasonably refuses to
                                                                                submit to an examination, then
    6.   Other Duties Under the Physical Damage                                 we are no longer liable for subse-
         Coverages                                                              quent benefits. An insureds re-
         When there is a loss, you or the owner of the                          fusal to submit to, complete, or
         covered vehicle must:                                                  failure to appear at two examina-
         a. protect the covered vehicle from additional                         tions raises a rebuttable presump-
             damage. We will pay any reasonable ex-                             tion that the insureds refusal or
             pense incurred to do so that is reported to us;                    failure was unreasonable;
         b. make a prompt report to the police when                        (b) Under Medical Payments Cover-
             the loss is the result of theft or vandalism;                      age, Uninsured Motor Vehicle
         c. allow us to:                                                        Coverage, and Death, Dismem-
             (1) inspect any damaged property before                            berment and Loss of Sight Cover-
                  its repair or disposal;                                       age, if an insured unreasonably
             (2) test any part or equipment before that                         refuses to submit to an examina-
                  part or equipment is removed or re-                           tion, then we are not liable for
                  paired; and                                                   coverage benefits. An insureds
                                                                                refusal to submit to, complete, or
             (3) move the covered vehicle at our ex-                            failure to appear at two examina-
                  pense in order to conduct such inspec-
                  tion or testing;                                              tions will be considered unrea-
                                                                                sonable;
         d. provide us all:
                                                                       (3) provide written authorization for us to
             (1) records;                                                  obtain:
             (2) receipts; and                                             (a) medical bills;
             (3) invoices                                                  (b) medical records;
             that we request and allow us to make copies;                  (c) wage, salary, and employment in-
             and                                                                formation; and
         e. not abandon the covered vehicle to us.                         (d) any other information we deem nec-
    7.   Other Duties Under No-Fault Coverage,                                  essary to substantiate the claim.
         Medical Payments Coverage, Uninsured                              If an injured insured is a minor, una-
         Motor Vehicle Coverage, and Death, Dis-                           ble to act, or dead, then his or her legal
         memberment and Loss of Sight Coverage                             representative must provide us with
         An insured making claim under:                                    the written authorization.
         a. No-Fault Coverage, Medical Payments                            If the holder of the information re-
             Coverage, Uninsured Motor Vehicle Cov-                        fuses to provide it to us despite the au-
             erage, or Death, Dismemberment and Loss                       thorization, then at our request the
             of Sight Coverage must:                                       person making claim or his or her le-
             (1) notify us of the claim and give us all                    gal representative must obtain the in-
                  the details about the death, injury,                     formation and promptly provide it to
                  treatment, and other information that                    us; and
                  we may need as soon as reasonably                    (4) allow us to inspect the vehicle that the
                  possible after the injured insured is                    insured occupied in the accident;
                  first examined or treated for the inju-
                  ry. If the insured is unable to give us         b.   No-Fault Coverage or Medical Payments
                  notice, then any other person may                    Coverage must, at our request, submit
                  give us the required notice;                         documentation from the appropriate health-
             (2) submit to be examined as often as we                  care provider described in 1.A. or 1.B. un-
                  may reasonably require by physicians                 der the Insuring Agreement of this poli-
                  chosen and paid by us. A copy of the                 cys No-Fault Coverage, or described in

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              2.A. or 2.B. under the Insuring Agreement                  insured files a lawsuit against the party li-
              of this policys Medical Payments Coverage,                able for the accident; and
              confirming whether that healthcare provider           d.   Uninsured Motor Vehicle Coverage must
              determined the injured insured had, or did                 report an accident, involving a motor vehi-
              not have, an emergency medical condition;                  cle whose owner or driver remains un-
         c.   No-Fault Coverage and Uninsured Motor                      known, to the police within 24 hours or as
              Vehicle Coverage must send us immedi-                      soon as reasonably practicable, and to us
              ately a copy of all lawsuit papers if the                  within 30 days.




                                                 GENERAL TERMS
    1.   When Coverage Applies                                      c.   Death, Dismemberment and Loss of Sight
         The coverages provided by this policy are                       Coverage applies anywhere in the world.
         shown on the Declarations Page and apply to           3.   Limited Coverage in Mexico
         accidents and losses that occur during the poli-           This policy does not provide Mexican auto in-
         cy period. The policy period is shown on the               surance and does not comply with Mexican au-
         Declarations Page and is for successive periods            to insurance requirements. If you or any other
         of six months each for which the renewal pre-              insured plan to drive in Mexico, then auto in-
         mium is paid. The policy period begins and                 surance providing coverage in Mexico should
         ends at 12:01 AM Standard Time at the address              be purchased from a Mexican insurance com-
         shown on the Declarations Page.                            pany.
                                                                    Subject to the above paragraph, the following
    2.   Where Coverage Applies                                     coverages apply in Mexico, but only for acci-
         The coverages provided by this policy are                  dents and losses that occur in Mexico within 50
         shown on the Declarations Page.                            miles of the United States of America border
         a. Liability Coverage, Property Damage                     and only for insureds as defined under each of
                                                                    the following coverages:
              Liability Coverage, Medical Payments
              Coverage, Uninsured Motor Vehicle Cov-                a. Liability Coverage
              erage, and Physical Damage Coverages                       For claims brought against an insured in
              apply to accidents and losses that occur:                  Mexico, the Supplementary Payments
                                                                         provision of this policys Liability Cover-
              (1) in the United States of America and its                age is changed to read:
                  territories and possessions;
                                                                         We may, in addition to the damages de-
              (2) in Canada; and                                         scribed in item 1 of the Insuring Agree-
              (3) while a vehicle for which coverage is                  ment of this policys Liability Coverage,
                  provided by this policy is being shipped               pay or reimburse, at our option, reasonable
                  between the ports of the United States of              attorney fees for an attorney licensed in
                                                                         Mexico to appear for and provide advice to
                  America, its territories, its possessions,             insureds as defined under this policys Li-
                  and Canada.                                            ability Coverage. The amount of such at-
         b. No-Fault Coverage applies to accidental                      torney fees incurred by an insured must be
              bodily injury sustained:                                   reported to us before we will make pay-
                                                                         ment.
              (1) by an insured in Florida; and
                                                                    b. Property Damage Liability Coverage
              (2) by you and relatives outside Florida;
                  but within:                                            For claims brought against an insured in
                                                                         Mexico, the Supplementary Payments
                  (a) the United States of America, its                  provision of this policys Property Damage
                       territories or possessions; or                    Liability Coverage is changed to read:
                  (b) Canada,                                            We may, in addition to the damages de-
                  while occupying your car, a newly                      scribed in items 1. and 2. of the Insuring
                  acquired car, or a temporary substi-                   Agreement of this policys Property Dam-
                  tute car.                                              age Liability Coverage, pay or reimburse,
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            at our option, reasonable attorney fees for      4.   Persons Acting On Our Behalf
            an attorney licensed in Mexico to appear              A company employee adjuster, independent ad-
            for and provide advice to insureds as de-             juster, attorney, investigator, or other persons
            fined under this policys Property Damage             acting on our behalf that needs access to an in-
            Liability Coverage. The amount of such at-            sured or claimant or to the insured property
            torney fees incurred by an insured must be            that is the subject of a claim must provide at
            reported to us before we will make pay-               least 48 hours notice to the insured or claim-
            ment.                                                 ant, public adjuster, or legal representative be-
       c. No-Fault Coverage                                       fore scheduling a meeting with the claimant or
                                                                  an onsite inspection of the insured property.
            The definition of insured is changed read:            The insured or claimant may deny access to
                 Insured means named insured and                  the property if the notice has not been provid-
                 relatives while occupying:                       ed. The insured or claimant may waive the 48-
                                                                  hour notice.
                 (1) your car;
                                                                  A public adjuster must ensure prompt notice of
                 (2) a newly acquired car;                        property loss claims submitted to us by or
                 (3) a temporary substitute car; or               through a public adjuster or on which a public
                                                                  adjuster represents the insured at the time the
                 (4) a trailer while attached to a car            claim or notice of loss is submitted to us. The
                      described in (1), (2), or (3) above.        public adjuster must ensure that notice is given
       d. Medical Payments Coverage                               to us, the public adjusters contract is provided
       e. Physical Damage Coverages                               to us, the property is available for inspection of
                                                                  the loss or damage by us, and we are given an
            Any amount payable for the repair or re-              opportunity to interview the insured directly
            placement of the covered vehicle under the            about the loss and claim. We must be allowed
            Limits and Loss Settlement  Compre-                  to obtain necessary information to investigate
            hensive Coverage and Collision Cover-                 and respond to the claim.
            age provision of this policy will be limited          We may not exclude the public adjuster from
            to the cost to repair or replace the covered          its in-person meetings with the insured. We
            vehicle in the United States of America.              shall meet or communicate with the public ad-
                                                                  juster in an effort to reach agreement as to the
       WE HAVE NO DUTY TO PROVIDE A DE-                           scope of the covered loss under the insurance
       FENSE FOR YOU OR ANY OTHER IN-                             policy. This section does not impair the terms
       SURED IN ANY CRIMINAL, CIVIL, OR                           and conditions of the insurance policy in effect
       OTHER ACTION.                                              at the time the claim is filed.
       WE HAVE NO DUTY TO PAY ANY CLAIM                           A public adjuster may not restrict or prevent
       OR COST THAT WOULD NOT BE PAYABLE                          us, company employee adjuster, independent
       UNDER THIS POLICY IF THE ACCIDENT                          adjuster, attorney, investigator, or other person
                                                                  acting on our behalf from having reasonable
       OR LOSS HAD OCCURRED IN THE STATE                          access at reasonable times to an insured or
       OF FLORIDA IN THE UNITED STATES OF                         claimant or to the insured property that is the
       AMERICA.                                                   subject of a claim.
       All other policy provisions not in conflict with           A public adjuster may not act or fail to reason-
       the provisions in this Limited Coverage in                 ably act in any manner that obstructs or pre-
       Mexico provision of this policy apply.                     vents us or our adjuster from timely
                                                                  conducting an inspection of any part of the in-
       If Other Coverage Applies                                  sured property for which there is a claim for
       Any coverage provided by this Limited Cov-                 loss or damage. The public adjuster represent-
       erage in Mexico provision is excess over any               ing the insured may be present for our inspec-
       other applicable insurance.                                tion, but if the unavailability of the public
                                                                  adjuster otherwise delays our timely inspection
       Legal Action Against Us                                    of the property, the public adjuster or the in-
                                                                  sured must allow us to have access to the
       Any legal action against us arising out of an ac-          property without the participation or presence
       cident or loss occurring in Mexico must be                 of the public adjuster or insured in order to fa-
       brought in a court that has jurisdiction in the            cilitate our prompt inspection of the loss or
       state of Florida in the United States of America.          damage.

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    5.   Newly Owned or Newly Leased Car                                     dies, then the definition of insured un-
         If you want to insure a car newly owned by you                      der each of the coverages provided by
         with the State Farm Companies after that car                        this policy is changed to include:
         ceases to be a newly acquired car, then you must                    (a) any person with lawful custody of
         either:                                                                  your car, a newly acquired car, or
         a. request we replace the car currently shown                            a temporary substitute car until a
              on the Declarations Page of this policy with                        legal representative is qualified;
              the car newly owned by you and pay us any                           and then
              added amount due. If you make such request                     (b) the legal representative of the de-
              while this policy is in force and:                                  ceased named insured.
              (1) before the car newly owned by you                          This only applies while such person is
                   ceases to be a newly acquired car, then                   maintaining or using your car, a new-
                   that car newly owned by you will be in-                   ly acquired car, or a temporary sub-
                   sured by this policy as your car begin-                   stitute car.
                   ning on the date the car newly owned by                   Policy notice requirements are met by
                   you is delivered to you. The added                        mailing the notice to the most recent
                   amount due will be calculated based on                    policy address that we have on record
                   that date; or                                             for the deceased named insured.
              (2) after the car newly owned by you ceases           c. Joint and Individual Interests
                   to be a newly acquired car, then that car
                   newly owned by you will be insured by               If you consists of more than one person or
                   this policy as your car beginning on the            entity, then each acts for all to change or
                   date and time you make the request. The             cancel the policy.
                   added amount due will be calculated              d. Change of Policy Address
                   based on that date; or
                                                                       We may change the named insureds policy
         b. apply to the State Farm Companies for a                    address as shown on the Declarations Page
              separate policy to insure the car newly                  and in our records to the most recent ad-
              owned by you. Such policy will be issued                 dress provided to us by:
              only if both the applicant and the vehicle
              are eligible for coverage at the time of the             (1) you; or
              application.                                             (2) the United States Postal Service.
    6.   Changes to This Policy                                7.   Premium
         a. Changes in Policy Provisions                            a. Unless as otherwise provided by an alter-
              We may only change the provisions of this                native payment plan in effect with the
              policy by:                                               State Farm Companies with respect to the
                                                                       premium for this policy, the premium is
              (1) issuing a revised policy booklet, a re-              due and payable in full on or before the
                   vised Declarations Page, or an en-                  first day of the policy period shown on the
                   dorsement; or                                       most recently issued Declarations Page or
              (2) revising this policy to give broader                 Renewal Notice.
                   coverage without an additional premi-            b. The renewal premium for this policy will be
                   um charge. If any coverage provided                 based upon the rates in effect, the coverages
                   by this policy is changed to give                   carried, the applicable limits, deductibles,
                   broader coverage, then we will give                 and other elements that affect the premium
                   you the broader coverage as of the                  that apply at the time of renewal.
                   date we make the change effective in
                   the state of Florida without issuing a           c. The premium for this policy may vary
                   revised policy booklet, a revised Dec-              based upon:
                   larations Page, or an endorsement.                  (1) the purchase of other products or serv-
         b. Change of Interest                                               ices from the State Farm Companies;
              (1) No change of interest in this policy is              (2) the purchase of products or services
                   effective unless we consent in writing.                   from an organization that has entered
                                                                             into an agreement or contract with the
              (2) Except under Death, Dismemberment                          State Farm Companies. The State
                   and Loss of Sight Coverage, if a named                    Farm Companies do not warrant the
                   insured shown on the Declarations Page                    merchantability, fitness, or quality of
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                  any product or service offered or pro-             (2) However, if the policy provides Lia-
                  vided by that organization; or                         bility Coverage or Property Damage
             (3) an agreement, concerning the insur-                     Liability Coverage and No-Fault Cov-
                  ance provided by this policy, that the                 erage, you may not cancel your policy
                  State Farm Companies has with an                       during the first two months immedi-
                  organization of which you are a mem-                   ately following the policy effective
                  ber, employee, subscriber, licensee, or                date unless:
                  franchisee.                                            (a) your car has been totally de-
        d. The premium for this policy is based upon                          stroyed;
             information we have received from you or                    (b) you have transferred ownership
             other sources. You must inform us if any                         of your car;
             information regarding the following is in-                  (c) you have purchased another poli-
             correct or incomplete, or changes during                         cy covering your car; or
             the policy period, and you must answer
             questions we ask regarding the following:                   (d) you are a member of the United
             (1) Your car, or its use, including annual                       States Armed Forces and have
                  mileage;                                                    been called to or are on active
                                                                              duty outside the United States in
             (2) The persons who regularly drive your                         an emergency situation.
                  car, including newly licensed family          b.   How and When We May Cancel
                  members;
             (3) Your marital status; or                             (1) We may cancel this policy by mailing
                                                                         or delivering a written notice to the
             (4) The location where your car is pri-                     most recent policy address that we
                  marily garaged.                                        have on record for the first named in-
             If the above information or any other in-                   sured who is shown on the Declara-
             formation used to determine the premium                     tions Page. The notice will provide
             is incorrect, incomplete, changes during                    the date cancellation is effective.
             the policy period, or is not provided to us             (2) Except as provided under Cancella-
             when we ask, then we may decrease or in-                    tion Due to Incorrect Premium, the
             crease the premium during the policy peri-                  date cancellation is effective will be at
             od. If we decrease the premium during the                   least:
             policy period, then we will provide a re-                   (a) 10 days after the date we mail or
             fund or a credit in the amount of the de-                        deliver the cancellation notice, if
             crease. If we increase the premium during                        the cancellation is because the
             the policy period, then you must pay the                         premium was not paid when due;
             amount of the increase.                                          or
    8. Renewal                                                           (b) 45 days after we mail or deliver
        We agree to renew this policy for the next policy                     the cancellation notice, if the can-
        period upon payment of the renewal premium                            cellation is because of any other
        when due, unless we mail or deliver a nonre-                          reason.
        newal notice or a cancellation notice as set forth           (3) If we cancel this policy for nonpay-
        in 9. and 10. below.
                                                                         ment of premium during the first 60
    9. Nonrenewal                                                        days immediately following the effec-
        If we decide not to renew this policy, then, at                  tive date of this policy, we will do so
        least 45 days before the end of the current                      only if a check used to pay the premi-
        policy period, we will mail or deliver a nonre-                  um is dishonored for any reason or
        newal notice to the most recent policy address                   any other type of premium payment
        that we have on record for the first named in-                   was subsequently determined to be re-
        sured who is shown on the Declarations Page.                     jected or invalid.
    10. Cancellation                                                 (4) After this policy has been in force for
        a. How You May Cancel                                            more than 59 days, we will not cancel
             (1) You may cancel this policy by provid-                   this policy before the end of the cur-
                  ing to us advance notice of the date                   rent policy period unless it is based on
                  cancellation is effective. We may con-                 one or more of the following reasons:
                  firm the cancellation in writing.                      (a) Nonpayment of premium;
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                  (b) You, any resident relative, or any      12. Bankruptcy or Insolvency of the Insured
                       other person who usually drives            Bankruptcy or insolvency of the insured or his
                       your car has had his or her driv-          or her estate will not relieve us of our obliga-
                       ers license or motor vehicle reg-         tions under this policy.
                       istration under suspension or          13. Concealment or Fraud
                       revocation during the policy peri-
                       od or the 180 days immediately             a. Coverages Other Than No-Fault and
                       preceding its effective date, or if             Medical Payments Coverage
                       the policy is a renewal, during its             There is no coverage under this policy for
                       policy period; or                               any person who, or organization making
                                                                       claim or seeking payment that, has made
                  (c) Material misrepresentation or                    false statements with the intent to conceal
                       fraud.                                          or misrepresent any material fact or cir-
        c. Cancellation Due to Incorrect Premium                       cumstance in connection with any claim
                                                                       under this policy.
             (1) If we determine that we have charged
                  you an incorrect premium for cover-             b. No-Fault Coverage and Medical Pay-
                  ages requested in your insurance ap-                 ments Coverage
                  plication, we will immediately notify                Benefits shall not be due or payable to or
                  you of any additional premium due.                   on behalf of an insured person if that per-
                  You may:                                             son has committed, by material act or
                  (a) maintain your policy in force by                 omission, any insurance fraud relating to
                       paying the additional amount due                No-Fault Coverage or Medical Payments
                       by the date stated in the notice; or            Coverage under this policy, if the fraud is
                                                                       admitted to in a sworn statement by the in-
                  (b) cancel your policy by the date                   sured or if it is established in a court of
                       stated in the notice and receive a              competent jurisdiction. Any insurance
                       refund of any unearned premium.                 fraud shall void all coverage arising from
             (2) If you fail to respond by the date stat-              the claim related to such fraud under No-
                  ed in the notice we will cancel your                 Fault Coverage or Medical Payments Cov-
                  policy. The date cancellation is effec-              erage of the insured person who commit-
                  tive will be at least 14 days after the              ted the fraud, irrespective of whether a
                  date we mail or deliver the cancella-                portion of the insured persons claim may
                  tion notice.                                         be legitimate, and any benefits paid prior
        d. Return of Unearned Premium                                  to the discovery of the insured persons
                                                                       insurance fraud shall be recoverable by us,
             (1) If you cancel this policy, then premium               in their entirety, from the person who
                  will be earned on a pro rata basis. We               committed insurance fraud. We are enti-
                  may retain up to 10% of any unearned                 tled to all our costs and attorneys fees in
                  premium. Any remaining unearned                      any action in which we prevail that enforc-
                  premium will be mailed to you within                 es our right of recovery under this provi-
                  30 days after the effective date of the              sion.
                  policy cancellation, or 30 days after we             Neither we nor the insured is required to
                  receive your request to cancel this poli-            pay a claim or charges:
                  cy, whichever is later.
                                                                       (1) for any service or treatment that was
             (2) If we cancel this policy, then premium                     not lawful at the time rendered; or
                  will be earned on a pro rata basis. Any
                  unearned premium will be mailed at                   (2) to any person who knowingly submits
                  the time we cancel the policy or with-                    a false or misleading statement relat-
                  in 15 days after the effective date of                    ing to the claim or charges.
                  the policy cancellation. Delay in the                If we have reasonable belief that a fraudu-
                  return of unearned premium does not                  lent insurance act (s. 626.989, Florida
                  affect the cancellation.                             Statutes, or s. 817.234, Florida Statutes)
    11. Assignment                                                     has been committed, we shall notify the
                                                                       claimant, in writing, within 30 days after
        No assignment of benefits or other transfer of                 submission of the claim that the claim is
        rights is binding upon us unless approved by us.               being investigated for suspected fraud.
        This does not include a post loss assignment of                Beginning at the end of the initial 30-day
        benefits.                                                      period, we have an additional 60 days to
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            conduct a fraud investigation. Notwith-                       Our right of reimbursement for bene-
            standing the demand letter conditions un-                     fits under No-Fault Coverage does not
            der the Legal Action Against Us provision                     apply to an owner or registrant of a
            of this policy, no later than 90 days after                   taxicab       as       identified     in
            the submission of the claim, we must deny                     s.627.733(1)(b), Florida Statutes.
            the claim or pay the claim with simple in-      15. Mediation
            terest as provided in d. (2) under the Legal
            Action Against Us provision of this poli-           The insured or we may demand mediation of
            cy. Interest shall be assessed from the day         any claim:
            the claim was submitted until the day the           a. in an amount of $10,000 or less, resulting
            claim is paid. All claims denied for sus-                from:
            pected fraudulent insurance acts shall be
            reported to the Division of Insurance                    1. bodily injury under No-Fault Cover-
            Fraud.                                                        age, Medical Payments Coverage, or
                                                                          Uninsured Motor Vehicle Coverages;
    14. Our Right to Recover Our Payments                                 or
        Death, Dismemberment and Loss of Sight                       2. death of or loss to an insured under
        Coverage payments are not recoverable by us.                      Death, Dismemberment and Loss of
        Under all other coverages, the following apply:                   Sight Coverage; or
        a. Subrogation                                          b. in any amount, for a loss covered under
            If we are obligated under this policy to                 Physical Damage Coverages,
            make payment to or for a person or organ-           by filing a written request with the Florida De-
            ization who has a legal right to collect            partment of Financial Services on a form which
            from another person or organization, that
            is not an insured, then we will be subro-           may be obtained from the Florida Department
            gated to that right to the extent of our            of Financial Services. The request must state
            payment.                                            why mediation is being requested and the issue
            The person or organization to or for whom           in dispute.
            we make payment must help us recover                The Florida Department of Financial Services
            our payments by:                                    will appoint a mediator. Each party may reject
            (1) doing nothing to impair that legal right;       one mediator whether before or after the other
                                                                party has made a rejection. The mediator will
            (2) executing any documents we may                  notify the parties of the date, time, and place of
                 need to assert that legal right; and           the mediation conference, which will be held
            (3) taking legal action through our repre-          within 45 days of the request for mediation.
                 sentatives when we ask.                        The mediation will be conducted informally
        b. Reimbursement                                        and may be held by telephone if feasible.
            (1) If we make payment under this policy            Participants must have authority to make a
                 and the person or organization to or           binding decision, and must mediate in good
                 for whom we make payment recovers              faith. Information and disclosure provided dur-
                 or has recovered from another person           ing mediation are not admissible in any subse-
                 or organization, then the person or or-        quent action or proceeding relating to the claim
                 ganization to or for whom we make              or cause of action giving rise to the claim.
                 payment must:
                                                                Costs of the mediator shall be shared equally
                 (a) hold in trust for us the proceeds          by each party unless the mediator determines a
                      of any recovery; and                      party has not mediated in good faith.
                 (b) reimburse us to the extent of our          If a person files suit which relates to facts al-
                      payment.
                                                                ready mediated, such facts shall not be mediat-
            (2) We have a right of reimbursement                ed again.       Only one mediation may be
                 against the owner or the insurer of the        requested for each claim, unless all parties
                 owner of a commercial motor vehicle            agree to further mediation. Any suit regarding
                 for our payments of No-Fault benefits
                 to any person having been an occu-             a mediated dispute must be filed as prescribed
                 pant of the commercial motor vehicle           under the Limitations of Actions statutes or
                 or having been struck by the commer-           within 60 days after the conclusion of the me-
                 cial motor vehicle as a pedestrian.            diation process, whichever is later.
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    16. Arbitration                                                        procedure and admission of evidence
        a. The insured or we may request, in writing,                      will be used.
           arbitration of any claim. If you and we                   (8) We do not waive any of our rights by
           agree to arbitrate, then arbitration will fol-                  submitting to arbitration.
           low the procedure outlined below.
                                                                  b. We are not bound by any:
           (1) The arbitration will take place in the
                county in which the insured resides                  (1) judgment obtained without our writ-
                unless the parties agree to another lo-                    ten consent; or
                cation.                                              (2) default judgment against any person
           (2) The insured and we will each select a                       or organization other than us.
                competent arbitrator. These two arbi-             c. Regardless of the amount of any award,
                trators will select a third competent                including any judgment or default judg-
                arbitrator. If they are unable to agree              ment, we are not obligated to pay any
                on the third arbitrator within 30 days,              amount in excess of the available limits
                then either the insured or we may pe-                under this coverage of this policy.
                tition a court that has jurisdiction to
                select the third arbitrator.                  17. Legal Action Against Us
           (3) Each party will pay the cost of its own            a. Legal action may only be brought against
                                                                     us within five years immediately following
                arbitrator, attorneys, and expert wit-               the date of the accident or loss.
                nesses, as well as any other expenses
                incurred by that party. Both parties              b. Legal action may not be brought against us
                will share equally the cost of the third             until there has been full compliance with
                                                                     all the provisions of this policy.
                arbitrator.
                                                                  c. Under No-Fault Coverage, we shall create
           (4) The arbitrators shall only decide the                 and maintain for each insured a log of No-
                answers to the following two ques-                   Fault Coverage benefits we have paid on
                tions:                                               behalf of the insured. If litigation is
                (a) are damages compensatory; and                    commenced, we shall provide to the in-
                (b) if damages are compensatory,                     sured a copy of the log within 30 days af-
                     then what is the amount of com-                 ter receiving a request for the log from the
                     pensatory damages.                              insured.
           (5) Arbitrators shall have no authority to             d. In addition, legal action may only be
                                                                     brought against us regarding:
                decide any other questions of fact, de-
                cide any questions of law, or conduct                (1) Liability Coverage and Property
                arbitration on a class-wide or class-                      Damage Liability Coverage, after the
                representative basis.                                      amount of damages an insured is le-
                                                                           gally liable to pay has been finally de-
           (6) A written decision that is both agreed up-                  termined by:
                on by and signed by any two arbitrators,                   (a) judgment after an actual trial, and
                and that also contains an explanation of                        any appeals of that judgment if
                how they arrived at their decision, will be                     any appeals are taken; or
                binding on:                                                (b) agreement between the claimant
                (a) us;                                                         and us.
                (b) the insured;                                     (2) No-Fault Coverage, if within 30 days
                                                                           after our receipt of written notice of
                (c) any assignee of the insured; and                       an intent to initiate litigation for:
                (d) any person or organization with                        (a) an overdue claim, we fail to pay
                     whom the insured expressly or                              the overdue claim, applicable in-
                     impliedly contracts.                                       terest, and a penalty of 10% of
                                                                                the overdue amount that we pay,
           (7) Subject to (1), (2), (3), (4), (5), and (6)                      subject to a maximum penalty of
                above, state court rules governing                              $250; or

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             (b) our withdrawal of payment for                         submitted, may be used as the item-
                  future treatment not yet rendered,                   ized statement. To the extent that
                  we fail to mail to the person filing                 the demand involves our with-
                  the notice a written statement of                    drawal of payment for future treat-
                  our agreement to pay for such                        ment not yet rendered, the claimant
                  treatment in accordance with the                     shall attach a copy of our notice
                  notice and to pay a penalty of                       withdrawing such payment and an
                  10%, subject to a maximum pen-                       itemized statement of the type, fre-
                  alty of $250, when we pay for                        quency, and duration of future
                  such future treatment.                               treatment claimed to be reasonable
             Payment or our written statement of                       and medically necessary.
             agreement to pay for future treatment                The notice must be delivered to us by
             not yet rendered shall be treated as be-             United States certified or registered
             ing made on the date a draft, other                  mail, return receipt requested, at the
             valid instrument that is equivalent to               address we have filed with, and that is
                                                                  made available by, the office of the
             payment, or our written statement of                 Florida Chief Financial Officer on its
             agreement to pay, is placed in the                   Internet Website. Such postal costs
             United States mail in a properly ad-                 shall be reimbursed by us, if requested
             dressed, postpaid envelope, or if not                by the claimant in the notice, when we
             so posted, on the date of delivery.                  pay the claim.
             Such notice of intent to initiate litiga-        (3) Medical Payments Coverage unless
             tion may not be sent until the claim is              we receive written notice of an intent
             overdue, including any additional time               to initiate litigation and if within 30
                                                                  days after our receipt of such for:
             we have to pay the claim pursuant to
             the No-Fault Act.                                    (a) a claim, we fail to pay the claim;
                                                                       or
             The notice must state that it is a de-              (b) our withdrawal of payment for
             mand letter under s.627.736 and                          future treatment not yet rendered,
             specify:                                                  we fail to mail to the person filing
             i. the name of the insured for                            the notice a written statement of
                  whom benefits are being sought,                      our agreement to pay for such
                                                                       treatment in accordance with the
                  including a copy of the assign-                      notice.
                  ment giving rights to the claimant
                  if the claimant is not the insured;             Payment or our written statement of
                                                                  agreement to pay for future treatment
             ii. the claim number or policy num-                  not yet rendered shall be treated as be-
                  ber upon which the claim was                    ing made on the date a draft, other
                  originally submitted to us; and                 valid instrument that is equivalent to
                                                                  payment, or our written statement of
             iii. to the extent applicable, the name              agreement to pay, is placed in the
                  of the medical provider who ren-                United States mail in a properly ad-
                  dered the treatment, services, ac-              dressed, postpaid envelope, or if not
                  commodations or supplies that                   so posted, on the date of delivery.
                  form the basis of the claim, and an             The notice must state that it is a de-
                  itemized statement specifying each              mand letter for Medical Payments
                  exact amount, the date of treatment,            Coverage and specify:
                  service, or accommodation, and the              i. the name of the insured for
                  type of benefit claimed to be due.                   whom benefits are being sought,
                  A properly completed Centers for                     including a copy of the assign-
                  Medicare and Medicaid Services                       ment giving rights to the claimant
                  (CMS) 1500 form, any other stand-                    if the claimant is not the insured;
                  ard form approved by the Florida                ii. the claim number or policy num-
                  Office of Insurance Regulation, or                   ber upon which the claim was
                  the lost wage statement previously                   originally submitted to us; and

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              iii. to the extent applicable, the name                   (d) agrees that we may contest the is-
                   of the medical provider who ren-                          sues of liability and the amount of
                   dered the treatment, services, ac-                        damages.
                   commodations or supplies that                        We are not bound by any judgment
                   form the basis of the claim, and an                  obtained without our written consent.
                   itemized statement specifying each
                   exact amount, the date of treatment,                 We are not bound by default judgment
                   service, or accommodation, and the                   against any person or organization
                   type of benefit claimed to be due. A                 other than us.
                   properly completed Centers for                       Regardless of the amount of any
                   Medicare and Medicaid Services                       award, including any judgment or de-
                   (CMS) 1500 form, or any other                        fault judgment, we are not obligated to
                   standard form approved by the                        pay any amount in excess of the avail-
                   Florida Office of Insurance Regula-                  able limits under this coverage of this
                   tion, may be used as the itemized                    policy.
                   statement. To the extent that the
                   demand involves our withdrawal of      18. Choice of Law
                   payment for future treatment not           Without regard to choice of law rules, the law
                   yet rendered, the claimant shall at-       of the state of:
                   tach a copy of our notice withdraw-
                   ing such payment and an itemized           a. Florida will control, except as provided in
                   statement of the type, frequency,               b. below, in the event of any disagreement
                   and duration of future treatment                as to the interpretation and application of
                   claimed to be reasonable and medi-              any provision in this policy; and
                   cally necessary.                           b. Illinois will control in the event of any dis-
              The notice must be delivered to us by                agreement as to the interpretation and ap-
              United States certified or registered                plication of this policys:
              mail, return receipt requested, at the               (1) Mutual Conditions provision found on
              address we have filed with, and that is                   the most recently issued Declarations
              made available by, the office of the                      Page, if this policy was issued by the
              Florida Chief Financial Officer on its                    State Farm Mutual Automobile Insur-
              Internet Website. Such postal costs                       ance Company; or
              shall be reimbursed by us, if requested              (2) Participating Policy provision found
              by the claimant in the notice, when we                    on the most recently issued Declara-
              pay the claim.                                            tions Page, if this policy was issued by
          (4) Uninsured Motor Vehicle Coverage if                       any subsidiary or affiliate of the State
              the insured or that insureds legal rep-                  Farm Mutual Automobile Insurance
              resentative within five years immedi-                     Company.
              ately following the date of the             19. Severability
              accident:
              (a) presents an Uninsured Motor Vehi-           If any provision of this policy is held invalid or un-
                   cle Coverage claim to us;                  enforceable by a court that has jurisdiction, then:
              (b) files a lawsuit, in a state or feder-       a. such provision will remain in full force to
                   al court that has jurisdiction                  the extent not held invalid or unenforce-
                   against us;                                     able; and
              (c) consents to a jury trial if request-        b. all other provisions of this policy will re-
                   ed by us; and                                   main valid and enforceable.




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                                            Policy Form 9810A
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    6128S.1 AMENDATORY ENDORSEMENT

    This endorsement is a part of the policy. Except for the changes this endorsement makes, all other
    provisions of the policy remain the same and apply to this endorsement.
    1. DEFINITIONS                                                1. related to any named insured in
                                                                       any degree by blood, by mar-
        a. Newly Acquired Car is changed to read:                      riage, or by adoption and who
                Newly Acquired Car means a car                         makes his or her home in the
                newly owned by you or a resident                       same family unit with that
                relative.                                              named insured, whether or not
                                                                       temporarily living elsewhere, or
                A car ceases to be a newly acquired
                                                                  2. a ward or foster child of any
                car on the earlier of:                                 named insured or of a person
                1. the effective date and time of a                    described in 1. above and who
                    policy, including any binder, is-                  makes his or her home in the
                    sued by us or any other company                    same family unit with that
                    that describes the car as an in-                   named insured.
                    sured vehicle; or                   2. LIABILITY COVERAGE (Bodily Injury
                2. the end of the 14th calendar day        and Property Damage)
                   immediately following the date          a. Item 4. of Insured, under Additional
                   the car is delivered to you or a           Definition, is changed to read:
                   resident relative.
                                                                  Insured means any other person or
              If a newly acquired car is not other-               organization vicariously liable for
              wise afforded comprehensive cover-                  the use of a vehicle by an insured as
              age or collision coverage by this or                defined in 1., 2., or 3. above, but
              any other policy, then this policy                  only for such vicarious liability.
              will provide Comprehensive Cover-                   This provision applies only if the ve-
              age or Collision Coverage for that                  hicle is:
              newly acquired car, subject to a de-                a. neither owned by, nor hired by,
              ductible of $500.                                        that other person or organiza-
                                                                       tion; and
        b. Pedestrian is changed to read:
                                                                  b. neither available for, nor being
              Pedestrian means a person who is                         used for, carrying persons for a
              not occupying:                                           charge.
              1. a motor vehicle;                          b. The following is added to Supplemen-
              2. a self-propelled vehicle; or                 tary Payments:
              3. a trailer or other vehicle at-                   Attorney fees for attorneys repre-
                   tached to a self-propelled vehi-               senting the person or entity assert-
                   cle.                                           ing a claim against an insured are
                                                                  not a covered court cost, cost or ex-
        c. Relative is changed to read:                           pense under the Supplementary Pay-
              Relative means a person, other than                 ments provision of this coverage in
              you, who is:                                        this policy.
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       c. Exclusions                                               This provision applies only if the ve-
          (1) The exception to exclusion 11. is                    hicle is:
              changed to read:                                     a. neither owned by, nor hired by,
                 This exclusion does not apply to                       that other person or organiza-
                 damage to a:                                           tion; and
                                                                   b. neither available for, nor being
                  a. motor vehicle owned by the                         used for, carrying persons for a
                       employer of you or the em-                       charge.
                       ployer of any resident rela-
                       tive if such damage is               b. The following is added to Supplemen-
                       caused by an insured while              tary Payments:
                       operating another motor ve-                 Attorney fees for attorneys repre-
                       hicle;                                      senting the person or entity assert-
                                                                   ing a claim against an insured are
                  b. residence while rented to or                  not a covered court cost, cost or ex-
                       leased to an insured; or                    pense under the Supplementary Pay-
                  c. private garage while rented                   ments provision of this coverage in
                       to or leased to an insured;                 this policy.
           (2) The following exclusion is added:            c. Exclusions
                   THERE IS NO COVERAGE                        (1) The exception to exclusion 9. is
                   FOR AN INSURED WHO IS:                          changed to read:
                   1. PROVIDING TRANSPOR-                               This exclusion does not apply to
                      TATION NETWORK SER-                               damage to a:
                      VICES; OR                                         a. motor vehicle owned by the
                                                                             employer of you or the em-
                  2. OCCUPYING                 OR                            ployer of any resident rela-
                       STRUCK BY YOUR CAR,                                   tive if such damage is
                       A NEWLY ACQUIRED                                      caused by an insured while
                       CAR, OR A TEMPORARY                                   operating another motor ve-
                       SUBSTITUTE             CAR                            hicle;
                       WHILE SUCH VEHICLE                               b. residence while rented to or
                       IS BEING USED TO PRO-                                 leased to an insured; or
                       VIDE TRANSPORTATION
                       NETWORK SERVICES.                                c. private garage while rented
                                                                             to or leased to an insured;
    3. PROPERTY DAMAGE LIABILITY
       COVERAGE                                                (2) The following exclusion is added:
       a. Item 4. of Insured, under Additional                          THERE IS NO COVERAGE
          Definition, is changed to read:                               FOR AN INSURED WHO IS:
              Insured means any other person or                         1. PROVIDING             TRANS-
              organization vicariously liable for                            PORTATION NETWORK
              the use of a vehicle by an insured as                          SERVICES; OR
              defined in 1., 2., or 3. above, but                       2. OCCUPYING OR STRUCK
              only for such vicarious liability.                             BY YOUR CAR, A NEWLY
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                       ACQUIRED CAR, OR A                          (3) an entity that owns or is wholly
                       TEMPORARY           SUBSTI-                     owned, directly or indirectly, by
                       TUTE CAR WHILE SUCH                             a hospital or hospitals;
                       VEHICLE IS BEING
                       USED TO PROVIDE                             (4) a physical therapist licensed un-
                       TRANSPORTATION NET-                             der chapter 486 of the Florida
                       WORK SERVICES.                                  Statutes, based upon referral by
    4. NO-FAULT COVERAGE                                               a provider described in B.
                                                                       above; and
       a. Additional Definition
                                                                   (5) a health care clinic licensed un-
          Item 2. of the definition of Insured is                      der part X of chapter 400 of the
          changed to read:
                                                                       Florida Statutes which is ac-
              Insured means any other person                           credited by an accrediting or-
              while occupying or struck as a pe-                       ganization whose standards
              destrian by:                                             incorporate comparable regula-
              a. your car;                                             tions required by the state of
              b. a newly acquired car;                                 Florida; or
              c. a temporary substitute car; or                        (a) has a medical director li-
                                                                           censed under chapter 458,
              d. a trailer while attached to a car                         chapter 459, or chapter 460
                  described in a., b., or c. above.
                                                                           of the Florida Statutes;
       b. Insuring Agreement
                                                                       (b) has been continuously li-
          Item 1.C. is changed to read:                                    censed for more than three
               follow-up services and care con-                            years or is a publicly traded
               sistent with the underlying medical                         corporation that issues se-
               diagnosis rendered pursuant to A.                           curities traded on an ex-
               above which may also be provided                            change registered with the
               by the following persons or entities:                       United States Securities and
                                                                           Exchange Commission as a
               (1) a hospital or ambulatory surgi-
                                                                           national securities ex-
                   cal center licensed under chap-
                                                                           change; and
                   ter 395 of the Florida Statutes;
                                                                       (c) provides at least four of the
               (2) an entity wholly owned by one                           following medical special-
                   or more physicians licensed un-                         ties:
                   der chapter 458 or 459 of the
                   Florida Statutes, chiropractic                          i. general medicine;
                   physicians licensed under chap-                         ii. radiography;
                   ter 460 of the Florida Statutes or
                   dentists licensed under chapter                         iii. orthopedic medicine;
                   466 of the Florida Statutes, or                         iv. physical medicine;
                   by such practitioners and the
                   spouse, parent, child, or sibling                       v. physical therapy;
                   of such practitioners;                                  vi. physical rehabilitation;

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                      vii. prescribing or dispens-         d. Exclusions
                            ing outpatient prescrip-          The following exclusion is added:
                            tion medication; or
                                                                  THERE IS NO COVERAGE FOR
                      viii. laboratory services.                  AN INSURED WHO IS:
      c. Limits                                                   1. PROVIDING TRANSPORTA-
         (1) Item 2.f.(I) is changed to read:                          TION NETWORK SERVICES;
                 For all other medical services,                       OR
                 supplies, and care, 200 percent                  2. OCCUPYING OR STRUCK
                 of the allowable amount under:                        BY YOUR CAR, A NEWLY
                 (I) The participating physician                       ACQUIRED       CAR, OR A TEM-
                      fee schedule of Medicare                         PORARY      SUBSTITUTE       CAR
                      Part B, except as provided                       WHILE     SUCH     VEHICLE      IS
                      in sub-sub-subparagraphs (II)                    BEING    USED     TO   PROVIDE
                      and (III).                                       TRANSPORTATION              NET-
                                                                       WORK SERVICES.
         (2) The last paragraph of item 2. is
             changed to read:                         5. MEDICAL PAYMENTS COVERAGE
                 For purposes of the above, the            a. Insuring Agreement
                 applicable fee schedule or pay-              Item 2.C. is changed to read:
                 ment limitation under Medicare                   follow-up services and care con-
                 is the fee schedule or payment                   sistent with the underlying medical
                 limitation in effect on March 1                  diagnosis rendered pursuant to A.
                 of the service year in which the                 above which may also be provided
                 services, supplies, or care is                   by the following persons or entities:
                 rendered and for the area in
                 which such services, supplies,                   (1) a hospital or ambulatory surgi-
                 or care is rendered, and the ap-                      cal center licensed under chap-
                 plicable fee schedule or pay-                         ter 395 of the Florida Statutes;
                 ment limitation applies to                       (2) an entity wholly owned by one
                 services, supplies, or care ren-                      or more physicians licensed un-
                 dered during that service year,                       der chapter 458 or 459 of the
                 notwithstanding any subse-                            Florida Statutes, chiropractic
                 quent change made to the fee                          physicians licensed under chap-
                 schedule or payment limitation,                       ter 460 of the Florida Statutes or
                 except that it will not be less                       dentists licensed under chapter
                 than the allowable amount un-                         466 of the Florida Statutes, or
                 der the applicable schedule of                        by such practitioners and the
                 Medicare Part B for 2007 for                          spouse, parent, child, or sibling
                 medical services, supplies, and                       of such practitioners;
                 care subject to Medicare Part B.
                 For purposes of this paragraph,                  (3) an entity that owns or is wholly
                 the term service year means                         owned, directly or indirectly, by
                 the period from March 1                               a hospital or hospitals;
                 through the end of February of                   (4) a physical therapist licensed un-
                 the following year.                                   der chapter 486 of the Florida
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                 Statutes, based upon referral by                      For all other medical services,
                 a provider described in B.                            supplies, and care, 200 percent
                 above; and                                            of the allowable amount under:
             (5) a health care clinic licensed un-                     (I) The participating physician
                 der part X of chapter 400 of the                           fee schedule of Medicare
                 Florida Statutes which is ac-                              Part B, except as provided
                 credited by an accrediting or-                             in sub-sub-subparagraphs (II)
                 ganization whose standards                                 and (III).
                 incorporate comparable regula-
                 tions required by the state of                (2) The last paragraph of item 3. is
                 Florida; or                                       changed to read:
                 (a) has a medical director li-                       For purposes of the above, the
                     censed under chapter 458,                        applicable fee schedule or pay-
                     chapter 459, or chapter 460                      ment limitation under Medicare
                     of the Florida Statutes;                         is the fee schedule or payment
                                                                      limitation in effect on March 1 of
                 (b) has been continuously li-                        the service year in which the ser-
                     censed for more than three                       vices, supplies, or care is ren-
                     years or is a publicly traded                    dered and for the area in which
                     corporation that issues se-                      such services, supplies, or care is
                     curities traded on an ex-                        rendered, and the applicable fee
                     change registered with the                       schedule or payment limitation
                     United States Securities and                     applies to services, supplies, or
                     Exchange Commission as a                         care rendered during that service
                     national securities ex-                          year, notwithstanding any subse-
                     change; and                                      quent change made to the fee
                 (c) provides at least four of the                    schedule or payment limitation,
                     following medical special-                       except that it will not be less than
                     ties:                                            the allowable amount under the
                                                                      applicable schedule of Medicare
                     i. general medicine;                             Part B for 2007 for medical ser-
                     ii. radiography;                                 vices, supplies, and care subject
                                                                      to Medicare Part B. For pur-
                     iii. orthopedic medicine;                        poses of this paragraph, the term
                     iv. physical medicine;                           service year means the period
                                                                      from March 1 through the end of
                     v. physical therapy;                             February of the following year.
                     vi. physical rehabilitation;
                                                            c. Exclusions
                     vii. prescribing or dispens-
                           ing outpatient prescrip-            (1) Exclusion 7. is changed to read:
                           tion medication; or                     THERE IS NO COVERAGE FOR
                     viii. laboratory services.                    AN INSURED WHO:
      b. Limits                                                    a. IS   OCCUPYING    OR
         (1) Item 3.f.(I) is changed to read:                         THROUGH BEING STRUCK

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                AS A PEDESTRIAN BY A VE-                                 WHILE SUCH VEHICLE
                HICLE OWNED BY ANY                                       IS BEING USED TO PRO-
                NAMED INSURED OR ANY                                     VIDE     TRANSPORTA-
                RELATIVE WHICH IS NOT                                    TION        NETWORK
                INSURED UNDER THIS POL-                                  SERVICES.
                ICY; OR
                                                   6. UNINSURED MOTOR VEHICLE COV-
            b. AT THE TIME OF THE ACCI-               ERAGE (Stacking)
               DENT OWNS A MOTOR VE-
               HICLE SUBJECT TO THE                      a. Additional Definitions
               NO-FAULT ACT AND IS NOT                      Uninsured Motor Vehicle does not in-
               INSURED FOR THE COVER-                       clude a land motor vehicle or trailer is
               AGE REQUIRED BY THE                          changed to read:
               NO-FAULT ACT.                                    Uninsured Motor Vehicle does not
                This exclusion (7.b.) does not                  include a land motor vehicle or
                                                                trailer:
                apply to:
                                                                1. whose ownership, maintenance,
                (1) any named insured;                               or use is provided Liability Cov-
                (2) the spouse of any named in-                      erage by this policy. However,
                    sured; and                                       any such vehicle will be deemed
                                                                     to be an uninsured motor vehi-
                (3) any relative while occupy-                       cle for bodily injury sustained
                    ing your car, a newly ac-                        by you or a resident relative
                    quired car, a temporary                          while the vehicle is being oper-
                    substitute car, or a non-                        ated by a person other than you
                    owned car if the accident                        or a resident relative;
                    occurs outside Florida, but                 2. designed for use primarily off
                    within the area described                        public roads except while on
                    under Where Coverage                             public roads;
                    Applies for Medical Pay-                    3. while located for use as a dwell-
                    ments Coverage;                                  ing or other premises; or
         (2) The following exclusion is added:                  4. whose owner or operator could
                                                                     have been reasonably identified.
                THERE IS NO COVERAGE                     b. Exclusions
                FOR AN INSURED WHO IS:
                                                             The following exclusion is added:
                1. PROVIDING    TRANS-
                   PORTATION NETWORK                             THERE IS NO COVERAGE FOR
                   SERVICES; OR                                  AN INSURED WHO IS:
                2. OCCUPYING        OR                           1. PROVIDING TRANSPORTA-
                   STRUCK BY YOUR CAR,                              TION NETWORK SERVICES;
                   A NEWLY ACQUIRED                                 OR
                   CAR, OR A TEMPORARY                           2. OCCUPYING OR STRUCK
                   SUBSTITUTE      CAR                              BY YOUR CAR, A NEWLY
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                   ACQUIRED CAR, OR A TEM-                                CAR OR A NEWLY AC-
                   PORARY SUBSTITUTE CAR                                  QUIRED CAR;
                   WHILE SUCH VEHICLE IS                             b. WHILE OCCUPYING A
                   BEING USED TO PROVIDE                                  VEHICLE OWNED BY
                   TRANSPORTATION      NET-                               ANY RESIDENT RELA-
                   WORK SERVICES.                                         TIVE IF IT IS NOT YOUR
                                                                          CAR OR A NEWLY AC-
    7. UNINSURED MOTOR VEHICLE COV-                                       QUIRED CAR. This exclu-
       ERAGE (Non-Stacking)                                               sion (2.b.) does not apply to
       a. Additional Definitions                                          the first person shown as a
                                                                          named insured on the Dec-
          Uninsured Motor Vehicle does not in-                           larations Page and that
          clude a land motor vehicle or trailer is                       named insureds spouse
          changed to read:                                                who resides primarily with
              Uninsured Motor Vehicle does not                            that named insured, pro-
              include a land motor vehicle or                             vided that the vehicle is
              trailer:                                                    owned by neither that
                                                                          named insured nor that
               1. whose ownership, maintenance,                           spouse; OR
                  or use is provided Liability Cov-
                  erage by this policy. However,                     c. WHILE A PEDESTRIAN
                  any such vehicle will be deemed                         AND IS STRUCK BY A
                  to be an uninsured motor vehi-                          VEHICLE OWNED BY
                                                                          ANY RESIDENT RELA-
                  cle for bodily injury sustained                         TIVE;
                  by you or a resident relative
                  while the vehicle is being oper-            (2) The following exclusions are added:
                  ated by a person other than you                    (a) THERE IS NO COVER-
                  or a resident relative;                                 AGE FOR AN INSURED
                                                                          WHO SUSTAINS BODILY
               2. designed for use primarily off                          INJURY WHILE OCCU-
                  public roads except while on                            PYING        A    VEHICLE
                  public roads;                                           OWNED BY THAT IN-
               3. while located for use as a dwell-                       SURED IF THAT VEHI-
                  ing or other premises; or                               CLE IS NOT INSURED
                                                                          FOR UNINSURED MO-
               4. whose owner or operator could                           TOR VEHICLE COVER-
                  have been reasonably identified.                        AGE        UNDER       THIS
       b. Exclusions                                                      POLICY OR ANY OTHER
                                                                          POLICY.
           (1) Exclusion 2. is changed to read:
                                                                     (b) THERE IS NO COVER-
                  THERE IS NO COVERAGE                                    AGE FOR AN INSURED
                  FOR AN INSURED WHO                                      WHO IS:
                  SUSTAINS BODILY INJURY:
                                                                          1. PROVIDING TRANS-
                  a. WHILE OCCUPYING A                                        PORTATION          NET-
                       VEHICLE OWNED BY                                       WORK        SERVICES;
                       YOU IF IT IS NOT YOUR                                  OR
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                      2. OCCUPYING     OR                  b. Exclusions
                         STRUCK BY YOUR                       The following exclusion is added:
                         CAR, A NEWLY AC-
                         QUIRED CAR, OR A                         THERE IS NO COVERAGE FOR
                         TEMPORARY SUB-                           ANY       COVERED           VEHICLE
                         STITUTE CAR WHILE                        WHILE IT IS USED TO PROVIDE
                         SUCH VEHICLE IS                          TRANSPORTATION NETWORK
                         BEING USED TO                            SERVICES.
                         PROVIDE    TRANS-              9. INSUREDS DUTIES
                         PORTATION    NET-
                         WORK SERVICES.                    a. Item 7.a.(3) is changed to read:
    8. PHYSICAL DAMAGE COVERAGES                                  An insured making claim under:
      a   The paragraph that reads:                               a. No-Fault Coverage, Medical
                                                                      Payments Coverage, Uninsured
              If a deductible applies to Compre-                      Motor Vehicle Coverage, or
              hensive Coverage, then it is shown                      Death, Dismemberment and
              on the Declarations Page. The de-                       Loss of Sight Coverage must:
              ductible that applies to Collision                      (3) provide written authoriza-
              Coverage is shown on the Declara-                            tion for us to obtain medical
              tions Page.                                                  bills, medical records, wage
          is changed to read:                                              information, salary infor-
                                                                           mation, employment in-
              Deductible                                                   formation, and any other
                                                                           relevant information we
              1. If D is shown under SYM-                               deem reasonably neces-
                 BOLS on the Declarations                                 sary to substantiate the
                 Page, then the deductible that                            claim.
                 applies to Comprehensive Cov-
                                                                           Such authorizations must
                 erage, if any, is the dollar                              not:
                 amount shown on the Declara-
                 tions Page next to the title of this                      (a) restrict us from per-
                 coverage. However, we will not                                 forming our business
                 deduct more than $500 for any                                  functions in:
                 loss to a newly acquired car.                                  (i) obtaining relevant
                                                                                     and reasonably nec-
              2. If G is shown under SYM-                                         essary records, bills,
                 BOLS on the Declarations                                           information, and
                 Page, then the deductible that                                      data; nor
                 applies to Collision Coverage is
                                                                                (ii) using or retaining
                 the dollar amount shown on the                                      relevant and rea-
                 Declarations Page next to the ti-                                   sonably necessary
                 tle of this coverage. However,                                      records, bills, infor-
                 we will not deduct more than                                        mation, and data
                 $500 for any loss caused by col-                                    collected or re-
                 lision to a newly acquired car.                                     ceived by us;
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                    (b) require us to violate                      Coverage, or Death, Dismember-
                         federal or state laws or                  ment and Loss of Sight Coverage
                         regulations;                              must submit to us all information we
                    (c) prevent us from ful-                       need to comply with federal and
                         filling our data report-                  state laws and regulations.
                         ing and data retention 10. GENERAL TERMS
                         obligations to insurance          a. The following is added to Limited Cov-
                         regulators; or                       erage in Mexico:
                    (d) prevent us from dis-                       Uninsured Motor Vehicle Cover-
                         closing claim infor-                      age (Stacking and Non-Stacking)
                         mation and data:
                                                           b. Under Limited Coverage in Mexico,
                         (i) to enable perfor-                Legal Action Against Us is changed to
                               mance of our busi-             read:
                               ness functions;
                         (ii) to meet our report-                  Any legal action against us arising
                               ing obligations to                  out of an accident or loss occurring
                               insurance regula-                   in the country of Mexico must be
                               tors;                               brought in a Florida state court in the
                                                                   United States of America, or a
                         (iii) to meet our report-
                               ing obligations to                  United States of America District
                               insurance data con-                 Court that has jurisdiction.
                               solidators; and             c. The provision entitled Persons Acting
                         (iv) as otherwise per-               On Our Behalf is deleted in its en-
                               mitted by law.                 tirety.
                    If an injured insured is a             d. The following is added to Newly
                    minor, unable to act, or                  Owned or Newly Leased Car:
                    dead, then his or her legal                    If a resident relative wants to insure
                    representative must provide                    a car newly owned by the resident
                    us with the written authori-
                    zation.                                        relative with the State Farm Com-
                                                                   panies after that car ceases to be a
                    If the holder of the infor-                    newly acquired car, then the resi-
                    mation refuses to provide it                   dent relative must apply to the State
                    to us despite the authoriza-                   Farm Companies for a separate pol-
                    tion, then at our request the
                    person making claim or his                     icy to insure the car newly owned by
                    or her legal representative                    the resident relative. Such policy
                    must obtain the information                    will be issued only if both the appli-
                    and promptly provide it to                     cant and the vehicle are eligible for
                    us; and                                        coverage at the time of the applica-
      b. The following is added to item 7.:                        tion.
            An insured making claim under No-              e. The following is added to Premium:
            Fault Coverage, Medical Payments                       If due to insufficient funds, payment
            Coverage, Uninsured Motor Vehicle                      of premium for this policy by debit
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             card, credit card, electronic funds                      premium paid to unpaid bal-
             transfer, or electronic check is re-                     ances of other policies with
             turned, is declined, or cannot be pro-                   the State Farm Companies.
             cessed, we may impose an                   g. The following are added to GENERAL
             insufficient funds fee of $15 per oc-         TERMS:
             currence.
                                                              Electronic Delivery
      f.   Return of Unearned Premium is
           changed to read:                                      With your consent, we may, if al-
                                                                 lowed by law, electronically deliver
             (1) If you cancel this policy:                      any document or notice, including a
                 (a) then premium will be                        notice to renew, instead of mailing it
                      earned on a pro rata basis.                or delivering it by other means.
                      We may retain up to 10% of                 Proof of transmission will be suffi-
                      any unearned premium.                      cient proof of notice. This provision
                      Any remaining unearned                     does not apply to any notice to non-
                      premium will be mailed or
                      electronically transferred to              renew or cancel.
                      you within 30 days after the               Our Rights Regarding Claim In-
                      effective date of the policy               formation
                      cancellation, or 30 days af-
                      ter we receive your request                a. We will collect, receive, obtain,
                      to cancel this policy, which-                 use, and retain all the items de-
                      ever is later. Delay in the                   scribed in item b.(1) below and
                      return of unearned premium                    use and retain the information
                      does not affect the cancella-                 described in item b.(3)(b) be-
                      tion;                                         low, in accordance with applica-
                                                                    ble federal and state laws and
                 (b) you may elect to apply the                     regulations and consistent with
                      unearned portion of any                       the performance of our business
                      premium paid to unpaid bal-                   functions.
                      ances of other policies with
                      the State Farm Companies.                  b. Subject to a. above, we will not
                                                                    be restricted in or prohibited
             (2) If we cancel this policy:                          from:
                 (a) then premium will be                           (1) collecting, receiving, or ob-
                     earned on a pro rata basis.                        taining records, receipts, in-
                     Any unearned premium will                          voices,     medical     bills,
                     be mailed or electronically                        medical records, wage in-
                     transferred at the time we                         formation, salary infor-
                     cancel the policy or within                        mation,          employment
                     15 days after the effective                        information, relevant data,
                     date of the policy cancella-                       and any other reasonable in-
                     tion. Delay in the return of                       formation to process the
                     unearned premium does not                          claim;
                     affect the cancellation;                        (2) using any of the items de-
                 (b) you may elect to apply the                          scribed in item b.(1) above;
                     unearned portion of any                             or
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               (3) retaining:                                     (3) to meet our reporting obli-
                   (a) any of the items in item                       gations to insurance data
                        b.(1) above; or                               consolidators;
                   (b) any other information                      (4) to meet other obligations re-
                        we have in our posses-                        quired by law; and
                        sion as a result of our                   (5) as otherwise permitted by
                        processing, handling, or                      law.
                        otherwise      resolving
                        claims submitted under                d. Our rights under a., b., and c.
                        this policy.                             above shall not be impaired by
            c. We may disclose any of the                        any:
               items in item b.(1) above and                      (1) authorization related to any
               any of the information de-                             claim submitted under this
               scribed in item b.(3)(b) above:                        policy; or
               (1) to enable performance of
                   our business functions;                        (2) act or omission of an in-
               (2) to meet our reporting obli-                        sured or a legal representa-
                   gations to insurance regula-                       tive acting on an insureds
                   tors;                                              behalf.




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                                                                                                            6910A
                                                                                                        Page 1 of 1
    6910A AMENDATORY ENDORSEMENT
    This endorsement is a part of the policy. Except for the changes this endorsement makes, all other provisions
    of the policy remain the same and apply to this endorsement.
    1. PHYSICAL DAMAGE COVERAGES                                       e. A written appraisal that is both agreed
       Limits and Loss Settlement  Comprehen-                            upon by and signed by any two ap-
       sive Coverage and Collision Coverage                               praisers, and that also contains an ex-
                                                                          planation of how they arrived at their
        The following is added:                                           appraisal, will be binding on the owner
            If there is disagreement as to the cost of re-                of the covered vehicle and us.
            pair, replacement, or recalibration of glass,              We and you do not waive any rights by
                                                                       f.
            an appraisal will be used as the first step                submitting to an appraisal.
            toward resolution. Appraisal will follow the
            rules and procedures as listed below:            2. GENERAL TERMS
            a. The owner and we will each select a              a. Item (3) of How and When We May Can-
                                                                   cel, under Cancellation, is changed to
               competent appraiser.                                read:
            b. The two appraisers will select a third                  If we cancel this policy for nonpayment
               competent appraiser. If they are unable                 of premium during the first 30 days im-
               to agree on a third appraiser within 30                 mediately following the effective date of
               days, then either the owner or we may                   this policy, we will do so only if a check
               petition a court that has jurisdiction to               used to pay the premium is dishonored
               select the third appraiser.                             for any reason or any other type of
                                                                       premium payment was subsequently
            c. Each party will pay the cost of its own                 determined to be rejected or invalid.
               appraiser, attorneys, and expert wit-
               nesses, as well as any other expenses              b. Item a. of Legal Action Against Us is
               incurred by that party. Both parties will             changed to read:
               share equally the cost of the third ap-
               praiser.                                                  Legal action may only be brought
                                                                         against us within five years immediate-
            d. The appraisers shall only determine the                   ly following the date of the accident or
               cost of repair, replacement, and recali-                  loss. However, this limitation of action
               bration of glass. Appraisers shall have                   is tolled for a period of 60 days after we
               no authority to decide any other ques-                    receive notice from the Florida Depart-
               tions of fact, decide any questions of                    ment of Financial Services, in accord-
               law, or conduct appraisal on a class-                     ance with section 624.155, Florida
               wide or class-representative basis.                       Statutes.
    6910A




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                                                        IN THE CIRCUIT COURT, FOURTH
                                                        JUDICIAL CIRCUIT, IN AND FOR
                                                        DUVAL COUNTY, FLORIDA
                                                        CASE NO.:
                                                        DIVISION:

           AMBER MILLS, an individual

                  Plaintiff,
           v.

           STATE FARM MUTUAL AUTOMOBILE
           INSURANCE COMPANY, a for-profit, foreign
           corporation,

                  Defendant.
                                                  /

                                                      SUMMONS
           THE STATE OF FLORIDA:

           To Each Sheriff of the State:

                 YOU ARE HEREBY COMMANDED to serve this summons and a copy of the
           Complaint in this action, on Defendant(s):

                          STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
                                   c/o Registered Agent – Chief Financial Officer
                                                 200 E. Gaines St.,
                                               Tallahassee, FL 32399

                   Each defendant is required to serve written defenses to the complaint or petition on
           plaintiffs' attorney, whose name and address is Howard G. Butler, Esquire, 1506 Prudential
           Drive, Jacksonville, Florida 32207 WITHIN 20 DAYS AFTER SERVICE OF THIS
           SUMMONS on that Defendant, exclusive of the day of service, and to file the original of the
           defenses with the clerk of this court either before service on plaintiffs' attorney or immediately
           thereafter. If a Defendant fails to do so, a default will be entered against that Defendant for the
           relief demanded in the complaint or petition.

                  AMERICANS WITH DISABILITIES ACT (ADA) NOTICE.                          Individuals with
           Disabilities who need a reasonable accommodation to participate in this proceeding are entitled,
           at no cost, to the provision of certain assistance. Please contact: Delores P. Battinelli, Chief
           Assistant Clerk, at (904)-630-2039 within 2 working days of your receipt of this Notice. If you
           are hearing or voice impaired, please call 1-800-955-8771.




ACCEPTED: DUVAL COUNTY, JODY PHILLIPS, CLERK, 03/24/2023 12:19:29 PM
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                                                                      03/24/2023
         WITNESS my hand and the seal of this Court on _______ day of ______________,
 2023.

                                        JODY PHILLIPS
                                        As Clerk of the Court


                                        By:_________________________________
                                              As Deputy Clerk
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                  IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT,
                 IN AND FOR DUVAL, CLAY, AND NASSAU COUNTIES FLORIDA

  AMBER MILLS                                    CASE NO.: 16-2023-CA-004068-XXXX-MA

  Plaintiff(s)                                   DIVISION: CV-G (CIRCUIT COURT)

  v.
  STATE FARM MUTUAL
  AUTOMOBILE INSURANCE
  COMPANY
  Defendant(s).
  ______________________/

     ORDER SETTING CASE MANAGEMENT PLAN FOR NON-COMPLEX CASES

         This civil action comes before the Court upon Plaintiff filing a complaint. The Court now
 establishes a Case Management Plan as set forth below. If a case is declared complex, the parties
 shall follow the procedures in Florida Rule of Civil Procedure 1.201, rather than this Case
 Management Plan.

                  DEADLINE OR EVENT                               AGREED DATE

  Deadline for Service of Process                 120 days


                                                  Within 60 days of filing the motion/objection or, if
  Motions to Dismiss, Motion for More Definite    such motion/objection was previously filed, within
  Statement, Motions to Strike and any            60 days of the date of the order approving this Case
  objections to the pleadings                     Management Plan, counsel must schedule with the
                                                  Court’s Judicial Assistant a hearing on the
                                                  motion/objection. Failure to do so will result in the
                                                  motion/objection being deemed abandoned and
                                                  denied. Non-movant shall timely submit a
                                                  proposed order if the motion/objection is deemed
                                                  abandoned and denied.


                                                  Plaintiff must and any party may file a notice that
                                                  the action is at issue and ready to be set for trial
  Notice for Trial                                pursuant to Florida Rule of Civil Procedure 1.440
                                                  (b) and any party filing a notice for trial shall also
                                                  submit to the Court a completed Trial Set
                                                  Memorandum within ten (10) days from the date
                                                  the case is at issue as defined by Rule 1.440(a).
                                                  Each civil division’s Trial Set Memorandum and
                                                  any other procedures for setting trials are posted on
                                                  the Fourth Judicial Circuit’s website: jud4.org.
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       It is ORDERED:

       1. COMPLIANCE WITH THIS CASE MANAGEMENT PLAN: The parties shall
          strictly comply with the terms of this Case Management Plan, unless otherwise ordered
          by the Court. Failure to comply with all requirements of this order may result in the
          imposition of sanctions, including dismissal of the case.

       2. ADDITIONAL FOURTH CIRCUIT AND DIVISION SPECIFIC GUIDELINES:
          All counsel and unrepresented parties shall familiarize themselves and comply with the
          requirements of the Fourth Judicial Circuit’s Administrative Order 2023-05, In Re:
          Civil Case Management and Resolution in Circuit Court of Non-Complex Cases
          (Attachment 1), and any division-specific guidelines that may apply.

       3. MODIFICATION OF THIS ORDER: The parties may not, individually or by
          agreement, alter or extend the deadlines in this Order, or waive any of the provisions
          of this Order. The provisions of this Order may be modified only upon
          motion/stipulation and Court order, according to applicable law.

       4. NOTICE FOR TRIAL: Plaintiff shall and any party may file a notice that the action
          is at issue and ready to be set for trial pursuant to Florida Rule of Civil Procedure
          1.440(b) and submit to the Court a completed Trial Set Memorandum no later than ten
          (10) days after the date the case is at issue as defined by Florida Rule of Civil Procedure
          1.440(a) to schedule the case for trial pursuant to the division’s procedures.

       5. DISCOVERY: All counsel and unrepresented parties shall familiarize themselves
          with the current edition of the Florida Handbook on Civil Discovery Practice and seek
          to resolve discovery issues without Court intervention whenever possible.
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         6. SERVICE OF THIS ORDER: Counsel for Plaintiff shall promptly serve and file
            proof with the Clerk, no more than five (5) business days from the date of this Order,
            that all unrepresented parties, subsequently named or appearing in this case, have been
            served copies of this Order. If a party is unrepresented and has not designated an email
            address for purposes of electronic service, counsel for Plaintiff shall be responsible
            for serving all future orders of the Court via non-electronic means (U.S. mail, Federal
            Express or the equivalent) and shall file a Certificate of Service with the Court
            indicating who was served, the date of service, and the method of service, including
            any address or email address used, within three (3) business days. If Plaintiff is
            unrepresented, Counsel for Defendant shall have this same obligation. If all parties
            are unrepresented, Plaintiff shall provide stamped addressed envelopes to the Court
            with submission of this and any other proposed Order.

         DONE at Jacksonville, Duval County, Florida, on 24th of March, 2023.




                                                              CIRCUIT JUDGE

 If you are a person with a disability who needs any accommodation to participate in this proceeding, you
 are entitled, at no cost to you, to the provision of certain assistance. Please contact the ADA Coordinator,
 at least seven (7) days before your scheduled court appearance or immediately upon receiving this notice if
 the time before the scheduled appearance is less than seven (7) days. If you are hearing or voice
 impaired, call 711.
 ADA Coordinator: Debra Marchant, Human Resources Manager, Duval County Courthouse, 501
 W. Adams Street, Jacksonville, FL 32202. (904) 255-1695.
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                                                          IN THE CIRCUIT COURT, FOURTH
                                                          JUDICIAL CIRCUIT, IN AND FOR
                                                          DUVAL COUNTY, FLORIDA
                                                          CASE NO.: 2023-CA-004068
                                                          DIVISION: CV-G

           AMBER MILLS, an individual

                  Plaintiff,
           v.

           STATE FARM MUTUAL AUTOMOBILE
           INSURANCE COMPANY, a for-profit, foreign
           corporation,

                  Defendant.
                                                    /

                         AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                  Plaintiff, AMBER MILLS (“Mrs. Mills), sues Defendant, STATE FARM MUTUAL

           AUTOMOBILE INSURANCE COMPANY (“State Farm”) a for-profit corporation and as

           grounds therefore would state:

                           NATURE OF THE ACTION, JURISDICTION AND VENUE

            1. This is an action for damages resulting from State Farm’s failure to settle Mrs. Mills claim

                against its insured Mary Laseter (“Mrs. Laseter”), when it could have and should have done

                so.

            2. This is an action for damages in excess of fifty thousand dollars ($50,000.00), exclusive of

                costs and attorney’s fees, interest and costs.

            3. Venue is proper in this Court because the acts giving rise to this action occurred in Duval

                County, Florida. The subject accident occurred in Duval County, Florida, the underlying

                lawsuit was filed in Duval County, Florida and the insurance contract between State Farm

                and its insured, Mary Laseter, was issued in Duval County, Florida and the failure(s) to




ACCEPTED: DUVAL COUNTY, JODY PHILLIPS, CLERK, 03/27/2023 02:30:27 PM
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       settle the claim occurred in Duval County, Florida.

                                    GENERAL ALLEGATIONS

  4.   At all times material to this cause, the Plaintiff, Amber Mills was a resident of and

       domiciled in Duval County, Florida.

  5. At all times material to this cause, State Farm’s insured, Mary Laseter, was a resident of and

       domiciled in Duval County, Florida.

  6. Upon information and belief, State Farm is a foreign corporation with its principal place of

       business in Bloomington, Illinois. At all times material to this cause State Farm maintains

       offices in Florida, was licensed to sell and actively engaged in the business of selling

       insurance in Florida.

  7. The Policy: State Farm issued a Florida automobile insurance policy to Mary Laseter,

       Policy No. 649993459C covering a 2008 Honda CR-V that was in effect as of July 29,

       2021. A copy of the policy is attached as Exhibit “A.” The Policy provided bodily injury

       limits of $25,000 per person and $50,000 per occurrence.

  8. Under the terms of the Policy and the obligations placed on it by Florida law, State Farm

       was required to use the Policy’s limits to settle Mrs. Mills’ claim against Mary Laseter.

  9. The subject collision: On July 29, 2021, Mary Laseter negligently operated her 2008 Honda

       CR-V causing a high energy frontal offset collision with the Plaintiff Amber Mills’ vehicle

       resulting in airbag deployments and totaling both vehicles (“subject collision”).

  10. Mrs. Mills suffered significant injuries to her head, shoulder, right hand and a permanent

       injury to her C6-7 disc and corresponding nerves as well as related losses as a result of the

       subject collision. The value of these damages clearly exceeded the Policy’s coverage limits.

  11. On February 18, 2022, Mrs. Mills, through counsel, sent a letter with supporting
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     documentation to State Farm and requested tender of the $25,000 policy limits in exchange

     for a release of all claims against Mary Laseter arising out of the collision.

  12. State Farm chose not to settle the claim and, prior to an extended deadline, offered the

     Plaintiff $6,550 and then $7,000 to settle all claims by Mills.

  13. State Farm failed and/or refused to settle Mrs. Mills’ claim.

  14. Upon information and belief, State Farm failed to timely advise Mrs. Laseter of the

     settlement opportunities or discuss with her the ramifications of declining or ignoring them.

  15. Due to State Farm’s failure to settle Mrs. Mills’ claim for the policy limits, Mrs. Mills was

     forced to file a lawsuit against Mrs. Laseter (“the lawsuit”).

  16. Due to State Farm’s refusal to make timely and adequate settlement offers, the lawsuit

     proceeded to trial on February 13, 2023, resulting in a jury verdict of $245,782 exclusive of

     taxable costs and interest.

  17. Due to State Farm’s refusal to make timely and adequate settlement offers, Mrs. Laseter,

     now 91 years old, is exposed to a personal judgment far in excess of her available auto

     liability bodily injury protection limits of $25,000.

  18. All conditions precedent to bringing this action have been performed or have otherwise

     occurred including but not limited to an Assignment of Rights as to any and all claims from

     Laseter to Mills.

  19. Mrs. Mills has engaged the undersigned counsel to represent her interests in this cause of

     action and agreed to pay a reasonable fee for services rendered.

                           COUNT I - COMMON LAW BAD FAITH

  20. Plaintiff re-alleges and reaffirms the allegations contained in paragraphs 1-19 and further

     alleges:
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  21. State Farm had a duty to use the same degree of care and diligence in the investigation and

     resolution of Mrs. Mills’ claim against Mrs. Laseter as a person of ordinary care and

     prudence would exercise in the management of their business and to fairly evaluate Mrs.

     Mills’ claim against Mrs. Laseter.

  22. State Farm had a duty to keep its insured informed, including a duty to advise its insured of

     the possibility of an excess judgment, the probable outcome of litigation, and all settlement

     opportunities.

  23. State Farm had a fiduciary duty to protect its insured Laseter and to refrain from a business

     practice which elevated its own financial interests ahead of that of its insured.

  24. State Farm was provided with an opportunity to settle Mrs. Mills claim against Mrs. Laseter

     for the $25,000 policy limits and, squandered that opportunity by making insufficient

     counteroffers for substantially less than Mrs. Mills’ damages and/or by failing to timely

     tender its minimal policy limits in exchange for a release as to its insured.

  25. Defendant, State Farm further owed a duty to its insured Laseter, and the public at large to

     refrain from engaging in unfair claim settlement practices such as systemically presenting

     low and clearly unsatisfactory settlement offers on Florida claims including this one during

     the COVID-19 pandemic when it knew that victims of auto negligence were suffering from

     hardships caused by the novel coronavirus so as to increase its profits.

  26. State Farm breached its fiduciary duties to Mrs. Laseter by failing to settle Mrs. Mills’ claim

     within the policy limits when State Farm could and should have done so, had they acted

     fairly and honestly and with due regard for Mrs. Laseter’s interests.

  27. State Farm further breached its fiduciary duties to Mrs. Laseter by failing to timely and

     adequately advise its insured of the possibility of an excess judgment, the probable outcome
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      of litigation, and the opportunity of settlement.

  28. As a direct and proximate result of State Farm’s breach of its duties under the Policy, Mrs.

      Laseter has suffered and continues to suffer damages in the form of the Final Judgment,

      interest and any additional consequential damages flowing therefrom.

  29. Mrs. Mills continues to suffer damages as a judgment creditor to Mrs. Laseter.

           WHEREFORE, Mrs. Mills demands judgment against State Farm for all damages,

 including unsatisfied amounts of the Amended Final Judgment, pre- and post-judgment interest

 on the Amended Final Judgment, attorney’s fees and costs related to this action, and any other

 relief permitted under Florida law or that this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

             Plaintiff, AMBER MILLS, hereby demands trial by jury on all issues as set forth

 herein.

                                                          BUTLER LAW GROUP

                                                          /s/ Howard Butler
                                                          HOWARD G. BUTLER, ESQ.
                                                          Florida Bar No. 0503487
                                                          DREW W. BASKIN, ESQ.
                                                          Florida Bar No. 0109388
                                                          Attorneys for the Plaintiff
                                                          1506 Prudential Drive
                                                          Jacksonville, FL 32207
                                                          (904) 398-2308
                                                          (904) 398-3000 (facsimile)
                                                          hgb@butlerlawgroup.net
                                                          dwb@butlerlawgroup.net
                                                          paralegal@butlerlawgroup.net
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               EXHIBIT “A”
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                                                                    THIS POLICY
    1.    This policy consists of:                                                          (2) Neither you nor any member of your
          a. the most recently issued Declarations                                               household has, within the past three
                                                                                                 years, had either:
              Page;
                                                                                                 (a) a license to drive; or
          b. the policy booklet version shown on that
              Declarations Page; and                                                             (b) a vehicle registration
          c. any endorsements that apply, including                                              suspended, revoked, or refused.
              those listed on that Declarations Page as                                     (3) Your car is used for pleasure and
              well as those issued in connection with any                                        business.
              subsequent renewal of this policy.                                 4.    All named insureds shown on the Declarations
    2.    This policy contains all of the agreements be-                               Page and all applicants agree by acceptance of
                                                                                       this policy that:
          tween all named insureds who are shown on
          the Declarations Page and all applicants and:                                a. the statements in 3.b. above are made by
                                                                                            such named insured or applicant and are
          a. us; and                                                                        true; and
          b. any of our agents.                                                        b. we provide this insurance on the basis
    3.    We agree to provide insurance according to the                                    those statements are true.
          terms of this policy:                                                  5.    Your purchase of this policy may allow:
          a. based on payment of premium for the cov-                                  a. you to purchase or obtain certain coverages,
              erages chosen; and                                                            coverage options, coverage deductibles, cov-
                                                                                            erage limits, or coverage terms on other
          b. unless otherwise stated in EXCEPTIONS,                                        products from the State Farm Companies,
              POLICY BOOKLET, & ENDORSE-                                                    subject to their applicable eligibility rules; or
              MENTS on the Declarations Page, in reli-                                b. the premium or price for other products or
              ance on the following statements:                                             services purchased by you, including non-
              (1) You are the sole owner of your car.                                       insurance products or services, to vary.
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             Such other products or services must be                    Companies. The State Farm Companies
             provided by the State Farm Companies or                    do not warrant the merchantability, fitness,
             by an organization that has entered into an                or quality of any product or service offered
             agreement or contract with the State Farm                  or provided by that organization.




                                                    DEFINITIONS
    We define certain words and phrases below for use          X-ray, dental, and rehabilitative services, including
    throughout the policy. Each coverage includes ad-          medically necessary prosthetic devices and medi-
    ditional definitions only for use with that coverage.      cally necessary ambulance, hospital, and nursing
    These definitions apply to the singular, plural, pos-      services.
    sessive, and any other form of these words and             Medical Expenses do not include any:
    phrases. Defined words and phrases are printed in
    boldface italics.                                          1. massage as defined in s. 480.033, Florida Stat-
                                                                    utes;
    Bodily Injury means bodily injury to a person and
    sickness, disease, or death that results from it.          2. acupuncture as defined in s. 457.102, Florida
                                                                    Statutes;
    Car means a land motor vehicle with four or more
    wheels, designed for use primarily on public roads.        3. services, care, treatment, or supplies provided
    Car does not include:                                           by any massage therapist; or
    1. Any vehicle while located for use as a dwelling         4. services, care, treatment, or supplies provided
         or other premises; or                                      by any acupuncturist.
    2. A truck-tractor designed to pull any type of trailer.   Medically Necessary means a medical service or
    Car Business means a business or job where the             supply that a prudent physician would provide for
    purpose is to sell, lease, rent, repair, service, modi-    the purpose of preventing, diagnosing, or treating
    fy, transport, store, or park land motor vehicles or       an illness, injury, disease, or symptom in a manner
    any type of trailer.                                       that is:
    Emergency Medical Condition means a medical                1. in accordance with generally accepted stand-
    condition manifesting itself by acute symptoms of               ards of medical practice;
    sufficient severity, which may include severe pain,
    such that the absence of immediate medical atten-          2. clinically appropriate in terms of type, frequen-
    tion could reasonably be expected to result in any of           cy, extent, site, and duration; and
    the following:                                             3. not primarily for the convenience of the pa-
    1. Serious jeopardy to patient health;                          tient, physician, or other healthcare provider.
    2. Serious impairment to bodily functions; or              Motor Vehicle means a vehicle with four or more
    3. Serious dysfunction of any bodily organ or              wheels that:
         part.                                                 1. is self-propelled and is of a type:
    Fungi means any type or form of fungus or fungi                 a. designed for; and
    and includes:                                                   b. required to be licensed for use on Florida
    1. Mold;                                                             highways; or
    2. Mildew; and                                             2. is a trailer or semitrailer designed for use with
    3. Any of the following that are produced or re-                a vehicle described in 1. above.
         leased by fungi:                                      Motor Vehicle does not include:
         a. Mycotoxins;                                        1. a mobile home; or
         b. Spores;                                            2. any motor vehicle which is:
         c. Scents; or                                              a. used in mass transit, other than public
         d. Byproducts.                                                  school transportation;
    Medical Expenses means reasonable charges in-                   b. designed to transport more than five pas-
    curred for medically necessary medical, surgical,                    sengers, exclusive of the operator; and

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        c.    owned by a municipality, a transit authori-    2.  a vehicle designed to be pulled by a motor ve-
              ty, or a political subdivision of the state.       hicle.
    Newly Acquired Car means a car newly owned by            Person means a human being.
    you. A car ceases to be a newly acquired car on          Private Passenger Car means:
    the earlier of:
    1. the effective date and time of a policy, includ-      1. a car of the private passenger type, other than a
         ing any binder, issued by us or any other com-          pickup truck, van, minivan, or sport utility ve-
         pany that describes the car as an insured               hicle, designed primarily to carry persons and
                                                                 their luggage; or
         vehicle; or
                                                             2. a pickup truck, van, minivan, or sport utility
    2. the end of the 14th calendar day immediately              vehicle:
         following the date the car is delivered to you.
                                                                 a. while not used for:
    If a newly acquired car is not otherwise afforded
    comprehensive coverage or collision coverage by                   (1) wholesale; or
    this or any other policy, then this policy will pro-              (2) retail
    vide Comprehensive Coverage or Collision Cover-
    age for that newly acquired car, subject to a                     pickup or delivery; and
    deductible of $500. Any coverage provided as a               b. that has a Gross Vehicle Weight Rating of
    result of this paragraph will apply only until the end            10,000 pounds or less.
    of the 5th calendar day immediately following the
    date the newly acquired car is delivered to you.         Reasonable Charge, which includes reasonable
                                                             expense, means an amount determined by us to be
    No-Fault Act means the Florida Motor Vehicle No-         reasonable in accordance with the No-Fault Act,
    Fault Law and any amendments.                            considering one or more of the following:
    Non-Owned Car means a car that is in the lawful          1. usual and customary charges;
    possession of you or any resident relative and that
    neither:                                                 2. payments accepted by the provider;
    1. is owned by:                                          3. reimbursement levels in the community;
         a. you;                                             4. various federal and state medical fee schedules
                                                                 applicable to motor vehicle and other insurance
         b. any resident relative;                               coverages;
         c. any other person who resides primarily in        5. the schedule of maximum charges in the No-
              your household; or                                 Fault Act,
         d. an employer of any person described in a.,       6. other information relevant to the reasonable-
              b., or c. above; nor                               ness of the charge for the service, treatment, or
    2. has been operated by, rented by, or in the pos-           supply; or
         session of:                                         7. Medicare coding policies and payment meth-
         a. you; or                                              odologies of the federal Centers for Medicare
                                                                 and Medicaid Services, including applicable
         b. any resident relative                                modifiers, if the coding policy or payment
         during any part of each of the 31 or more con-          methodology does not constitute a utilization
         secutive days immediately prior to the date of          limit.
         the accident or loss.                               Relative means a relative of any degree by blood or
    Occupying means in, on, entering, or exiting.            marriage who usually makes his or her home in the
                                                             same family unit, whether or not temporarily living
    Our means the Company issuing this policy as             elsewhere.
    shown on the Declarations Page.
    Owned By means:                                          Resident Relative means a person, other than you,
                                                             who resides primarily with the first person shown as a
    1. owned by;                                             named insured on the Declarations Page and who is:
    2. registered to; or                                     1. related to that named insured or his or her
    3. leased, if the lease is written for a period of 6         spouse by blood, marriage, or adoption, includ-
         months or more, to.                                     ing an unmarried and unemancipated child of
                                                                 either who is away at school and otherwise
    Pedestrian means a person who is not occupying:              maintains his or her primary residence with
    1. a motor vehicle; or                                       that named insured; or

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    2.   a ward or a foster child of that named insured,           b.   not designed to carry persons; and
         his or her spouse, or a person described in 1.            c.   while not used as premises for office,
         above.                                                         store, or display purposes; or
    State Farm Companies means one or more of the             2. a farm implement or farm wagon while being
    following:                                                     pulled on public roads by a car.
    1. State Farm Mutual Automobile Insurance                 Us means the Company issuing this policy as
         Company;                                             shown on the Declarations Page.
    2. State Farm Fire and Casualty Company; and              We means the Company issuing this policy as
    3. Subsidiaries or affiliates of either 1. or 2. above.   shown on the Declarations Page.
    Temporary Substitute Car means a car that is in the       You or Your means the named insured or named
    lawful possession of the person operating it and that:    insureds shown on the Declarations Page. If a
    1. replaces your car for a short time while your          named insured shown on the Declarations Page is a
         car is out of use due to its:                        person, then you or your includes the spouse of
                                                              the first person shown as a named insured if the
         a. breakdown;                                        spouse resides primarily with that named insured.
         b. repair;                                           Your Car means the vehicle shown under YOUR
         c. servicing;                                        CAR on the Declarations Page. Your Car does not
                                                              include a vehicle that you no longer own or lease.
         d. damage; or
                                                              If a car is shown on the Declarations Page under
         e. theft; and                                        YOUR CAR, and you ask us to replace it with a
    2. neither you nor the person operating it own or         car newly owned by you, then the car being replaced
         have registered.                                     will continue to be considered your car until the
    If a car qualifies as both a non-owned car and a          earliest of:
    temporary substitute car, then it is considered a         1. the end of the 30th calendar day immediately
    temporary substitute car only.                                 following the date the car newly owned by you
    Trailer means:                                                 is delivered to you;
    1. a trailer:                                             2. the date this policy is no longer in force; or
         a. designed to be pulled by a private passen-        3. the date you no longer own or lease the car
              ger car;                                             being replaced.




                    LIABILITY COVERAGE (Bodily Injury and Property Damage)
    This policy provides Liability Coverage if A is              spouse who resides primarily with that named
    shown under SYMBOLS on the Declarations Page.                insured for the maintenance or use of a car that
                                                                   is owned by, or furnished by an employer to, a
    Additional Definition                                          person who resides primarily in your household,
    Insured means:                                                 but only if such car is neither owned by, nor
    1. you and resident relatives for:                             furnished by an employer to, the first person
                                                                   shown as a named insured on the Declarations
        a. the ownership, maintenance, or use of:                  Page or that persons spouse;
            (1) your car;                                     3.   any other person for his or her use of:
            (2) a newly acquired car; or                           a. your car;
            (3) a trailer; and                                     b. a newly acquired car;
        b. the maintenance or use of:                              c. a temporary substitute car; or
            (1) a non-owned car; or                                d. a trailer while attached to a car described
            (2) a temporary substitute car;                             in a., b., or c. above.
    2. the first person shown as a named insured on the            Such vehicle must be used with your express or
        Declarations Page and that named insureds                 implied permission; and

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    4.  any other person or organization vicariously                 (1) that part of the damages we pay; or
        liable for the use of a vehicle by an insured as             (2) this policys applicable Liability Cov-
        defined in 1., 2., or 3. above, but only for such                 erage limit; and
        vicarious liability. This provision applies only
        if the vehicle is neither owned by, nor hired by,       b. after a judgment.
        that other person or organization.                      We have no duty to pay interest that accrues af-
    Insured does not include the United States of               ter we deposit in court, pay, or offer to pay, the
    America or any of its agencies.                             amount due under the Insuring Agreement of
    Insuring Agreement                                          this policys Liability Coverage. We also have
                                                                no duty to pay interest that accrues on any
    1. We will pay damages an insured becomes le-               damages paid or payable by a party other than
        gally liable to pay because of:                         the insured or us;
        a. bodily injury to others; and                     4. Premiums for bonds, provided by a company
        b. damage to property                                   chosen by us, required to appeal a decision in a
                                                                lawsuit against an insured. We have no duty to:
        caused by an accident that involves a vehicle           a. pay for any bond with a face amount that
        for which that insured is provided Liability                 exceeds this policys applicable Liability
        Coverage by this policy.
                                                                     Coverage limit;
    2. We have the right to:                                    b. furnish or apply for any bonds; or
        a. investigate, negotiate, and settle any claim
              or lawsuit;                                       c. pay premiums for bonds purchased after we
                                                                     deposit in court, pay, or offer to pay, the
        b. defend an insured in any claim or lawsuit,                amount due under the Insuring Agreement
              with attorneys chosen by us; and                       of this policys Liability Coverage; and
        c. appeal any award or legal decision
                                                            5. The following costs and expenses if related to
        for damages payable under this policys Liabil-         and incurred after a lawsuit has been filed
        ity Coverage.                                           against an insured:
    Supplementary Payments                                      a. Loss of wages or salary, but not other in-
    We will pay, in addition to the damages described in             come, up to $200 for each day an insured
    the Insuring Agreement of this policys Liability                attends, at our request:
    Coverage, those items listed below that result from              (1) an arbitration;
    such accident:                                                   (2) a mediation; or
    1. Attorney fees for attorneys chosen by us to                   (3) a trial of a lawsuit; and
        defend an insured who is sued for such damag-
        es. We have no duty to pay attorney fees in-            b. Reasonable expenses incurred by an in-
        curred after we deposit in court or pay the                  sured at our request other than loss of
        amount due under the Insuring Agreement of                   wages, salary, or other income.
        this policys Liability Coverage;                       The amount of any of the costs or expenses
    2. Court costs awarded by the court against an              listed above that are incurred by an insured
        insured and resulting from that part of the law-        must be reported to us before we will pay such
        suit:                                                   incurred costs or expenses.
        a. that seeks damages payable under this pol-       Limits
              icys Liability Coverage; and
        b. against which we defend an insured with          The Liability Coverage limits for bodily injury are
              attorneys chosen by us.                       shown on the Declarations Page under Liability
                                                            Coverage  Bodily Injury Limits  Each Person,
        We have no duty to pay court costs incurred af-     Each Accident.
        ter we deposit in court or pay the amount due
        under the Insuring Agreement of this policys       The limit shown under Each Person is the most
        Liability Coverage;                                 we will pay for the sum of:
    3. Interest the insured is legally liable to pay on     1. all damages resulting from bodily injury to any
        damages payable under the Insuring Agree-               one person injured in any one accident; and
        ment of this policys Liability Coverage:           2. all damages, including damages for emotional
        a. before a judgment, but only the interest on          distress, sustained by other persons as a direct
              the lesser of:                                    result of that bodily injury.

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    The limit shown under Each Accident is the most       4.  FOR BODILY INJURY TO THAT INSUREDS
    we will pay, subject to the limit for Each Person,        EMPLOYEE WHICH ARISES OUT OF THAT
    for all damages and all emotional distress resulting        EMPLOYEES EMPLOYMENT. This exclu-
    from bodily injury to two or more persons who               sion does not apply to that insureds household
    sustained damages or emotional distress in the same         employee who is neither covered, nor required to
    accident.                                                   be covered, under workers compensation insur-
    The Liability Coverage limit for damage to property         ance;
    is shown on the Declarations Page under Liability      5. FOR BODILY INJURY TO THAT INSUREDS
    Coverage  Property Damage Limit  Each Acci-               FELLOW EMPLOYEE WHILE THE FELLOW
    dent. The limit shown is the most we will pay for          EMPLOYEE IS IN THE COURSE AND
    all damages resulting from damage to property in            SCOPE OF HIS OR HER EMPLOYMENT.
    any one accident.                                           This exclusion does not apply to you and resident
    These Liability Coverage limits are the most we             relatives who are legally liable for bodily injury
    will pay regardless of the number of:                       to fellow employees, or if this coverage, of this
                                                                policy, is used to certify financial responsibility;
    1. insureds;
                                                            6. FOR DAMAGES ARISING OUT OF THE
    2. claims made;                                             OWNERSHIP, MAINTENANCE, OR USE OF
    3. vehicles insured; or                                     A VEHICLE WHILE IT IS RENTED TO OR
                                                                LEASED TO OTHERS BY AN INSURED;
    4. vehicles involved in the accident.
                                                            7. FOR DAMAGES ARISING OUT OF THE
    Nonduplication                                              OWNERSHIP, MAINTENANCE, OR USE OF
    We will not pay any damages or expenses under Liabil-       A VEHICLE WHILE IT IS BEING USED TO
    ity Coverage:                                               CARRY PERSONS FOR A CHARGE. This
                                                                exclusion does not apply to the use of a private
    1. that have already been paid as expenses under            passenger car on a share-the-expense basis;
         No-Fault Coverage or Medical Payments Cov-
         erage of any policy issued by the State Farm       8. WHILE MAINTAINING OR USING A VE-
                                                                HICLE IN CONNECTION WITH THAT IN-
         Companies to you or any resident relative; or          SUREDS EMPLOYMENT IN OR ENGAGE-
    2. that have already been paid under Uninsured              MENT OF ANY KIND IN A CAR BUSI-
         Motor Vehicle Coverage or Underinsured Mo-             NESS. This exclusion does not apply to:
         tor Vehicle Coverage of any policy issued by           a. you;
         the State Farm Companies to you or any resi-           b. any resident relative; or
         dent relative.
                                                                c. any agent, employee, or business partner
    Exclusions                                                        of a. or b. above
    THERE IS NO COVERAGE FOR AN INSURED:                        while maintaining or using your car, a newly
    1. WHO INTENTIONALLY CAUSES BODILY                          acquired car, a temporary substitute car, or a
         INJURY OR DAMAGE TO PROPERTY;                          trailer owned by you;
    2. FOR BODILY INJURY TO:                                9. WHILE THAT INSURED IS VALET PARK-
                                                                ING A VEHICLE;
         a. YOU;
                                                            10. WHILE MAINTAINING OR USING ANY VE-
         b. RESIDENT RELATIVES; AND                             HICLE OTHER THAN YOUR CAR, A NEWLY
         c. ANY OTHER PERSON WHO BOTH                           ACQUIRED CAR, A TEMPORARY SUBSTI-
              RESIDES PRIMARILY WITH AN IN-                     TUTE CAR, OR A TRAILER IN ANY BUSI-
              SURED AND WHO:                                    NESS OR OCCUPATION OTHER THAN A
                                                                CAR BUSINESS OR VALET PARKING. This
              (1) IS RELATED TO THAT INSURED BY                 exclusion does not apply to the maintenance or
                  BLOOD, MARRIAGE, OR ADOP-                     use of a private passenger car;
                  TION; OR                                  11. FOR DAMAGE TO PROPERTY WHILE IT IS:
              (2) IS A WARD OR FOSTER CHILD OF                  a. OWNED BY;
                  THAT INSURED;                                 b. RENTED TO;
    3. OR FOR THAT INSUREDS INSURER FOR                        c. USED BY;
         ANY OBLIGATION UNDER ANY TYPE OF
         WORKERS COMPENSATION, DISABIL-                        d. IN THE CARE OF; OR
         ITY, OR SIMILAR LAW;                                   e. TRANSPORTED BY
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        YOU, A RESIDENT RELATIVE, OR THE                     2.   The Liability Coverage provided by this policy
        PERSON WHO IS LEGALLY LIABLE FOR                          applies as primary coverage for the ownership,
        THE DAMAGE. This exclusion does not apply                 maintenance, or use of your car or a trailer at-
        to damage to a:                                           tached to it.
        a. motor vehicle owned by the employer of                 a. If:
             you or any resident relative if such dam-
             age is caused by an insured while operat-                (1) this is the only Car Policy issued to
             ing another motor vehicle;                                    you or any resident relative by the
        b. residence while rented to or leased to an                       State Farm Companies that provides
             insured; or                                                   liability coverage which applies to the
        c. private garage while rented to or leased to                     accident as primary coverage; and
             an insured;                                              (2) liability coverage provided by one or
    12. FOR LIABILITY ASSUMED UNDER ANY                                    more sources other than the State
        CONTRACT OR AGREEMENT;                                             Farm Companies also applies as pri-
    13. WHILE USING A TRAILER WITH A MO-                                   mary coverage for the same accident,
        TOR VEHICLE IF THAT INSURED IS NOT                            then we will pay the proportion of dam-
        PROVIDED LIABILITY COVERAGE BY                                ages payable as primary that our applica-
        THIS POLICY FOR THE USE OF THAT                               ble limit bears to the sum of our applicable
        MOTOR VEHICLE;                                                limit and the limits of all other liability
    14. FOR THE OWNERSHIP, MAINTENANCE,                               coverage that apply as primary coverage.
        OR USE OF ANY VEHICLE WHILE IT IS:
                                                                  b. If:
        a. OFF PUBLIC ROADS AND BEING PRE-
             PARED FOR, USED IN PRACTICE FOR,                         (1) more than one Car Policy issued to
             OR OPERATED IN ANY RACING CON-                                you or any resident relative by the
             TEST,      SPEED       CONTEST,       HILL-                   State Farm Companies provides lia-
             CLIMBING CONTEST, JUMPING CON-                                bility coverage which applies to the
             TEST, OR ANY SIMILAR CONTEST; OR                              accident as primary coverage; and
        b. ON A TRACK DESIGNED PRIMARILY                              (2) liability coverage provided by one or
             FOR RACING OR HIGH-SPEED DRIV-                                more sources other than the State
             ING. This exclusion (14.b.) does not apply if                 Farm Companies also applies as pri-
             the vehicle is being used in connection with                  mary coverage for the same accident,
             an activity other than racing, high-speed                then the State Farm Companies will pay the
             driving, or any type of competitive driving;
             OR                                                       proportion of damages payable as primary
                                                                      that the maximum amount that may be paid
    15. WHO IS AN EMPLOYEE OF THE UNITED                              by the State Farm Companies as determined
        STATES OF AMERICA OR ANY OF ITS                               in 1. above bears to the sum of such amount
        AGENCIES, IF THE PROVISIONS OF THE                            and the limits of all other liability coverage
        FEDERAL TORT CLAIMS ACT APPLY.                                that apply as primary coverage.
    If Other Liability Coverage Applies                      3.   Except as provided in 2. above, the Liability
    1. If liability coverage provided by this policy and          Coverage provided by this policy applies as
        one or more other Car Policies issued to you or           excess coverage.
        any resident relative by the State Farm Com-              a. If:
        panies apply to the same accident, then:
                                                                      (1) this is the only Car Policy issued to
        a. the liability coverage limits of such poli-                     you or any resident relative by the
             cies will not be added together to deter-
             mine the most that may be paid; and                           State Farm Companies that provides
                                                                           liability coverage which applies to the
        b. the maximum amount that may be paid                             accident as excess coverage; and
             from all such policies combined is the sin-
             gle highest applicable limit provided by                 (2) liability coverage provided by one or
             any one of the policies. We may choose                        more sources other than the State
             one or more policies from which to make                       Farm Companies also applies as ex-
             payment.                                                      cess coverage for the same accident,

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             then we will pay the proportion of dam-        Required Out-of-State Liability Coverage
             ages payable as excess that our applicable     If:
             limit bears to the sum of our applicable
             limit and the limits of all other liability    1. an insured is in another state of the United
                                                                 States of America, a territory or possession
             coverage that apply as excess coverage.             of the United States of America, the District
        b.   If:                                                 of Columbia, or any province or territory of
                                                                 Canada, and as a nonresident becomes sub-
             (1) more than one Car Policy issued to you          ject to its motor vehicle compulsory insur-
                  or any resident relative by the State          ance law, financial responsibility law, or
                  Farm Companies provides liability              similar law; and
                  coverage which applies to the accident    2. this policy does not provide at least the mini-
                  as excess coverage; and                        mum liability coverage required by such law
             (2) liability coverage provided by one or           for such nonresident,
                  more sources other than the State         then this policy will be interpreted to provide
                  Farm Companies also applies as ex-        the minimum liability coverage required by such
                  cess coverage for the same accident,      law.
             then the State Farm Companies will pay         This provision does not apply to liability coverage
             the proportion of damages payable as ex-       required by law for motor carriers of passengers or
             cess that the maximum amount that may          motor carriers of property.
             be paid by the State Farm Companies as         Financial Responsibility Certification
             determined in 1. above bears to the sum of     When this policy is certified under any law as proof
             such amount and the limits of all other lia-   of future financial responsibility, and while required
             bility coverage that apply as excess cover-    during the policy period, this policy will comply
             age.                                           with such law to the extent required.




                            PROPERTY DAMAGE LIABILITY COVERAGE
    This policy provides Property Damage Liability              but only if such car is neither owned by, nor
    Coverage if B is shown under SYMBOLS on                 furnished by an employer to, the first person
    the Declarations Page.                                      shown as a named insured on the Declarations
    Additional Definition                                       Page or that persons spouse;
    Insured means:                                          3. any other person for his or her use of:
    1. you and resident relatives for:                          a. your car;
        a. the ownership, maintenance, or use of:               b. a newly acquired car;
             (1) your car;                                      c. a temporary substitute car; or
             (2) a newly acquired car; or                       d. a trailer while attached to a car described
             (3) a trailer; and                                      in a., b., or c. above.
                                                                Such vehicle must be used with your express or
        b. the maintenance or use of:                           implied permission; and
             (1) a non-owned car; or                        4. any other person or organization vicariously
             (2) a temporary substitute car;                    liable for the use of a vehicle by an insured as
    2. the first person shown as a named insured on             defined in 1., 2., or 3. above, but only for such
        the Declarations Page and that named insureds          vicarious liability. This provision applies only
        spouse who resides primarily with that named            if the vehicle is neither owned by, nor hired by,
        insured for the maintenance or use of a car that        that other person or organization.
        is owned by, or furnished by an employer to, a      Insured does not include the United States of
        person who resides primarily in your household,     America or any of its agencies.

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    Insuring Agreement                                      3.  Interest the insured is legally liable to pay on
    1. We will pay damages an insured becomes le-               damages payable under the Insuring Agree-
         gally liable to pay because of damage to prop-         ment of this policys Property Damage Liabil-
         erty caused by an accident that involves a             ity Coverage:
         vehicle for which that insured is provided             a. before a judgment, but only the interest on
         Property Damage Liability Coverage by this                  the lesser of:
         policy;                                                     (1) that part of the damages we pay; or
    2. We have the right to:                                         (2) this policys applicable Property
         a. investigate, negotiate, and settle any claim                  Damage Liability Coverage limit; and
               or lawsuit;                                      b. after a judgment.
         b. defend an insured in any claim or lawsuit,          We have no duty to pay interest that accrues af-
               with attorneys chosen by us; and                 ter we deposit in court, pay, or offer to pay, the
         c. appeal any award or legal decision                  amount due under the Insuring Agreement of
         for damages payable under this policys Prop-          this policys Property Damage Liability Cover-
         erty Damage Liability Coverage.                        age. We also have no duty to pay interest that
                                                                accrues on any damages paid or payable by a
    3. We will only defend an insured in a claim or             party other than the insured or us.
         lawsuit for damages payable under this policys    4. Premiums for bonds, provided by a company
         Property Damage Liability Coverage, that are           chosen by us, required to appeal a decision in a
         caused by an accident for which that insured is        lawsuit against an insured. We have no duty
         provided Property Damage Liability Coverage            to:
         by this policy. If a claim or lawsuit seeks dam-       a. pay for any bond with a face amount that
         ages due to both property damage and bodily                 exceeds this policys applicable Property
         injury, then we will only defend the insured                Damage Liability Coverage limit;
         for property damage, and the insured will be           b. furnish or apply for any bonds; or
         required to hire and pay attorneys to defend the
         insured for damages due to bodily injury.              c. pay premiums for bonds purchased after
                                                                     we deposit in court, pay, or offer to pay,
    Supplementary Payments                                           the amount due under this policys Proper-
    We will pay, in addition to the damages described                ty Damage Liability Coverage; and
    in the Insuring Agreement of this policys Property     5. The following costs and expenses if related to
    Damage Liability Coverage, those items listed be-           and incurred after a lawsuit has been filed
    low that result from such accident:                         against an insured:
    1. Attorney fees for attorneys chosen by us to              a. Loss of wages or salary, but not other in-
         defend an insured who is sued for such damag-               come, up to $200 for each day an insured
         es. We have no duty to pay attorney fees in-                attends, at our request:
         curred after we deposit in court or pay the                 (1) an arbitration;
         amount due under the Insuring Agreement of                  (2) a mediation; or
         this policys Property Damage Liability Cover-              (3) a trial of a lawsuit; and
         age.
                                                                b. Reasonable expenses incurred by an in-
    2. Court costs awarded by the court against an                   sured at our request other than loss of
         insured and resulting from that part of a law-              wages, salary, or other income.
         suit:                                                  The amount of any of the costs or expenses
         a. that seeks damages payable under this pol-          listed above that are incurred by an insured
               icys Property Damage Liability Coverage;        must be reported to us before we will pay such
               and                                              incurred costs or expenses.
         b. against which we defend an insured with         Limit
               attorneys chosen by us.                      The Property Damage Liability Coverage limit for
                                                            damage to property is shown on the Declarations
         We have no duty to pay court costs incurred af-    Page under Property Damage Liability Coverage 
         ter we deposit in court or pay the amount due      Limit  Each Accident. The limit shown is the
         under the Insuring Agreement of this policys      most we will pay for all damages resulting from
         Property Damage Liability Coverage.                damage to property in any one accident.
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    The Property Damage Liability Coverage limit is          the maintenance or use of a private passenger
    the most we will pay regardless of the number of:        car;
    1. insureds;                                         9. FOR DAMAGE TO PROPERTY WHILE IT
    2. claims made;                                          IS:
    3. vehicles insured; or                                  a. OWNED BY;
    4. vehicles involved in the accident.                    b. RENTED TO;
    Exclusions                                               c. USED BY;
    THERE IS NO COVERAGE FOR AN INSURED:                     d. IN THE CARE OF; OR
    1. WHO INTENTIONALLY CAUSES DAM-                         e. TRANSPORTED BY
        AGE TO PROPERTY;                                     YOU, A RESIDENT RELATIVE, OR THE
    2. FOR BODILY INJURY;                                    PERSON WHO IS LEGALLY LIABLE FOR
                                                             THE DAMAGE. This exclusion does not ap-
    3. OR FOR THAT INSUREDS INSURER FOR                     ply to damage to a:
        ANY OBLIGATION UNDER ANY TYPE OF
        WORKERS COMPENSATION, DISABIL-                      a. motor vehicle owned by the employer of
        ITY, OR SIMILAR LAW;                                      you or any resident relative if such dam-
                                                                  age is caused by an insured while operat-
    4. FOR DAMAGES ARISING OUT OF THE                             ing another motor vehicle;
        OWNERSHIP, MAINTENANCE, OR USE
        OF A VEHICLE WHILE IT IS RENTED TO                   b. residence while rented to or leased to an
        OR LEASED TO OTHERS BY AN INSURED;                        insured;
    5. FOR DAMAGES ARISING OUT OF THE                        c. private garage while rented to or leased to
        OWNERSHIP, MAINTENANCE, OR USE                            an insured.
        OF A VEHICLE WHILE IT IS BEING USED              10. FOR LIABILITY ASSUMED UNDER ANY
        TO CARRY PERSONS FOR A CHARGE.                       CONTRACT OR AGREEMENT;
        This exclusion does not apply to the use of a    11. WHILE USING A TRAILER WITH A MO-
        private passenger car on a share-the-expense         TOR VEHICLE IF THAT INSURED IS NOT
        basis;                                               PROVIDED LIABILITY COVERAGE BY
    6. WHILE MAINTAINING OR USING A VE-                      THIS POLICY FOR THE USE OF THAT
        HICLE IN CONNECTION WITH THAT IN-                    MOTOR VEHICLE;
        SUREDS          EMPLOYMENT          IN     OR   12. FOR THE OWNERSHIP, MAINTENANCE,
        ENGAGEMENT OF ANY KIND IN A CAR                      OR USE OF ANY VEHICLE WHILE IT IS:
        BUSINESS. This exclusion does not apply to:
                                                             a. OFF PUBLIC ROADS AND BEING PRE-
        a. you;                                                   PARED FOR, USED IN PRACTICE FOR,
        b. any resident relative; or                              OR OPERATED IN ANY RACING CON-
        c. any agent, employee, or business partner               TEST,     SPEED      CONTEST,        HILL-
             of a. or b. above                                    CLIMBING CONTEST, JUMPING CON-
                                                                  TEST, OR ANY SIMILAR CONTEST; OR
        while maintaining or using your car, a newly
        acquired car, a temporary substitute car, or a       b. ON A TRACK DESIGNED PRIMARILY
        trailer owned by you;                                     FOR RACING OR HIGH-SPEED DRIV-
    7. WHILE THAT INSURED IS VALET PARK-                          ING. This exclusion (12.b.) does not ap-
        ING A VEHICLE;                                            ply if the vehicle is being used in
    8. WHILE MAINTAINING OR USING ANY                             connection with an activity other than rac-
        VEHICLE OTHER THAN YOUR CAR, A                            ing, high-speed driving, or any type of
        NEWLY ACQUIRED CAR, A TEMPORARY                           competitive driving; OR
        SUBSTITUTE CAR, OR A TRAILER IN                  13. WHO IS AN EMPLOYEE OF THE UNITED
        ANY BUSINESS OR OCCUPATION OTHER                     STATES OF AMERICA OR ANY OF ITS
        THAN A CAR BUSINESS OR VALET                         AGENCIES, IF THE PROVISIONS OF THE
        PARKING. This exclusion does not apply to            FEDERAL TORT CLAIMS ACT APPLY.


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    If Other Property Damage Liability Coverage                           applies as primary coverage for the
    Applies                                                               same accident,
    1. If property damage liability coverage provided                then the State Farm Companies will pay
        by this policy and one or more other Car Poli-               the proportion of damages payable as pri-
        cies issued to you or any resident relative by               mary that the maximum amount that may
        the State Farm Companies apply to the same                   be paid by the State Farm Companies as
        accident, then:                                              determined in 1. above bears to the sum of
        a. the property damage liability coverage                    such amount and the limits of all other
             limits of such policies will not be added               property damage liability coverage that
             together to determine the most that may be              apply as primary coverage.
             paid; and                                     3.   Except as provided in 2. above, the Property
                                                                Damage Liability Coverage provided by this
        b. the maximum amount that may be paid                  policy applies as excess coverage.
             from all such policies combined is the sin-
             gle highest applicable limit provided by           a. If:
             any one of the policies. We may choose                  (1) this is the only Car Policy issued to
             one or more policies from which to make                      you or any resident relative by the
             payment.                                                     State Farm Companies that provides
    2. The Property Damage Liability Coverage pro-                        property damage liability coverage
        vided by this policy applies as primary cover-                    which applies to the accident as ex-
        age for the ownership, maintenance, or use of                     cess coverage; and
        your car or a trailer attached to it.                        (2) property damage liability coverage
        a. If:                                                            provided by one or more sources other
                                                                          than the State Farm Companies also
             (1) this is the only Car Policy issued to                    applies as excess coverage for the
                  you or any resident relative by the                     same accident,
                  State Farm Companies that provides
                  property damage liability coverage                 then we will pay the proportion of damag-
                  which applies to the accident as pri-              es payable as excess that our applicable
                  mary coverage; and                                 limit bears to the sum of our applicable
                                                                     limit and the limits of all other property
             (2) property damage liability coverage                  damage liability coverage that apply as ex-
                  provided by one or more sources other              cess coverage.
                  than the State Farm Companies also
                  applies as primary coverage for the           b. If:
                  same accident,                                     (1) more than one Car Policy issued to
                                                                          you or any resident relative by the
             then we will pay the proportion of damag-                    State Farm Companies provides
             es payable as primary that our applicable                    property damage liability coverage
             limit bears to the sum of our applicable                     which applies to the accident as ex-
             limit and the limits of all other property                   cess coverage; and
             damage liability coverage that apply as                 (2) property damage liability coverage
             primary coverage.                                            provided by one or more sources other
        b. If:                                                            than the State Farm Companies also
                                                                          applies as excess coverage for the
             (1) more than one Car Policy issued to                       same accident,
                  you or any resident relative by the                then the State Farm Companies will pay
                  State Farm Companies provides                      the proportion of damages payable as ex-
                  property damage liability coverage                 cess that the maximum amount that may
                  which applies to the accident as pri-              be paid by the State Farm Companies as
                  mary coverage; and                                 determined in 1. above bears to the sum of
             (2) property damage liability coverage                  such amount and the limits of all other
                  provided by one or more sources other              property damage liability coverage that
                  than the State Farm Companies also                 apply as excess coverage.

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    Required Out-of-State Liability Coverage               then this policy will be interpreted to provide the
    If:                                                    minimum liability coverage required by such law.
    1. an insured is in another state of the United        This provision does not apply to liability coverage
        States of America, a territory or possession of    required by law for motor carriers of passengers or
        the United States of America, the District of      motor carriers of property.
        Columbia, or any province or territory of Can-
        ada, and as a nonresident becomes subject to its   Financial Responsibility Certification
        motor vehicle compulsory insurance law, fi-
        nancial responsibility law, or similar law; and    When this policy is certified under any law as proof
    2. this policy does not provide at least the mini-     of future financial responsibility, and while required
        mum liability coverage required by such law        during the policy period, this policy will comply
        for such nonresident,                              with such law to the extent required.




                                          NO-FAULT COVERAGE
    This policy provides No-Fault Coverage if P              after the motor vehicle accident that caused
    with a number beside it is shown under SYM-               bodily injury to that insured.
    BOLS on the Declarations Page. P with a num-            We will not pay for any medical expenses if
    ber beside it is your coverage symbol. Check your          that insured does not receive initial services
    coverage symbol shown on the Declarations Page             and care from a provider described in A. below
    with the SCHEDULE in the Limits section. The               within 14 days after the motor vehicle accident
    Income Loss option you have selected is shown by           that caused bodily injury to that insured.
    your coverage symbol.
                                                               We will only pay medical expenses for:
    Additional Definition                                      A. initial services and care:
    Insured means:                                                  (1) lawfully provided, supervised, ordered
    1. named insureds and relatives:                                     or prescribed by:
         a. while occupying a motor vehicle;                             (a) a physician licensed under chap-
         b. struck as a pedestrian by a motor vehicle;                        ter 458 or chapter 459 of the Flor-
             or                                                               ida Statutes;
    2. any other person while occupying or struck as                     (b) a dentist licensed under chapter
         a pedestrian by:                                                     466 of the Florida Statutes; or
         a. your car;                                                    (c) a chiropractic physician licensed
                                                                              under chapter 460 of the Florida
         b. a newly acquired car;                                             Statutes;
         c. a temporary substitute car; or                          (2) provided in a hospital or facility that
         d. a trailer while attached to a car described                  owns, or is wholly owned by, a hospital;
             in a., b., or c. above.                                     or
    Insuring Agreement                                              (3) provided by a person or entity li-
    We will pay in accordance with the No-Fault Act                      censed under part III of chapter 401 of
    properly billed and documented reasonable charg-                     the Florida Statutes which provides
    es for bodily injury to an insured caused by an ac-                  emergency transportation and treat-
    cident resulting from the ownership, maintenance,                    ment;
    or use of a motor vehicle as follows:                      B. upon referral by a provider described in A.
    1. Medical Expenses                                             above, follow-up services and care con-
         We will pay 80% of properly billed and docu-               sistent with the underlying medical diag-
         mented medical expenses, but only if that in-              nosis rendered pursuant to A. above which
         sured receives initial services and care from a            may be provided, supervised, ordered, or
         provider described in A. below within 14 days              prescribed only by:
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           (1) a physician or osteopathic physician                          or chapter 460 of the Florida
                 licensed under chapter 458 or chapter                       Statutes;
                 459 of the Florida Statutes;                            (b) has been continuously licensed
           (2) a dentist licensed under chapter 466 of                       for more than three years or is a
                 the Florida Statutes;                                       publicly traded corporation that
           (3) a chiropractic physician licensed un-                         issues securities traded on an ex-
                 der chapter 460 of the Florida Statues;                     change registered with the United
                 or                                                          States Securities and Exchange
                                                                             Commission as a national securi-
           (4) to the extent permitted by applicable                         ties exchange; and
                 law and under the supervision of a                      (c) provides at least four of the fol-
                 person described in (1), (2), or (3)                        lowing medical specialties:
                 immediately above;
                 (a) a physician assistant licensed un-                      i. general medicine;
                      der chapter 458 or chapter 459 of                      ii. radiography;
                      the Florida Statutes; or                               iii. orthopedic medicine;
                 (b) an advanced registered nurse                            iv. physical medicine;
                      practitioner licensed under chap-
                      ter 464 of the Florida Statutes;                       v. physical therapy;
                      and                                                    vi. physical rehabilitation;
        C. follow-up services and care consistent with                       vii. prescribing or dispensing
           the underlying medical diagnosis rendered                               outpatient prescription medi-
           pursuant to A. above which may only be
           provided by the following persons or enti-                              cation; or
           ties:                                                             viii. laboratory services.
           (1) a hospital or ambulatory surgical cen-       2. Income Loss
                 ter licensed under chapter 395 of the
                 Florida Statutes;                             We will pay, when properly documented, 60%
                                                               of any loss of gross income and loss of earn-
           (2) an entity wholly owned by one or                ings capacity per individual injured insured
                 more physicians licensed under chap-          from that insureds inability to work that is
                 ter 458 or 459 of the Florida Statutes,
                 chiropractic physicians licensed under        proximately caused by the injury sustained by
                 chapter 460 of the Florida Statutes or        that individual insured.
                 dentists licensed under chapter 466 of     3. Replacement Services Loss
                 the Florida Statutes, or by such practi-
                 tioners and the spouse, parent, child,        We will pay, when properly documented, rea-
                 or sibling of such practitioners;             sonable charges incurred in obtaining from
           (3) an entity that owns or is wholly                others ordinary and necessary services in lieu
                 owned, directly or indirectly, by a           of those that, but for the injury, the individual
                 hospital or hospitals;                        injured insured would have performed without
                                                               income for the benefit of his or her household.
           (4) a physical therapist licensed under
                 chapter 486 of the Florida Statutes,       4. Death Benefits
                 based upon referral by a provider de-         We will pay $5,000 per deceased individual in-
                 scribed in B. above;                          sured.
           (5) a health care clinic licensed under part     Limits
                 X of chapter 400 of the Florida Stat-
                 utes which is accredited by the Joint      1. We will not pay any charge that the No-Fault
                 Commission on Accreditation of                Act does not require us to pay, or the amount of
                 Healthcare Organizations, the Ameri-          any charge that exceeds the amount the No-
                 can Osteopathic Association, the              Fault Act allows to be charged.
                 Commission on Accreditation of Re-         2. The most we will pay for each injured insured
                 habilitation Facilities, or the Accredi-      as a result of any one accident is $10,000 for
                 tation Association for Ambulatory             all combined Medical Expenses, Income
                 Health Care, Inc., or                         Loss, and Replacement Services Loss, de-
                 (a) has a medical director licensed           scribed in the Insuring Agreement of this pol-
                      under chapter 458, chapter 459,          icys No-Fault Coverage.
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        The limit for Medical Expenses is $10,000 if a                  (II) Medicare Part B, in the case of ser-
        physician (excluding a chiropractic physician), a                     vices, supplies, and care provided by
        dentist, a physician assistant, or an advanced reg-                   ambulatory surgical centers and clini-
        istered nurse practitioner described in 1.A. or 1.B                   cal laboratories.
        under the Insuring Agreement of this policys                   (III) The Durable Medical Equipment
        No-Fault Coverage determined the injured in-                          Prosthetics/Orthotics and Supplies fee
        sured had an emergency medical condition.                             schedule of Medicare Part B, in the
        The limit for Medical Expenses is $2,500 if                           case of durable medical equipment.
        any healthcare provider described in 1.A. or                    However, if such services, supplies, or care
        1.B. under the Insuring Agreement of this                       is not reimbursable under Medicare Part B,
        policys No-Fault Coverage determined the in-                   as provided in this sub-subparagraph, then
        jured insured did not have an emergency med-                    we will limit reimbursement to 80 percent
        ical condition.                                                 of the maximum reimbursable allowance
        We will limit payment of Medical Expenses de-                   under workers' compensation, as deter-
        scribed in the Insuring Agreement of this poli-                 mined under s. 440.13, Florida Statutes,
        cys No-Fault Coverage to 80% of a properly                     and rules adopted thereunder which are in
        billed and documented reasonable charge, but                    effect at the time such services, supplies,
        in no event will we pay more than 80% of the                    or care is provided. Services, supplies, or
        following No-Fault Act schedule of maxi-                       care that is not reimbursable under Medi-
        mum charges including the use of Medicare                      care or workers compensation (Florida
        coding policies and payment methodologies of                    Rules of Procedure for Workers Compen-
        the federal Centers for Medicare and Medicaid                   sation Adjudication) will not be reim-
        Services, including applicable modifiers:                       bursed by us.
        a. For emergency transport and treatment by                For purposes of the above, the applicable fee
             providers licensed under chapter 401, Flor-           schedule or payment limitation under Medicare
             ida Statutes, 200 percent of Medicare.                is the fee schedule or payment limitation in ef-
        b. For emergency services and care provided                fect on March 1 of the year in which the ser-
             by a hospital licensed under chapter 395,             vices, supplies, or care is rendered and for the
             Florida Statutes, 75 percent of the hospi-            area in which such services, supplies, or care is
             tal's usual and customary charges.                    rendered, and the applicable fee schedule or
                                                                   payment limitation applies throughout the re-
        c. For emergency services and care as de-                  mainder of that year, notwithstanding any sub-
             fined by s. 395.002, Florida Statutes, pro-           sequent change made to the fee schedule or
             vided in a facility licensed under chapter            payment limitation, except that it will not be
             395, Florida Statutes, rendered by a physi-           less than the allowable amount under the appli-
             cian or dentist, and related hospital inpa-           cable schedule of Medicare Part B for 2007 for
             tient services rendered by a physician or             medical services, supplies, and care subject to
             dentist, the usual and customary charges in           Medicare Part B.
             the community.
                                                              3.   We will pay a Death Benefit of $5,000 per
        d. For hospital inpatient services, other than             deceased individual insured. Death Benefits
             emergency services and care, 200 percent              are in addition to the Medical Expenses, In-
             of the Medicare Part A prospective pay-               come Loss, and Replacement Services Loss
             ment applicable to the specific hospital              limit.
             providing the inpatient services.
                                                              4.   SCHEDULE
        e. For hospital outpatient services, other than
             emergency services and care, 200 percent               Coverage        Income        Income Loss
             of the Medicare Part A Ambulatory Pay-                 Symbol          Loss          Benefits
             ment Classification for the specific hospi-                            Benefits      Eliminated
             tal providing the outpatient services.                                 Eliminated    For Named
        f. For all other medical services, supplies,                                For           Insureds
             and care, 200 percent of the allowable                                 Named         Dependent
             amount under:                                                          Insureds      Relatives
             (I) The participating physicians fee                   P10             No            No
                   schedule of Medicare Part B, except              P14             Yes           Yes
                   as provided in sub-sub-subparagraphs
                   (II) and (III).                                  P19             Yes           No

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     Application of Any Deductible and Workers                     a.   by or on behalf of any person or organiza-
     Compensation Offset                                                 tion who is or may be held legally liable
     1. The deductible amount, if any, is shown on the                   for the bodily injury to the insured; or
          Declarations Page beside your coverage sym-               b.   for bodily injury under Liability Coverage
          bol. The deductible amount does not apply to                   of any policy issued by the State Farm
          Death Benefits.                                                Companies to any named insured or any
          The deductible amount applies to:                              relative;
          a. each named insured if N follows the de-         2.  that:
               ductible amount; or                                 a. have already been paid;
          b. each named insured and each dependent                 b. could have been paid; or
               relative if N does not follow the deduct-         c. could be paid
               ible amount.
          Any deductible will be applied to 100% of                to or for the insured under other no-fault coverage,
          properly billed and documented Medical Ex-               any disability benefits law, or similar law; or
          penses, properly documented Income Loss,             3. that have already been paid as expenses under
          and properly documented Replacement Ser-                 Medical Payments Coverage of this policy, the
          vices Loss that are eligible to be paid under            medical payments coverage of any other poli-
          this coverage. The deductible will be applied            cy, or other similar vehicle insurance.
          to such expenses and losses upon our receipt of
          reasonable documented proof of the expenses          Exclusions
          and losses and the amount of expenses and            THERE IS NO COVERAGE FOR:
          losses incurred.
                                                               1. BODILY INJURY TO:
     2. After any applicable deductible has been ap-
          plied, we will pay the balance of properly               a. ANY PEDESTRIAN NOT A RESIDENT
                                                                         OF FLORIDA; OR
          billed and documented Medical Expenses, In-
          come Loss, and Replacement Services Loss                 b. ANY PERSON ENTITLED TO NO-
          in accordance with the percentages and limits                  FAULT BENEFITS FROM:
          as described in the section titled Limits.                     (1) THE OWNER OF A MOTOR VEHI-
                                                                              CLE OTHER THAN A NAMED IN-
     3. We will reduce the amount payable as determined                       SURED; OR
          in item 2. above by any workers compensation
          benefits received for the same loss or expense.                (2) THAT OWNERS INSURER.
     Partial Payment or Rejection of a Claim                       This exclusion (1.) does not apply to any
                                                                   named insured or any relative;
     If we pay only a portion of a claim or reject a claim
     due to an alleged error in the claim, then we shall, at   2. ANY NAMED INSURED OR RELATIVE
     the time of the partial payment or rejection, provide         WHO SUSTAINED BODILY INJURY
     an itemized specification or explanation of benefits          WHILE OCCUPYING A MOTOR VEHICLE
     due to the specified error. Upon receiving the speci-         OWNED BY THE NAMED INSURED AND
     fication or explanation, the person making the                NOT INSURED UNDER THIS POLICY;
     claim, at the person's option and without waiving         3. ANY INSURED PERSON:
     any other legal remedy for payment, has 15 days to
     submit a revised claim, which shall be considered a           a. WHOSE CONDUCT CONTRIBUTED
     timely submission of written notice of a claim.                     TO HIS OR HER BODILY INJURY UN-
     In a dispute between the insured and us, or between                 DER ANY OF THE FOLLOWING CIR-
     an assignee of the insureds rights and us, upon                    CUMSTANCES:
     request, we will notify the insured or the assignee                 (1) CAUSING BODILY INJURY TO
     that the policy limits under this section have been                      HIMSELF OR HERSELF INTEN-
     reached within 15 days after the limits have been                        TIONALLY; OR
     reached.
     Nonduplication                                                      (2) WHILE COMMITTING A FELONY;
     We will not pay under No-Fault Coverage any ben-              b. WHOSE BODILY INJURY OCCURRED
     efits:                                                              WHILE:
     1. that have already been paid to or for the insured:

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              (1) DRIVING YOUR CAR OR A NEW-                      a.  the No-Fault Coverage limits of such poli-
                   LY ACQUIRED CAR WITHOUT                            cies shall not be added together to deter-
                   YOUR PERMISSION; OR                                mine the most that may be paid; and
              (2) OCCUPYING A MOTOR VEHICLE                     b. the maximum amount that may be paid from
                   LOCATED FOR USE AS A DWELL-                        all such policies combined is the single high-
                                                                      est applicable limit provided by any one of
                   ING OR PREMISES;                                   the policies. We may choose one or more
         c. WHO OWNS A MOTOR VEHICLE SUB-                             policies from which to make payment.
              JECT TO THE NO-FAULT ACT. This ex-             2. If No-Fault Coverage provided by this policy
              clusion (3.c.) does not apply to:                 and one or more other vehicle policies issued to
              (1) any named insured;                            any named insured or any relative by one or
              (2) the spouse of any named insured; and          more sources other than the State Farm Com-
                                                                panies apply to the same bodily injury, then:
              (3) any relative while occupying your car         a. the No-Fault Coverage limits of such poli-
                   if the accident occurs outside Florida;            cies shall not be added together to deter-
                   OR                                                 mine the most that may be paid;
         d. WHO REFUSES TO:                                     b. the maximum amount that may be paid from
              (1) SUBMIT TO, COMPLETE, OR                             all such policies combined is the single high-
                   FAILS TO APPEAR AT AN EXAM-                        est applicable limit provided by any one of the
                   INATION UNDER OATH; OR                             policies, subject to our pro rata share of the
              (2) PROVIDE, COMPLETE, OR FAILS                         highest applicable limit provided by any one
                   TO APPEAR AT A STATEMENT                           of the policies; and
                   UNDER OATH;                                  c. we are entitled to recover from each insur-
     4. INCOME LOSS WHEN THE SCHEDULE                                 er that is liable to pay no-fault coverage
         SHOWS INCOME LOSS BENEFITS ARE                               benefits to or for the insured who sus-
         ELIMINATED UNDER YOUR COVERAGE                               tained bodily injury, an equitable pro rata
         SYMBOL;                                                      share of benefits paid and expenses in-
                                                                      curred in processing the claim.
     5. ANY MASSAGE AS DEFINED IN S.                         Our Payment Options
         480.033, FLORIDA STATUTES, OR ACU-
         PUNCTURE AS DEFINED IN S. 457.102,                  We may, at our option, make payment to one or
         FLORIDA STATUTES, REGARDLESS OF                     more of the following:
         THE PERSON OR ENTITY PROVIDING                      1. The insured;
         THE MASSAGE OR ACUPUNCTURE; OR
                                                             2. The insureds surviving spouse;
     6. ANY SERVICES, CARE, TREATMENT, OR
         SUPPLIES PROVIDED BY ANY MASSAGE                    3. A parent or guardian of the insured, if the insured
         THERAPIST OR ANY ACUPUNCTURIST.                        is a minor or an incompetent person;
     If Other No-Fault Coverage Applies                      4. A person authorized by law to receive such pay-
                                                                ment;
     1. If No-Fault Coverage provided by this policy
         and one or more other vehicle policies issued to    5. Any person or organization that provides the
         any named insured or any relative by the State         medical services or funeral services; or
         Farm Companies apply to the same bodily in-         6. Any person appearing to us to be equitably
         jury, then:                                            entitled to receive such payment.




                                    MEDICAL PAYMENTS COVERAGE
     This policy provides Medical Payments Coverage          1.   while occupying a motor vehicle;
     if C is shown under SYMBOLS on the Dec-             2.   through being struck as a pedestrian by a mo-
     larations Page.                                              tor vehicle; or
     Additional Definition                                   3.   through being struck as a pedestrian by a mo-
                                                                  torcycle of a type required to be licensed for
     Insured means named insureds and relatives:                  use on Florida highways.
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     Insuring Agreement                                               (2) a dentist licensed under chapter 466 of
     1. Medical Payments Coverage is excess over No-                        the Florida Statutes;
         Fault Coverage. The no-fault deductible, if any, is          (3) a chiropractic physician licensed un-
         not payable under Medical Payments Coverage.                       der chapter 460 of the Florida Statues;
     2. We will pay properly billed and documented                          or
         medical expenses for services and care that are              (4) to the extent permitted by applicable
         incurred because of bodily injury to an insured                    law and under the supervision of a
         caused by an accident resulting from the own-                      person described in (1), (2), or (3)
         ership, maintenance, or use of a motor vehicle,                    immediately above;
         but only:                                                          (a) a physician assistant licensed un-
         a. if that insured receives initial services and                        der chapter 458 or chapter 459 of
              care from a provider described in A. below                         the Florida Statutes; or
              within 14 days after the motor vehicle acci-                  (b) an advanced registered nurse
              dent that caused bodily injury to that insured;                    practitioner licensed under chap-
              and                                                                ter 464 of the Florida Statutes;
         b. if such services and care are provided                               and
              within three years after the motor vehicle           C. follow-up services and care consistent with
              accident that caused bodily injury to that
              insured.                                                the underlying medical diagnosis rendered
                                                                      pursuant to A. above which may only be
         We will not pay for any medical expenses if                  provided by the following persons or enti-
         the insured does not receive initial services and            ties:
         care from a provider described in A. below
         within 14 days after the motor vehicle accident              (1) a hospital or ambulatory surgical cen-
         that caused bodily injury to that insured.                         ter licensed under chapter 395 of the
         We will only pay medical expenses for:                             Florida Statutes;
         A. initial services and care:                                (2) an entity wholly owned by one or
                                                                            more physicians licensed under chap-
              (1) lawfully provided, supervised, ordered                    ter 458 or 459 of the Florida Statutes,
                   or prescribed by:                                        chiropractic physicians licensed under
                   (a) a physician licensed under chap-                     chapter 460 of the Florida Statutes or
                         ter 458 or chapter 459 of the Flor-                dentists licensed under chapter 466 of
                         ida Statutes;                                      the Florida Statutes, or by such practi-
                                                                            tioners and the spouse, parent, child,
                   (b) a dentist licensed under chapter                     or sibling of such practitioners;
                         466 of the Florida Statutes; or
                                                                      (3) an entity that owns or is wholly
                   (c) a chiropractic physician licensed                    owned, directly or indirectly, by a
                         under chapter 460 of the Florida                   hospital or hospitals;
                         Statutes;
              (2) provided in a hospital or facility that             (4) a physical therapist licensed under
                   owns, or is wholly owned by, a hospi-                    chapter 486 of the Florida Statutes,
                   tal; or                                                  based upon referral by a provider de-
                                                                            scribed in B. above;
              (3) provided by a person or entity li-                  (5) a health care clinic licensed under part
                   censed under part III of chapter 401 of                  X of chapter 400 of the Florida Stat-
                   the Florida Statutes which provides
                   emergency transportation and treat-                      utes which is accredited by the Joint
                   ment;                                                    Commission on Accreditation of
                                                                            Healthcare Organizations, the Ameri-
         B. upon referral by a provider described in A.                     can Osteopathic Association, the
              above, follow-up services and care con-                       Commission on Accreditation of Re-
              sistent with the underlying medical diag-                     habilitation Facilities, or the Accredi-
              nosis rendered pursuant to A. above which                     tation Association for Ambulatory
              may be provided, supervised, ordered, or                      Health Care, Inc., or
              prescribed only by:
                                                                            (a) has a medical director licensed
              (1) a physician or osteopathic physician                           under chapter 458, chapter 459,
                   licensed under chapter 458 or chapter                         or chapter 460 of the Florida
                   459 of the Florida Statutes;                                  Statutes;

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                   (b) has been continuously licensed          1.   Emergency Medical Condition
                        for more than three years or is a           a. The Medical Payments Coverage limit for
                        publicly traded corporation that                 an insured who has been determined to
                        issues securities traded on an ex-               have an emergency medical condition is
                        change registered with the United                shown on the Declarations Page under
                        States Securities and Exchange                   Medical Payments Coverage  Emergen-
                        Commission as a national securi-                 cy Medical Condition Limit  Each Per-
                        ties exchange; and                               son. This limit is the most we will pay
                                                                         for medical expenses and for funeral ex-
                   (c) provides at least four of the fol-                penses combined that are incurred by or on
                        lowing medical specialties:                      behalf of any one insured as a result of
                        i. general medicine;                             any one accident if the insured has been
                                                                         determined to have an emergency medical
                        ii. radiography;                                 condition by a physician, a dentist, a phy-
                        iii. orthopedic medicine;                        sician assistant, or an advanced registered
                                                                         nurse practitioner described in 2.A. or 2.B.
                        iv. physical medicine;                           under the Insuring Agreement of this pol-
                        v. physical therapy;                             icys Medical Payments Coverage regard-
                        vi. physical rehabilitation;                     less of the number of:
                        vii. prescribing or dispensing                   (1) insureds;
                              outpatient prescription medi-              (2) claims made;
                              cation; or
                                                                         (3) vehicles insured; or
                        viii. laboratory services.
                                                                         (4) vehicles involved in the accident.
     3. We will pay funeral expenses incurred for an
          insured who dies within three years immedi-               b. Subject to the limit shown on the Declara-
          ately following the date of a motor vehicle                    tions Page, as described in 1.a. above, the
          accident if the death is a direct result of bodily             most we will pay for funeral expenses in-
          injury sustained in such accident.                             curred for any one insured is $3,000.
     Determining Medical Expenses                              2.   Not An Emergency Medical Condition
     We have the right to:                                          The Medical Payments Coverage limit for an
                                                                    insured who has been determined to not have
     1. obtain and use:                                             an emergency medical condition is shown on
          a. utilization reviews;                                   the Declarations Page under Medical Pay-
                                                                    ments Coverage  Not An Emergency Medical
          b. peer reviews; and                                      Condition Limit  Each Person. This limit is
          c. medical bill reviews                                   the most we will pay for medical expenses and
          to determine if the incurred expenses are rea-            for funeral expenses combined that are incurred
                                                                    by or on behalf of any one insured as a result
          sonable charges and medically necessary for               of any one accident if the insured has been de-
          the bodily injury sustained.                              termined to not have an emergency medical
     2. use a medical examination of the insured to                 condition by a healthcare provider described in
          determine if:                                             2.A. or 2.B. under the Insuring Agreement of
          a. the bodily injury was caused by a motor                this policys Medical Payments Coverage, re-
               vehicle accident; and                                gardless of the number of:
          b. the expenses incurred are medically neces-             a. insureds;
               sary.                                                b. claims made;
     3. enter into a contract with a third party that has           c. vehicles insured; or
          an agreement with the insureds healthcare                d. vehicles involved in the accident.
          provider to charge fees as determined by that
          agreement.                                           3.   In no event will we pay more than the follow-
     Limits                                                         ing No-Fault Act schedule of maximum
                                                                    charges including the use of Medicare coding
     The Medical Payments Coverage limit is dependent               policies and payment methodologies of the
     upon determination of an emergency medical con-                federal Centers for Medicare and Medicaid
     dition and is shown on the Declarations Page.                  Services, including applicable modifiers:

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        a.   For emergency transport and treatment by           For purposes of the above, the applicable fee
             providers licensed under chapter 401, Flor-        schedule or payment limitation under Medicare
             ida Statutes, 200 percent of Medicare.             is the fee schedule or payment limitation in ef-
        b.   For emergency services and care provided           fect on March 1 of the year in which the ser-
             by a hospital licensed under chapter 395,          vices, supplies, or care is rendered and for the
             Florida Statutes, 75 percent of the hospi-         area in which such services, supplies, or care is
             tal's usual and customary charges.                 rendered, and the applicable fee schedule or
                                                                payment limitation applies throughout the re-
        c.   For emergency services and care as de-             mainder of that year, notwithstanding any sub-
             fined by s. 395.002, Florida Statutes, pro-        sequent change made to the fee schedule or
             vided in a facility licensed under chapter         payment limitation, except that it will not be
             395, Florida Statutes, rendered by a physi-        less than the allowable amount under the appli-
             cian or dentist, and related hospital inpa-        cable schedule of Medicare Part B for 2007 for
             tient services rendered by a physician or          medical services, supplies, and care subject to
             dentist, the usual and customary charges in        Medicare Part B.
             the community.                                 Nonduplication
        d.   For hospital inpatient services, other than    We will not pay under Medical Payments Coverage
             emergency services and care, 200 percent       any damages or expenses:
             of the Medicare Part A prospective pay-
             ment applicable to the specific hospital       1. that have already been paid to or for the insured:
             providing the inpatient services.                  a. by or on behalf of any person or organiza-
        e.   For hospital outpatient services, other than            tion who is or may be held legally liable
             emergency services and care, 200 percent                for the bodily injury to the insured; or
             of the Medicare Part A Ambulatory Pay-             b. for bodily injury under Liability Coverage
             ment Classification for the specific hospi-             of any policy issued by the State Farm
             tal providing the outpatient services.                  Companies to any named insured or any
                                                                     relative; or
        f.   For all other medical services, supplies,
             and care, 200 percent of the allowable         2. that have already been paid under No-Fault
             amount under:                                      Coverage or Uninsured Motor Vehicle Cover-
                                                                age of this policy, the no-fault coverage, medi-
             (I) The participating physicians fee               cal payments coverage, or uninsured motor
                   schedule of Medicare Part B, except          vehicle coverage of any other policy, or other
                   as provided in sub-sub-subparagraphs         similar vehicle insurance.
                   (II) and (III).                          Exclusions
             (II) Medicare Part B, in the case of ser-      THERE IS NO COVERAGE FOR AN INSURED:
                   vices, supplies, and care provided by    1. UNTIL THE MEDICAL EXPENSE BENE-
                   ambulatory surgical centers and clini-       FITS OF ALL NO-FAULT COVERAGE
                   cal laboratories.                            AVAILABLE FROM ALL SOURCES HAVE
             (III) The Durable Medical Equipment                BEEN EXHAUSTED. This does not apply to
                   Prosthetics/Orthotics and Supplies fee       the 20% of medical expenses that are not paid
                                                                under no-fault coverage because of the 80%
                   schedule of Medicare Part B, in the          limitation;
                   case of durable medical equipment.
                                                            2. WHO REFUSES TO:
             However, if such services, supplies, or care
             is not reimbursable under Medicare Part B,         a. SUBMIT TO, COMPLETE, OR FAILS
             as provided in this sub-sub-subparagraph,               TO APPEAR AT AN EXAMINATION
             then we will limit reimbursement to the                 UNDER OATH; OR
             maximum reimbursable allowance under               b. PROVIDE, COMPLETE, OR FAILS TO
             workers' compensation, as determined un-                APPEAR AT A STATEMENT UNDER
             der s. 440.13, Florida Statutes, and rules              OATH;
             adopted thereunder which are in effect at      3. FOR ANY MEDICAL EXPENSES THAT
             the time such services, supplies, or care is
             provided. Services, supplies, or care that         ARE NOT PAYABLE UNDER NO-FAULT
             is not reimbursable under Medicare or              COVERAGE. This does not include:
             workers compensation (Florida Rules of            a. the 20% of medical expenses that are not
             Procedure for Workers Compensation Ad-                 paid under no-fault coverage because of
             judication) will not be reimbursed by us.               the 80% limitation;
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          b.  medical expenses not paid because the                a.   the use of a private passenger car on a
              medical expense benefits of all no-fault                  share-the-expense basis; or
              coverage available from all sources have             b. an insured while occupying a non-owned
              been exhausted;                                           car as a passenger;
          c. medical expenses for bodily injury while          10. WHILE MAINTAINING OR USING A VE-
              occupying a non-owned car while outside              HICLE IN CONNECTION WITH THAT IN-
              Florida, but within the area described un-           SUREDS EMPLOYMENT IN OR ENGAGE-
              der Where Coverage Applies for Medical               MENT OF ANY KIND IN A CAR BUSI-
              Payments Coverage; and                               NESS. This exclusion does not apply to:
          d. medical expenses for bodily injury sus-               a. any named insured;
              tained through being struck as a pedestrian
              by a:                                                b. any relative; or
              (1) motor vehicle while outside Florida,             c. any agent, employee, or business partner
                    but within the area described under                 of a. or b. above
                    Where Coverage Applies for Medi-               while maintaining or using your car, a newly
                    cal Payments Coverage; or                      acquired car, a temporary substitute car, or a
              (2) motorcycle of a type required to be li-          trailer owned by you;
                    censed for use on Florida highways;
                                                               11. WHILE THAT INSURED IS VALET PARK-
     4.   FOR MILEAGE COSTS FOR THE USE OF A                       ING A VEHICLE;
          PERSONAL VEHICLE;
     5.   FOR ANY INTEREST CHARGES;                            12. WHILE MAINTAINING OR USING A NON-
                                                                   OWNED CAR IN ANY BUSINESS OR OC-
     6.   IF ANY WORKERS COMPENSATION                             CUPATION OTHER THAN A CAR BUSI-
          LAW OR ANY SIMILAR LAW APPLIES TO                        NESS OR VALET PARKING. This exclusion
          THAT INSUREDS BODILY INJURY;                            does not apply to the maintenance or use of a
     7.   WHO:                                                     private passenger car;
          a. IS OCCUPYING OR THROUGH BEING                     13. WHO IS EITHER OCCUPYING OR
              STRUCK AS A PEDESTRIAN BY A                          STRUCK AS A PEDESTRIAN BY A VEHI-
              VEHICLE OWNED BY ANY NAMED                           CLE THAT IS LOCATED FOR USE AS A
              INSURED OR ANY RELATIVE WHICH
              IS NOT INSURED UNDER THIS POLI-                      DWELLING OR OTHER PREMISES;
              CY; OR                                           14. WHO IS STRUCK AS A PEDESTRIAN BY
          b. AT THE TIME OF THE ACCIDENT                           A VEHICLE THAT:
              OWNS A MOTOR VEHICLE SUBJECT                         a. IS DESIGNED FOR USE PRIMARILY
              TO THE NO-FAULT ACT AND IS NOT                            OFF PUBLIC ROADS WHILE OFF
              INSURED FOR THE COVERAGE RE-                              PUBLIC ROADS; OR
              QUIRED BY THE NO-FAULT ACT.                          b. RUNS ON RAILS OR CRAWLER-
              This exclusion (7.b.) does not apply to:                  TREADS;
              (1) any named insured;                           15. WHOSE BODILY INJURY RESULTS FROM
              (2) the spouse of any named insured; and             WAR OF ANY KIND;
              (3) any relative while occupying your            16. WHOSE BODILY INJURY RESULTS
                    car, a newly acquired car, a tempo-            FROM:
                    rary substitute car, or a non-owned
                    car if the accident occurs outside Flor-       a. NUCLEAR REACTION;
                    ida, but within the area described un-         b. RADIATION OR RADIOACTIVE CON-
                    der Where Coverage Applies for                      TAMINATION FROM ANY SOURCE;
                    Medical Payments Coverage;                          OR
     8.   WHO IS OCCUPYING A VEHICLE WHILE                         c. THE ACCIDENTAL OR INTENTIONAL
          IT IS RENTED TO OR LEASED TO OTH-
          ERS BY AN INSURED;                                            DETONATION OF, OR RELEASE OF
                                                                        RADIATION FROM, ANY NUCLEAR
     9.   WHO IS OCCUPYING A VEHICLE WHILE                              OR RADIOACTIVE DEVICE;
          IT IS BEING USED TO CARRY PERSONS
          FOR A CHARGE. This exclusion does not                17. WHOSE BODILY INJURY RESULTS FROM
          apply to:                                                EXPOSURE TO FUNGI;
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     18. WHO IS OCCUPYING A VEHICLE WHILE                                    which applies to the accident as pri-
         IT IS:                                                              mary coverage; and
         a. BEING PREPARED FOR, USED IN                                 (2) medical payments coverage or other
              PRACTICE FOR, OR OPERATED IN                                   similar vehicle insurance provided by
              ANY RACING CONTEST, SPEED                                      one or more sources other than the State
              CONTEST, HILL-CLIMBING CON-
              TEST, JUMPING CONTEST, OR ANY                                  Farm Companies also applies as pri-
              SIMILAR CONTEST; OR                                            mary coverage for the same accident,
         b. ON A TRACK DESIGNED PRIMARILY                               then we will pay the proportion of medical
              FOR RACING OR HIGH-SPEED DRIV-                            expenses and funeral expenses payable as
              ING. This exclusion (18.b.) does not apply                primary that our applicable limit bears to the
              if the vehicle is being used in connection                sum of our applicable limit and the limits of
              with an activity other than racing, high-                 all other medical payments coverage or simi-
              speed driving, or any type of competitive                 lar vehicle insurance that apply as primary
              driving;                                                  coverage.
     19. FOR ANY MASSAGE AS DEFINED IN                              b. If:
         S.480.033, FLORIDA STATUTES, OR ACU-                           (1) more than one vehicle policy issued to
         PUNCTURE AS DEFINED IN S.457.102,                                   any named insured or any relative by
         FLORIDA STATUTES, REGARDLESS OF                                     the State Farm Companies provides
         THE PERSON OR ENTITY PROVIDING                                      Medical Payments Coverage or other
         THE MASSAGE OR ACUPUNCTURE; OR                                      similar vehicle insurance which applies
     20. FOR ANY SERVICES, CARE, TREATMENT,                                  to the accident as primary coverage;
         OR SUPPLIES PROVIDED BY ANY MAS-                                    and
         SAGE THERAPIST OR ANY ACUPUNC-                                 (2) medical payments coverage or other
         TURIST.                                                             similar vehicle insurance provided by
     If Other Medical Payments Coverage or Similar                           one or more sources other than the State
     Vehicle Insurance Applies                                               Farm Companies also applies as pri-
                                                                             mary coverage for the same accident,
     1. An insured shall not recover for the same med-
         ical expenses or funeral expenses under both                   then the State Farm Companies will pay
         this coverage and other medical payments cov-                  the proportion of medical expenses and
         erage or similar vehicle insurance.                            funeral expenses payable as primary that
     2. If Medical Payments Coverage provided by                        the maximum amount that may be paid by
         this policy and one or more other vehicle poli-                the State Farm Companies as determined
         cies issued to any named insured or any rela-                  in 2. above bears to the sum of such
         tive by the State Farm Companies apply to the                  amount and the limits of all other medical
         same bodily injury, then:                                      payments coverage or similar vehicle in-
         a. the Medical Payments Coverage limits of                     surance that apply as primary coverage.
              such policies shall not be added together to     4.   Except as provided in 3. above, the Medical
              determine the most that may be paid; and              Payments Coverage provided by this policy
         b. the maximum amount that may be paid from                applies as excess coverage.
              all such policies combined is the single high-        a. If:
              est applicable limit provided by any one of
              the policies. We may choose one or more                   (1) this is the only vehicle policy issued to
              policies from which to make payment.                           any named insured or any relative by
     3. The Medical Payments Coverage provided by                            the State Farm Companies that pro-
         this policy applies as primary coverage for an                      vides Medical Payments Coverage or
         insured who sustains bodily injury while oc-                        other similar vehicle insurance which
         cupying your car or a trailer attached to it.                       applies to the accident as excess cov-
         a. If:                                                              erage; and
              (1) this is the only vehicle policy issued                (2) medical payments coverage or other sim-
                   to any named insured or any relative                      ilar vehicle insurance provided by one or
                   by the State Farm Companies that                          more sources other than the State Farm
                   provides Medical Payments Coverage                        Companies also applies as excess cover-
                   or other similar vehicle insurance                        age for the same accident,

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              then we will pay the proportion of medical             then the State Farm Companies will pay
              expenses and funeral expenses payable as               the proportion of medical expenses and
              excess that our applicable limit bears to              funeral expenses payable as excess that the
              the sum of our applicable limit and the                maximum amount that may be paid by the
              limits of all other medical payments                   State Farm Companies as determined in
                                                                     2. above bears to the sum of such amount
              coverage or similar vehicle insurance that             and the limits of all other medical pay-
              apply as excess coverage.                              ments coverage or similar vehicle insur-
         b.   If:                                                    ance that apply as excess coverage.
                                                            Our Payment Options
              (1) more than one vehicle policy issued to
                  any named insured or any relative by      We may, at our option, make payment to one or
                  the State Farm Companies provides         more of the following:
                  Medical Payments Coverage or other        1. The insured;
                  similar vehicle insurance which applies   2. The insureds surviving spouse;
                  to the accident as excess coverage;
                  and                                       3. A parent or guardian of the insured, if the in-
                                                               sured is a minor or an incompetent person;
              (2) medical payments coverage or other        4. A person authorized by law to receive such pay-
                  similar vehicle insurance provided by        ment;
                  one or more sources other than the        5. Any person or organization that provides the med-
                  State Farm Companies also applies            ically necessary services or funeral services; or
                  as excess coverage for the same acci-
                  dent,                                     6. Any person appearing to us to be equitably entitled
                                                               to receive such payment.




                              UNINSURED MOTOR VEHICLE COVERAGE
                                           (Stacking)
     This policy provides Uninsured Motor Vehicle           Uninsured Motor Vehicle means a land motor
     Coverage if U is shown under SYMBOLS on            vehicle and a trailer attached to such land motor
     the Declarations Page.                                 vehicle:
     Additional Definitions                                 1. the ownership, maintenance, and use of which is:
     Insured means:                                             a. neither insured, nor self-insured, nor bond-
                                                                     ed for bodily injury liability at the time of
     1. you;                                                         the accident; or
     2. resident relatives;                                     b. insured, self-insured, or bonded for bodily
     3. any other person while occupying:                            injury liability at the time of the accident;
                                                                     but
         a. your car;
                                                                     (1) the limits are less than required by the
         b. a newly acquired car;                                         financial responsibility act of the state
         c. a temporary substitute car; or                                of Florida;
         d. a trailer attached to a car described in a.,             (2) the limits of liability of the insurance,
              b., or c. above.                                            self-insurance, or bond are less than
                                                                          the damages for bodily injury sus-
         Such vehicle must be used with your express or                   tained by the insured; or
         implied permission. Such other person occu-                 (3) the entity providing the financial re-
         pying a vehicle used to carry persons for a                      sponsibility:
         charge is not an insured; and                                    (a) denies that it provides liability cov-
     4. any person entitled to recover compensatory                            erage for compensatory damages
         damages as a result of bodily injury to an in-                        that result from the accident; or
         sured as defined in 1., 2., or 3. above.                         (b) is or becomes insolvent; or

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     2.   the owner or driver:                               2.   inform the insured in writing that we do not
          a. of which could not reasonably have been              consent, then the insured may not accept such
               identified;                                        settlement offer and:
          b. remains unknown; and                                 a. we will make payment to the insured in an
                                                                       amount equal to such settlement offer.
          c. that causes bodily injury to the insured.                 This payment is considered a payment
     Uninsured Motor Vehicle does not include a land                   made by or on behalf of the owner or driv-
     motor vehicle or trailer:                                         er of the uninsured motor vehicle; and
     1. whose ownership, maintenance, or use is                   b. any recovery from or on behalf of the
          provided Liability Coverage by this policy.                  owner or driver of the uninsured motor
          However, any such vehicle will be deemed                     vehicle shall first be used to repay us.
          to be an uninsured motor vehicle for bodily        Deciding Fault and Amount
          injury sustained by you or a resident rela-
          tive while the vehicle is being operated by a      1. The insured and we must agree to the answers
          person other than you or a resident rela-               to the following two questions:
          tive;                                                   a. Is the insured legally entitled to recover
     2. owned by, rented to, or furnished or available                 compensatory damages from the owner or
          for the regular use of you or a resident rela-               driver of the uninsured motor vehicle?
          tive;                                                   b. If the insured and we agree that the answer
     3. designed for use primarily off public roads                    to 1.a. above is yes, then what is the
          except while on public roads;                                amount of the compensatory damages that
                                                                       the insured is legally entitled to recover
     4. while located for use as a dwelling or other                   from the owner or driver of the uninsured
          premises; or                                                 motor vehicle?
     5. whose owner or operator could have been rea-         2. If there is no agreement on the answer to either
          sonably identified.                                     question in 1. above, then the disagreement
     Insuring Agreement                                           shall be resolved by mediation, arbitration, or
                                                                  litigation as outlined in the Mediation, Arbi-
     1. We will pay compensatory damages for bodily               tration, and Legal Action Against Us provi-
          injury an insured is legally entitled to recover        sions under GENERAL TERMS.
          from the owner or driver of an uninsured mo-
          tor vehicle.                                       Limits
     2. The bodily injury for which we will pay com-         The Uninsured Motor Vehicle Coverage limits are
          pensatory damages must be:                         shown on the Declarations Page under Uninsured
                                                             Motor Vehicle Coverage  Bodily Injury Limits 
          a. sustained by an insured;                        Each Person, Each Accident.
          b. caused by an accident that involves the op-     The limit shown under Each Person is the most
               eration, maintenance, or use of an unin-      we will pay for the sum of:
               sured motor vehicle; and                      1. all damages resulting from bodily injury to any
          c. a serious injury as described in section             one insured injured in any one accident; and
               627.737(2) of the Florida Insurance Code      2. all damages, including damages for emotional
               before we will pay for damages consisting          distress, sustained by other insureds as a direct
               of pain, suffering, mental anguish, or in-         result of that bodily injury.
               convenience.                                  The limit shown under Each Accident is the most
     Consent to Settlement                                   we will pay, subject to the limit for Each Person,
     The insured must inform us of a settlement offer, if    for all damages and all emotional distress resulting
     any, proposed by or on behalf of the owner or driver    from bodily injury to two or more insureds who
     of the uninsured motor vehicle, and the insured         sustained damages or emotional distress in the same
     must request our written consent to accept such         accident.
     settlement offer.                                       These Uninsured Motor Vehicle Coverage limits are
     If we:                                                  the most we will pay regardless of the number of:
     1. consent in writing, then the insured may accept      1. insureds;
          such settlement offer.                             2. claims made;

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     3. vehicles insured; or                                      by the State Farm Companies apply to the
     4. vehicles involved in the accident.                        same bodily injury sustained by a person other
                                                                  than you or any resident relative, then:
     Nonduplication
                                                                  a. the Uninsured Motor Vehicle Coverage
     We will not pay under Uninsured Motor Vehicle                      limits of such policies will not be added
     Coverage any damages:                                              together to determine the most that may be
     1. that have already been paid to or for the insured:              paid; and
          a. by or on behalf of any person or organiza-           b. the maximum amount that may be paid
               tion who is or may be held legally liable                from all such policies combined is the sin-
               for the bodily injury to the insured; or                 gle highest applicable limit provided by any
                                                                        one of the policies. We may choose one or
          b. for bodily injury under Liability Coverage                 more policies from which to make payment.
               of any policy issued by the State Farm
               Companies to you or any resident relative;      2. The Uninsured Motor Vehicle Coverage pro-
                                                                  vided by this policy applies as primary cover-
     2. that:                                                     age for an insured who sustains bodily injury
          a. have already been paid;                              while occupying your car.
          b. could have been paid; or                             If uninsured motor vehicle coverage is provid-
          c. could be paid                                        ed on a primary basis by one or more other
          to or for the insured under any workers com-           sources, then we will pay the proportion of
          pensation law, disability benefits law, or similar      damages that the applicable limit of this policy
          law; or                                                 bears to the total of all uninsured motor vehicle
     3. that have already been paid as expenses under             coverage that applies as primary coverage.
          No-Fault Coverage or Medical Payments Cov-           3. Except as provided in 2. above, the Uninsured
          erage of this policy, the no-fault coverage or          Motor Vehicle Coverage provided by this pol-
          medical payments coverage of any other pol-             icy applies as excess coverage for an insured
          icy, or other similar vehicle insurance.                who sustains bodily injury.
     Exclusions                                                   If uninsured motor vehicle coverage is provid-
     THERE IS NO COVERAGE:                                        ed on an excess basis by one or more other
     1. FOR AN INSURED WHO, WITHOUT OUR                           sources, then we will pay the proportion of
          WRITTEN CONSENT, SETTLES WITH ANY                       damages that the applicable limit of this policy
          PERSON OR ORGANIZATION WHO MAY                          bears to the total of all uninsured motor vehicle
          BE LIABLE FOR THE BODILY INJURY;                        coverage that applies as excess coverage.
     2. TO THE EXTENT IT BENEFITS:                             4. If Uninsured Motor Vehicle Coverage provided
          a. ANY WORKERS COMPENSATION OR                         by this policy and one or more other vehicle
               DISABILITY BENEFITS INSURANCE                      policies issued to you or any resident relative
               COMPANY;                                           by the State Farm Companies apply to the
          b. A SELF-INSURER UNDER ANY                             same bodily injury, then we may choose one or
               WORKERS COMPENSATION LAW,                         more policies from which to make payment.
               DISABILITY BENEFITS LAW, OR SIM-                Our Payment Options
               ILAR LAW; OR
          c. ANY GOVERNMENT OR ANY OF ITS                      We may, at our option, make payment to one or
               POLITICAL          SUBDIVISIONS          OR     more of the following:
               AGENCIES; OR                                    1. The insured;
     3. FOR PUNITIVE OR EXEMPLARY DAM-                         2. The insureds surviving spouse;
          AGES.
     If Other Uninsured Motor Vehicle Coverage Applies         3. A parent or guardian of the insured, if the in-
                                                                  sured is a minor or an incompetent person; or
     1. If Uninsured Motor Vehicle Coverage provided
          by this policy and one or more other vehicle         4. A person authorized by law to receive such
          policies issued to you or any resident relative         payment.


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                                  UNINSURED MOTOR VEHICLE COVERAGE
                                             (Non-Stacking)
     This policy provides Uninsured Motor Vehicle                         c. that causes bodily injury to the insured.
     Coverage if U3 is shown under SYMBOLS on                    Uninsured Motor Vehicle does not include a land
     the Declarations Page.                                          motor vehicle or trailer:
     Additional Definitions                                          1. whose ownership, maintenance, or use is pro-
     Insured means:                                                       vided Liability Coverage by this policy. How-
     1. you;                                                              ever, any such vehicle will be deemed to be an
     2. resident relatives;                                               uninsured motor vehicle for bodily injury sus-
                                                                          tained by you or a resident relative while the
     3. any other person while occupying:                                 vehicle is being operated by a person other
          a. your car;                                                    than you or a resident relative;
          b. a newly acquired car;                                   2. owned by, rented to, or furnished or availa-
          c. a temporary substitute car; or                               ble for the regular use of you or a resident
                                                                          relative;
          d. a trailer attached to a car described in a.,
                b., or c. above.                                     3. designed for use primarily off public roads
                                                                          except while on public roads;
          Such vehicle must be used with your express or             4. while located for use as a dwelling or other
          implied permission. Such other person occu-                     premises; or
          pying a vehicle used to carry persons for a
          charge is not an insured; and                              5. whose owner or operator could have been reason-
     4. any person entitled to recover compensatory                       ably identified.
          damages as a result of bodily injury to an in-             Insuring Agreement
          sured as defined in 1., 2., and 3. above.                  1. We will pay compensatory damages for bodily
     Uninsured Motor Vehicle means a land motor vehicle                   injury an insured is legally entitled to recover
     and a trailer attached to such land motor vehicle:                   from the owner or driver of an uninsured mo-
     1. the ownership, maintenance, and use of which is:                  tor vehicle.
          a. neither insured, nor self-insured, nor bonded           2. The bodily injury for which we will pay com-
                for bodily injury liability at the time of the            pensatory damages must be:
                accident; or                                              a. sustained by an insured;
          b. insured, self-insured, or bonded for bodily                  b. caused by an accident that involves the op-
                injury liability at the time of the accident;                  eration, maintenance, or use of an unin-
                but                                                            sured motor vehicle; and
                (1) the limits are less than required by the              c. a serious injury as described in section
                      financial responsibility act of the state of             627.737(2) of the Florida Insurance Code
                      Florida;
                                                                               before we will pay for damages consisting
                (2) the limits of liability of the insurance,                  of pain, suffering, mental anguish, or in-
                      self-insurance, or bond are less than                    convenience.
                      the damages for bodily injury sus-
                      tained by the insured; or                      Consent to Settlement
                (3) the entity providing the financial re-           The insured must inform us of a settlement offer, if
                      sponsibility:                                  any, proposed by or on behalf of the owner or driver of
                      (a) denies that it provides liability cov-     the uninsured motor vehicle, and the insured must
                           erage for compensatory damages            request our written consent to accept such settlement
                           that result from the accident; or         offer.
                      (b) is or becomes insolvent; or                If we:
     2. the owner or driver:                                         1. consent in writing, then the insured may accept
                                                                          such settlement offer.
          a. of which could not reasonably have been                 2. inform the insured in writing that we do not
                identified;                                               consent, then the insured may not accept such
          b. remains unknown; and                                         settlement offer and:

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         a.    we will make payment to the insured in an      Nonduplication
               amount equal to such settlement offer. This    We will not pay under Uninsured Motor Vehicle
               payment is considered a payment made by        Coverage any damages:
               or on behalf of the owner or driver of the
               uninsured motor vehicle; and                   1. that have already been paid to or for the insured:
          b. any recovery from or on behalf of the                a. by or on behalf of any person or organiza-
               owner or driver of the uninsured motor                  tion who is or may be held legally liable
               vehicle shall first be used to repay us.                for the bodily injury to the insured; or
     Deciding Fault and Amount                                    b. for bodily injury under Liability Cover-
     1. The insured and we must agree to the answers                   age of any policy issued by the State
          to the following two questions:                              Farm Companies to you or any resident
                                                                       relative;
          a. Is the insured legally entitled to recover       2. that:
               compensatory damages from the owner or
               driver of the uninsured motor vehicle?             a. have already been paid;
          b. If the insured and we agree that the answer          b. could have been paid; or
               to 1.a. above is yes, then what is the             c. could be paid
               amount of the compensatory damages that
               the insured is legally entitled to recover         to or for the insured under any workers compen-
               from the owner or driver of the uninsured          sation law, disability benefits law, or similar law; or
               motor vehicle?                                 3. that have already been paid as expenses under
     2. If there is no agreement on the answer to either          No-Fault Coverage or Medical Payments Cov-
          question in 1. above, then the disagreement             erage of this policy, the no-fault coverage or
          shall be resolved by mediation, arbitration, or         medical payments coverage of any other poli-
          litigation as outlined in the Mediation, Arbi-          cy, or other similar vehicle insurance.
          tration, and Legal Action Against Us provi-         Exclusions
          sions under GENERAL TERMS.
                                                              THERE IS NO COVERAGE:
     Limits
                                                              1. FOR AN INSURED WHO, WITHOUT OUR
     The Uninsured Motor Vehicle Coverage limits are              WRITTEN CONSENT, SETTLES WITH ANY
     shown on the Declarations Page under Uninsured              PERSON OR ORGANIZATION WHO MAY BE
     Motor Vehicle Coverage  Bodily Injury Limits               LIABLE FOR THE BODILY INJURY;
     Each Person, Each Accident.                             2. FOR AN INSURED WHO SUSTAINS BOD-
     The limit shown under Each Person is the most              ILY INJURY:
     we will pay for the sum of:                                  a. WHILE OCCUPYING A VEHICLE
     1. all damages resulting from bodily injury to any                OWNED BY YOU OR ANY RESIDENT
          one insured injured in any one accident; and                 RELATIVE IF IT IS NOT YOUR CAR
                                                                       OR A NEWLY ACQUIRED CAR; OR
     2. all damages, including damages for emotional              b. THROUGH BEING STRUCK BY A VE-
          distress, sustained by other insureds as a direct            HICLE OWNED BY ANY RESIDENT
          result of that bodily injury.                                RELATIVE.
     The limit shown under Each Accident is the most            This exclusion does not apply to the first per-
     we will pay, subject to the limit for Each Person,         son shown as a named insured on the Declara-
     for all damages and all emotional distress resulting         tions Page and that named insureds spouse
     from bodily injury to two or more insureds who               who resides primarily with that named insured,
     sustained damages or emotional distress in the same          while occupying or through being struck by a
     accident.                                                    motor vehicle not owned by one or both of
                                                                  them;
     These Uninsured Motor Vehicle Coverage limits are        3. TO THE EXTENT IT BENEFITS:
     the most we will pay regardless of the number of:
     1. insureds;                                                 a. ANY WORKERS COMPENSATION OR
                                                                       DISABILITY BENEFITS INSURANCE
     2. claims made;                                                   COMPANY;
     3. vehicles insured; or                                      b. A SELF-INSURER UNDER ANY
     4. vehicles involved in the accident.                             WORKERS COMPENSATION LAW,

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               DISABILITY BENEFITS LAW, OR SIM-                        (2) uninsured motor vehicle coverage
               ILAR LAW; OR                                                 provided by one or more sources other
          c. ANY GOVERNMENT OR ANY OF ITS                                   than the State Farm Companies also
               POLITICAL          SUBDIVISIONS          OR                  applies as primary coverage for the
               AGENCIES; OR                                                 same accident,
     4. FOR PUNITIVE OR EXEMPLARY DAM-                                 then the State Farm Companies will pay
          AGES.                                                        the proportion of damages payable as pri-
                                                                       mary that the maximum amount that may
     If Other Uninsured Motor Vehicle Coverage Applies                 be paid by the State Farm Companies as
     1. If Uninsured Motor Vehicle Coverage provided                   determined in 1. above bears to the sum of
          by this policy and one or more other vehicle                 such amount and the limits of all other un-
          policies issued to you or any resident relative              insured motor vehicle coverage that apply
          by the State Farm Companies apply to the                     as primary coverage.
          same bodily injury, then:
          a. the Uninsured Motor Vehicle Coverage             3.   Except as provided in 2. above, the Uninsured
                                                                   Motor Vehicle Coverage provided by this poli-
               limits of such policies will not be added           cy applies as excess coverage.
               together to determine the most that may be
               paid; and                                           a. If:
          b. the maximum amount that may be paid                       (1) this is the only vehicle policy issued
                                                                            to you or any resident relative by the
               from all such policies combined is the sin-                  State Farm Companies that provides
               gle highest applicable limit provided by                     Uninsured Motor Vehicle Coverage
               any one of the policies. We may choose                       which applies to the accident as ex-
               one or more policies from which to make                      cess coverage; and
               payment.                                                (2) uninsured motor vehicle coverage
     2. The Uninsured Motor Vehicle Coverage pro-                           provided by one or more sources other
          vided by this policy applies as primary cover-                    than the State Farm Companies also
          age for an insured who sustains bodily injury                     applies as excess coverage for the
          while occupying your car.                                         same accident,
          a. If:                                                       then we will pay the proportion of damag-
               (1) this is the only vehicle policy issued              es payable as excess that our applicable
                    to you or any resident relative by the             limit bears to the sum of our applicable
                    State Farm Companies that provides                 limit and the limits of all other uninsured
                    Uninsured Motor Vehicle Coverage                   motor vehicle coverage that apply as ex-
                    which applies to the accident as pri-              cess coverage.
                    mary coverage; and
                                                                   b. If:
               (2) uninsured motor vehicle coverage                    (1) more than one vehicle policy issued to
                    provided by one or more sources other                   you or any resident relative by the State
                    than the State Farm Companies also
                    applies as primary coverage for the                     Farm Companies provides Uninsured
                                                                            Motor Vehicle Coverage which applies to
                    same accident,                                          the accident as excess coverage; and
               then we will pay the proportion of dam-                 (2) uninsured motor vehicle coverage pro-
               ages payable as primary that our applica-                    vided by one or more sources other than
               ble limit bears to the sum of our applicable                 the State Farm Companies also applies
               limit and the limits of all other uninsured                  as excess coverage for the same accident,
               motor vehicle coverage that apply as pri-
               mary coverage.                                          then the State Farm Companies will pay
          b. If:                                                       the proportion of damages payable as ex-
                                                                       cess that the maximum amount that may
               (1) more than one vehicle policy issued to              be paid by the State Farm Companies as
                    you or any resident relative by the
                    State Farm Companies provides Un-                  determined in 1. above bears to the sum of
                    insured Motor Vehicle Coverage                     such amount and the limits of all other un-
                    which applies to the accident as pri-              insured motor vehicle coverage that apply
                    mary coverage; and                                 as excess coverage.
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     Our Payment Options                                     3.   A parent or guardian of the insured, if the
     We may, at our option, make payment to one or                insured is a minor or an incompetent person;
     more of the following:                                       or
     1. The insured;                                         4.   A person authorized by law to receive such
     2. The insureds surviving spouse;                           payment.




                                    PHYSICAL DAMAGE COVERAGES
     The physical damage coverages are Comprehensive         Daily Rental Charge means the sum of:
     Coverage, Collision Coverage, Emergency Road            1. the daily rental rate;
     Service Coverage, and Car Rental and Travel Ex-
     penses Coverage.                                        2. mileage charges; and
     This policy provides:                                   3. related taxes.
     1. Comprehensive Coverage if D;                       Insured means you and resident relatives.
     2. Collision Coverage if G;                           Loss means:
     3. Emergency Road Service Coverage if H;              1. direct, sudden, and accidental damage to; or
     4. Car Rental and Travel Expenses Coverage if R1      2. total or partial theft of
     is shown under SYMBOLS on the Declarations Page.      a covered vehicle. Loss does not include any re-
                                                             duction in the value of any covered vehicle after it
     If a deductible applies to Comprehensive Coverage,      has been repaired, as compared to its value before it
     then it is shown on the Declarations Page. The de-      was damaged.
     ductible that applies to Collision Coverage is shown
     on the Declarations Page.                               Loss Caused By Collision means a loss caused by:
     Additional Definitions                                  1. a covered vehicle hitting or being hit by an-
                                                                   other vehicle or another object; or
     Covered Vehicle means:
     1. your car;                                            2. the overturning of a covered vehicle.
     2. a newly acquired car;                                Any loss caused by missiles, falling objects, wind-
                                                             storm, hail, fire, explosion, earthquake, water, flood,
     3. a temporary substitute car;                          total or partial theft, malicious mischief, vandalism,
     4. a camper that is designed to be mounted on a         riot, civil commotion, or hitting or being hit by a bird
          pickup truck and shown on the Declarations Page;   or an animal is not a Loss Caused By Collision.
     5. a non-owned car while it is:                         Non-Owned Camper means a camper designed to
                                                             be mounted on a pickup truck that is in the lawful
          a. being driven by an insured; or                  possession of an insured and that neither:
          b. in the custody of an insured if at the time     1. is owned by:
               of the loss it is:
                                                                   a. an insured;
               (1) not being driven; or
                                                                   b. any other person who resides primarily in
               (2) being driven by a person other than an               your household; or
                    insured and being occupied by an in-           c. an employer of any person described in a.
                    sured;                                              or b. above; nor
     6. a non-owned trailer while it is being used by        2. has been used by, rented by, or in the posses-
          an insured; and                                          sion of an insured during any part of each of
     7. a non-owned camper while it is being used by               the 31 or more consecutive days immediately
          an insured;                                              prior to the date of the loss.
     including its parts and its equipment that are com-     Non-Owned Trailer means a trailer that is in the
     mon to the use of the vehicle as a vehicle. How-        lawful possession of an insured and that neither:
     ever, parts and equipment of trailers and campers       1. is owned by:
     must be securely fixed as a permanent part of the
     trailer or camper.                                            a. an insured;
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         b.   any other person who resides primarily in                a.  up to one hour of labor to repair a covered
              your household; or                                           vehicle at the place of its breakdown;
         c. an employer of any person described in a.                  b. towing to the nearest repair facility where
              or b. above; nor                                             necessary repairs can be made if a covered
     2. has been used by, rented by, or in the posses-                     vehicle is not drivable;
         sion of an insured during any part of each of                 c. towing a covered vehicle out of a location
         the 31 or more consecutive days immediately                       where it is stuck if the vehicle is on or
         prior to the date of the loss.                                    immediately next to a public road;
     Insuring Agreements                                               d. delivery of gas, oil, battery, or tire neces-
     1. Comprehensive Coverage                                             sary to return a covered vehicle to driving
                                                                           condition. We do not pay the cost of the
         a. We will pay for loss, except loss caused by                    gas, oil, battery, or tire; and
              collision, to a covered vehicle.
                                                                       e. up to one hour of labor for locksmith serv-
         b. We will pay transportation expenses in-                        ices to unlock a covered vehicle if its key
              curred by an insured as a result of the total                is lost, stolen, or locked inside the vehicle.
              theft of your car or a newly acquired car.          4.   Car Rental and Travel Expenses Coverage
              These transportation expenses are payable:
              (1) during the period that:                              a. Car Rental Expense
                   (a) starts on the date you report the                   We will pay the daily rental charge in-
                        theft to us; and                                   curred when an insured rents a car from a
                                                                           car business while your car or a newly
                   (b) ends on the earliest of:                            acquired car is:
                        (i) the date the vehicle is re-                    (1) not drivable; or
                              turned to your possession in                 (2) being repaired
                              a drivable condition;
                        (ii) the date we offer to pay for                  as a result of a loss which would be paya-
                              the loss if the vehicle has not              ble under Comprehensive Coverage or
                              yet been recovered; or                       Collision Coverage.
                        (iii) the date we offer to pay for                 We will pay this daily rental charge in-
                              the loss if the vehicle is re-               curred during a period that:
                              covered, but is a total loss as
                              determined by us; and                        (1) starts on the date:
              (2) during the period that:                                       (a) the vehicle is not drivable as a re-
                                                                                      sult of the loss; or
                   (a) starts on the date the vehicle is
                        left at a repair facility if the stolen                 (b) the vehicle is left at a repair facility
                        vehicle is recovered, returned to                             if the vehicle is drivable; and
                        your possession in a drivable
                        condition, and has unrepaired                      (2) ends on the earliest of:
                        damage that resulted from the to-                       (a) the date the vehicle has been re-
                        tal theft; and                                                paired or replaced;
                   (b) ends on the date the vehicle is re-                      (b) the date we offer to pay for the loss
                        paired.                                                       if the vehicle is repairable but you
              These transportation expenses must be re-                               choose to delay repairs; or
              ported to us before we will pay such in-
              curred expenses.                                                  (c) seven days after we offer to pay
                                                                                      for the loss if the vehicle is:
         c. The deductible does not apply to damage
              to the windshield of any covered vehicle.                               (i) a total loss as determined by
     2. Collision Coverage                                                                  us; or
         We will pay for loss caused by collision to a                                (ii) stolen and not recovered.
         covered vehicle.                                                  The amount of any such daily rental
     3. Emergency Road Service Coverage                                    charge incurred by an insured must be re-
         We will pay the fair cost incurred by an in-                      ported to us before we will pay such
         sured for:                                                        amount.
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         b.   Travel Expenses                                            the owner of the covered vehicle, if the cov-
              We will pay expenses for commercial                        ered vehicle is not drivable;
              transportation, lodging, and meals if your         2. store the covered vehicle, if it is not drivable
              car or a newly acquired car is not drivable           immediately after the loss, at:
              as a result of a loss which would be pay-             a. any one repair facility or commercial stor-
              able under Comprehensive Coverage or                       age facility, neither of which was chosen
              Collision Coverage. The loss must occur                    by an insured or the owner of the covered
              more than 50 miles from your home. We                      vehicle; and
              will only pay these expenses if they are in-
              curred by:                                            b. any one repair facility chosen by the owner
              (1) an insured during the period that:                     of the covered vehicle, and we determine
                                                                         such vehicle is a total loss.
                    (a) starts after the loss occurs; and           If the owner of the covered vehicle consents,
                    (b) ends on the earlier of:                     then we may move the covered vehicle at our
                         (i) the insureds arrival at his or        expense to reduce storage costs. If the owner
                              her destination or home if the        of the covered vehicle does not consent, then
                              vehicle is left behind for re-        we will pay only the storage costs that would
                              pairs; or                             have resulted if we had moved the damaged
                                                                    covered vehicle; and
                         (ii) the repair of the vehicle if the   3. clean up debris from the covered vehicle at the
                              insured waits for repairs be-         location of the loss. The most we will pay to
                              fore continuing on to his or          clean up the debris is $250 for any one loss.
                              her destination or returning
                              home; and                          Limits and Loss Settlement  Comprehensive
              (2) you, or any person you choose, to              Coverage and Collision Coverage
                    travel to retrieve the vehicle and drive     1. We have the right to choose to settle with you
                    it to either the original destination or        or the owner of the covered vehicle in one of
                    your home if the vehicle was left be-           the following ways:
                    hind for repairs.                               a. Pay the cost to repair the covered vehicle
              These expenses must be reported to us be-                  minus any applicable deductible.
              fore we will pay such incurred expenses.                   (1) We have the right to choose one of the
          c. Rental Car  Repayment of Deductible                             following to determine the cost to re-
              Expense                                                         pair the covered vehicle:
              We will pay the comprehensive coverage                          (a) The cost agreed to by both the
              deductible or collision coverage deductible                          owner of the covered vehicle and
              an insured is required to pay the owner of                           us;
              a car rented from a car business.                               (b) A bid or repair estimate approved
     Supplementary Payments  Comprehensive                                        by us; or
     Coverage and Collision Coverage                                          (c) A repair estimate that is written
     If the covered vehicle sustains loss for which we                             based upon or adjusted to:
     make a payment under Comprehensive Coverage or                                (i) the prevailing competitive
     Collision Coverage, then we will pay reasonable                                     price;
     expenses incurred to:
     1. tow the covered vehicle immediately after the loss:                        (ii) the lower of paintless dent
                                                                                         repair pricing established by
          a. for a reasonable distance from the location of                              an agreement we have with a
              the loss to any one repair facility chosen by                              third party or the paintless
              an insured or the owner of the covered vehi-                               dent repair price that is com-
              cle, if the covered vehicle is not drivable; or                            petitive in the market; or
          b. to any one repair facility or commercial stor-                        (iii) a combination of (i) and (ii)
              age facility, neither of which was chosen by                               above.
              an insured or the owner of the covered ve-                           The prevailing competitive price
              hicle. We will also pay reasonable expenses                          means prices charged by a ma-
              incurred to tow the covered vehicle for a                            jority of the repair market in the
              reasonable distance from this facility to any                        area where the covered vehicle is
              one repair facility chosen by an insured or                          to be repaired as determined by a
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                      survey made by us. If asked, we                       (c) Each party will pay the cost of its
                      will identify some facilities that                         own appraiser, attorneys, and ex-
                      will perform the repairs at the                            pert witnesses, as well as any other
                      prevailing competitive price. The                          expenses incurred by that party.
                      estimate will include parts suffi-                         Both parties will share equally the
                      cient to restore the covered vehi-                         cost of the third appraiser.
                      cle to its pre-loss condition.                        (d) The appraisers shall only deter-
                 You agree with us that the repair esti-                         mine the actual cash value of the
                 mate may include new, used, recycled,                           covered vehicle. Appraisers shall
                 and reconditioned parts. Any of these                           have no authority to decide any
                 parts may be either original equipment                          other questions of fact, decide
                 manufacturer parts or non-original                              any questions of law, or conduct
                 equipment manufacturer parts.                                   appraisal on a class-wide or class-
                 You also agree that replacement glass                           representative basis.
                 need not have any insignia, logo,                          (e) A written appraisal that is both
                 trademark, etching, or other marking                            agreed upon by and signed by any
                 that was on the replaced glass.                                 two appraisers, and that also con-
             (2) The cost to repair the covered vehicle                          tains an explanation of how they
                 does not include any reduction in the                           arrived at their appraisal, will be
                 value of the covered vehicle after it                           binding on the owner of the cov-
                 has been repaired, as compared to its                           ered vehicle and us.
                 value before it was damaged.                               (f) We do not waive any of our rights
             (3) If the repair or replacement of a part                          by submitting to an appraisal.
                 results in betterment of that part, then               (4) The damaged covered vehicle must be
                 you or the owner of the covered vehi-                      given to us in exchange for our pay-
                 cle must pay for the amount of the                         ment, unless we agree that the owner
                 betterment.                                                may keep it. If the owner keeps the
             (4) If you and we agree, then windshield                       covered vehicle, then our payment
                 glass will be repaired instead of replaced;                will be reduced by the value of the
                                                                            covered vehicle after the loss; or
        b.   Pay the actual cash value of the covered
             vehicle minus any applicable deductible.             c. Return the stolen covered vehicle to its
                                                                        owner and pay, as described in 1.a. above,
             (1) The owner of the covered vehicle and                   for any direct, sudden, and accidental
                 we must agree upon the actual cash                     damage that resulted from the theft.
                 value of the covered vehicle. If there is
                 disagreement as to the actual cash value      2. The most we will pay for transportation ex-
                 of the covered vehicle, then the disa-           penses under Comprehensive Coverage is
                 greement will be resolved by mediation           $25 per day subject to an aggregate limit of
                 or appraisal. Either the owner or we             $750 per loss.
                 may request mediation or appraisal.           3. The most we will pay for loss to a non-owned
             (2) Mediation will follow the rules outlined         trailer or a non-owned camper is $2,500.
                 in this policy, found under Mediation,        Limits  Car Rental and Travel Expenses Coverage
                 in the section titled GENERAL                 1. Car Rental Expense
                 TERMS.
             (3) Appraisal will follow the rules and pro-         The limit for Car Rental Expense is shown on
                 cedures as listed below:                         the Declarations Page under Limit  Car
                                                                  Rental Expense  Each Day, Each Loss.
                 (a) The owner and we will each se-               a. The limit shown under Each Day is the
                      lect a competent appraiser.                       most we will pay for the daily rental
                 (b) The two appraisers will select a                   charge. If:
                      third competent appraiser. If they                (1) a dollar amount is shown, then we will
                      are unable to agree on a third ap-                    pay the daily rental charge up to that
                      praiser within 30 days, then either                   dollar amount; or
                      the owner or we may petition a                    (2) a percentage amount is shown, then we
                      court that has jurisdiction to se-                    will pay that percentage of the daily
                      lect the third appraiser.                             rental charge.

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         b.    Subject to the Each Day limit, the limit    6.  ANY COVERED VEHICLE TO THE EX-
               shown under Each Loss is the most we            TENT OUR PAYMENT WOULD BENEFIT
               will pay for Car Rental Expense incurred          ANY CARRIER OR OTHER BAILEE FOR
               as a result of any one loss.                      HIRE THAT IS LIABLE FOR LOSS TO
     2. Travel Expenses                                          SUCH COVERED VEHICLE;
          The most we will pay for Travel Expenses in-       7. LOSS TO ANY COVERED VEHICLE DUE
          curred by all insureds as a result of any one          TO FUNGI. THIS APPLIES REGARDLESS
          loss is $500.                                          OF WHETHER OR NOT THE FUNGI RE-
                                                                 SULT FROM A LOSS THAT IS PAYABLE
     3. Rental Car  Repayment of Deductible Expense             UNDER ANY OF THE PHYSICAL DAM-
          The most we will pay for Rental Car  Repay-           AGE COVERAGES. WE WILL ALSO NOT
          ment of Deductible Expense incurred as a re-           PAY FOR ANY TESTING OR REMEDIATION
          sult of any one loss is $500.                          OF FUNGI, OR ANY ADDITIONAL COSTS
                                                                 REQUIRED TO REPAIR ANY COVERED
     Nonduplication                                              VEHICLE THAT ARE DUE TO THE EX-
     We will not pay for any loss or expense under the           ISTENCE OF FUNGI;
     Physical Damage Coverages for which the insured         8. LOSS TO ANY COVERED VEHICLE THAT
     or owner of the covered vehicle has already received        RESULTS FROM:
     payment from, or on behalf of, a party who is legally
     liable for the loss or expense.                             a. NUCLEAR REACTION;
     Exclusions                                                  b. RADIATION OR RADIOACTIVE CON-
                                                                    TAMINATION FROM ANY SOURCE; OR
     THERE IS NO COVERAGE FOR:
                                                                 c. THE ACCIDENTAL OR INTENTIONAL
     1. ANY COVERED VEHICLE THAT IS:                                DETONATION OF, OR RELEASE OF
          a. INTENTIONALLY DAMAGED; OR                              RADIATION FROM, ANY NUCLEAR
                                                                    OR RADIOACTIVE DEVICE;
          b. STOLEN
                                                             9. LOSS TO ANY COVERED VEHICLE THAT
          BY OR AT THE DIRECTION OF AN IN-                       RESULTS FROM THE TAKING OF OR SEI-
          SURED;                                                 ZURE OF THAT COVERED VEHICLE BY
     2. ANY COVERED VEHICLE WHILE IT IS                          ANY GOVERNMENTAL AUTHORITY;
          RENTED TO OR LEASED TO OTHERS BY                   10. LOSS TO ANY COVERED VEHICLE THAT
          AN INSURED;                                            RESULTS FROM WAR OF ANY KIND;
     3. ANY COVERED VEHICLE WHILE IT IS                      11. YOUR CAR WHILE SUBJECT TO ANY:
          USED TO CARRY PERSONS FOR A
          CHARGE. This exclusion does not apply to the           a. LIEN AGREEMENT;
          use of a private passenger car on a share-the-         b. RENTAL AGREEMENT;
          expense basis;
                                                                 c. LEASE AGREEMENT; OR
     4. ANY COVERED VEHICLE DUE TO:
                                                                 d. SALES AGREEMENT
          a. THEFT;
                                                                 NOT SHOWN ON THE DECLARATIONS
          b. CONVERSION;                                         PAGE;
          c. EMBEZZLEMENT; OR                                12. ANY NON-OWNED CAR WHILE IT IS:
          d. SECRETION                                           a. BEING MAINTAINED OR USED BY
          BY AN INSURED, A CONSIGNEE, AN                            ANY PERSON WHILE THAT PERSON
          AGENT OF A CONSIGNEE, OR A PERSON                         IS EMPLOYED IN OR ENGAGED IN
          WHO OBTAINS POSSESSION OF THE                             ANY WAY IN A CAR BUSINESS; OR
          COVERED VEHICLE WITH THE PERMIS-                       b. USED IN ANY BUSINESS OR OCCU-
          SION OF A CONSIGNEE OR AGENT OF A                         PATION OTHER THAN A CAR BUSI-
          CONSIGNEE;                                                NESS. This exclusion (12.b.) does not
     5. LOSS TO YOUR CAR OR A NEWLY AC-                             apply to a private passenger car;
          QUIRED CAR IF AN INSURED VOLUN-                    13. ANY PART OR EQUIPMENT OF A COVERED
          TARILY RELINQUISHES POSSESSION OF                      VEHICLE IF THAT PART OR EQUIPMENT:
          THAT CAR TO A PERSON OR ORGANIZA-
          TION UNDER AN ACTUAL OR PRE-                           a. FAILS OR IS DEFECTIVE; OR
          SUMED SALES AGREEMENT;                                 b. IS DAMAGED AS A DIRECT RESULT OF:

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              (1) WEAR AND TEAR;                                 c.   NOT SHOWN ON THE DECLARA-
              (2) FREEZING; OR                                        TIONS PAGE; OR
              (3) MECHANICAL, ELECTRICAL, OR                 19. ANY COVERED VEHICLE WHILE IT IS:
                   ELECTRONIC BREAKDOWN OR                       a. BEING PREPARED FOR, USED IN
                   MALFUNCTION                                        PRACTICE FOR, OR OPERATED IN
              OF THAT PART OR EQUIPMENT.                              ANY RACING CONTEST, SPEED
                                                                      CONTEST, HILL-CLIMBING CON-
         This exclusion does not apply if the loss is the             TEST, JUMPING CONTEST, OR ANY
         result of theft of the covered vehicle;                      SIMILAR CONTEST; OR
     14. ANY PART OR EQUIPMENT:                                  b. ON A TRACK DESIGNED PRIMARILY
                                                                      FOR RACING OR HIGH-SPEED DRIV-
         a. THAT IS NOT LEGAL FOR USE IN OR                           ING. This exclusion (19.b.) does not apply if
              ON THE COVERED VEHICLE IN THE                           the vehicle is being used in connection with
              JURISDICTION WHERE THE COV-                             an activity other than racing, high-speed
              ERED VEHICLE IS REGISTERED; OR                          driving, or any type of competitive driving.
         b. THE USE OF WHICH IS NOT LEGAL                    If Other Physical Damage Coverage or Similar
              IN THE JURISDICTION WHERE THE                  Coverage Applies
              COVERED VEHICLE IS REGISTERED                  1. If the same loss or expense is payable under
              BECAUSE OF HOW OR WHERE THAT                       more than one of the physical damage coverages
              PART OR EQUIPMENT IS INSTALLED                     provided by this policy, then only the one cover-
              IN OR ON THE COVERED VEHICLE.                      age that pays the most for that loss or expense
         However, if there is a legal version of the part        applies.
         or equipment that is necessary for the safe op-     2. If any of the physical damage coverages pro-
         eration of the covered vehicle, then we will pay        vided by this policy and one or more other pol-
         the cost that we would otherwise have paid to           icies issued to an insured by the State Farm
         repair the vehicle with the legal version of the        Companies apply to the same loss or expense,
         part or equipment. We will not pay any cost             then only one policy applies. We will select a
         necessary to modify the vehicle for installation        policy that pays the most for the loss or ex-
         of the legal version of the part or equipment;          pense.
     15. TIRES. This exclusion does not apply if:            3. The physical damage coverages provided by
         a. loss is caused by missiles, falling objects,         this policy apply as primary coverage for a loss
              windstorm, hail, fire, explosion, earth-           to your car.
              quake, water, flood, total or partial theft,       If similar coverage provided by one or more
              malicious mischief, vandalism, riot, civil         sources other than the State Farm Companies
              commotion, or hitting or being hit by a            also applies as primary coverage for the same loss
              bird or an animal; or                              or expense, then the State Farm Companies will
         b. loss caused by collision to another part of          pay the proportion of the loss or expense payable
              the covered vehicle causes loss to tires;          as primary that the maximum amount that may be
     16. REMOVABLE PRODUCTS USED FOR                             paid by the State Farm Companies bears to the
         STORAGE OF AUDIO, VIDEO, OR OTHER                       sum of such amount and the limits of all other
                                                                 similar coverage that applies as primary coverage.
         DATA, INCLUDING BUT NOT LIMITED TO
         TAPES, DISCS, AND MEMORY CARDS,                     4. Except as provided in 3. above, the physical
         NOR IS THERE COVERAGE FOR THE RE-                       damage coverages provided by this policy apply
         CONSTRUCTION OF DATA CONTAINED                          as excess coverage.
         THEREIN;                                                If similar coverage provided by one or more
     17. ANY EQUIPMENT USED TO DETECT OR                         sources other than the State Farm Companies
         INTERFERE WITH SPEED MEASURING                          also applies as excess coverage for the same
         DEVICES;                                                loss or expense, then the State Farm Compa-
     18. A CAMPER, INCLUDING ITS PARTS AND                       nies will pay the proportion of the loss or ex-
         ITS EQUIPMENT, THAT IS:                                 pense payable as excess that the maximum
                                                                 amount that may be paid by the State Farm
         a. DESIGNED TO BE MOUNTED ON A                          Companies bears to the sum of such amount and
              PICKUP TRUCK;                                      the limits of all other similar coverage that ap-
         b. OWNED BY AN INSURED; AND                             plies as excess coverage.

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     Financed Vehicle                                               a. We may, at our option, make payment to
     1. If a creditor is shown on the Declarations Page,               one or more of the following for loss to a
         then any Comprehensive Coverage or Collision                  covered vehicle owned by you:
         Coverage provided by this policy applies to                   (1) You;
         that creditors interest in your car. Coverage                (2) The repairer; or
         for the creditors interest is only provided for a
         loss that is payable to you.                                  (3) A creditor shown on the Declarations
         However, if this policy is cancelled or nonre-                      Page, to the extent of its interest.
         newed, then we will provide coverage for the               b. We may, at our option, make payment to one
         creditors interest until we notify the creditor of           or more of the following for loss to a covered
         the termination of such coverage. This coverage               vehicle not owned by you:
         for the creditors interest is only provided for a
         loss that would have been payable to you if this              (1) You;
         policy had not been cancelled or nonrenewed.                  (2) The owner of such vehicle;
         The date such termination is effective will be at
         least 10 days after the date we mail or electroni-            (3) The repairer; or
         cally transmit a notice of the termination to the             (4) A creditor, to the extent of its interest.
         creditor.                                             2.   Emergency Road Service Coverage and Car
     2. If we pay such creditor, then we are entitled to            Rental and Travel Expenses Coverage
         the creditors right of recovery against you to            We may, at our option, make payment to one or
         the extent of our payment. Our right of recov-             more of the following:
         ery does not impair the creditors right to re-
         cover the full amount of its claim.                        a. You;
     Our Payment Options                                            b. The insured who incurred the expense; or
     1. Comprehensive Coverage and Collision                        c. Any party that provided the service for
         Coverage                                                      which payment is owed.




                   DEATH, DISMEMBERMENT AND LOSS OF SIGHT COVERAGE
     This policy provides Death, Dismemberment and             The insured must be occupying or be struck as a
     Loss of Sight Coverage if S is shown under              pedestrian by a land motor vehicle or any type of
     SYMBOLS on the Declarations Page.                       trailer at the time of the accident. The death, dis-
     Additional Definition                                     memberment, or permanent loss of sight must occur
     Insured means a person whose name is shown under          within 90 days immediately following the date of the
     Death, Dismemberment and Loss of Sight Coverage          accident.
      Persons Insured on the Declarations Page.              Benefit
     Insuring Agreement                                        The applicable benefit shown in the schedule is the
     We will pay the highest applicable benefit shown in       most we will pay for any one insured in any one
     the following Death, Dismemberment and Loss of            accident. Any benefit paid or payable for dismem-
     Sight Benefits Schedules if an insured:                   berment or permanent loss of sight reduces the
     1. dies; or                                               death benefit.
     2. suffers dismemberment or permanent loss of             The benefits shown in the schedules are doubled for
          sight, as described in the schedule                  an insured who at the time of the accident was oc-
     as the direct result of an accident that involves the     cupying a private passenger car and using a seat
     use of a land motor vehicle or any type of trailer as a   belt in the manner recommended by the vehicles
     vehicle and not due to any other cause.                   manufacturer.

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                 Death, Dismemberment and                           (2) COURSE AND SCOPE OF HIS OR
               Loss of Sight Benefits Schedules                         HER EMPLOYMENT IN OTHER
     If the amount shown on the Declarations Page for the               THAN A CAR BUSINESS.
     insured is $5,000, then we will pay the applicable             This exclusion (2.b.) does not apply if the
     benefit shown below for death or for the described             vehicle is a private passenger car;
     dismemberment or permanent loss of sight:                   c. A MILITARY VEHICLE; OR
     Death                                        $5,000
                                                                 d. A VEHICLE WHILE IT IS:
     Loss of both hands; both feet; all sight of  $5,000
     both eyes; one hand and one foot; or one                       (1) BEING PREPARED FOR, USED IN
     hand or one foot and all sight of one eye                          PRACTICE FOR, OR OPERATED IN
     Loss of one hand or one foot; or all         $2,500                ANY RACING CONTEST, SPEED
     sight of one eye                                                   CONTEST, HILL-CLIMBING CON-
     Loss of the thumb and a finger on            $1,500                TEST, JUMPING CONTEST, OR ANY
     one hand; or any three fingers                                     SIMILAR CONTEST; OR
     Loss of any two fingers                      $1,000            (2) ON A TRACK DESIGNED PRIMARI-
     The hand must be cut off through or above the wrist.               LY FOR RACING OR HIGH-SPEED
     The foot must be cut off through or above the ankle.               DRIVING. This exclusion (2.d.(2)) does
     The whole thumb or finger must be cut off.                         not apply if the vehicle is being used in
     If the amount shown on the Declarations Page for the               connection with an activity other than
     insured is $10,000, then we will pay the applicable                racing, high-speed driving, or any type of
     benefit shown below for death or for the described                 competitive driving;
     dismemberment or permanent loss of sight:              3.   WHILE OCCUPYING, LOADING, UN-
     Death                                       $10,000         LOADING, OR WHO IS STRUCK AS A PE-
     Loss of both hands; both feet; all sight of $10,000         DESTRIAN BY:
     both eyes; one hand and one foot; or one                    a. A MOTOR VEHICLE THAT RUNS ON
     hand or one foot and all sight of one eye                      RAILS OR CRAWLER-TREADS;
     Loss of one hand or one foot; or all         $5,000         b. A MOTOR VEHICLE THAT IS DE-
     sight of one eye                                               SIGNED FOR USE PRIMARILY OFF
     Loss of the thumb and a finger on            $3,000            PUBLIC ROADS WHILE OFF PUBLIC
     one hand; or any three fingers                                 ROADS; OR
     Loss of any two fingers                      $2,000
                                                                 c. A MOTOR VEHICLE OR ANY TYPE OF
     The hand must be cut off through or above the wrist.           TRAILER, EITHER OF WHICH IS LO-
     The foot must be cut off through or above the ankle.           CATED FOR USE AS A DWELLING OR
     The whole thumb or finger must be cut off.                     OTHER PREMISES; OR
     Exclusions                                             4.   FOR DEATH, DISMEMBERMENT, AND
                                                                 LOSS OF SIGHT THAT RESULTS FROM:
     DEATH, DISMEMBERMENT AND LOSS OF
     SIGHT COVERAGE DOES NOT APPLY TO AN                         a. WAR OF ANY KIND;
     INSURED:                                                    b. NUCLEAR REACTION, RADIATION
                                                                    OR RADIOACTIVE CONTAMINA-
     1. WHILE IN THE COURSE AND SCOPE OF                            TION FROM ANY SOURCE, OR THE
         HIS OR HER EMPLOYMENT IN A CAR                             ACCIDENTAL OR INTENTIONAL
         BUSINESS;                                                  DETONATION OF, OR RELEASE OF
     2. WHILE OCCUPYING, LOADING, OR UN-                            RADIATION FROM, ANY NUCLEAR
                                                                    OR RADIOACTIVE DEVICE;
         LOADING:
                                                                 c. EXPOSURE TO FUNGI;
         a. AN EMERGENCY VEHICLE IN THE
             COURSE AND SCOPE OF HIS OR HER                      d. SUICIDE OR ATTEMPTED SUICIDE
             EMPLOYMENT;                                            REGARDLESS OF WHETHER THE IN-
                                                                    SURED WAS SANE OR INSANE; OR
         b. A VEHICLE, OTHER THAN AN EMER-
             GENCY VEHICLE, WHILE USED IN THE:                   e. DISEASE except pus-forming infection
                                                                    due to bodily injury sustained in the ac-
             (1) INSUREDS BUSINESS; OR                             cident.

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     Our Payment Options                                        3.   A parent or guardian of the insured, if the
     We may, at our option, make payment to one or                   insured is a minor or an incompetent person;
     more of the following:                                          or
     1. The insured;                                            4.   A person or organization authorized by law to
     2. The insureds surviving spouse;                              receive such payment.




                                                 INSUREDS DUTIES
     1.   Insureds Duty at the Time of an Accident or                  unless authorized by the terms of this policy.
          Loss                                                       c. Any person or organization making claim
          The insured must make a reasonable effort to                  under this policy must, when we require,
          identify:                                                     give us proof of loss on forms we furnish.
          a. the owners, operators, and passengers of the       5.   Questioning Under Oath
               vehicles involved in the accident or loss;            Under:
          b. the person or persons involved in the ac-               a. No-Fault Coverage, each insured making
               cident or loss; and                                      claim or seeking payment, must, at our op-
          c. the potential witnesses to the accident or loss.           tion:
     2.   Notice to Us of an Accident or Loss                           (1) submit to an examination under oath;
          The insured must give us or one of our agents                 (2) provide a statement under oath; or
          notice of the accident or loss as soon as reason-             (3) do both (1) and (2) above,
          ably possible. The notice must give us:
          a. your name;                                                 as often as we reasonably require. Such
                                                                        insured must answer questions under oath,
          b. the names and addresses of all persons in-                 asked by anyone we name, and sign copies
               volved in the accident or loss;                          of the answers. We may require each in-
          c. the hour, date, place, and facts of the acci-              sured answering questions under oath to
               dent or loss; and                                        answer the questions with only that in-
                                                                        sureds legal representative, our represent-
          d. the names and addresses of witnesses to                    atives, any person or persons designated
               the accident or loss.                                    by us to record the questions and answers,
     3.   Notice to Us of a Claim or Lawsuit                            and no other person present.
          a. If a claim is made against an insured, then                The scope of the questioning during the
               that insured must immediately send us                    examination under oath is limited to rele-
               every demand, notice, and claim received.                vant information or information that could
          b. If a lawsuit is filed against an insured, then             reasonably be expected to lead to relevant
               that insured must immediately send us every              information. Compliance with Question-
               summons and legal process received.                      ing Under Oath is a condition precedent
     4.   Insureds Duty to Cooperate With Us                           to receiving benefits.
          a. The insured must cooperate with us and,                 b. all other coverages, each insured making
               when asked, assist us in:                                claim or seeking payment, must, at our op-
                                                                        tion:
               (1) making settlements;                                  (1) submit to an examination under oath;
               (2) securing and giving evidence; and                    (2) provide a statement under oath; or
               (3) attending, and getting witnesses to at-              (3) do both (1) and (2) above,
                    tend, depositions, hearings, and trials.
          b. The insured must not, except at his or her                 as often as we reasonably require. Such
               own cost, voluntarily:                                   insured must answer questions under oath,
                                                                        asked by anyone we name, and sign copies
               (1) make any payment to others; or                       of the answers. We may require each in-
               (2) assume any obligation to others                      sured answering questions under oath to

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              answer the questions with only that in-                       report will be sent to the person upon
              sureds legal representative, our represent-                  written request.
              atives, any person or persons designated                      (a) Under No-Fault Coverage, if an
              by us to record the questions and answers,
              and no other person present.                                       insured unreasonably refuses to
                                                                                 submit to an examination, then
     6.   Other Duties Under the Physical Damage                                 we are no longer liable for subse-
          Coverages                                                              quent benefits. An insureds re-
          When there is a loss, you or the owner of the                          fusal to submit to, complete, or
          covered vehicle must:                                                  failure to appear at two examina-
          a. protect the covered vehicle from additional                         tions raises a rebuttable presump-
              damage. We will pay any reasonable ex-                             tion that the insureds refusal or
              pense incurred to do so that is reported to us;                    failure was unreasonable;
          b. make a prompt report to the police when                        (b) Under Medical Payments Cover-
              the loss is the result of theft or vandalism;                      age, Uninsured Motor Vehicle
          c. allow us to:                                                        Coverage, and Death, Dismem-
              (1) inspect any damaged property before                            berment and Loss of Sight Cover-
                   its repair or disposal;                                       age, if an insured unreasonably
              (2) test any part or equipment before that                         refuses to submit to an examina-
                   part or equipment is removed or re-                           tion, then we are not liable for
                   paired; and                                                   coverage benefits. An insureds
                                                                                 refusal to submit to, complete, or
              (3) move the covered vehicle at our ex-                            failure to appear at two examina-
                   pense in order to conduct such inspec-
                   tion or testing;                                              tions will be considered unrea-
                                                                                 sonable;
          d. provide us all:
                                                                        (3) provide written authorization for us to
              (1) records;                                                  obtain:
              (2) receipts; and                                             (a) medical bills;
              (3) invoices                                                  (b) medical records;
              that we request and allow us to make copies;                  (c) wage, salary, and employment in-
              and                                                                formation; and
          e. not abandon the covered vehicle to us.                         (d) any other information we deem nec-
     7.   Other Duties Under No-Fault Coverage,                                  essary to substantiate the claim.
          Medical Payments Coverage, Uninsured                              If an injured insured is a minor, una-
          Motor Vehicle Coverage, and Death, Dis-                           ble to act, or dead, then his or her legal
          memberment and Loss of Sight Coverage                             representative must provide us with
          An insured making claim under:                                    the written authorization.
          a. No-Fault Coverage, Medical Payments                            If the holder of the information re-
              Coverage, Uninsured Motor Vehicle Cov-                        fuses to provide it to us despite the au-
              erage, or Death, Dismemberment and Loss                       thorization, then at our request the
              of Sight Coverage must:                                       person making claim or his or her le-
              (1) notify us of the claim and give us all                    gal representative must obtain the in-
                   the details about the death, injury,                     formation and promptly provide it to
                   treatment, and other information that                    us; and
                   we may need as soon as reasonably                    (4) allow us to inspect the vehicle that the
                   possible after the injured insured is                    insured occupied in the accident;
                   first examined or treated for the inju-
                   ry. If the insured is unable to give us         b.   No-Fault Coverage or Medical Payments
                   notice, then any other person may                    Coverage must, at our request, submit
                   give us the required notice;                         documentation from the appropriate health-
              (2) submit to be examined as often as we                  care provider described in 1.A. or 1.B. un-
                   may reasonably require by physicians                 der the Insuring Agreement of this poli-
                   chosen and paid by us. A copy of the                 cys No-Fault Coverage, or described in

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               2.A. or 2.B. under the Insuring Agreement                  insured files a lawsuit against the party li-
               of this policys Medical Payments Coverage,                able for the accident; and
               confirming whether that healthcare provider           d.   Uninsured Motor Vehicle Coverage must
               determined the injured insured had, or did                 report an accident, involving a motor vehi-
               not have, an emergency medical condition;                  cle whose owner or driver remains un-
          c.   No-Fault Coverage and Uninsured Motor                      known, to the police within 24 hours or as
               Vehicle Coverage must send us immedi-                      soon as reasonably practicable, and to us
               ately a copy of all lawsuit papers if the                  within 30 days.




                                                  GENERAL TERMS
     1.   When Coverage Applies                                      c.   Death, Dismemberment and Loss of Sight
          The coverages provided by this policy are                       Coverage applies anywhere in the world.
          shown on the Declarations Page and apply to           3.   Limited Coverage in Mexico
          accidents and losses that occur during the poli-           This policy does not provide Mexican auto in-
          cy period. The policy period is shown on the               surance and does not comply with Mexican au-
          Declarations Page and is for successive periods            to insurance requirements. If you or any other
          of six months each for which the renewal pre-              insured plan to drive in Mexico, then auto in-
          mium is paid. The policy period begins and                 surance providing coverage in Mexico should
          ends at 12:01 AM Standard Time at the address              be purchased from a Mexican insurance com-
          shown on the Declarations Page.                            pany.
                                                                     Subject to the above paragraph, the following
     2.   Where Coverage Applies                                     coverages apply in Mexico, but only for acci-
          The coverages provided by this policy are                  dents and losses that occur in Mexico within 50
          shown on the Declarations Page.                            miles of the United States of America border
          a. Liability Coverage, Property Damage                     and only for insureds as defined under each of
                                                                     the following coverages:
               Liability Coverage, Medical Payments
               Coverage, Uninsured Motor Vehicle Cov-                a. Liability Coverage
               erage, and Physical Damage Coverages                       For claims brought against an insured in
               apply to accidents and losses that occur:                  Mexico, the Supplementary Payments
                                                                          provision of this policys Liability Cover-
               (1) in the United States of America and its                age is changed to read:
                   territories and possessions;
                                                                          We may, in addition to the damages de-
               (2) in Canada; and                                         scribed in item 1 of the Insuring Agree-
               (3) while a vehicle for which coverage is                  ment of this policys Liability Coverage,
                   provided by this policy is being shipped               pay or reimburse, at our option, reasonable
                   between the ports of the United States of              attorney fees for an attorney licensed in
                                                                          Mexico to appear for and provide advice to
                   America, its territories, its possessions,             insureds as defined under this policys Li-
                   and Canada.                                            ability Coverage. The amount of such at-
          b. No-Fault Coverage applies to accidental                      torney fees incurred by an insured must be
               bodily injury sustained:                                   reported to us before we will make pay-
                                                                          ment.
               (1) by an insured in Florida; and
                                                                     b. Property Damage Liability Coverage
               (2) by you and relatives outside Florida;
                   but within:                                            For claims brought against an insured in
                                                                          Mexico, the Supplementary Payments
                   (a) the United States of America, its                  provision of this policys Property Damage
                        territories or possessions; or                    Liability Coverage is changed to read:
                   (b) Canada,                                            We may, in addition to the damages de-
                   while occupying your car, a newly                      scribed in items 1. and 2. of the Insuring
                   acquired car, or a temporary substi-                   Agreement of this policys Property Dam-
                   tute car.                                              age Liability Coverage, pay or reimburse,
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             at our option, reasonable attorney fees for      4.   Persons Acting On Our Behalf
             an attorney licensed in Mexico to appear              A company employee adjuster, independent ad-
             for and provide advice to insureds as de-             juster, attorney, investigator, or other persons
             fined under this policys Property Damage             acting on our behalf that needs access to an in-
             Liability Coverage. The amount of such at-            sured or claimant or to the insured property
             torney fees incurred by an insured must be            that is the subject of a claim must provide at
             reported to us before we will make pay-               least 48 hours notice to the insured or claim-
             ment.                                                 ant, public adjuster, or legal representative be-
        c. No-Fault Coverage                                       fore scheduling a meeting with the claimant or
                                                                   an onsite inspection of the insured property.
             The definition of insured is changed read:            The insured or claimant may deny access to
                  Insured means named insured and                  the property if the notice has not been provid-
                  relatives while occupying:                       ed. The insured or claimant may waive the 48-
                                                                   hour notice.
                  (1) your car;
                                                                   A public adjuster must ensure prompt notice of
                  (2) a newly acquired car;                        property loss claims submitted to us by or
                  (3) a temporary substitute car; or               through a public adjuster or on which a public
                                                                   adjuster represents the insured at the time the
                  (4) a trailer while attached to a car            claim or notice of loss is submitted to us. The
                       described in (1), (2), or (3) above.        public adjuster must ensure that notice is given
        d. Medical Payments Coverage                               to us, the public adjusters contract is provided
        e. Physical Damage Coverages                               to us, the property is available for inspection of
                                                                   the loss or damage by us, and we are given an
             Any amount payable for the repair or re-              opportunity to interview the insured directly
             placement of the covered vehicle under the            about the loss and claim. We must be allowed
             Limits and Loss Settlement  Compre-                  to obtain necessary information to investigate
             hensive Coverage and Collision Cover-                 and respond to the claim.
             age provision of this policy will be limited          We may not exclude the public adjuster from
             to the cost to repair or replace the covered          its in-person meetings with the insured. We
             vehicle in the United States of America.              shall meet or communicate with the public ad-
                                                                   juster in an effort to reach agreement as to the
        WE HAVE NO DUTY TO PROVIDE A DE-                           scope of the covered loss under the insurance
        FENSE FOR YOU OR ANY OTHER IN-                             policy. This section does not impair the terms
        SURED IN ANY CRIMINAL, CIVIL, OR                           and conditions of the insurance policy in effect
        OTHER ACTION.                                              at the time the claim is filed.
        WE HAVE NO DUTY TO PAY ANY CLAIM                           A public adjuster may not restrict or prevent
        OR COST THAT WOULD NOT BE PAYABLE                          us, company employee adjuster, independent
        UNDER THIS POLICY IF THE ACCIDENT                          adjuster, attorney, investigator, or other person
                                                                   acting on our behalf from having reasonable
        OR LOSS HAD OCCURRED IN THE STATE                          access at reasonable times to an insured or
        OF FLORIDA IN THE UNITED STATES OF                         claimant or to the insured property that is the
        AMERICA.                                                   subject of a claim.
        All other policy provisions not in conflict with           A public adjuster may not act or fail to reason-
        the provisions in this Limited Coverage in                 ably act in any manner that obstructs or pre-
        Mexico provision of this policy apply.                     vents us or our adjuster from timely
                                                                   conducting an inspection of any part of the in-
        If Other Coverage Applies                                  sured property for which there is a claim for
        Any coverage provided by this Limited Cov-                 loss or damage. The public adjuster represent-
        erage in Mexico provision is excess over any               ing the insured may be present for our inspec-
        other applicable insurance.                                tion, but if the unavailability of the public
                                                                   adjuster otherwise delays our timely inspection
        Legal Action Against Us                                    of the property, the public adjuster or the in-
                                                                   sured must allow us to have access to the
        Any legal action against us arising out of an ac-          property without the participation or presence
        cident or loss occurring in Mexico must be                 of the public adjuster or insured in order to fa-
        brought in a court that has jurisdiction in the            cilitate our prompt inspection of the loss or
        state of Florida in the United States of America.          damage.

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     5.   Newly Owned or Newly Leased Car                                     dies, then the definition of insured un-
          If you want to insure a car newly owned by you                      der each of the coverages provided by
          with the State Farm Companies after that car                        this policy is changed to include:
          ceases to be a newly acquired car, then you must                    (a) any person with lawful custody of
          either:                                                                  your car, a newly acquired car, or
          a. request we replace the car currently shown                            a temporary substitute car until a
               on the Declarations Page of this policy with                        legal representative is qualified;
               the car newly owned by you and pay us any                           and then
               added amount due. If you make such request                     (b) the legal representative of the de-
               while this policy is in force and:                                  ceased named insured.
               (1) before the car newly owned by you                          This only applies while such person is
                    ceases to be a newly acquired car, then                   maintaining or using your car, a new-
                    that car newly owned by you will be in-                   ly acquired car, or a temporary sub-
                    sured by this policy as your car begin-                   stitute car.
                    ning on the date the car newly owned by                   Policy notice requirements are met by
                    you is delivered to you. The added                        mailing the notice to the most recent
                    amount due will be calculated based on                    policy address that we have on record
                    that date; or                                             for the deceased named insured.
               (2) after the car newly owned by you ceases           c. Joint and Individual Interests
                    to be a newly acquired car, then that car
                    newly owned by you will be insured by               If you consists of more than one person or
                    this policy as your car beginning on the            entity, then each acts for all to change or
                    date and time you make the request. The             cancel the policy.
                    added amount due will be calculated              d. Change of Policy Address
                    based on that date; or
                                                                        We may change the named insureds policy
          b. apply to the State Farm Companies for a                    address as shown on the Declarations Page
               separate policy to insure the car newly                  and in our records to the most recent ad-
               owned by you. Such policy will be issued                 dress provided to us by:
               only if both the applicant and the vehicle
               are eligible for coverage at the time of the             (1) you; or
               application.                                             (2) the United States Postal Service.
     6.   Changes to This Policy                                7.   Premium
          a. Changes in Policy Provisions                            a. Unless as otherwise provided by an alter-
               We may only change the provisions of this                native payment plan in effect with the
               policy by:                                               State Farm Companies with respect to the
                                                                        premium for this policy, the premium is
               (1) issuing a revised policy booklet, a re-              due and payable in full on or before the
                    vised Declarations Page, or an en-                  first day of the policy period shown on the
                    dorsement; or                                       most recently issued Declarations Page or
               (2) revising this policy to give broader                 Renewal Notice.
                    coverage without an additional premi-            b. The renewal premium for this policy will be
                    um charge. If any coverage provided                 based upon the rates in effect, the coverages
                    by this policy is changed to give                   carried, the applicable limits, deductibles,
                    broader coverage, then we will give                 and other elements that affect the premium
                    you the broader coverage as of the                  that apply at the time of renewal.
                    date we make the change effective in
                    the state of Florida without issuing a           c. The premium for this policy may vary
                    revised policy booklet, a revised Dec-              based upon:
                    larations Page, or an endorsement.                  (1) the purchase of other products or serv-
          b. Change of Interest                                               ices from the State Farm Companies;
               (1) No change of interest in this policy is              (2) the purchase of products or services
                    effective unless we consent in writing.                   from an organization that has entered
                                                                              into an agreement or contract with the
               (2) Except under Death, Dismemberment                          State Farm Companies. The State
                    and Loss of Sight Coverage, if a named                    Farm Companies do not warrant the
                    insured shown on the Declarations Page                    merchantability, fitness, or quality of
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                   any product or service offered or pro-             (2) However, if the policy provides Lia-
                   vided by that organization; or                         bility Coverage or Property Damage
              (3) an agreement, concerning the insur-                     Liability Coverage and No-Fault Cov-
                   ance provided by this policy, that the                 erage, you may not cancel your policy
                   State Farm Companies has with an                       during the first two months immedi-
                   organization of which you are a mem-                   ately following the policy effective
                   ber, employee, subscriber, licensee, or                date unless:
                   franchisee.                                            (a) your car has been totally de-
         d. The premium for this policy is based upon                          stroyed;
              information we have received from you or                    (b) you have transferred ownership
              other sources. You must inform us if any                         of your car;
              information regarding the following is in-                  (c) you have purchased another poli-
              correct or incomplete, or changes during                         cy covering your car; or
              the policy period, and you must answer
              questions we ask regarding the following:                   (d) you are a member of the United
              (1) Your car, or its use, including annual                       States Armed Forces and have
                   mileage;                                                    been called to or are on active
                                                                               duty outside the United States in
              (2) The persons who regularly drive your                         an emergency situation.
                   car, including newly licensed family          b.   How and When We May Cancel
                   members;
              (3) Your marital status; or                             (1) We may cancel this policy by mailing
                                                                          or delivering a written notice to the
              (4) The location where your car is pri-                     most recent policy address that we
                   marily garaged.                                        have on record for the first named in-
              If the above information or any other in-                   sured who is shown on the Declara-
              formation used to determine the premium                     tions Page. The notice will provide
              is incorrect, incomplete, changes during                    the date cancellation is effective.
              the policy period, or is not provided to us             (2) Except as provided under Cancella-
              when we ask, then we may decrease or in-                    tion Due to Incorrect Premium, the
              crease the premium during the policy peri-                  date cancellation is effective will be at
              od. If we decrease the premium during the                   least:
              policy period, then we will provide a re-                   (a) 10 days after the date we mail or
              fund or a credit in the amount of the de-                        deliver the cancellation notice, if
              crease. If we increase the premium during                        the cancellation is because the
              the policy period, then you must pay the                         premium was not paid when due;
              amount of the increase.                                          or
     8. Renewal                                                           (b) 45 days after we mail or deliver
         We agree to renew this policy for the next policy                     the cancellation notice, if the can-
         period upon payment of the renewal premium                            cellation is because of any other
         when due, unless we mail or deliver a nonre-                          reason.
         newal notice or a cancellation notice as set forth           (3) If we cancel this policy for nonpay-
         in 9. and 10. below.
                                                                          ment of premium during the first 60
     9. Nonrenewal                                                        days immediately following the effec-
         If we decide not to renew this policy, then, at                  tive date of this policy, we will do so
         least 45 days before the end of the current                      only if a check used to pay the premi-
         policy period, we will mail or deliver a nonre-                  um is dishonored for any reason or
         newal notice to the most recent policy address                   any other type of premium payment
         that we have on record for the first named in-                   was subsequently determined to be re-
         sured who is shown on the Declarations Page.                     jected or invalid.
     10. Cancellation                                                 (4) After this policy has been in force for
         a. How You May Cancel                                            more than 59 days, we will not cancel
              (1) You may cancel this policy by provid-                   this policy before the end of the cur-
                   ing to us advance notice of the date                   rent policy period unless it is based on
                   cancellation is effective. We may con-                 one or more of the following reasons:
                   firm the cancellation in writing.                      (a) Nonpayment of premium;
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                   (b) You, any resident relative, or any      12. Bankruptcy or Insolvency of the Insured
                        other person who usually drives            Bankruptcy or insolvency of the insured or his
                        your car has had his or her driv-          or her estate will not relieve us of our obliga-
                        ers license or motor vehicle reg-         tions under this policy.
                        istration under suspension or          13. Concealment or Fraud
                        revocation during the policy peri-
                        od or the 180 days immediately             a. Coverages Other Than No-Fault and
                        preceding its effective date, or if             Medical Payments Coverage
                        the policy is a renewal, during its             There is no coverage under this policy for
                        policy period; or                               any person who, or organization making
                                                                        claim or seeking payment that, has made
                   (c) Material misrepresentation or                    false statements with the intent to conceal
                        fraud.                                          or misrepresent any material fact or cir-
         c. Cancellation Due to Incorrect Premium                       cumstance in connection with any claim
                                                                        under this policy.
              (1) If we determine that we have charged
                   you an incorrect premium for cover-             b. No-Fault Coverage and Medical Pay-
                   ages requested in your insurance ap-                 ments Coverage
                   plication, we will immediately notify                Benefits shall not be due or payable to or
                   you of any additional premium due.                   on behalf of an insured person if that per-
                   You may:                                             son has committed, by material act or
                   (a) maintain your policy in force by                 omission, any insurance fraud relating to
                        paying the additional amount due                No-Fault Coverage or Medical Payments
                        by the date stated in the notice; or            Coverage under this policy, if the fraud is
                                                                        admitted to in a sworn statement by the in-
                   (b) cancel your policy by the date                   sured or if it is established in a court of
                        stated in the notice and receive a              competent jurisdiction. Any insurance
                        refund of any unearned premium.                 fraud shall void all coverage arising from
              (2) If you fail to respond by the date stat-              the claim related to such fraud under No-
                   ed in the notice we will cancel your                 Fault Coverage or Medical Payments Cov-
                   policy. The date cancellation is effec-              erage of the insured person who commit-
                   tive will be at least 14 days after the              ted the fraud, irrespective of whether a
                   date we mail or deliver the cancella-                portion of the insured persons claim may
                   tion notice.                                         be legitimate, and any benefits paid prior
         d. Return of Unearned Premium                                  to the discovery of the insured persons
                                                                        insurance fraud shall be recoverable by us,
              (1) If you cancel this policy, then premium               in their entirety, from the person who
                   will be earned on a pro rata basis. We               committed insurance fraud. We are enti-
                   may retain up to 10% of any unearned                 tled to all our costs and attorneys fees in
                   premium. Any remaining unearned                      any action in which we prevail that enforc-
                   premium will be mailed to you within                 es our right of recovery under this provi-
                   30 days after the effective date of the              sion.
                   policy cancellation, or 30 days after we             Neither we nor the insured is required to
                   receive your request to cancel this poli-            pay a claim or charges:
                   cy, whichever is later.
                                                                        (1) for any service or treatment that was
              (2) If we cancel this policy, then premium                     not lawful at the time rendered; or
                   will be earned on a pro rata basis. Any
                   unearned premium will be mailed at                   (2) to any person who knowingly submits
                   the time we cancel the policy or with-                    a false or misleading statement relat-
                   in 15 days after the effective date of                    ing to the claim or charges.
                   the policy cancellation. Delay in the                If we have reasonable belief that a fraudu-
                   return of unearned premium does not                  lent insurance act (s. 626.989, Florida
                   affect the cancellation.                             Statutes, or s. 817.234, Florida Statutes)
     11. Assignment                                                     has been committed, we shall notify the
                                                                        claimant, in writing, within 30 days after
         No assignment of benefits or other transfer of                 submission of the claim that the claim is
         rights is binding upon us unless approved by us.               being investigated for suspected fraud.
         This does not include a post loss assignment of                Beginning at the end of the initial 30-day
         benefits.                                                      period, we have an additional 60 days to
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             conduct a fraud investigation. Notwith-                       Our right of reimbursement for bene-
             standing the demand letter conditions un-                     fits under No-Fault Coverage does not
             der the Legal Action Against Us provision                     apply to an owner or registrant of a
             of this policy, no later than 90 days after                   taxicab       as       identified     in
             the submission of the claim, we must deny                     s.627.733(1)(b), Florida Statutes.
             the claim or pay the claim with simple in-      15. Mediation
             terest as provided in d. (2) under the Legal
             Action Against Us provision of this poli-           The insured or we may demand mediation of
             cy. Interest shall be assessed from the day         any claim:
             the claim was submitted until the day the           a. in an amount of $10,000 or less, resulting
             claim is paid. All claims denied for sus-                from:
             pected fraudulent insurance acts shall be
             reported to the Division of Insurance                    1. bodily injury under No-Fault Cover-
             Fraud.                                                        age, Medical Payments Coverage, or
                                                                           Uninsured Motor Vehicle Coverages;
     14. Our Right to Recover Our Payments                                 or
         Death, Dismemberment and Loss of Sight                       2. death of or loss to an insured under
         Coverage payments are not recoverable by us.                      Death, Dismemberment and Loss of
         Under all other coverages, the following apply:                   Sight Coverage; or
         a. Subrogation                                          b. in any amount, for a loss covered under
             If we are obligated under this policy to                 Physical Damage Coverages,
             make payment to or for a person or organ-           by filing a written request with the Florida De-
             ization who has a legal right to collect            partment of Financial Services on a form which
             from another person or organization, that
             is not an insured, then we will be subro-           may be obtained from the Florida Department
             gated to that right to the extent of our            of Financial Services. The request must state
             payment.                                            why mediation is being requested and the issue
             The person or organization to or for whom           in dispute.
             we make payment must help us recover                The Florida Department of Financial Services
             our payments by:                                    will appoint a mediator. Each party may reject
             (1) doing nothing to impair that legal right;       one mediator whether before or after the other
                                                                 party has made a rejection. The mediator will
             (2) executing any documents we may                  notify the parties of the date, time, and place of
                  need to assert that legal right; and           the mediation conference, which will be held
             (3) taking legal action through our repre-          within 45 days of the request for mediation.
                  sentatives when we ask.                        The mediation will be conducted informally
         b. Reimbursement                                        and may be held by telephone if feasible.
             (1) If we make payment under this policy            Participants must have authority to make a
                  and the person or organization to or           binding decision, and must mediate in good
                  for whom we make payment recovers              faith. Information and disclosure provided dur-
                  or has recovered from another person           ing mediation are not admissible in any subse-
                  or organization, then the person or or-        quent action or proceeding relating to the claim
                  ganization to or for whom we make              or cause of action giving rise to the claim.
                  payment must:
                                                                 Costs of the mediator shall be shared equally
                  (a) hold in trust for us the proceeds          by each party unless the mediator determines a
                       of any recovery; and                      party has not mediated in good faith.
                  (b) reimburse us to the extent of our          If a person files suit which relates to facts al-
                       payment.
                                                                 ready mediated, such facts shall not be mediat-
             (2) We have a right of reimbursement                ed again.       Only one mediation may be
                  against the owner or the insurer of the        requested for each claim, unless all parties
                  owner of a commercial motor vehicle            agree to further mediation. Any suit regarding
                  for our payments of No-Fault benefits
                  to any person having been an occu-             a mediated dispute must be filed as prescribed
                  pant of the commercial motor vehicle           under the Limitations of Actions statutes or
                  or having been struck by the commer-           within 60 days after the conclusion of the me-
                  cial motor vehicle as a pedestrian.            diation process, whichever is later.
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     16. Arbitration                                                        procedure and admission of evidence
         a. The insured or we may request, in writing,                      will be used.
            arbitration of any claim. If you and we                   (8) We do not waive any of our rights by
            agree to arbitrate, then arbitration will fol-                  submitting to arbitration.
            low the procedure outlined below.
                                                                   b. We are not bound by any:
            (1) The arbitration will take place in the
                 county in which the insured resides                  (1) judgment obtained without our writ-
                 unless the parties agree to another lo-                    ten consent; or
                 cation.                                              (2) default judgment against any person
            (2) The insured and we will each select a                       or organization other than us.
                 competent arbitrator. These two arbi-             c. Regardless of the amount of any award,
                 trators will select a third competent                including any judgment or default judg-
                 arbitrator. If they are unable to agree              ment, we are not obligated to pay any
                 on the third arbitrator within 30 days,              amount in excess of the available limits
                 then either the insured or we may pe-                under this coverage of this policy.
                 tition a court that has jurisdiction to
                 select the third arbitrator.                  17. Legal Action Against Us
            (3) Each party will pay the cost of its own            a. Legal action may only be brought against
                                                                      us within five years immediately following
                 arbitrator, attorneys, and expert wit-               the date of the accident or loss.
                 nesses, as well as any other expenses
                 incurred by that party. Both parties              b. Legal action may not be brought against us
                 will share equally the cost of the third             until there has been full compliance with
                                                                      all the provisions of this policy.
                 arbitrator.
                                                                   c. Under No-Fault Coverage, we shall create
            (4) The arbitrators shall only decide the                 and maintain for each insured a log of No-
                 answers to the following two ques-                   Fault Coverage benefits we have paid on
                 tions:                                               behalf of the insured. If litigation is
                 (a) are damages compensatory; and                    commenced, we shall provide to the in-
                 (b) if damages are compensatory,                     sured a copy of the log within 30 days af-
                      then what is the amount of com-                 ter receiving a request for the log from the
                      pensatory damages.                              insured.
            (5) Arbitrators shall have no authority to             d. In addition, legal action may only be
                                                                      brought against us regarding:
                 decide any other questions of fact, de-
                 cide any questions of law, or conduct                (1) Liability Coverage and Property
                 arbitration on a class-wide or class-                      Damage Liability Coverage, after the
                 representative basis.                                      amount of damages an insured is le-
                                                                            gally liable to pay has been finally de-
            (6) A written decision that is both agreed up-                  termined by:
                 on by and signed by any two arbitrators,                   (a) judgment after an actual trial, and
                 and that also contains an explanation of                        any appeals of that judgment if
                 how they arrived at their decision, will be                     any appeals are taken; or
                 binding on:                                                (b) agreement between the claimant
                 (a) us;                                                         and us.
                 (b) the insured;                                     (2) No-Fault Coverage, if within 30 days
                                                                            after our receipt of written notice of
                 (c) any assignee of the insured; and                       an intent to initiate litigation for:
                 (d) any person or organization with                        (a) an overdue claim, we fail to pay
                      whom the insured expressly or                              the overdue claim, applicable in-
                      impliedly contracts.                                       terest, and a penalty of 10% of
                                                                                 the overdue amount that we pay,
            (7) Subject to (1), (2), (3), (4), (5), and (6)                      subject to a maximum penalty of
                 above, state court rules governing                              $250; or

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             (b) our withdrawal of payment for                          submitted, may be used as the item-
                  future treatment not yet rendered,                    ized statement. To the extent that
                  we fail to mail to the person filing                  the demand involves our with-
                  the notice a written statement of                     drawal of payment for future treat-
                  our agreement to pay for such                         ment not yet rendered, the claimant
                  treatment in accordance with the                      shall attach a copy of our notice
                  notice and to pay a penalty of                        withdrawing such payment and an
                  10%, subject to a maximum pen-                        itemized statement of the type, fre-
                  alty of $250, when we pay for                         quency, and duration of future
                  such future treatment.                                treatment claimed to be reasonable
             Payment or our written statement of                        and medically necessary.
             agreement to pay for future treatment                 The notice must be delivered to us by
             not yet rendered shall be treated as be-              United States certified or registered
             ing made on the date a draft, other                   mail, return receipt requested, at the
             valid instrument that is equivalent to                address we have filed with, and that is
                                                                   made available by, the office of the
             payment, or our written statement of                  Florida Chief Financial Officer on its
             agreement to pay, is placed in the                    Internet Website. Such postal costs
             United States mail in a properly ad-                  shall be reimbursed by us, if requested
             dressed, postpaid envelope, or if not                 by the claimant in the notice, when we
             so posted, on the date of delivery.                   pay the claim.
             Such notice of intent to initiate litiga-         (3) Medical Payments Coverage unless
             tion may not be sent until the claim is               we receive written notice of an intent
             overdue, including any additional time                to initiate litigation and if within 30
                                                                   days after our receipt of such for:
             we have to pay the claim pursuant to
             the No-Fault Act.                                     (a) a claim, we fail to pay the claim;
                                                                        or
             The notice must state that it is a de-               (b) our withdrawal of payment for
             mand letter under s.627.736 and                           future treatment not yet rendered,
             specify:                                                   we fail to mail to the person filing
             i. the name of the insured for                             the notice a written statement of
                  whom benefits are being sought,                       our agreement to pay for such
                                                                        treatment in accordance with the
                  including a copy of the assign-                       notice.
                  ment giving rights to the claimant
                  if the claimant is not the insured;              Payment or our written statement of
                                                                   agreement to pay for future treatment
             ii. the claim number or policy num-                   not yet rendered shall be treated as be-
                  ber upon which the claim was                     ing made on the date a draft, other
                  originally submitted to us; and                  valid instrument that is equivalent to
                                                                   payment, or our written statement of
             iii. to the extent applicable, the name               agreement to pay, is placed in the
                  of the medical provider who ren-                 United States mail in a properly ad-
                  dered the treatment, services, ac-               dressed, postpaid envelope, or if not
                  commodations or supplies that                    so posted, on the date of delivery.
                  form the basis of the claim, and an              The notice must state that it is a de-
                  itemized statement specifying each               mand letter for Medical Payments
                  exact amount, the date of treatment,             Coverage and specify:
                  service, or accommodation, and the               i. the name of the insured for
                  type of benefit claimed to be due.                    whom benefits are being sought,
                  A properly completed Centers for                      including a copy of the assign-
                  Medicare and Medicaid Services                        ment giving rights to the claimant
                  (CMS) 1500 form, any other stand-                     if the claimant is not the insured;
                  ard form approved by the Florida                 ii. the claim number or policy num-
                  Office of Insurance Regulation, or                    ber upon which the claim was
                  the lost wage statement previously                    originally submitted to us; and

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              iii. to the extent applicable, the name                   (d) agrees that we may contest the is-
                   of the medical provider who ren-                          sues of liability and the amount of
                   dered the treatment, services, ac-                        damages.
                   commodations or supplies that                        We are not bound by any judgment
                   form the basis of the claim, and an                  obtained without our written consent.
                   itemized statement specifying each
                   exact amount, the date of treatment,                 We are not bound by default judgment
                   service, or accommodation, and the                   against any person or organization
                   type of benefit claimed to be due. A                 other than us.
                   properly completed Centers for                       Regardless of the amount of any
                   Medicare and Medicaid Services                       award, including any judgment or de-
                   (CMS) 1500 form, or any other                        fault judgment, we are not obligated to
                   standard form approved by the                        pay any amount in excess of the avail-
                   Florida Office of Insurance Regula-                  able limits under this coverage of this
                   tion, may be used as the itemized                    policy.
                   statement. To the extent that the
                   demand involves our withdrawal of      18. Choice of Law
                   payment for future treatment not           Without regard to choice of law rules, the law
                   yet rendered, the claimant shall at-       of the state of:
                   tach a copy of our notice withdraw-
                   ing such payment and an itemized           a. Florida will control, except as provided in
                   statement of the type, frequency,               b. below, in the event of any disagreement
                   and duration of future treatment                as to the interpretation and application of
                   claimed to be reasonable and medi-              any provision in this policy; and
                   cally necessary.                           b. Illinois will control in the event of any dis-
              The notice must be delivered to us by                agreement as to the interpretation and ap-
              United States certified or registered                plication of this policys:
              mail, return receipt requested, at the               (1) Mutual Conditions provision found on
              address we have filed with, and that is                   the most recently issued Declarations
              made available by, the office of the                      Page, if this policy was issued by the
              Florida Chief Financial Officer on its                    State Farm Mutual Automobile Insur-
              Internet Website. Such postal costs                       ance Company; or
              shall be reimbursed by us, if requested              (2) Participating Policy provision found
              by the claimant in the notice, when we                    on the most recently issued Declara-
              pay the claim.                                            tions Page, if this policy was issued by
          (4) Uninsured Motor Vehicle Coverage if                       any subsidiary or affiliate of the State
              the insured or that insureds legal rep-                  Farm Mutual Automobile Insurance
              resentative within five years immedi-                     Company.
              ately following the date of the             19. Severability
              accident:
              (a) presents an Uninsured Motor Vehi-           If any provision of this policy is held invalid or un-
                   cle Coverage claim to us;                  enforceable by a court that has jurisdiction, then:
              (b) files a lawsuit, in a state or feder-       a. such provision will remain in full force to
                   al court that has jurisdiction                  the extent not held invalid or unenforce-
                   against us;                                     able; and
              (c) consents to a jury trial if request-        b. all other provisions of this policy will re-
                   ed by us; and                                   main valid and enforceable.




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                                            Policy Form 9810A
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    6128S.1 AMENDATORY ENDORSEMENT

    This endorsement is a part of the policy. Except for the changes this endorsement makes, all other
    provisions of the policy remain the same and apply to this endorsement.
    1. DEFINITIONS                                                1. related to any named insured in
                                                                       any degree by blood, by mar-
        a. Newly Acquired Car is changed to read:                      riage, or by adoption and who
                Newly Acquired Car means a car                         makes his or her home in the
                newly owned by you or a resident                       same family unit with that
                relative.                                              named insured, whether or not
                                                                       temporarily living elsewhere, or
                A car ceases to be a newly acquired
                                                                  2. a ward or foster child of any
                car on the earlier of:                                 named insured or of a person
                1. the effective date and time of a                    described in 1. above and who
                    policy, including any binder, is-                  makes his or her home in the
                    sued by us or any other company                    same family unit with that
                    that describes the car as an in-                   named insured.
                    sured vehicle; or                   2. LIABILITY COVERAGE (Bodily Injury
                2. the end of the 14th calendar day        and Property Damage)
                   immediately following the date          a. Item 4. of Insured, under Additional
                   the car is delivered to you or a           Definition, is changed to read:
                   resident relative.
                                                                  Insured means any other person or
              If a newly acquired car is not other-               organization vicariously liable for
              wise afforded comprehensive cover-                  the use of a vehicle by an insured as
              age or collision coverage by this or                defined in 1., 2., or 3. above, but
              any other policy, then this policy                  only for such vicarious liability.
              will provide Comprehensive Cover-                   This provision applies only if the ve-
              age or Collision Coverage for that                  hicle is:
              newly acquired car, subject to a de-                a. neither owned by, nor hired by,
              ductible of $500.                                        that other person or organiza-
                                                                       tion; and
        b. Pedestrian is changed to read:
                                                                  b. neither available for, nor being
              Pedestrian means a person who is                         used for, carrying persons for a
              not occupying:                                           charge.
              1. a motor vehicle;                          b. The following is added to Supplemen-
              2. a self-propelled vehicle; or                 tary Payments:
              3. a trailer or other vehicle at-                   Attorney fees for attorneys repre-
                   tached to a self-propelled vehi-               senting the person or entity assert-
                   cle.                                           ing a claim against an insured are
                                                                  not a covered court cost, cost or ex-
        c. Relative is changed to read:                           pense under the Supplementary Pay-
              Relative means a person, other than                 ments provision of this coverage in
              you, who is:                                        this policy.
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       c. Exclusions                                               This provision applies only if the ve-
          (1) The exception to exclusion 11. is                    hicle is:
              changed to read:                                     a. neither owned by, nor hired by,
                 This exclusion does not apply to                       that other person or organiza-
                 damage to a:                                           tion; and
                                                                   b. neither available for, nor being
                  a. motor vehicle owned by the                         used for, carrying persons for a
                       employer of you or the em-                       charge.
                       ployer of any resident rela-
                       tive if such damage is               b. The following is added to Supplemen-
                       caused by an insured while              tary Payments:
                       operating another motor ve-                 Attorney fees for attorneys repre-
                       hicle;                                      senting the person or entity assert-
                                                                   ing a claim against an insured are
                  b. residence while rented to or                  not a covered court cost, cost or ex-
                       leased to an insured; or                    pense under the Supplementary Pay-
                  c. private garage while rented                   ments provision of this coverage in
                       to or leased to an insured;                 this policy.
           (2) The following exclusion is added:            c. Exclusions
                   THERE IS NO COVERAGE                        (1) The exception to exclusion 9. is
                   FOR AN INSURED WHO IS:                          changed to read:
                   1. PROVIDING TRANSPOR-                               This exclusion does not apply to
                      TATION NETWORK SER-                               damage to a:
                      VICES; OR                                         a. motor vehicle owned by the
                                                                             employer of you or the em-
                  2. OCCUPYING                 OR                            ployer of any resident rela-
                       STRUCK BY YOUR CAR,                                   tive if such damage is
                       A NEWLY ACQUIRED                                      caused by an insured while
                       CAR, OR A TEMPORARY                                   operating another motor ve-
                       SUBSTITUTE             CAR                            hicle;
                       WHILE SUCH VEHICLE                               b. residence while rented to or
                       IS BEING USED TO PRO-                                 leased to an insured; or
                       VIDE TRANSPORTATION
                       NETWORK SERVICES.                                c. private garage while rented
                                                                             to or leased to an insured;
    3. PROPERTY DAMAGE LIABILITY
       COVERAGE                                                (2) The following exclusion is added:
       a. Item 4. of Insured, under Additional                          THERE IS NO COVERAGE
          Definition, is changed to read:                               FOR AN INSURED WHO IS:
              Insured means any other person or                         1. PROVIDING             TRANS-
              organization vicariously liable for                            PORTATION NETWORK
              the use of a vehicle by an insured as                          SERVICES; OR
              defined in 1., 2., or 3. above, but                       2. OCCUPYING OR STRUCK
              only for such vicarious liability.                             BY YOUR CAR, A NEWLY
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                       ACQUIRED CAR, OR A                           (3) an entity that owns or is wholly
                       TEMPORARY           SUBSTI-                      owned, directly or indirectly, by
                       TUTE CAR WHILE SUCH                              a hospital or hospitals;
                       VEHICLE IS BEING
                       USED TO PROVIDE                              (4) a physical therapist licensed un-
                       TRANSPORTATION NET-                              der chapter 486 of the Florida
                       WORK SERVICES.                                   Statutes, based upon referral by
    4. NO-FAULT COVERAGE                                                a provider described in B.
                                                                        above; and
       a. Additional Definition
                                                                    (5) a health care clinic licensed un-
          Item 2. of the definition of Insured is                       der part X of chapter 400 of the
          changed to read:
                                                                        Florida Statutes which is ac-
              Insured means any other person                            credited by an accrediting or-
              while occupying or struck as a pe-                        ganization whose standards
              destrian by:                                              incorporate comparable regula-
              a. your car;                                              tions required by the state of
              b. a newly acquired car;                                  Florida; or
              c. a temporary substitute car; or                         (a) has a medical director li-
                                                                            censed under chapter 458,
              d. a trailer while attached to a car                          chapter 459, or chapter 460
                  described in a., b., or c. above.
                                                                            of the Florida Statutes;
       b. Insuring Agreement
                                                                        (b) has been continuously li-
          Item 1.C. is changed to read:                                     censed for more than three
               follow-up services and care con-                             years or is a publicly traded
               sistent with the underlying medical                          corporation that issues se-
               diagnosis rendered pursuant to A.                            curities traded on an ex-
               above which may also be provided                             change registered with the
               by the following persons or entities:                        United States Securities and
                                                                            Exchange Commission as a
               (1) a hospital or ambulatory surgi-
                                                                            national securities ex-
                   cal center licensed under chap-
                                                                            change; and
                   ter 395 of the Florida Statutes;
                                                                        (c) provides at least four of the
               (2) an entity wholly owned by one                            following medical special-
                   or more physicians licensed un-                          ties:
                   der chapter 458 or 459 of the
                   Florida Statutes, chiropractic                           i. general medicine;
                   physicians licensed under chap-                          ii. radiography;
                   ter 460 of the Florida Statutes or
                   dentists licensed under chapter                          iii. orthopedic medicine;
                   466 of the Florida Statutes, or                          iv. physical medicine;
                   by such practitioners and the
                   spouse, parent, child, or sibling                        v. physical therapy;
                   of such practitioners;                                   vi. physical rehabilitation;

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                       vii. prescribing or dispens-         d. Exclusions
                             ing outpatient prescrip-          The following exclusion is added:
                             tion medication; or
                                                                   THERE IS NO COVERAGE FOR
                       viii. laboratory services.                  AN INSURED WHO IS:
       c. Limits                                                   1. PROVIDING TRANSPORTA-
          (1) Item 2.f.(I) is changed to read:                          TION NETWORK SERVICES;
                  For all other medical services,                       OR
                  supplies, and care, 200 percent                  2. OCCUPYING OR STRUCK
                  of the allowable amount under:                        BY YOUR CAR, A NEWLY
                  (I) The participating physician                       ACQUIRED       CAR, OR A TEM-
                       fee schedule of Medicare                         PORARY      SUBSTITUTE       CAR
                       Part B, except as provided                       WHILE     SUCH     VEHICLE      IS
                       in sub-sub-subparagraphs (II)                    BEING    USED     TO   PROVIDE
                       and (III).                                       TRANSPORTATION              NET-
                                                                        WORK SERVICES.
          (2) The last paragraph of item 2. is
              changed to read:                         5. MEDICAL PAYMENTS COVERAGE
                  For purposes of the above, the            a. Insuring Agreement
                  applicable fee schedule or pay-              Item 2.C. is changed to read:
                  ment limitation under Medicare                   follow-up services and care con-
                  is the fee schedule or payment                   sistent with the underlying medical
                  limitation in effect on March 1                  diagnosis rendered pursuant to A.
                  of the service year in which the                 above which may also be provided
                  services, supplies, or care is                   by the following persons or entities:
                  rendered and for the area in
                  which such services, supplies,                   (1) a hospital or ambulatory surgi-
                  or care is rendered, and the ap-                      cal center licensed under chap-
                  plicable fee schedule or pay-                         ter 395 of the Florida Statutes;
                  ment limitation applies to                       (2) an entity wholly owned by one
                  services, supplies, or care ren-                      or more physicians licensed un-
                  dered during that service year,                       der chapter 458 or 459 of the
                  notwithstanding any subse-                            Florida Statutes, chiropractic
                  quent change made to the fee                          physicians licensed under chap-
                  schedule or payment limitation,                       ter 460 of the Florida Statutes or
                  except that it will not be less                       dentists licensed under chapter
                  than the allowable amount un-                         466 of the Florida Statutes, or
                  der the applicable schedule of                        by such practitioners and the
                  Medicare Part B for 2007 for                          spouse, parent, child, or sibling
                  medical services, supplies, and                       of such practitioners;
                  care subject to Medicare Part B.
                  For purposes of this paragraph,                  (3) an entity that owns or is wholly
                  the term service year means                         owned, directly or indirectly, by
                  the period from March 1                               a hospital or hospitals;
                  through the end of February of                   (4) a physical therapist licensed un-
                  the following year.                                   der chapter 486 of the Florida
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                  Statutes, based upon referral by                      For all other medical services,
                  a provider described in B.                            supplies, and care, 200 percent
                  above; and                                            of the allowable amount under:
              (5) a health care clinic licensed un-                     (I) The participating physician
                  der part X of chapter 400 of the                           fee schedule of Medicare
                  Florida Statutes which is ac-                              Part B, except as provided
                  credited by an accrediting or-                             in sub-sub-subparagraphs (II)
                  ganization whose standards                                 and (III).
                  incorporate comparable regula-
                  tions required by the state of                (2) The last paragraph of item 3. is
                  Florida; or                                       changed to read:
                  (a) has a medical director li-                       For purposes of the above, the
                      censed under chapter 458,                        applicable fee schedule or pay-
                      chapter 459, or chapter 460                      ment limitation under Medicare
                      of the Florida Statutes;                         is the fee schedule or payment
                                                                       limitation in effect on March 1 of
                  (b) has been continuously li-                        the service year in which the ser-
                      censed for more than three                       vices, supplies, or care is ren-
                      years or is a publicly traded                    dered and for the area in which
                      corporation that issues se-                      such services, supplies, or care is
                      curities traded on an ex-                        rendered, and the applicable fee
                      change registered with the                       schedule or payment limitation
                      United States Securities and                     applies to services, supplies, or
                      Exchange Commission as a                         care rendered during that service
                      national securities ex-                          year, notwithstanding any subse-
                      change; and                                      quent change made to the fee
                  (c) provides at least four of the                    schedule or payment limitation,
                      following medical special-                       except that it will not be less than
                      ties:                                            the allowable amount under the
                                                                       applicable schedule of Medicare
                      i. general medicine;                             Part B for 2007 for medical ser-
                      ii. radiography;                                 vices, supplies, and care subject
                                                                       to Medicare Part B. For pur-
                      iii. orthopedic medicine;                        poses of this paragraph, the term
                      iv. physical medicine;                           service year means the period
                                                                       from March 1 through the end of
                      v. physical therapy;                             February of the following year.
                      vi. physical rehabilitation;
                                                             c. Exclusions
                      vii. prescribing or dispens-
                            ing outpatient prescrip-            (1) Exclusion 7. is changed to read:
                            tion medication; or                     THERE IS NO COVERAGE FOR
                      viii. laboratory services.                    AN INSURED WHO:
       b. Limits                                                    a. IS   OCCUPYING    OR
          (1) Item 3.f.(I) is changed to read:                         THROUGH BEING STRUCK

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                 AS A PEDESTRIAN BY A VE-                                 WHILE SUCH VEHICLE
                 HICLE OWNED BY ANY                                       IS BEING USED TO PRO-
                 NAMED INSURED OR ANY                                     VIDE     TRANSPORTA-
                 RELATIVE WHICH IS NOT                                    TION        NETWORK
                 INSURED UNDER THIS POL-                                  SERVICES.
                 ICY; OR
                                                    6. UNINSURED MOTOR VEHICLE COV-
             b. AT THE TIME OF THE ACCI-               ERAGE (Stacking)
                DENT OWNS A MOTOR VE-
                HICLE SUBJECT TO THE                      a. Additional Definitions
                NO-FAULT ACT AND IS NOT                      Uninsured Motor Vehicle does not in-
                INSURED FOR THE COVER-                       clude a land motor vehicle or trailer is
                AGE REQUIRED BY THE                          changed to read:
                NO-FAULT ACT.                                    Uninsured Motor Vehicle does not
                 This exclusion (7.b.) does not                  include a land motor vehicle or
                                                                 trailer:
                 apply to:
                                                                 1. whose ownership, maintenance,
                 (1) any named insured;                               or use is provided Liability Cov-
                 (2) the spouse of any named in-                      erage by this policy. However,
                     sured; and                                       any such vehicle will be deemed
                                                                      to be an uninsured motor vehi-
                 (3) any relative while occupy-                       cle for bodily injury sustained
                     ing your car, a newly ac-                        by you or a resident relative
                     quired car, a temporary                          while the vehicle is being oper-
                     substitute car, or a non-                        ated by a person other than you
                     owned car if the accident                        or a resident relative;
                     occurs outside Florida, but                 2. designed for use primarily off
                     within the area described                        public roads except while on
                     under Where Coverage                             public roads;
                     Applies for Medical Pay-                    3. while located for use as a dwell-
                     ments Coverage;                                  ing or other premises; or
          (2) The following exclusion is added:                  4. whose owner or operator could
                                                                      have been reasonably identified.
                 THERE IS NO COVERAGE                     b. Exclusions
                 FOR AN INSURED WHO IS:
                                                              The following exclusion is added:
                 1. PROVIDING    TRANS-
                    PORTATION NETWORK                             THERE IS NO COVERAGE FOR
                    SERVICES; OR                                  AN INSURED WHO IS:
                 2. OCCUPYING        OR                           1. PROVIDING TRANSPORTA-
                    STRUCK BY YOUR CAR,                              TION NETWORK SERVICES;
                    A NEWLY ACQUIRED                                 OR
                    CAR, OR A TEMPORARY                           2. OCCUPYING OR STRUCK
                    SUBSTITUTE      CAR                              BY YOUR CAR, A NEWLY
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                   ACQUIRED CAR, OR A TEM-                                 CAR OR A NEWLY AC-
                   PORARY SUBSTITUTE CAR                                   QUIRED CAR;
                   WHILE SUCH VEHICLE IS                              b. WHILE OCCUPYING A
                   BEING USED TO PROVIDE                                   VEHICLE OWNED BY
                   TRANSPORTATION      NET-                                ANY RESIDENT RELA-
                   WORK SERVICES.                                          TIVE IF IT IS NOT YOUR
                                                                           CAR OR A NEWLY AC-
    7. UNINSURED MOTOR VEHICLE COV-                                        QUIRED CAR. This exclu-
       ERAGE (Non-Stacking)                                                sion (2.b.) does not apply to
       a. Additional Definitions                                           the first person shown as a
                                                                           named insured on the Dec-
          Uninsured Motor Vehicle does not in-                            larations Page and that
          clude a land motor vehicle or trailer is                        named insureds spouse
          changed to read:                                                 who resides primarily with
              Uninsured Motor Vehicle does not                             that named insured, pro-
              include a land motor vehicle or                              vided that the vehicle is
              trailer:                                                     owned by neither that
                                                                           named insured nor that
               1. whose ownership, maintenance,                            spouse; OR
                  or use is provided Liability Cov-
                  erage by this policy. However,                      c. WHILE A PEDESTRIAN
                  any such vehicle will be deemed                          AND IS STRUCK BY A
                  to be an uninsured motor vehi-                           VEHICLE OWNED BY
                                                                           ANY RESIDENT RELA-
                  cle for bodily injury sustained                          TIVE;
                  by you or a resident relative
                  while the vehicle is being oper-             (2) The following exclusions are added:
                  ated by a person other than you                     (a) THERE IS NO COVER-
                  or a resident relative;                                  AGE FOR AN INSURED
                                                                           WHO SUSTAINS BODILY
               2. designed for use primarily off                           INJURY WHILE OCCU-
                  public roads except while on                             PYING        A    VEHICLE
                  public roads;                                            OWNED BY THAT IN-
               3. while located for use as a dwell-                        SURED IF THAT VEHI-
                  ing or other premises; or                                CLE IS NOT INSURED
                                                                           FOR UNINSURED MO-
               4. whose owner or operator could                            TOR VEHICLE COVER-
                  have been reasonably identified.                         AGE        UNDER       THIS
       b. Exclusions                                                       POLICY OR ANY OTHER
                                                                           POLICY.
           (1) Exclusion 2. is changed to read:
                                                                      (b) THERE IS NO COVER-
                  THERE IS NO COVERAGE                                     AGE FOR AN INSURED
                  FOR AN INSURED WHO                                       WHO IS:
                  SUSTAINS BODILY INJURY:
                                                                           1. PROVIDING TRANS-
                  a. WHILE OCCUPYING A                                         PORTATION          NET-
                       VEHICLE OWNED BY                                        WORK        SERVICES;
                       YOU IF IT IS NOT YOUR                                   OR
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                       2. OCCUPYING     OR                  b. Exclusions
                          STRUCK BY YOUR                       The following exclusion is added:
                          CAR, A NEWLY AC-
                          QUIRED CAR, OR A                         THERE IS NO COVERAGE FOR
                          TEMPORARY SUB-                           ANY       COVERED           VEHICLE
                          STITUTE CAR WHILE                        WHILE IT IS USED TO PROVIDE
                          SUCH VEHICLE IS                          TRANSPORTATION NETWORK
                          BEING USED TO                            SERVICES.
                          PROVIDE    TRANS-              9. INSUREDS DUTIES
                          PORTATION    NET-
                          WORK SERVICES.                    a. Item 7.a.(3) is changed to read:
    8. PHYSICAL DAMAGE COVERAGES                                   An insured making claim under:
       a   The paragraph that reads:                               a. No-Fault Coverage, Medical
                                                                       Payments Coverage, Uninsured
               If a deductible applies to Compre-                      Motor Vehicle Coverage, or
               hensive Coverage, then it is shown                      Death, Dismemberment and
               on the Declarations Page. The de-                       Loss of Sight Coverage must:
               ductible that applies to Collision                      (3) provide written authoriza-
               Coverage is shown on the Declara-                            tion for us to obtain medical
               tions Page.                                                  bills, medical records, wage
           is changed to read:                                              information, salary infor-
                                                                            mation, employment in-
               Deductible                                                   formation, and any other
                                                                            relevant information we
               1. If D is shown under SYM-                               deem reasonably neces-
                  BOLS on the Declarations                                 sary to substantiate the
                  Page, then the deductible that                            claim.
                  applies to Comprehensive Cov-
                                                                            Such authorizations must
                  erage, if any, is the dollar                              not:
                  amount shown on the Declara-
                  tions Page next to the title of this                      (a) restrict us from per-
                  coverage. However, we will not                                 forming our business
                  deduct more than $500 for any                                  functions in:
                  loss to a newly acquired car.                                  (i) obtaining relevant
                                                                                      and reasonably nec-
               2. If G is shown under SYM-                                         essary records, bills,
                  BOLS on the Declarations                                           information, and
                  Page, then the deductible that                                      data; nor
                  applies to Collision Coverage is
                                                                                 (ii) using or retaining
                  the dollar amount shown on the                                      relevant and rea-
                  Declarations Page next to the ti-                                   sonably necessary
                  tle of this coverage. However,                                      records, bills, infor-
                  we will not deduct more than                                        mation, and data
                  $500 for any loss caused by col-                                    collected or re-
                  lision to a newly acquired car.                                     ceived by us;
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                     (b) require us to violate                      Coverage, or Death, Dismember-
                          federal or state laws or                  ment and Loss of Sight Coverage
                          regulations;                              must submit to us all information we
                     (c) prevent us from ful-                       need to comply with federal and
                          filling our data report-                  state laws and regulations.
                          ing and data retention 10. GENERAL TERMS
                          obligations to insurance          a. The following is added to Limited Cov-
                          regulators; or                       erage in Mexico:
                     (d) prevent us from dis-                       Uninsured Motor Vehicle Cover-
                          closing claim infor-                      age (Stacking and Non-Stacking)
                          mation and data:
                                                            b. Under Limited Coverage in Mexico,
                          (i) to enable perfor-                Legal Action Against Us is changed to
                                mance of our busi-             read:
                                ness functions;
                          (ii) to meet our report-                  Any legal action against us arising
                                ing obligations to                  out of an accident or loss occurring
                                insurance regula-                   in the country of Mexico must be
                                tors;                               brought in a Florida state court in the
                                                                    United States of America, or a
                          (iii) to meet our report-
                                ing obligations to                  United States of America District
                                insurance data con-                 Court that has jurisdiction.
                                solidators; and             c. The provision entitled Persons Acting
                          (iv) as otherwise per-               On Our Behalf is deleted in its en-
                                mitted by law.                 tirety.
                     If an injured insured is a             d. The following is added to Newly
                     minor, unable to act, or                  Owned or Newly Leased Car:
                     dead, then his or her legal                    If a resident relative wants to insure
                     representative must provide                    a car newly owned by the resident
                     us with the written authori-
                     zation.                                        relative with the State Farm Com-
                                                                    panies after that car ceases to be a
                     If the holder of the infor-                    newly acquired car, then the resi-
                     mation refuses to provide it                   dent relative must apply to the State
                     to us despite the authoriza-                   Farm Companies for a separate pol-
                     tion, then at our request the
                     person making claim or his                     icy to insure the car newly owned by
                     or her legal representative                    the resident relative. Such policy
                     must obtain the information                    will be issued only if both the appli-
                     and promptly provide it to                     cant and the vehicle are eligible for
                     us; and                                        coverage at the time of the applica-
       b. The following is added to item 7.:                        tion.
             An insured making claim under No-              e. The following is added to Premium:
             Fault Coverage, Medical Payments                       If due to insufficient funds, payment
             Coverage, Uninsured Motor Vehicle                      of premium for this policy by debit
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              card, credit card, electronic funds                      premium paid to unpaid bal-
              transfer, or electronic check is re-                     ances of other policies with
              turned, is declined, or cannot be pro-                   the State Farm Companies.
              cessed, we may impose an                   g. The following are added to GENERAL
              insufficient funds fee of $15 per oc-         TERMS:
              currence.
                                                               Electronic Delivery
       f.   Return of Unearned Premium is
            changed to read:                                    With your consent, we may, if al-
                                                                lowed by law, electronically deliver
              (1) If you cancel this policy:                    any document or notice, including a
                  (a) then premium will be                      notice to renew, instead of mailing it
                       earned on a pro rata basis.              or delivering it by other means.
                       We may retain up to 10% of               Proof of transmission will be suffi-
                       any unearned premium.                    cient proof of notice. This provision
                       Any remaining unearned                   does not apply to any notice to non-
                       premium will be mailed or
                       electronically transferred to            renew or cancel.
                       you within 30 days after the             Our Rights Regarding Claim In-
                       effective date of the policy             formation
                       cancellation, or 30 days af-
                       ter we receive your request              a. We will collect, receive, obtain,
                       to cancel this policy, which-               use, and retain all the items de-
                       ever is later. Delay in the                 scribed in item b.(1) below and
                       return of unearned premium                  use and retain the information
                       does not affect the cancella-               described in item b.(3)(b) be-
                       tion;                                       low, in accordance with applica-
                                                                   ble federal and state laws and
                  (b) you may elect to apply the                   regulations and consistent with
                       unearned portion of any                     the performance of our business
                       premium paid to unpaid bal-                 functions.
                       ances of other policies with
                       the State Farm Companies.                b. Subject to a. above, we will not
                                                                   be restricted in or prohibited
              (2) If we cancel this policy:                        from:
                  (a) then premium will be                         (1) collecting, receiving, or ob-
                      earned on a pro rata basis.                      taining records, receipts, in-
                      Any unearned premium will                        voices,     medical     bills,
                      be mailed or electronically                      medical records, wage in-
                      transferred at the time we                       formation, salary infor-
                      cancel the policy or within                      mation,          employment
                      15 days after the effective                      information, relevant data,
                      date of the policy cancella-                     and any other reasonable in-
                      tion. Delay in the return of                     formation to process the
                      unearned premium does not                        claim;
                      affect the cancellation;                      (2) using any of the items de-
                  (b) you may elect to apply the                        scribed in item b.(1) above;
                      unearned portion of any                           or
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                (3) retaining:                                     (3) to meet our reporting obli-
                    (a) any of the items in item                       gations to insurance data
                         b.(1) above; or                               consolidators;
                    (b) any other information                      (4) to meet other obligations re-
                         we have in our posses-                        quired by law; and
                         sion as a result of our                   (5) as otherwise permitted by
                         processing, handling, or                      law.
                         otherwise      resolving
                         claims submitted under                d. Our rights under a., b., and c.
                         this policy.                             above shall not be impaired by
             c. We may disclose any of the                        any:
                items in item b.(1) above and                      (1) authorization related to any
                any of the information de-                             claim submitted under this
                scribed in item b.(3)(b) above:                        policy; or
                (1) to enable performance of
                    our business functions;                        (2) act or omission of an in-
                (2) to meet our reporting obli-                        sured or a legal representa-
                    gations to insurance regula-                       tive acting on an insureds
                    tors;                                              behalf.




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                                                                                                        Page 1 of 1
    6910A AMENDATORY ENDORSEMENT
    This endorsement is a part of the policy. Except for the changes this endorsement makes, all other provisions
    of the policy remain the same and apply to this endorsement.
    1. PHYSICAL DAMAGE COVERAGES                                       e. A written appraisal that is both agreed
       Limits and Loss Settlement  Comprehen-                            upon by and signed by any two ap-
       sive Coverage and Collision Coverage                               praisers, and that also contains an ex-
                                                                          planation of how they arrived at their
        The following is added:                                           appraisal, will be binding on the owner
            If there is disagreement as to the cost of re-                of the covered vehicle and us.
            pair, replacement, or recalibration of glass,              We and you do not waive any rights by
                                                                       f.
            an appraisal will be used as the first step                submitting to an appraisal.
            toward resolution. Appraisal will follow the
            rules and procedures as listed below:            2. GENERAL TERMS
            a. The owner and we will each select a              a. Item (3) of How and When We May Can-
                                                                   cel, under Cancellation, is changed to
               competent appraiser.                                read:
            b. The two appraisers will select a third                  If we cancel this policy for nonpayment
               competent appraiser. If they are unable                 of premium during the first 30 days im-
               to agree on a third appraiser within 30                 mediately following the effective date of
               days, then either the owner or we may                   this policy, we will do so only if a check
               petition a court that has jurisdiction to               used to pay the premium is dishonored
               select the third appraiser.                             for any reason or any other type of
                                                                       premium payment was subsequently
            c. Each party will pay the cost of its own                 determined to be rejected or invalid.
               appraiser, attorneys, and expert wit-
               nesses, as well as any other expenses              b. Item a. of Legal Action Against Us is
               incurred by that party. Both parties will             changed to read:
               share equally the cost of the third ap-
               praiser.                                                  Legal action may only be brought
                                                                         against us within five years immediate-
            d. The appraisers shall only determine the                   ly following the date of the accident or
               cost of repair, replacement, and recali-                  loss. However, this limitation of action
               bration of glass. Appraisers shall have                   is tolled for a period of 60 days after we
               no authority to decide any other ques-                    receive notice from the Florida Depart-
               tions of fact, decide any questions of                    ment of Financial Services, in accord-
               law, or conduct appraisal on a class-                     ance with section 624.155, Florida
               wide or class-representative basis.                       Statutes.
    6910A




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                                                         IN THE CIRCUIT COURT, FOURTH
                                                         JUDICIAL CIRCUIT, IN AND FOR
                                                         DUVAL COUNTY, FLORIDA
                                                         CASE NO.: 2023-CA-004068
                                                         DIVISION: CV-G

           AMBER MILLS, an individual

                   Plaintiff,
           v.

           STATE FARM MUTUAL AUTOMOBILE
           INSURANCE COMPANY, a for-profit, foreign
           corporation,

                   Defendant.
                                                    /

                        PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO
                DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
                   Plaintiff, AMBER MICHELLE MILLS pursuant to Rule 1.370, Florida Rules of Civil

           Procedure, requests that Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE

           COMPANY admit the truth of the following matters of fact hereinafter set forth within (45) days

           after service hereof, by answer in writing:


                1. Please admit that On July 29, 2021, Mary Laseter negligently operated her 2008 Honda
                   CR-V causing a high energy frontal offset collision with the Plaintiff Amber Mills’
                   vehicle resulting in airbag deployments and totaling both vehicles (“subject collision”).

           RESPONSE:

                2. Please admit that State Farm was aware of their insured, Mary Laseter, pled guilty to
                   a citation for failure to yield on or about August 16, 2021 in connection with the subject
                   collision.

           RESPONSE:

                3. Please admit that State Farm was aware that its insured, Mary Laseter, was seriously
                   injured in the subject collision.

                RESPONSE:




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     4. Please admit that Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE
        COMPANY received the attached demand letter dated February 18, 2022 from Butler
        Law Group on behalf of Amber Mills which offered to release STATE FARM MUTUAL
        INSURANCE COMPANY’s insured, Mary Laseter, from all claims herein in exchange
        for the timely tender of Mrs. Laseter’s $25,000 policy limits.

  RESPONSE:

     5. Please admit that following the receipt of Butler Law Group’s demand letter and enclosures
        dated Feb. 18, 2022, STATE FARM MUTUAL AUTOMOBILE INSURANCE
        COMPANY chose to offer of $6,550 to settle Mrs. Mills claim against Mrs. Laseter.

  RESPONSE:

     6. Please admit that STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
        received correspondence dated April 14, 2022 from Butler Law Group in this case which
        contained a billing statement from Precision Imaging Centers.

  RESPONSE:

     7. Please admit that after receipt of Butler Law Group’s correspondence dated April 14, 2022,
        STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY chose to offer of
        $7,000 to settle Mrs. Mills claim against Mrs. Laseter.

  RESPONSE:

     8. Please admit that State Farm Mutual Automobile Insurance Company was aware that the
        Courthouse in Duval County Florida was closed for in person circuit civil jury trials from
        March 17, 2020 until October 2021 when such jury trials partially resumed creating a huge
        backlog and delays for civil jury trials.

  RESPONSE:

                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the

  Court using the E-filing portal and a copy served with the Summons and Complaint.

                                                      BUTLER LAW GROUP
                                                      /s/ Howard Butler
                                                      HOWARD G. BUTLER, ESQ.
                                                      Florida Bar No. 0503487
                                                      DREW W. BASKIN, ESQ.
                                                      Florida Bar No. 0109388
                                                      Attorneys for the Plaintiff
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                                            dwb@butlerlawgroup.net
                                            wje@butlerlawgroup.net
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                                                         IN THE CIRCUIT COURT, FOURTH
                                                         JUDICIAL CIRCUIT, IN AND FOR
                                                         DUVAL COUNTY, FLORIDA
                                                         CASE NO.: 2023-CA-004068
                                                         DIVISION: CV-G

           AMBER MILLS, an individual

                     Plaintiff,
           v.

           STATE FARM MUTUAL AUTOMOBILE
           INSURANCE COMPANY, a for-profit, foreign
           corporation,

                     Defendant.
                                                  /

                      PLAINTIFF’S FIRST REQUEST FOR PRODUCTION TO DEFENDANT
                        STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

                     Plaintiff, AMBER MICHELLE MILLS pursuant to Rules 1.280 and 1.350 of the Florida

           Rules of Civil Procedure, hereby requests that Defendant, STATE FARM MUTUAL

           AUTOMOBILE INSURANCE COMPANY produce for inspection and copying by the Plaintiffs

           and their attorneys, all documents and things described below which are in the possession, custody

           and control of the Defendant. Production shall be made at the offices of Butler Law Group, 1506

           Prudential Drive, Jacksonville, Florida 32207 within forty-five days (45) of the date of service

           hereof.

                                                      DEFINITIONS

                   A.     "PLAINTIFF" shall mean and refer to the Plaintiff, his, her, or their agents,
           attorneys, employees, or representatives.

                   B.     "YOU" and "YOURS" shall mean and refer to the Defendant and all of your agents,
           attorneys, employees or representatives.

                  C.      "DOCUMENT" is intended to have the broadest possible application under the
           Florida Rules of Civil Procedure, and includes, without limitation, any written, digital, printed,
           recorded tape, graphic, or any matter or whatever nature or whatever form including all non-




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  identical copies and drafts thereof and all copies bearing notations or marks not found on the
  original.

          D.      "PERSON" or "ENTITY", unless otherwise specified, means a natural person, firm,
  partnership, trust, estate, association, corporation, proprietorship, governmental body, governmental
  agency or commission or any other organization or entity.

         E.      "RELATE TO" or "RELATING TO" shall be construed to include "refer to",
  "summarizes", "constitutes", "contains", "studies", "analyzes", "considers", "explains", "mentions",
  "shows", "discusses", "describes", or "comments upon" and vice versa as it related to said terms or
  phrases.

         F.       When names are requested, names shall include both the full name, social security
  number (if a United States citizen), passport country and number (if not a United States citizen),
  together with the current address for such person.

        G.       When addresses are requested, the address shall be the complete and current address
  naming the street and street number, together with the city, county, and state for such address.

          H.        Matters of Privilege. In the event you wish to assert "attorney/client privilege",
  "work product doctrine", or any other privileges to any documents or communications requested by
  any of the following interrogatories, then as to each such document or communication subject to
  such assertion, you are requested to provide an identification of such document or communication
  with sufficient identification to include: the nature of the document or communication, the instigator
  or sender of said communication or document, the recipient or all of the parties involved in the
  production of said document or communication, the date, the name of each person to whom the
  original of said document was sent or may have been present at the time of said communication, a
  brief summary of the document or communication or its subject matter with sufficient detail to
  permit the Court to reach a determination in the event a Motion To Compel is required, and an
  indication of the basis for the assertion for said privilege.

         I. Subject collision or subject motor vehicle collision shall refer to that motor vehicle
  collision described in the Complaint that occurred on July 29, 2021 at approximately 11:03 A.M.
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                                             REQUESTS

         1. A complete copy of the claims file(s) and/or litigation file(s), regardless of any
            description assigned, pertaining to State Farm’s claim number 59-22S6-27R and/or the
            lawsuit styled Mills v. Laseter, Case Number 2022-CA-002703 filed in Duval County,
            Florida.

              See Allstate Indem. Co. v. Ruiz, 899 So. 2d 1121 (Fla. 2005)

         2. A complete copy of all correspondence along with any attachments / enclosures related
            to State Farm claim number 59-22S6-27R and/or the lawsuit styled Mills v. Laseter,
            Case Number 2022-CA-002703 filed in Duval County, Florida.

         3. A complete copy of all memoranda related to State Farm claim number 59-22S6-27R
            and/or the lawsuit styled Mills v. Laseter, Case Number 2022-CA-002703 filed in Duval
            County, Florida.

         4.   Personnel files of every claims adjuster and/or State Farm employees /agents who
              handled State Farm claim number 59-22S6-27R in any way including but not limited to:

                 a. Toccora Verneuil
                 b. Amber Chandler
                 c. Angela Butler

         5. Please provide a copy of any claim manual(s), guidelines, and/or training material(s)
            utilized by STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
            claims adjusters which were in effect as of February 2022.

         6. Please provide a copy of any meeting minutes, correspondence (electronic or paper), or
            memorandums, policy(ies), guidelines or documents related to strategies, tactics that
            pertain in whole or in part to Florida claims handling for STATE FARM MUTUAL
            AUTOMOBILE INSURANCE COMPANY during the COVID-19 pandemic,
            courthouse closures, civil case backlogs, and/or delays in jury-trials between February
            2020 and February 2023.

         7. Please provide a copy of any and all correspondence sent to or received from Mary
            Laseter and/or Mary Laseter’s agents / representatives in connection to the subject
            collision.

         Plaintiff would show in support of said request that the items herein enumerated are in the
  possession, custody and control of Defendant, constitute or contain matters within the scope of Rule
  1.280(b), Florida Rules of Civil Procedure; Plaintiff needs the materials itemized herein in the
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  preparation of this case, and Plaintiff is unable, without undue hardship, to obtain the substantial
  equivalent of said materials by other means.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the

  Court using the E-filing portal and a copy served with the Summons and Complaint.

                                                       BUTLER LAW GROUP

                                                       /s/ Howard Butler
                                                       HOWARD G. BUTLER, ESQ.
                                                       Florida Bar No. 0503487
                                                       DREW W. BASKIN, ESQ.
                                                       Florida Bar No. 0109388
                                                       Attorneys for the Plaintiff
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                                                       IN THE CIRCUIT COURT, FOURTH
                                                       JUDICIAL CIRCUIT, IN AND FOR
                                                       DUVAL COUNTY, FLORIDA
                                                       CASE NO.: 2023-CA-004068
                                                       DIVISION: CV-G

           AMBER MILLS, an individual

                  Plaintiff,
           v.

           STATE FARM MUTUAL AUTOMOBILE
           INSURANCE COMPANY, a for-profit, foreign
           corporation,

                  Defendant.
                                                  /

            CERTIFICATE OF SERVICE OF PLAINTIFF’S FIRST SET OF INTERROGATORIES
            TO DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

                  NOTICE IS HEREBY GIVEN that 2 interrogatories were propounded by Plaintiff,

           AMBER MILLS to Defendant STATE FARM MUTUAL AUTOMOBILE INSURANCE

           COMPANY and that a copy of this certificate of service and original interrogatories have been

           furnished to Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

           with the Summons and Complaint.

                                           CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on March 24, 2023, a copy of the foregoing has been

           electronically filed with the Clerk of Court by using Florida Court’s E-filing Portal with a copy

           furnished with the Summons and Complaint.


                                                               BUTLER LAW GROUP

                                                               /s/ Howard Butler
                                                               HOWARD G. BUTLER, ESQ.
                                                               Florida Bar No. 0503487
                                                               DREW W. BASKIN, ESQ.




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                                            Florida Bar No. 0109388
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